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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
In re:                                                              ) Chapter 11
J & M SALES INC., et al.,                                           ) Case No. 18-11801 (LSS)
                                   Debtors.1                        ) Jointly Administered
                                                                    )
                                                                    )
                                                                    )

           GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
 METHODOLOGY, AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
   OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        J&M Sales, Inc. and certain of its affiliates, as debtors and debtors in possession in the
 above-captioned chapter 11 cases, (the “Debtors”) have filed their respective Schedules of Assets
 and Liabilities (the “Schedules”) and Statements of Financial Affairs (the “Statements”) in the
 United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). The
 Debtors, with the assistance of their legal and financial advisors, prepared the Schedules and
 Statements in accordance with section 521 of chapter 11 of title 11 of the United States Code
 (the “Bankruptcy Code”), Rule 1007 of the Federal Rules of Bankruptcy Procedure, and Rule
 1007-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy
 Court for the District of Delaware.

        Curt Kroll has signed each set of the Schedules and Statements. Mr. Kroll serves as the
 Chief Restructuring Officer of each of the Debtors. In reviewing and signing the Schedules and
 Statements, Mr. Kroll has necessarily relied upon the efforts, statements, and representations of
 the Debtors’ other personnel and professionals. Given the scale of the Debtors’ business and the
 number of stores covered by the Schedules and Statements, Mr. Kroll has not (and could not
 have) personally verified the accuracy of each such statement and representation, including
 statements and representations concerning amounts owed to creditors.

         In preparing the Schedules and Statements, the Debtors relied on financial data derived
 from their books and records that was available at the time of such preparation. Although the
 Debtors have made every reasonable effort to ensure the accuracy and completeness of the
 Schedules and Statements, subsequent information or discovery may result in material changes
 to the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
 avoidance of doubt, the Debtors hereby reserve their rights to amend and supplement the
 Schedules and Statements as may be necessary or appropriate.



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   Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
 are: J & M Sales Inc. (4697); National Stores, Inc. (4874); J&M Sales of Texas, LLC (5979); FP Stores, Inc. (6795);
 Southern Island Stores, LLC (8099); Southern Island Retail Stores LLC (4237); Caribbean Island Stores, LLC (9301);
 Pazzo FNB Corp. (9870); Fallas Stores Holdings, Inc. (6052); and Pazzo Management LLC (1924). Debtors’ mailing
 address is 15001 South Figueroa Street, Gardena, CA 90248.


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        The Debtors and their agents, attorneys, and financial advisors do not guarantee or
warrant the accuracy or completeness of the data that is provided herein, and shall not be liable
for any loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors
or omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly
do not undertake any obligation to update, modify, revise, or re-categorize the information
provided herein, or to notify any third party should the information be updated, modified,
revised, or re-categorized, except as required by applicable law. In no event shall the Debtors or
their officers, employees, agents, or professionals be liable to any third party for any direct,
indirect, incidental, consequential, or special damages (including, but not limited to, damages
arising from the disallowance of a potential claim against the Debtors or damages to business
reputation, lost business, or lost profits), whether foreseeable or not and however caused, even if
the Debtors or their officers, employees, agents, attorneys, or their professionals are advised of
the possibility of such damages.

                            Global Notes and Overview of Methodology

1.       Description of Cases. On August 6, 2018, (the “Petition Date”), each of the Debtors
         filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors
         are operating their businesses and managing their property as debtors in possession
         pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On August 7, 2018, an
         order was entered directing procedural consolidation and joint administration of these
         chapter 11 cases [Docket No. 73]. Notwithstanding the joint administration of the
         Debtors’ cases for procedural purposes, each Debtor has filed its own Schedules and
         Statements. The information provided herein, except as otherwise noted, is reported as of
         the Petition Date.

2.       Global Notes Control. These Global Notes pertain to and comprise an integral part of
         each of the Debtors’ Schedules and Statements and should be referenced in connection
         with any review thereof. In the event that the Schedules and Statements conflict with
         these Global Notes, these Global Notes shall control.

3.       Reservations and Limitations. Reasonable efforts have been made to prepare and file
         complete and accurate Schedules and Statements; however, as noted above, inadvertent
         errors or omissions may exist. The Debtors reserve all rights to amend and supplement
         the Schedules and Statements as may be necessary or appropriate. Nothing contained in
         the Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an
         admission of any kind with respect to these chapter 11 cases, including, but not limited
         to, any rights or claims of the Debtors against any third party or issues involving
         substantive consolidation, equitable subordination, or defenses or causes of action arising
         under the provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable
         bankruptcy or non-bankruptcy laws to recover assets or avoid transfers. Any specific
         reservation of rights contained elsewhere in the Global Notes does not limit in any
         respect the general reservation of rights contained in this paragraph.


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         a.       No Admission. Nothing contained in the Schedules and Statements is intended or
                  should be construed as an admission or stipulation of the validity of any claim
                  against the Debtors, any assertion made therein or herein, or a waiver of the
                  Debtors’ rights to dispute any claim or assert any cause of action or defense
                  against any party.

         b.       Recharacterization. Notwithstanding that the Debtors have made reasonable
                  efforts to correctly characterize, classify, categorize, or designate certain claims,
                  assets, executory contracts, unexpired leases, and other items reported in the
                  Schedules and Statements, the Debtors nonetheless may have improperly
                  characterized, classified, categorized, or designated certain items. The Debtors
                  thus reserve all rights to recharacterize, reclassify, recategorize, or redesignate
                  items reported in the Schedules and Statements at a later time as is necessary and
                  appropriate.

         c.       Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                  Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                  “executory” or “unexpired” does not constitute an admission by the Debtors of the
                  legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
                  rights to recharacterize or reclassify such claim or contract.

         d.       Claims Description. Any failure to designate a claim on a given Debtor’s
                  Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
                  constitute an admission by the Debtor that such amount is not “disputed,”
                  “contingent,” or “unliquidated.” The Debtors reserve all rights to dispute, or
                  assert offsets or defenses to, any claim reflected on their respective Schedules and
                  Statements on any grounds, including, without limitation, liability or
                  classification, or to otherwise subsequently designate such claims as “disputed,”
                  “contingent,” or “unliquidated” or object to the extent, validity, enforceability,
                  priority, or avoidability of any claim. Moreover, listing a claim does not
                  constitute an admission of liability by the Debtor against which the claim is listed
                  or by any of the Debtors. The Debtors reserve all rights to amend their Schedules
                  and Statements as necessary and appropriate, including, but not limited to, with
                  respect to claim description and designation.

         e.       Estimates and Assumptions. The preparation of the Schedules and Statements
                  required the Debtors to make reasonable estimates and assumptions with respect
                  to the reported amounts of assets and liabilities, the amount of contingent assets
                  and contingent liabilities on the Petition Date, and the reported amounts of
                  revenues and expenses during the applicable reporting periods. Actual results
                  could differ from such estimates.

         f.       Intellectual Property Rights. Exclusion of certain intellectual property should
                  not be construed to be an admission that such intellectual property rights have
                  been abandoned, have been terminated or otherwise expired by their terms, or
                  have been assigned or otherwise transferred pursuant to a sale, acquisition, or
                  other transaction. Conversely, inclusion of certain intellectual property should not

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                  be construed to be an admission that such intellectual property rights have not
                  been abandoned, have not been terminated or otherwise expired by their terms, or
                  have not been assigned or otherwise transferred pursuant to a sale, acquisition, or
                  other transaction.

         g.       Insiders. The listing of a party as an insider for purposes of the Schedules and
                  Statements is not intended to be, nor should it be, construed as an admission of
                  any fact, right, claim, or defense, and all such rights, claims, and defenses are
                  hereby expressly reserved. Information regarding the individuals listed as
                  insiders in the Schedules and Statements has been included for informational
                  purposes only and such information may not be used for the purposes of
                  determining control of the Debtors, the extent to which any individual exercised
                  management responsibilities or functions, corporate decision-making authority
                  over the Debtors, or whether such individual could successfully argue that he or
                  she is not an insider under applicable law, including the Bankruptcy Code and
                  federal securities laws, or with respect to any theories of liability or any other
                  purpose.

                  In the circumstance where the Schedules and Statements require information
                  regarding “insiders”, the Debtors have included information with respect to the
                  individuals who the Debtors believe are included in the definition of “insider” set
                  forth in section 101(31) of the Bankruptcy Code during the relevant time periods.
                  Specifically, the Debtors have listed payment information of their Chief
                  Executive Officer, Chief Financial Officer, Directors, and former executives who
                  received payments from the Debtors within one year of the Petition Date. The
                  Debtors employ other individuals that have officer titles, but the Debtors do not
                  believe that such officers qualify as insiders within the meaning of the Bankruptcy
                  Code.

4.       Methodology.

         a.       Basis of Presentation. The Schedules and Statements do not purport to represent
                  financial statements prepared in accordance with Generally Accepted Accounting
                  Principles in the United States (“GAAP”), nor are they intended to be fully
                  reconciled to the financial statements of each Debtor. The Schedules and
                  Statements contain unaudited information that is subject to further review and
                  potential adjustment. The Schedules and Statements reflect the Debtors’
                  reasonable efforts to report the assets and liabilities of each Debtor on an
                  unconsolidated basis except as noted on the applicable Schedules/Statements or
                  herein.

         b.       Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
                  may properly be disclosed in response to multiple parts of the Statements and
                  Schedules. To the extent these disclosures would be duplicative, the Debtors have
                  determined to only list such assets, liabilities and prepetition payments once.




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         c.       Net Book Value. In certain instances, current market valuations for individual
                  items of property and other assets are neither maintained by, nor readily available
                  to, the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
                  and Statements reflect estimates of net book values as of the Petition Date.
                  Market values may vary, at some times materially, from net book values. It
                  would be prohibitively expensive, unduly burdensome, and an inefficient use of
                  estate assets for the Debtors to obtain the current market values of all their
                  property. Accordingly, the Debtors have indicated in the Schedules and
                  Statements that the values of certain assets and liabilities are undetermined.
                  Amounts ultimately realized may vary materially from net book value (or
                  whatever value was ascribed). Accordingly, the Debtors reserve all rights to
                  amend, supplement or adjust the asset values set forth herein. Also, assets that
                  have been fully depreciated or that were expensed for accounting purposes either
                  do not appear in these Schedules and Statements or are listed with a zero-dollar
                  value, as such assets have no net book value.

         d.       Property and Equipment. Unless otherwise indicated, owned property and
                  equipment are valued at net book value. The Debtors may lease furniture,
                  fixtures, and equipment from certain third-party lessors. To the extent possible,
                  any such leases are listed in the Schedules and Statements. Nothing in the
                  Schedules and Statements is, or should be construed as, an admission as to the
                  determination of the legal status of any lease (including whether any lease is a
                  true lease or a financing arrangement), and the Debtors reserve all rights with
                  respect thereto. The Debtors’ inventory is tracked by department and by store,
                  but not by both. Thus, the inventory amounts set forth in the Schedules and
                  Statements are gross inventory amounts on a Debtor by Debtor basis based upon
                  store inventory allocations as well as a consolidated detail listing of inventory by
                  department that is attached to the Schedules of all operating Debtors. Inventory is
                  counted on a staggered basis and done annually, by a third party, RGIS. The
                  Debtors have closing inventory amounts by Debtor as of July 2018. The Debtors
                  do not have amounts for prior year inventories as they calculate inventory loss as
                  opposed to inventory count and estimate the amount based on the prior year.

         e.       Consolidated Accounts Payable and Disbursements System. The Debtors use
                  a centralized cash management system to streamline collection, transfer and
                  disbursement of funds generated by the Debtors’ business operations. The cash
                  management system is operated and maintained by the Debtors’ employees.

         f.       Allocation of Liabilities. The Debtors allocated liabilities between the
                  prepetition and postpetition periods based on the information and research
                  conducted in connection with the preparation of the Schedules and Statements.
                  As additional information becomes available and further research is conducted,
                  the allocation of liabilities between the prepetition and postpetition periods may
                  change.

         g.       Undetermined Amounts. The description of an amount as “unknown” is not
                  intended to reflect upon the materiality of such amount.

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         h.       Unliquidated Amounts. Amounts that could not be fairly quantified by the
                  Debtors are scheduled as “unliquidated” or “unknown.”

         i.       Totals. All totals that are included in the Schedules and Statements represent
                  totals of all known amounts. To the extent there are unknown or undetermined
                  amounts, the actual total may be different than the listed total.

         j.       Paid Claims. The Debtors have authority to pay certain outstanding prepetition
                  payables pursuant to bankruptcy or other court order; as such, outstanding
                  liabilities may have been reduced by any court-approved postpetition payments
                  made on prepetition payables. Where and to the extent these liabilities have been
                  satisfied, they are not listed in the Schedules and Statements with the exception
                  that liabilities with respect to the Debtors’ prepetition vendors may be listed at the
                  amount outstanding as of the Petition Date, regardless of whether such claims
                  have been settled and paid postpetition in accordance with any of the “first day”
                  orders entered by the Bankruptcy Court authorizing the payment of prepetition
                  claims. To the extent the Debtors later pay any amount of the claims listed in the
                  Schedules and Statements pursuant to any orders entered by the Bankruptcy
                  Court, the Debtors reserve all rights to amend or supplement the Schedules and
                  Statements or to take other action as is necessary and appropriate to avoid
                  overpayment or duplicate payments for liabilities. Nothing contained herein
                  should be deemed to alter the rights of any party in interest to contest a payment
                  made pursuant to an order of the Bankruptcy Court where such order preserves
                  the right to contest.

         k.       Intercompany Claims. Receivables and payables among the Debtors and among
                  the Debtors and their non-Debtor affiliates are reported on Schedule A/B and
                  Schedule E/F, respectively, per the Debtors’ books and records. The listing of
                  any amounts with respect to such receivables and payables is not, and should not
                  be construed as, an admission of the characterization of such balances as debt,
                  equity, or otherwise.

         l.       Guarantees and Other Secondary Liability Claims. The Debtors have
                  exercised reasonable efforts to locate and identify guarantees in their executory
                  contracts, unexpired leases, secured financings, and other such agreements.
                  Where guarantees have been identified, they have been included in the relevant
                  Schedule G with respect to leases and Schedule D with respect to credit
                  agreements for the affected Debtor or Debtors. The Debtors may have
                  inadvertently omitted guarantees embedded in their contractual agreements and
                  may identify additional guarantees as they continue their review of their books
                  and records and contractual agreements. The Debtors reserve their rights to
                  amend the Schedules and Statements if additional guarantees are identified.

         m.       Excluded Assets and Liabilities. The Debtors have excluded the following
                  categories of assets and liabilities from the Schedules and Statements: certain
                  deferred charges, accounts, or reserves recorded only for purposes of complying
                  with the requirements of GAAP; deferred revenue accounts; and certain accrued

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                  liabilities including, but not limited to, accrued salaries and employee benefits.
                  Other immaterial assets and liabilities may also have been excluded.

         n.       Liens. The inventories, property and equipment listed in the Schedules and
                  Statements are presented without consideration of any liens.

         o.       Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

         p.       Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary
                  course of business. Such setoffs and nettings may occur due to a variety of
                  transactions or disputes including, but not limited to, intercompany transactions,
                  counterparty settlements, pricing discrepancies, rebates, returns, warranties,
                  refunds, and negotiations and/or disputes between Debtors and their customers
                  and/or suppliers. These normal, ordinary course setoffs and nettings are common
                  to the retail industry. Due to the voluminous nature of setoffs and nettings, it
                  would be unduly burdensome and costly for the Debtors to list each such
                  transaction. Therefore, although such setoffs and other similar rights may have
                  been accounted for when scheduling certain amounts, these ordinary course
                  setoffs are not independently accounted for, and as such, are or may be excluded
                  from the Debtors’ Schedules and Statements. In addition, some amounts listed in
                  the Schedules and Statements may have been affected by setoffs or nettings by
                  third parties of which the Debtors are not yet aware. The Debtors reserve all
                  rights to challenge any setoff and/or recoupment rights that may be asserted.

5.       Specific Schedules Disclosures.

         a.       Schedule A/B, Parts 1 and 2 - Cash and Cash Equivalents; Deposits and
                  Prepayments. Details with respect to the Debtors’ cash management system and
                  bank accounts are provided in the Motion of Debtors for Interim and Final Orders
                  (I) Authorizing (A) Continuation of Existing Cash Management System, (B)
                  Maintenance of Existing Business Forms and Bank Accounts, (C) Continuation of
                  Intercompany Transactions, and (D) Payment of Related Prepetition Obligations
                  Pursuant to Sections 105(a), 363(b), and 363(c) of Bankruptcy Code and
                  Bankruptcy Rules 6003 and 6004 and (II) Waiving Requirements of Section
                  345(b) of Bankruptcy Code [Docket Nos 7] (the “Cash Management Motion”) and
                  any orders of the Bankruptcy Court granting the Cash Management Motion. As
                  described therein, the Debtors utilize a centralized cash management system.

                  Additionally, the Bankruptcy Court, pursuant to the Interim Order (I) Approving
                  Debtors’ Proposed Form of Adequate Assurance Payment to Utility Companies,
                  (II) Establishing Procedures for Resolving Objections by Utility Companies, and
                  (III) Prohibiting Utility Companies From Altering, Refusing, or Discontinuing
                  Service [Docket No. 86] (the “Interim Utility Order”), has authorized the Debtors
                  to provide adequate assurance of payment for future utility services. Such
                  deposits pursuant to the Utility Order are not listed on Schedule A/B, Part 2,
                  which has been prepared as of the Petition Date. Certain utilities may hold
                  deposits separate and apart from the Interim Utility Order.


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         b.       Schedule A/B, Part 4 - Investments; Non-Publicly Traded Stock and Interests
                  in Incorporated and Unincorporated Businesses, including any Interest in an
                  LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries have
                  been listed in Schedule A/B, Part 4, as undetermined amounts on account of the
                  fact that the fair market value of such ownership is dependent on numerous
                  variables and factors, and may differ significantly from their net book value.

         c.       Schedule A/B, Part 7 - Office Furniture, Fixtures, and Equipment; and
                  Collectibles. Dollar amounts are presented net of accumulated depreciation and
                  other adjustments.

         d.       Schedule A/B, Part 11 - All Other Assets. Dollar amounts are presented net of
                  impairments and other adjustments.

                  Additionally, the Debtors may receive refunds, income tax refunds or other sales
                  tax refunds at various times throughout their fiscal year. As of the Petition Date,
                  however, certain of these amounts are unknown to the Debtors, and accordingly,
                  may not be listed in Schedule A/B.

                  Other Contingent and Unliquidated Claims or Causes of Action of Every
                  Nature, including Counterclaims of the Debtor and Rights to Setoff Claims. In
                  the ordinary course of their businesses, the Debtors may have accrued, or may
                  subsequently accrue, certain rights to counter-claims, cross-claims, setoffs, or
                  refunds with their customers and suppliers. Additionally, certain of the Debtors
                  may be party to pending litigation in which the Debtors have asserted, or may
                  assert, claims as a plaintiff or counter-claims and/or cross-claims as a defendant.
                  Because certain of these claims are unknown to the Debtors and not quantifiable
                  as of the Petition Date, they may not be listed on Schedule A/B, Part 11.

         e.       Schedule D - Creditors Who Have Claims Secured by Property. Except as
                  otherwise agreed pursuant to the Interim Order Pursuant to 11 U.S.C. §§ 105,
                  361, 362, 363, 364, and 507 (I) Granting Expedited Relief, (II) Approving
                  Postpetition Financing, (III) Granting Liens and Providing Superpriority
                  Administrative Expense Status, (IV) Authorizing Use of Cash Collateral, (V)
                  Granting Adequate Protection, (VI) Modifying Automatic Stay, and (VII)
                  Granting Related Relief [Docket No. 93], or other stipulation or order entered by
                  the Bankruptcy Court, the Debtors reserve their rights to dispute or challenge the
                  validity, perfection, or immunity from avoidance of any lien purported to be
                  granted or perfected in any specific asset to a secured creditor listed on Schedule
                  D. Moreover, although the Debtors have scheduled claims of various creditors as
                  secured claims, the Debtors reserve all rights to dispute or challenge the secured
                  nature of any such creditor’s claim or the characterization of the structure of any
                  such transaction or any document or instrument related to such creditor’s claim.

                  The descriptions provided in Schedule D are intended only to be a summary.
                  Reference to the applicable agreements and other related relevant documents is
                  necessary for a complete description of the collateral and the nature, extent, and


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                  priority of any liens. In certain instances, a Debtor may be a co-obligor, co-
                  mortgagor, or guarantor with respect to scheduled claims of other Debtors, and no
                  claim set forth on Schedule D of any Debtor is intended to acknowledge claims of
                  creditors that are otherwise satisfied or discharged by other entities.

                  The Debtors have not included on Schedule D parties that may believe their
                  claims are secured through setoff rights or inchoate statutory lien rights.
                  Although there are multiple parties that hold a portion of the debt included in the
                  secured facilities, only the administrative agents have been listed for purposes of
                  Schedule D.

         f.       Schedule E/F - Creditors Who Have Unsecured Claims.

                  Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Interim and
                  Final Orders (I) Authorizing Debtors to Pay Certain Prepetition Taxes and
                  Assessments and (II) Authorizing Financial Institutions to Honor and Process
                  Related Checks and Transfers Pursuant to Sections 105(a), 363(b), 507(a), and
                  541 of the Bankruptcy Code and Bankruptcy Rules 6003 and 6004 [Docket Nos.
                  85 and 283] (the “Taxes Order”), the Debtors have been granted the authority to
                  pay, in their discretion, certain tax liabilities that accrued prepetition.
                  Accordingly, any unsecured priority claims based upon prepetition tax accruals
                  that have been paid pursuant to the Taxes Order may still be listed in Schedule E.
                  The Debtors reserve all rights to amend or supplement the Schedules and
                  Statements or to take other action as is necessary and appropriate to avoid
                  overpayment or duplicate payments for liabilities.

                  Furthermore, pursuant to the Interim and Final Orders (I) Authorizing, But Not
                  Directing, Debtors to (A) Pay Certain Accrued Prepetition Wages, (B) Permit
                  Employees to Use Accrued Prepetition Vacation Time, (C) Pay Employees’
                  Prepetition Reimbursable Business Expenses, (D) Make Accrued Prepetition
                  Contributions to Employee Benefit Plan, and (E) Continue Employee Benefit Plan
                  Post-Petition; (II) Authorizing, But not Directing, The Release of Withheld Taxes
                  and Employee Contributions, and (III) Authorizing Related Relief [Docket Nos 80
                  and 274] (the “Wage Order”), the Debtors received interim authority to pay
                  certain prepetition obligations, including to pay employee wages and other
                  employee benefits, in the ordinary course of business. The Debtors believe that
                  any non-insider employee claims for prepetition amounts related to ongoing
                  payroll and benefits, whether allowable as a priority or nonpriority claim, have
                  been or will be satisfied, and such satisfied amounts are not listed. The amounts
                  listed on Schedule E/F Part 1 are for accrued vacation and PTO that have not been
                  paid pursuant to the Wage Order.

                  The listing of a claim on Schedule E/F, Part 1, does not constitute an admission
                  by the Debtors that such claim or any portion thereof is entitled to priority status.

                  Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
                  in Schedule E/F, Part 2, are derived from the Debtors’ books and records. The


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                  Debtors made a reasonable attempt to set forth their unsecured obligations,
                  although the actual amount of claims against the Debtors may vary from those
                  liabilities represented on Schedule E/F, Part 2. The listed liabilities may not
                  reflect the correct amount of any unsecured creditor’s allowed claims or the
                  correct amount of all unsecured claims.

                  Schedule E/F, Part 2 reflects liabilities based on the Debtors’ books and records.

                  Schedule E/F, Part 2, contains information regarding threatened or pending
                  litigation involving the Debtors. The amounts for these potential claims are listed
                  as “unknown” and are marked as contingent, unliquidated, and disputed in the
                  Schedules and Statements.

                  Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
                  to executory contracts and unexpired leases. Such prepetition amounts, however,
                  may be paid in connection with the assumption or assumption and assignment of
                  an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
                  not include claims that may arise in connection with the rejection of any
                  executory contracts and unexpired leases, if any, that may be or have been
                  rejected.

                  As of the time of filing of the Schedules and Statements, the Debtors had not
                  received all invoices for payables, expenses, and other liabilities that may have
                  accrued prior to the Petition Date. Accordingly, the information contained in
                  Schedules D and E/F may be incomplete. The Debtors reserve their rights to
                  amend Schedules D and E/F if and as they receive such invoices.

                  There are 96 legal actions to which one or more Debtors are parties. Multiple
                  Debtors are often listed as defendants to these legal actions. The Debtors have
                  included the entire list of legal actions on Schedule E/F Part 2 for each Debtor.

         g.       Schedule G - Executory Contracts and Unexpired Leases. While reasonable
                  efforts have been made to ensure the accuracy of Schedule G, inadvertent errors
                  or omissions may have occurred.

                  Listing a contract or agreement on Schedule G does not constitute an admission
                  that such contract or agreement is an executory contract or unexpired lease or that
                  such contract or agreement was in effect on the Petition Date or is valid or
                  enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
                  status, or enforceability of any contracts, agreements, or leases set forth in
                  Schedule G and to amend or supplement such Schedule as necessary. Certain of
                  the leases and contracts listed on Schedule G may contain renewal options,
                  guarantees of payment, indemnifications, options to purchase, rights of first
                  refusal and other miscellaneous rights. Such rights, powers, duties and
                  obligations are not set forth separately on Schedule G. In addition, the Debtors
                  may have entered into various other types of agreements in the ordinary course of



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                  their business, such as supplemental agreements, amendments, and letter
                  agreement, which documents may not be set forth in Schedule G.

                  Certain of the agreements listed on Schedule G may have expired or terminated
                  pursuant to their terms, but are listed on Schedule G in an abundance of caution.

                  The Debtors reserve all rights to dispute or challenge the characterization of any
                  transaction or any document or instrument related to a creditor’s claim.

                  In some cases, the same supplier or provider may appear multiple times in
                  Schedule G. Multiple listings, if any, reflect distinct agreements between the
                  applicable Debtor and such supplier or provider.

                  The listing of any contract on Schedule G does not constitute an admission by the
                  Debtors as to the validity of any such contract. The Debtors reserve the right to
                  dispute the effectiveness of any such contract listed on Schedule G or to amend
                  Schedule G at any time to remove any contract.

                  Omission of a contract or agreement from Schedule G does not constitute an
                  admission that such omitted contract or agreement is not an executory contract or
                  unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
                  any such omitted contracts or agreements are not impaired by the omission.
                  Certain Debtors are guarantors and parties to guaranty agreements regarding the
                  Debtors’ prepetition credit facility. The guaranty obligations arising under these
                  agreements are reflected on Schedule H only.

         h.       Schedule H - Co-Debtors. For purposes of Schedule H, only the agent under the
                  prepetition credit facility or counterparties that are subject to a guaranty are listed
                  as Co-Debtors on Schedule H.

6.       Specific Statements Disclosures.

         a.       Statements, Part 2, Questions 3 and 4 - Payments to Certain Creditors. Prior
                  to the Petition Date, the Debtors maintained a centralized cash management
                  system. Consequently, all payments to insiders listed in response to Question 4
                  on each of the Debtors’ Statements reflect payments made on a consolidated basis
                  pursuant to the Debtors’ cash management system described in the Cash
                  Management Motion. In addition, for the sake of completeness and out of an
                  abundance of caution, the Debtors have listed all transfers made during the 90-day
                  and 1 year period in their responses to Question3 and 4.

         b.       Statements, Part 2, Question 6 - Setoffs. For a discussion of setoffs and
                  nettings incurred by the Debtors, refer to paragraph 4(p) of these Global Notes.

         c.       Statements, Part 6, Question 11 - Payments Related to Bankruptcy. Question
                  11 on all Statements reflects payments to professionals made on a consolidated
                  basis.


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         d.       Statements, Part 13, Question 26 - Books, Records, and Financial Statements.
                  The Debtors provide certain parties, such as banks, auditors, potential investors,
                  vendors, and financial advisors, with financial statements that may not be part of a
                  public filing. The Debtors do not maintain complete lists or other records
                  tracking such disclosures. Therefore, the Debtors have not provided full lists of
                  these parties in their responses to Statement Question 26.

         e.       Statements, Part 13, Question 27 - Inventories. As noted earlier, the Debtors’
                  inventory is tracked by department and by store, but not by both. Thus, the
                  inventory amounts set forth in the Schedules and Statements are gross inventory
                  amounts on a Debtor by Debtor basis based upon store inventory allocations as
                  well as a consolidated detail listing of inventory by department that is attached to
                  the Schedules of all operating Debtors. Inventory is counted on a staggered basis
                  and done annually, by a third party, RGIS. The Debtors have closing inventory
                  amounts by Debtor as of July 2018. The Debtors do not have amounts for prior
                  year inventories as they calculate inventory loss as opposed to inventory count
                  and estimate the amount based on the prior year.

         f.       Statements, Part 13, Questions 4 and 30 - Payments, Distributions, or
                  Withdrawals Credited or Given to Insiders. Distributions by the Debtors to
                  their directors and officers are listed on the attachment to Questions 4 and 30.
                  Certain directors and executive officers of the Debtors are also directors and
                  executive officers of certain Debtor and non-Debtor affiliates. Certain of the
                  Debtors’ directors and executive officers received distributions net of tax
                  withholdings in the year preceding the Petition Date. The amounts listed under
                  Questions 4 and 30 reflect the gross amounts paid to such directors and executive
                  officers, rather than the net amounts after deducting for tax withholdings.

         g.       Statements, Part 3, Question 7 - Legal Actions. Multiple Debtors are often
                  listed as defendants to the 96 legal actions. The Debtors have attached the entire
                  list of legal actions to each Debtor.




                                                   12
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 Fill in this information to identify the case:

 Debtor name         Southern Island Stores LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         18-11805 (LSS)
                                                                                                                                   Check if this is an
                                                                                                                                        amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 18, 2018                      X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Curt Kroll
                                                                         Printed name

                                                                         Chief Restructuring Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                      Case 18-11801-LSS                                    Doc 439                  Filed 09/18/18                         Page 14 of 318
 Fill in this information to identify the case:

 Debtor name            Southern Island Stores LLC

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)               18-11805 (LSS)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      27,762,808.63

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      27,762,808.63


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $     110,842,800.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $          325,598.74

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      84,364,739.40


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        195,533,138.14




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
                                 Case 18-11801-LSS                    Doc 439       Filed 09/18/18       Page 15 of 318
 Fill in this information to identify the case:

 Debtor name          Southern Island Stores LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         18-11805 (LSS)
                                                                                                                      Check if this is an
                                                                                                                          amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                          12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                      Current value of
                                                                                                                          debtor's interest

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     See Attachment B.7 for details                                                                                 $611,531.63



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment

 9.         Total of Part 2.                                                                                                    $611,531.63
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 1
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 Debtor         Southern Island Stores LLC                                                        Case number (If known) 18-11805 (LSS)
                Name



 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of       Valuation method used    Current value of
                                                      physical inventory         debtor's interest       for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory. See
           Attachment B.21 for a
           consolidated list of
           inventory by
           department.                                                                  $19,815,848.00   Cost                             $19,815,848.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                         $19,815,848.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of       Valuation method used    Current value of
                                                                                 debtor's interest       for current value        debtor's interest
                                                                                 (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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 Debtor         Southern Island Stores LLC                                                    Case number (If known) 18-11805 (LSS)
                Name

            Office equipment, furniture, fixtures,
            machinery, etc. See Attachment B.41 for
            details.                                                               $7,335,429.00      Cost                            $7,335,429.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                          $7,335,429.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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                                   Case 18-11801-LSS                             Doc 439              Filed 09/18/18                 Page 18 of 318

 Debtor          Southern Island Stores LLC                                                                          Case number (If known) 18-11805 (LSS)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $611,531.63

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                         $19,815,848.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                      $7,335,429.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $27,762,808.63             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $27,762,808.63




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 4
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In re Southern Island Stores, LLC
Case No. 18‐11805
Attachment B.7

Creditor                               Amount
  5                                      $611,531.63
    AQUARION WATER COMPANY OF                $100.00
    COLUMBIA GAS OF MASSACHUSSETTS         $9,755.00
    COMED                                  $7,291.64
    CON EDISON                            $92,331.84
    CONSUMERS ENERGY                      $15,040.00
    CREDIT CARDS Breach reserve          $450,673.30
    DUKE ENERGY                            $3,030.00
    GEORGIA POWER                          $2,205.00
    NATIONAL GRID                          $5,740.64
    NICOR GAS                              $4,503.46
    PECO‐PAYMENT PROCESSING               $11,567.75
    PHILADELPHIA GAS WORKS                   $632.00
    SOUTHERN CONNECTICUT GAS                 $750.00
    THE ILLUMINATING COMPANY               $1,788.00
    WE ENERGIES                            $6,123.00
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Attachment B.21
Inventory by Department

Dept.                          Sum of Cost       Sum of InTransit Cost
4-6 GIRLSS                           $24,470.92                    $0.00
7-16 GIRLS                           $27,057.10                 $120.00
8-20 BOYS                          $118,871.73                $6,313.80
ACCESSORIES                       $2,695,777.43             $182,668.84
ACTIVE                            $5,055,699.72             $452,569.21
ACTIVEWEAR                        $7,831,063.83             $486,547.98
AUTOMOTIVE                         $307,767.62               $11,214.62
BACKPACKS                         $1,194,459.15              $36,674.25
BASICS                           $13,259,849.82             $945,054.13
BATH                              $2,261,670.92             $227,803.49
BED                               $3,404,992.68             $409,264.15
BLANKETS                           $979,923.47               $66,710.42
BOYS BRANDED UNIFORMS                 $2,319.35                    $0.00
BOYS INFANT/TODDLER SHOES          $294,642.41               $16,315.38
BOYS SHOES                         $427,002.90               $25,554.71
BOYS UNIFORMS                     $5,266,775.61             $244,600.49
BRA SETS                           $122,256.76               $10,650.08
BRAS                               $861,316.35               $97,565.50
CAMI SETS                            $89,238.16               $6,630.72
CONSUMABLES                        $723,609.20               $31,659.87
DENIM BOTTOMS                     $4,741,878.37             $352,701.12
DIRECT STORE DELIVERY                      $3.28                   $0.00
DRESS UP                           $185,340.67               $11,164.20
DRESSES                           $5,245,165.54             $376,067.95
FASHION ACCESSORIES                $449,524.05               $13,141.38
FOOD                               $326,122.62               $40,980.80
FRAGRANCE                                -$7.25                    $0.00
GARDENING                            $64,930.79               $1,469.28
GIRLS BRANDED UNIFORMS                $4,608.85                    $0.00
GIRLS INFANT/TODDLER SHOE          $493,066.66               $35,747.88
GIRLS SHOES                       $1,024,415.61              $73,692.08
GIRLS UNIFORMS                    $4,616,449.04             $221,249.30
HANDBAGS                          $1,240,898.42             $108,814.67
HEALTH & BEAUTY                   $1,150,872.23              $42,643.34
HOME                                 $25,242.60                 $244.80
HOME ACCENT                       $3,414,043.34             $305,959.86
HOUSEWARES                        $1,045,611.50             $109,749.37
INFANT BOY                         $593,874.60               $36,835.11
INFANT GIRL                       $1,505,871.58             $107,561.87
INFANTS                              $22,928.48                    $0.00
INTIMATE                             $61,851.68                 $432.00
JEWELRY                           $1,013,225.70              $76,591.90
JUNIOR PLUS                       $2,115,546.87              $98,385.63
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Attachment B.21
Inventory by Department

Dept.                          Sum of Cost      Sum of InTransit Cost
JUNIORS                            $304,480.34              $18,532.05
JUVENILE                           $753,718.83              $65,061.93
LADIES COSMETICS                   $355,937.34              $26,682.27
LADIES SHOES                      $2,428,665.66            $160,218.28
LADIES UNIFORMS                    $213,009.18                 $784.79
LUGGAGE                            $609,808.80              $88,487.09
MATERNITY                            $14,364.06                $423.36
MENS                                 $22,029.68                $966.00
MENS SHOES                        $1,151,729.42            $105,057.12
MENS UNIFORMS                      $721,546.42              $51,499.58
MISC DUMP                            $62,190.53                $215.25
MISSY                              $324,999.78              $18,235.35
MISSY PLUS                            $8,835.51                $924.00
NEWBORN BOY                        $442,834.23              $34,250.00
NEWBORN GIRL                       $834,642.42              $64,583.38
NON DENIM BOTTOMS                 $2,444,795.54            $145,415.08
NON-DENIM BOTTOMS                 $5,874,503.12            $421,608.78
OPPORTUNITY DEALS                       $980.00                   $0.00
OUTERWEAR                         $5,821,630.67            $184,494.72
PANTIES                            $778,749.42              $73,740.41
PET                                $136,395.02              $11,316.39
PRICE POINT                          $81,559.73                   $0.00
RELATED SEPARATES                    $20,276.41                $900.00
SCRUBS                             $519,012.42              $28,848.04
SEASONAL                          $1,336,886.47             $92,746.17
SETS                              $1,418,500.34             $85,237.60
SHAPEWEAR                          $486,225.73              $40,983.23
SHOE ACCESSORIES                     $24,691.60                $730.80
SHOES                                 $5,949.10                   $0.00
SLEEPWEAR                         $2,786,934.82            $145,311.48
SOCKS/HOSE                        $1,333,959.11            $100,654.60
STATIONARY/GIFT ACCESSORI          $848,880.28              $33,224.39
TABLETOP                           $403,822.13              $42,378.73
TEAM                               $204,222.99               $2,384.70
TODDLER BOY                       $1,669,679.85             $75,819.96
TODDLER BOYS                          $9,183.26              $1,366.00
TODDLER GIRL                      $2,574,174.73            $165,692.69
TODDLER GIRLS                        $26,113.70                $579.10
TODDLERS                              $8,166.99                   $0.00
TOPS                             $17,178,661.49          $1,345,099.72
TOYS                              $2,866,113.96            $215,642.43
URBAN BRANDS                            $254.55                   $0.00
WALLETS                            $275,908.82              $36,471.11
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Attachment B.21
Inventory by Department

Dept.                          Sum of Cost      Sum of InTransit Cost
WINDOW                            $1,444,018.02            $170,156.83
WOMAN ACCESS.                        $22,857.40                $202.80
YOUNG MENS                        $8,779,521.99            $749,572.68
Sub Total                       $141,921,652.22         $10,077,849.07
Grand Total                     $151,999,501.29
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In re Southern Island Stores, LLC
Case No. 18-11805
Attachment B.41



   Store                   Type                                 Description                         Basis         Accum Dpen
   9905            Computer Equipment                                                                    43.84            12.45
   9905            Computer Equipment                                                                 6,844.58         1,939.14
   9905            Computer Equipment                                                                 1,129.27           320.01
   9905            Computer Equipment                                                                 3,049.63           863.94
   9905            Computer Equipment                                                                   276.63            78.40
   9905            Computer Equipment                                                                35,924.25        10,178.43
     1            Leasehold Improvement     Elevator Repair Contract - 50%                            4,763.13         3,135.84
    531                 Equipment           Security Cameras & Install                                5,634.77           751.45
    525                 Equipment           Security Cameras & Install                                5,064.33         2,194.39
    526                 Equipment           Security Cameras & Install                                6,324.68           843.36
    537                 Equipment           Security Cameras & Install                                5,442.11           725.71
    548                 Equipment           Security Cameras & Install                                5,431.35           724.31
    568                 Equipment           Security Cameras & Install                                4,570.31           609.47
    575                 Equipment           Security Cameras & Install                                5,431.35         1,991.59
    576                 Equipment           Security Cameras & Install                                4,624.13         1,695.47
    510           Leasehold Improvement     Construction Contract - Draw #1                          27,355.53        16,641.41
    510           Leasehold Improvement     Construction Contract - Draw #2                          49,557.97        30,147.91
    511           Leasehold Improvement     Construction Contract - Draw #1                          46,501.65        40,301.49
    511           Leasehold Improvement     Construction Contract - Draw #2                          84,243.57        73,011.09
    521           Leasehold Improvement     Construction Contract - Draw #1                           5,910.71         5,516.63
    521           Leasehold Improvement     Construction Contract - Draw #2                          10,708.01         9,994.17
    522           Leasehold Improvement     Construction Contract - Draw #1                           4,768.07         4,450.23
    522           Leasehold Improvement     Construction Contract - Draw #2                           8,637.96         8,062.12
    560           Leasehold Improvement     Construction Contract - Draw #1                          22,646.53        21,136.77
    560           Leasehold Improvement     Construction Contract - Draw #2                          41,027.03        38,291.91
     2            Leasehold Improvement     Patch / Paint / Ceiling Tiles                            23,681.87        11,347.37
    514           Leasehold Improvement     Patch / Paint / Ceiling Tiles                            34,567.81        23,045.25
    531           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,428.57         2,601.07
    525           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,142.86         3,428.62
    530           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,572.30         5,572.30
    530           Leasehold Improvement     Patch / Paint / Ceiling Tiles                            (5,572.30)       (5,572.30)
    538           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,364.89         2,570.89
    539           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,384.60         2,580.10
    540           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,328.11         2,886.11
    549           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             6,428.57         3,080.57
    550           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             6,428.57         3,080.57
    551           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,785.71         2,772.21
    557           Leasehold Improvement     Patch / Paint / Ceiling Tiles                            16,076.75        14,234.58
    572           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,423.47         2,598.97
    574           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,708.58         2,735.58
    577           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             6,642.86         4,428.46
    580           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             6,142.86         2,943.36
    580           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,907.14         2,830.64
    587           Leasehold Improvement     Patch / Paint / Ceiling Tiles                            16,372.78         7,845.28
   9905            Computer Equipment                                                               265,946.05        75,351.56
   9905            Computer Equipment                                                                 2,346.00           664.70
   9905            Computer Equipment                                                                   344.14            97.32
   9905            Computer Equipment                                                                   510.65           144.72
   9905            Computer Equipment                                                                    39.18            11.23
   9905            Computer Equipment                                                                13,284.72         3,764.09
    519                 Equipment           Security Cameras & Install                                5,721.95         3,719.18
    542                 Equipment           Security Cameras & Install                                5,700.43           759.91
    544                 Equipment           Security Cameras & Install                                4,947.02           659.62
    543                 Equipment           Security Cameras & Install                                5,431.35           724.31
    545                 Equipment           Security Cameras & Install                                5,603.56           747.28



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     1                  Equipment           Security Cameras & Install                                5,884.32         1,373.10
     1                  Equipment           EAS System                                                1,323.56           598.60
     1                  Equipment           EAS System                                                1,403.25           634.59
     1                  Equipment           EAS System                                                  140.30            63.48
     1                  Equipment           EAS System                                                    57.08           25.80
     1                  Equipment           EAS System                                                  206.81            93.65
     1                  Equipment           EAS System                                                  916.00           414.60
     2                  Equipment           Security Cameras & Install                                2,900.96           386.76
     2             Computer Equipment       Data Lines                                                  762.13           165.23
     2             Computer Equipment       Data Lines                                                  697.89           151.28
     2                  Equipment           EAS System                                                1,252.53           492.12
     2                  Equipment           EAS System                                                6,042.39         2,373.96
     2                  Equipment           EAS System                                                3,480.00         1,367.07
     3                  Equipment           Security Cameras & Install                                5,110.83           681.47
     3            Leasehold Improvement     Patch / Paint / Ceiling Tiles                            17,388.51         8,332.01
     3             Computer Equipment       Data Lines                                                  437.68            95.05
     3                  Equipment           EAS System                                                1,403.25           534.33
     3                  Equipment           EAS System                                                  989.86           377.30
     3                  Equipment           EAS System                                                  868.00           330.84
     3            Leasehold Improvement     Change Order #1                                          16,800.00        10,220.00
     4                  Equipment           Security Cameras & Install                                6,616.37         4,300.70
     4            Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,070.47         4,066.89
     4             Computer Equipment       Data Lines                                                  618.41           453.45
     4                  Equipment           EAS System                                                3,157.06         2,405.46
     4                  Equipment           EAS System                                                  558.72           425.72
     4                  Equipment           EAS System                                                  212.01           161.61
     4                  Equipment           EAS System                                                2,020.00         1,539.00
    510                 Equipment           Security Cameras & Install                                5,401.51           719.95
    510                 Equipment           EAS System                                                2,806.50         1,069.18
    510                 Equipment           EAS System                                                  448.82           171.14
    510                 Equipment           EAS System                                                  210.01            80.01
    510                 Equipment           EAS System                                                1,496.00           569.88
    511                 Equipment           Security Cameras & Install                                4,814.89         3,129.64
    511                 Equipment           EAS System                                                2,101.29         1,575.87
    511                 Equipment           EAS System                                                  656.40           492.39
    511                 Equipment           EAS System                                                  212.01           159.09
    511                 Equipment           EAS System                                                1,496.00         1,121.99
    512                 Equipment           EAS System                                                  338.49           310.28
    513           Leasehold Improvement     HVAC Work                                                 7,229.82         6,627.34
    513                 Equipment           EAS System                                                  330.47           236.15
    513                 Equipment           EAS System                                                  204.89           146.33
    513                 Equipment           Security Cameras & Install                                4,627.02         2,853.26
    514                 Equipment           Security Cameras & Install                                5,624.57         2,437.41
    514                 Equipment           EAS System                                                2,808.30         1,671.68
    514                 Equipment           EAS System                                                  677.88           403.50
    514                 Equipment           EAS System                                               (1,262.95)         (751.59)
    514                 Equipment           EAS System                                                  784.00           466.78
    515                 Equipment           Security Cameras & Install                                4,656.42           620.70
    515           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,910.36         2,831.86
    515                 Equipment           EAS System                                                  338.44           128.88
    515                 Equipment           EAS System                                                1,403.25           534.33
    515                 Equipment           EAS System                                                  212.01            80.97
    515                 Equipment           EAS System                                                  772.00           294.12
    516                 Equipment           Security Cameras & Install                                4,992.44           665.52
    516                 Equipment           EAS System                                                2,806.50         1,102.59



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   Store                   Type                                   Description                       Basis         Accum Dpen
    516                 Equipment           EAS System                                                  492.97          193.60
    516                 Equipment           EAS System                                               (1,262.95)        (495.91)
    516                 Equipment           EAS System                                                1,260.00          495.00
    517                 Equipment           Security Cameras & Install                                1,900.00        1,234.93
    517                 Equipment           Security Cameras & Install                                3,878.62        2,521.18
    517                 Equipment           EAS System                                                2,049.21        1,536.81
    517                 Equipment           EAS System                                                  415.21          311.47
    517                 Equipment           EAS System                                                  212.01          159.09
    517                 Equipment           EAS System                                                  760.00          569.95
    518                 Equipment           Security Cameras & Install                                5,425.75        2,351.13
    518                 Equipment           EAS System                                                8,095.11        4,914.90
    518                 Equipment           EAS System                                                  621.47          377.27
    518                 Equipment           EAS System                                                2,460.00        1,493.43
    519            Computer Equipment       Data Lines                                                  274.37          201.25
    519                 Equipment           EAS System                                                1,659.40        1,244.65
    519                 Equipment           EAS System                                                  415.21          311.47
    519                 Equipment           EAS System                                                  210.01          157.51
    519                 Equipment           EAS System                                                1,260.00          945.00
    521                 Equipment           Security Cameras & Install                                2,464.01        1,930.10
    521                 Equipment           EAS System                                                  392.64          331.93
    521                 Equipment           EAS System                                                1,403.25        1,186.02
    521                 Equipment           EAS System                                                    99.96          84.49
    521                 Equipment           EAS System                                                1,236.00        1,044.77
    522                 Equipment           Security Cameras & Install                                3,092.24        2,422.22
    522                 Equipment           EAS System                                                  384.89          325.35
    522                 Equipment           EAS System                                                1,403.25        1,186.02
    522                 Equipment           EAS System                                                    99.96          84.49
    522                 Equipment           EAS System                                                1,236.00        1,044.77
    523           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,000.00        4,583.36
    523                 Equipment           EAS System                                                2,692.24        2,403.79
    523                 Equipment           EAS System                                                  404.45          361.16
    523                 Equipment           EAS System                                                  205.93          183.88
    523                 Equipment           EAS System                                                1,960.00        1,750.03
    529           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,142.86        4,125.03
    560                 Equipment           Security Cameras & Install                                5,174.61        4,053.49
    560                 Equipment           EAS System                                                2,706.03        2,319.51
    560                 Equipment           EAS System                                                  329.99          282.83
    560                 Equipment           EAS System                                                  206.89          177.37
    560                 Equipment           EAS System                                                2,077.60        1,780.84
    561                 Equipment           Security Cameras & Install                                5,873.56        2,838.97
    561                 Equipment           EAS System                                                2,786.20        1,691.59
    561                 Equipment           EAS System                                                  435.65          264.38
    561                 Equipment           EAS System                                                2,103.84        1,277.19
    562                 Equipment           Security Cameras & Install                                5,648.64        2,447.88
    562                 Equipment           EAS System                                               10,940.37        6,642.45
    562                 Equipment           EAS System                                                  435.65          264.38
    562                 Equipment           EAS System                                                4,695.84        2,851.14
    563                 Equipment           Security Cameras & Install                                5,562.88          741.96
    587                 Equipment           EAS System                                                2,770.60        1,055.64
    589                 Equipment           EAS System                                                1,191.50          454.14
    576                 Equipment           EAS System                                                2,796.20        1,531.18
    578                 Equipment           EAS System                                                  377.99          148.49
    582                 Equipment           EAS System                                                  378.80          148.79
    555                 Equipment           EAS System                                                  375.55          228.04
    534                 Equipment           EAS System                                                  373.76          142.36



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   Store                   Type                                   Description                       Basis         Accum Dpen
    533                 Equipment           EAS System                                                  376.20           143.24
    532                 Equipment           EAS System                                                  371.65           141.81
    535                 Equipment           EAS System                                                  373.76           142.36
    538                 Equipment           EAS System                                                  375.55           143.11
    574                 Equipment           EAS System                                                  382.05           145.45
    575                 Equipment           EAS System                                                  384.49           210.45
    563                 Equipment           EAS System                                                  382.05           145.45
    591                 Equipment           EAS System                                                  375.55           223.57
    584                 Equipment           EAS System                                                  378.80           144.28
    585                 Equipment           EAS System                                                  378.80           144.28
    530           Leasehold Improvement     HVAC Work                                                 9,639.03         9,639.03
    530           Leasehold Improvement     HVAC Work                                                (9,639.03)       (9,639.03)
    579                 Equipment           EAS System                                                  378.80           144.28
    580                 Equipment           EAS System                                                  378.80           144.28
    531           Leasehold Improvement     HVAC Work                                                 7,251.28         3,474.78
    590                 Equipment           EAS System                                                2,739.80         1,174.04
    564                 Equipment           EAS System                                                  431.91           272.57
    532           Leasehold Improvement     Patch / Paint / Ceiling Tiles                            14,587.22         6,989.72
    576                 Equipment           EAS System                                                  435.65           238.43
    545                 Equipment           EAS System                                                  536.53           204.25
    533           Leasehold Improvement     Patch / Paint / Ceiling Tiles                            10,160.11         4,868.61
    540                 Equipment           EAS System                                                  428.17           193.57
    565                 Equipment           EAS System                                                  435.65           264.38
    534           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,428.57         2,601.07
    534           Leasehold Improvement     HVAC Work                                                 7,726.06         3,702.06
    590                 Equipment           EAS System                                                  428.17           183.37
    583                 Equipment           EAS System                                                  382.05           145.45
    544                 Equipment           EAS System                                                  376.69           148.21
    555                 Equipment           EAS System                                                2,739.60         1,663.47
    559                 Equipment           EAS System                                                2,786.20         1,094.53
    582                 Equipment           EAS System                                                2,763.00         1,085.61
    566                 Equipment           EAS System                                                1,533.40           584.40
    581                 Equipment           EAS System                                                3,363.69         1,281.61
     3                  Equipment           EAS System                                                  839.88           319.88
    516                 Equipment           EAS System                                                2,519.63           989.63
    538            Computer Equipment       Data Lines                                                  393.80            85.48
    587                 Equipment           EAS System                                                  554.71           211.51
    586                 Equipment           EAS System                                                  550.99           216.43
    589                 Equipment           EAS System                                                  547.82           208.78
    559                 Equipment           EAS System                                                  598.31           235.19
    566                 Equipment           EAS System                                                  435.65           165.77
    548                 Equipment           EAS System                                                  536.06           210.68
    551                 Equipment           EAS System                                                  481.87           183.39
    558                 Equipment           EAS System                                                  225.25            88.57
    581                 Equipment           EAS System                                                  485.04           185.00
    531                 Equipment           EAS System                                                2,709.32         1,064.57
    525                 Equipment           EAS System                                                2,709.32         1,645.07
    535                 Equipment           EAS System                                                1,364.66           519.66
    586                 Equipment           EAS System                                                2,759.00         1,083.65
    526                 Equipment           EAS System                                                7,935.59         3,117.62
    544                 Equipment           EAS System                                                1,373.96           539.60
    578                 Equipment           EAS System                                                2,707.31         1,063.58
    577                 Equipment           EAS System                                                2,757.20         1,674.14
    548                 Equipment           EAS System                                                2,745.60         1,078.41
    551                 Equipment           EAS System                                                2,745.60         1,045.72



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   Store                   Type                                   Description                     Basis         Accum Dpen
    558                 Equipment           EAS System                                              2,729.23        1,072.24
    583                 Equipment           EAS System                                              6,863.78        2,614.86
    556                 Equipment           EAS System                                                408.32          345.14
    531                 Equipment           EAS System                                                589.19          231.68
    577                 Equipment           EAS System                                                269.69          163.76
    525                 Equipment           EAS System                                                364.51          221.29
    526                 Equipment           EAS System                                                482.91          189.66
    557                 Equipment           EAS System                                                491.40          421.20
    552                 Equipment           EAS System                                                331.21          126.33
    546                 Equipment           EAS System                                                331.21          126.33
    531                 Equipment           EAS System                                                330.03          125.67
    530                 Equipment           EAS System                                                330.03          330.03
    530                 Equipment           EAS System                                               (330.03)        (330.03)
    529                 Equipment           EAS System                                                330.03          247.50
    539                 Equipment           EAS System                                                330.47          126.11
    553           Leasehold Improvement     Patch / Paint / Ceiling Tiles                           8,157.14        3,908.64
    537                 Equipment           EAS System                                                330.47          126.11
    570                 Equipment           EAS System                                                336.35          128.35
    555                 Equipment           Security Cameras & Install                              5,602.11        2,427.53
    573                 Equipment           EAS System                                                336.35          128.35
    572                 Equipment           EAS System                                                338.56          129.00
    571                 Equipment           EAS System                                                336.72          284.59
    527                 Equipment           EAS System                                                408.45          243.21
    556            Computer Equipment       Data Lines                                                258.00          223.60
    556            Computer Equipment       Data Lines                                                350.00          303.36
    556            Computer Equipment       Data Lines                                                993.50          861.02
    541                 Equipment           EAS System                                                251.82           95.82
    568                 Equipment           EAS System                                                418.75          159.27
    569                 Equipment           EAS System                                                338.56          129.00
    557                 Equipment           Security Cameras & Install                              6,538.06        5,121.45
    556                 Equipment           EAS System                                              4,179.82        3,532.94
    557                 Equipment           EAS System                                              3,073.59        2,634.51
    549                 Equipment           EAS System                                                409.56          155.80
    550                 Equipment           EAS System                                                409.56          155.80
    547                 Equipment           EAS System                                                488.09          185.97
   9905            Computer Equipment       Computer Equipment for DMs & LPs                       23,449.19        3,117.19
    589                 Equipment           EAS System                                              1,079.45          411.25
    542                 Equipment           EAS System                                                488.53          185.89
    543                 Equipment           EAS System                                                331.50          126.10
    553                 Equipment           EAS System                                                228.46           87.02
    531                 Equipment           EAS System                                                205.93           80.98
    577                 Equipment           EAS System                                                208.23          126.39
    525                 Equipment           EAS System                                                205.93          125.08
    526                 Equipment           EAS System                                                205.93           80.98
    564                 Equipment           EAS System                                                254.97          160.73
    578                 Equipment           EAS System                                                  98.40          38.73
    577                 Equipment           EAS System                                                  98.40          59.79
    544                 Equipment           EAS System                                                  98.11          38.44
    582                 Equipment           EAS System                                                  98.59          38.92
    555                 Equipment           EAS System                                                  97.85          59.57
    534                 Equipment           EAS System                                                  98.17          37.33
    533                 Equipment           EAS System                                                  98.73          37.37
    532                 Equipment           EAS System                                                  97.70          37.38
    535                 Equipment           EAS System                                                258.41           98.25
    538                 Equipment           EAS System                                                  97.85          37.53



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    541                  Equipment          EAS System                                                 97.85           37.53
    574                  Equipment          EAS System                                                 99.32           37.96
    575                  Equipment          EAS System                                                 99.87           54.65
    563                  Equipment          EAS System                                                 99.32           37.96
    591                  Equipment          EAS System                                                 97.85           58.41
    584                  Equipment          EAS System                                                 98.59           37.75
    585                  Equipment          EAS System                                                 98.59           37.75
    579                  Equipment          EAS System                                                 98.59           37.75
    580                  Equipment          EAS System                                                 98.59           37.75
    558                  Equipment          EAS System                                                206.67           81.21
    556                  Equipment          EAS System                                                206.67          174.69
    557                  Equipment          EAS System                                                206.67          177.15
    549                  Equipment          EAS System                                                205.34           78.46
    550                  Equipment          EAS System                                                205.34           78.46
    547                  Equipment          EAS System                                                205.34           78.46
    542                  Equipment          EAS System                                                205.51           78.11
    543                  Equipment          EAS System                                                205.51           78.11
    553                  Equipment          EAS System                                                205.34           78.46
    552                  Equipment          EAS System                                                205.34           78.46
    546                  Equipment          EAS System                                                205.34           78.46
    531                  Equipment          EAS System                                                203.93           77.57
    527                  Equipment          EAS System                                                203.93          121.31
    530                  Equipment          EAS System                                                203.93          203.93
    530                  Equipment          EAS System                                               (203.93)        (203.93)
    529                  Equipment          EAS System                                                203.93          152.90
    539                  Equipment          EAS System                                                204.89           78.01
    537                  Equipment          EAS System                                                204.89           78.01
    541                  Equipment          EAS System                                                204.89           78.01
    570                  Equipment          EAS System                                                208.45           79.49
    573                  Equipment          EAS System                                                208.45           79.49
    569                  Equipment          EAS System                                                209.79           79.79
    568                  Equipment          EAS System                                                209.79           79.79
    572                  Equipment          EAS System                                                209.79           79.79
    571                  Equipment          EAS System                                                208.67          176.43
    587                  Equipment          EAS System                                              2,089.23          795.99
    586                  Equipment          EAS System                                              2,092.30          821.89
    589                  Equipment          EAS System                                              1,966.30          748.98
    590                  Equipment          EAS System                                              2,064.88          885.04
    544                  Equipment          EAS System                                                782.74          307.42
    555                  Equipment          EAS System                                              2,014.00        1,222.66
    576                  Equipment          EAS System                                                807.84          442.28
    559                  Equipment          EAS System                                              2,142.72          841.71
    531                  Equipment          EAS System                                              2,108.00          827.90
    577                  Equipment          EAS System                                              2,066.68        1,254.88
    525                  Equipment          EAS System                                              2,095.25        1,272.23
    558                  Equipment          EAS System                                              2,084.36          819.05
    548                  Equipment          EAS System                                              2,018.75          793.22
    566                  Equipment          EAS System                                                807.84          307.60
    551                  Equipment          EAS System                                              1,338.75          509.87
    582                  Equipment          EAS System                                              2,071.52          813.86
    581                  Equipment          EAS System                                              2,097.20          798.76
    535                  Equipment          EAS System                                                782.00          297.88
    526                  Equipment          EAS System                                              3,264.00        1,282.14
    581                  Equipment          EAS System                                              5,956.88        2,269.04
    557                  Equipment          EAS System                                              2,730.38        2,340.38



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    547                 Equipment           EAS System                                                1,378.48           525.16
    529                 Equipment           EAS System                                                    10.81            8.08
    576                 Equipment           EAS System                                               (1,231.20)         (674.12)
    558                 Equipment           Security Cameras & Install                                4,312.60           574.84
    559                 Equipment           Security Cameras & Install                                5,406.81           721.09
    564                 Equipment           Security Cameras & Install                                6,205.77         2,999.44
    565                 Equipment           Security Cameras & Install                                6,205.77         2,792.58
    581                 Equipment           Security Cameras & Install                                6,079.62           810.46
    582                 Equipment           Security Cameras & Install                                5,169.22           775.57
    583                 Equipment           Security Cameras & Install                                5,562.88           834.67
    584                 Equipment           Security Cameras & Install                                5,541.35           830.99
    585                 Equipment           Security Cameras & Install                                5,562.88           834.67
    586                 Equipment           Security Cameras & Install                                5,552.11           832.57
    587                 Equipment           Security Cameras & Install                                7,585.78         1,137.85
    588                 Equipment           Security Cameras & Install                                5,873.56           881.17
    589                 Equipment           Security Cameras & Install                                5,945.09           892.01
    590                 Equipment           Security Cameras & Install                                6,227.29         1,245.37
    591                 Equipment           Security Cameras & Install                                5,812.88         2,615.84
    578           Leasehold Improvement     HVAC Work                                                 5,666.89         2,715.39
    567                 Equipment           EAS System                                                  418.75           159.27
    567                 Equipment           EAS System                                                  209.79            79.79
    590           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             6,693.46         3,416.62
    568           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,456.26         2,614.26
    575           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,915.13         3,511.95
    558           Leasehold Improvement     Patch / Paint / Ceiling Tiles                            11,119.26         5,327.76
    567           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,903.58         2,828.58
    573           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             7,700.18         3,689.68
    569           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,903.58         2,828.58
    578           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             6,571.43         3,148.93
    559           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,328.58         2,553.08
    570           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             6,557.14         3,142.14
    571           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             6,796.42         6,017.62
    591           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             5,428.58         4,071.38
    586           Leasehold Improvement     Patch / Paint / Ceiling Tiles                            12,160.49         5,826.99
    559           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             6,580.00         3,153.00
    564           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             6,214.20         4,142.84
    588           Leasehold Improvement     Patch / Paint / Ceiling Tiles                            26,199.55        12,554.05
    583                 Equipment           EAS System                                                    31.05           11.81
    583                 Equipment           EAS System                                                    99.32           37.96
    578                 Equipment           EAS System                                                2,066.68           812.08
    583                 Equipment           EAS System                                                2,954.88         1,125.52
    583                 Equipment           EAS System                                                    21.45            7.93
     1             Computer Equipment       Configure/Integrate POS                                   1,583.51           501.52
     2             Computer Equipment       Configure/Integrate POS                                   1,319.59           286.06
     4             Computer Equipment       Configure/Integrate POS                                     879.73           645.17
    531            Computer Equipment       Configure/Integrate POS                                   1,231.62           266.71
    510            Computer Equipment       Configure/Integrate POS                                     703.78           152.47
    511            Computer Equipment       Configure/Integrate POS                                     703.78           516.10
    514            Computer Equipment       Configure/Integrate POS                                     615.81           318.27
    515            Computer Equipment       Configure/Integrate POS                                     527.84           114.24
    516            Computer Equipment       Configure/Integrate POS                                     439.86            95.35
    517            Computer Equipment       Configure/Integrate POS                                     439.86           322.58
    518            Computer Equipment       Configure/Integrate POS                                     439.86           227.29
    519            Computer Equipment       Configure/Integrate POS                                     439.86           322.58
    521            Computer Equipment       Configure/Integrate POS                                     351.89           305.01



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   Store                  Type                                  Description                        Basis         Accum Dpen
    522             Computer Equipment      Configure/Integrate POS                                    351.89           305.01
    532             Computer Equipment      Configure/Integrate POS                                    351.89            76.47
    542             Computer Equipment      Configure/Integrate POS                                    527.84           114.24
    543             Computer Equipment      Configure/Integrate POS                                    351.89            76.47
    544             Computer Equipment      Configure/Integrate POS                                    351.89            76.47
    545             Computer Equipment      Configure/Integrate POS                                    527.84           114.24
    552             Computer Equipment      Configure/Integrate POS                                    351.89            76.47
    555             Computer Equipment      Configure/Integrate POS                                    351.89           181.95
    556             Computer Equipment      Configure/Integrate POS                                    439.86           381.22
    557             Computer Equipment      Configure/Integrate POS                                    527.84           457.44
    558             Computer Equipment      Configure/Integrate POS                                    351.95            76.06
    564             Computer Equipment      Configure/Integrate POS                                    351.89           199.53
    565             Computer Equipment      Configure/Integrate POS                                    351.89           187.81
    571             Computer Equipment      Configure/Integrate POS                                    351.89           305.01
    579             Computer Equipment      Configure/Integrate POS                                    351.89            76.47
    580             Computer Equipment      Configure/Integrate POS                                    351.89            76.47
    590             Computer Equipment      Configure/Integrate POS                                    351.89            94.05
    573             Computer Equipment      POS Install                                              1,159.00           250.96
    561             Computer Equipment      POS Install                                              1,069.00           605.68
    570             Computer Equipment      POS Install                                              1,159.00           250.96
    559             Computer Equipment      POS Install                                              1,159.00           250.96
    525             Computer Equipment      POS Install                                              1,159.00           598.72
    572             Computer Equipment      POS Install                                              1,159.00           250.96
    560             Computer Equipment      POS Install                                                979.00           848.44
    581             Computer Equipment      POS Install                                              1,159.00           250.96
    526             Computer Equipment      POS Install                                              1,159.00           250.96
    537             Computer Equipment      POS Install                                              1,114.00           241.21
    562             Computer Equipment      POS Install                                              1,159.00           598.72
    584             Computer Equipment      POS Install                                              1,114.00           241.21
    527             Computer Equipment      POS Install                                              1,159.00           598.72
    547             Computer Equipment      POS Install                                              1,159.00           250.96
    541             Computer Equipment      POS Install                                              1,159.00           250.96
    563             Computer Equipment      POS Install                                              1,069.00           231.46
    583             Computer Equipment      POS Install                                              1,069.00           231.46
    530             Computer Equipment      POS Install                                              1,159.00         1,159.00
    530             Computer Equipment      POS Install                                             (1,159.00)       (1,159.00)
    550             Computer Equipment      POS Install                                              1,159.00           250.96
    540             Computer Equipment      POS Install                                              1,159.00           366.88
    566             Computer Equipment      POS Install                                              1,159.00           250.96
    582             Computer Equipment      POS Install                                              1,159.00           250.96
    529             Computer Equipment      POS Install                                              1,159.00           849.88
    549             Computer Equipment      POS Install                                              1,159.00           250.96
    538             Computer Equipment      POS Install                                              1,159.00           250.96
    569             Computer Equipment      POS Install                                              1,114.00           241.21
    585             Computer Equipment      POS Install                                              1,069.00           231.46
    531             Computer Equipment      POS Install                                              1,114.00           241.21
    546             Computer Equipment      POS Install                                              1,159.00           250.96
    539             Computer Equipment      POS Install                                              1,159.00           250.96
    567             Computer Equipment      POS Install                                              1,159.00           250.96
    588             Computer Equipment      POS Install                                                979.00           211.96
    535             Computer Equipment      POS Install                                              1,159.00           250.96
    551             Computer Equipment      POS Install                                              1,159.00           250.96
    576             Computer Equipment      POS Install                                              1,069.00           480.94
    568             Computer Equipment      POS Install                                              1,159.00           250.96
    587             Computer Equipment      POS Install                                              1,024.00           221.71



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   Store                  Type                                  Description                        Basis         Accum Dpen
    531             Computer Equipment      POS Install                                              1,159.00           250.96
    548             Computer Equipment      POS Install                                              1,159.00           250.96
    512             Computer Equipment      POS Install                                              1,024.00           699.67
    575             Computer Equipment      POS Install                                              1,159.00           521.44
    586             Computer Equipment      POS Install                                                979.00           211.96
    553             Computer Equipment      POS Install                                              1,159.00           250.96
    578             Computer Equipment      POS Install                                              1,024.00           221.71
    589             Computer Equipment      POS Install                                              1,024.00           221.71
    534             Computer Equipment      POS Install                                              1,159.00           250.96
    574             Computer Equipment      POS Install                                              1,159.00           250.96
    577             Computer Equipment      POS Install                                              1,024.00           580.18
    591             Computer Equipment      POS Install                                              1,159.00           598.72
    533             Computer Equipment      POS Install                                              1,159.00           250.96
    589             Computer Equipment      Cancel POS Install                                      (1,024.00)         (221.71)
    557                 Equipment           EAS System                                              (2,482.40)       (2,098.25)
    564                 Equipment           EAS System                                               2,482.40         1,566.35
   9905             Computer Equipment      CISCO 3925E/K9 (1)                                       6,591.58         1,867.60
   9905             Computer Equipment      RF Hardware (1)                                          6,396.80         1,812.57
   9905             Computer Equipment      RF Hardware (1)                                         45,813.11        12,980.46
   9905             Computer Equipment      Power Saving Back-ups (80)                              13,723.57         3,888.18
   9905             Computer Equipment      Toshiba Thermal Portable (166)                         100,396.80        28,445.76
   9905             Computer Equipment      Lexmark Printers (20)                                    5,059.78         1,433.59
   9905             Computer Equipment      Cisco AC Power Supply (1)                                  252.77            71.74
   9905             Computer Equipment      Cherry POS Keyboard (1)                                    298.00            84.29
   9905             Computer Equipment      Freight Costs                                            3,113.34           882.07
   9905             Computer Equipment      Lenovo Server (1)                                          434.50           123.18
   9905             Computer Equipment      POS (2)                                                    367.00           103.84
   9905             Computer Equipment      Freight/Supply Costs                                     5,783.60         1,638.83
    544                 Equipment           EAS System                                               1,632.70           660.70
    544                 Equipment           EAS System                                               2,489.93         1,007.93
    545                 Equipment           EAS System                                               1,632.70           621.82
    545                 Equipment           EAS System                                               2,489.93           948.65
    552                 Equipment           EAS System                                               1,631.50           621.66
    552                 Equipment           EAS System                                               2,488.13           947.89
    565                 Equipment           EAS System                                               1,652.50         1,003.39
    565                 Equipment           EAS System                                               2,519.63         1,529.63
    567                 Equipment           EAS System                                               4,221.88         1,608.36
    568                 Equipment           EAS System                                               4,221.88         1,608.36
    569                 Equipment           EAS System                                               1,661.50           632.94
    570                 Equipment           EAS System                                               1,652.50           629.66
    573                 Equipment           EAS System                                               4,199.38         1,599.90
    575                 Equipment           EAS System                                               1,661.50           909.86
    575                 Equipment           EAS System                                               2,533.13         1,387.05
    581                 Equipment           EAS System                                               1,640.50           624.94
    581                 Equipment           EAS System                                               2,501.63           953.07
    587                 Equipment           EAS System                                               1,643.50           625.86
    587                 Equipment           EAS System                                               2,506.13           954.97
    591                 Equipment           EAS System                                               1,628.50           969.24
    591                 Equipment           EAS System                                               2,483.63         1,478.25
    511                 Equipment           Relocate / Reconnect Cameras                             1,564.58         1,042.98
    527                 Equipment           Security Cameras & Install                               4,470.91         2,011.75
    529                 Equipment           Security Cameras & Install                               4,963.88         3,309.28
    530                 Equipment           Security Cameras & Install                               4,813.88         4,813.88
    530                 Equipment           Security Cameras & Install                              (4,813.88)       (4,813.88)
    531                 Equipment           Security Cameras & Install                               3,639.75           546.09



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   Store                   Type                                  Description                       Basis        Accum Dpen
    533                  Equipment          Security Cameras & Install                               5,189.06         778.58
    534                  Equipment          Security Cameras & Install                               5,135.33         770.24
    535                  Equipment          Security Cameras & Install                               4,963.88         744.65
    538                  Equipment          Security Cameras & Install                               5,831.95         874.75
    539                  Equipment          Security Cameras & Install                               5,499.74         825.08
    540                  Equipment          Security Cameras & Install                               6,164.16       1,540.86
    541                  Equipment          Security Cameras & Install                               4,470.91         670.39
    546                  Equipment          Security Cameras & Install                               5,178.30         776.49
    547                  Equipment          Security Cameras & Install                               3,574.83         536.25
    549                  Equipment          Security Cameras & Install                               5,649.74         847.58
    550                  Equipment          Security Cameras & Install                               6,185.69         928.10
    551                  Equipment          Security Cameras & Install                               5,881.95         882.42
    552                  Equipment          Security Cameras & Install                               6,235.69         935.26
    553                  Equipment          Security Cameras & Install                               5,521.27         828.25
    566                  Equipment          Security Cameras & Install                               5,831.95         874.75
    567                  Equipment          Security Cameras & Install                               6,496.37         974.60
    569                  Equipment          Security Cameras & Install                               5,831.95         874.75
    570                  Equipment          Security Cameras & Install                               6,496.37         974.60
    571                  Equipment          Security Cameras & Install                               5,853.48       4,682.76
    572                  Equipment          Security Cameras & Install                               6,496.37         974.60
    573                  Equipment          Security Cameras & Install                               5,831.95         874.75
    574                  Equipment          Security Cameras & Install                               6,546.37         981.76
    577                  Equipment          Security Cameras & Install                               5,853.48       2,926.68
    578                  Equipment          Security Cameras & Install                               6,185.69         928.10
    579                  Equipment          Security Cameras & Install                               5,697.41         854.45
    580                  Equipment          Security Cameras & Install                               5,499.74         825.08
     1                   Equipment          Cables for Security Camera System                          290.60          72.80
     2                   Equipment          Cables for Security Camera System                          290.60          43.76
     3                   Equipment          Cables for Security Camera System                          290.60          43.76
     4                   Equipment          Cables for Security Camera System                          290.60         193.80
    510                  Equipment          Cables for Security Camera System                          290.60          43.76
    511                  Equipment          Cables for Security Camera System                          290.60         193.80
    513                  Equipment          Cables for Security Camera System                          290.61         179.29
    514                  Equipment          Cables for Security Camera System                          290.60         130.88
    515                  Equipment          Cables for Security Camera System                          290.60          43.76
    516                  Equipment          Cables for Security Camera System                          290.60          43.76
    517                  Equipment          Cables for Security Camera System                          290.60         193.80
    518                  Equipment          Cables for Security Camera System                          290.60         130.88
    519                  Equipment          Cables for Security Camera System                          290.60         193.80
    521                  Equipment          Cables for Security Camera System                          290.60         232.52
    522                  Equipment          Cables for Security Camera System                          290.60         232.52
    531                  Equipment          Cables for Security Camera System                          290.60          43.76
    525                  Equipment          Cables for Security Camera System                          290.60         130.88
    526                  Equipment          Cables for Security Camera System                          290.60          43.76
    537                  Equipment          Cables for Security Camera System                          290.60          43.76
    542                  Equipment          Cables for Security Camera System                          290.60          43.76
    543                  Equipment          Cables for Security Camera System                          290.60          43.76
    544                  Equipment          Cables for Security Camera System                          290.60          43.76
    545                  Equipment          Cables for Security Camera System                          290.60          43.76
    548                  Equipment          Cables for Security Camera System                          290.60          43.76
    555                  Equipment          Cables for Security Camera System                          290.60         130.88
    557                  Equipment          Cables for Security Camera System                          290.60         232.52
    558                  Equipment          Cables for Security Camera System                          290.60          43.76
    559                  Equipment          Cables for Security Camera System                          290.60          43.76
    560                  Equipment          Cables for Security Camera System                          290.60         232.52



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   Store                   Type                                  Description                       Basis         Accum Dpen
    561                 Equipment           Cables for Security Camera System                          290.60           145.40
    562                 Equipment           Cables for Security Camera System                          290.60           130.88
    563                 Equipment           Cables for Security Camera System                          290.60            43.76
    564                 Equipment           Cables for Security Camera System                          290.60           145.40
    565                 Equipment           Cables for Security Camera System                          290.60           135.72
    568                 Equipment           Cables for Security Camera System                          290.60            43.76
    575                 Equipment           Cables for Security Camera System                          290.60           111.52
    576                 Equipment           Cables for Security Camera System                          290.60           111.52
    581                 Equipment           Cables for Security Camera System                          290.61            43.77
    582                 Equipment           Cables for Security Camera System                          290.60            43.76
    583                 Equipment           Cables for Security Camera System                          290.61            43.77
    584                 Equipment           Cables for Security Camera System                          290.61            43.77
    585                 Equipment           Cables for Security Camera System                          290.60            43.76
    586                 Equipment           Cables for Security Camera System                          290.60            43.76
    587                 Equipment           Cables for Security Camera System                          290.60            43.76
    588                 Equipment           Cables for Security Camera System                          290.61            43.77
    589                 Equipment           Cables for Security Camera System                          290.60            43.76
    590                 Equipment           Cables for Security Camera System                          290.60            58.28
    591                 Equipment           Cables for Security Camera System                          290.60           130.88
    529           Leasehold Improvement     Replaced 7 HVAC Units                                    9,325.34         7,479.68
    582           Leasehold Improvement     HVAC Replacement                                        10,407.48         4,986.98
    589           Leasehold Improvement     HVAC Replacement                                        24,219.28        11,605.28
    513            Computer Equipment       Trace & Connect POTS Lines                                 250.00           170.77
    518            Computer Equipment       Trace & Connect POTS Lines                                 253.68           131.01
    526            Computer Equipment       Trace & Connect POTS Lines                                 200.00            43.49
    559            Computer Equipment       Trace & Connect POTS Lines                                 100.00            21.51
    577            Computer Equipment       Trace & Connect POTS Lines                                 200.00           113.42
    578            Computer Equipment       Trace & Connect POTS Lines                                 250.00            54.01
    581            Computer Equipment       Trace & Connect POTS Lines                                 100.00            21.51
    582            Computer Equipment       Trace & Connect POTS Lines                                 350.00            75.99
    517           Leasehold Improvement     Renovation Contract                                     29,900.00        25,913.28
   9905            Computer Equipment                                                                1,974.32           559.19
   9905            Computer Equipment                                                              429,571.89       121,712.10
   9905            Computer Equipment                                                              (68,461.67)      (19,397.38)
   9905            Computer Equipment                                                                    75.00           21.25
   9905            Computer Equipment                                                                  580.11           164.30
    511           Leasehold Improvement                                                             13,539.65        11,734.37
    521           Leasehold Improvement                                                              1,721.00         1,606.28
    522           Leasehold Improvement                                                              1,388.25         1,295.69
    556           Leasehold Improvement                                                             12,888.45        12,029.25
    556           Leasehold Improvement                                                              1,432.05         1,336.61
    558           Leasehold Improvement                                                             30,000.00        18,250.00
    560           Leasehold Improvement                                                              7,540.85         7,038.13
    568           Leasehold Improvement                                                             35,849.70        21,808.45
     1                  Equipment           Security Cameras                                           520.41           130.26
     2                  Equipment           Security Cameras                                           139.47            21.15
     3                  Equipment           Security Cameras                                           387.54            58.08
    510                 Equipment           Security Cameras                                           702.94           105.22
    511                 Equipment           Security Cameras                                           175.74           117.14
    512                 Equipment           EAS System                                               2,830.95         2,595.05
    512                 Equipment           EAS System                                               1,900.00         1,741.66
    512                 Equipment           Security Cameras                                           189.51           116.83
    513                 Equipment           EAS System                                               1,627.31         1,162.43
    513                 Equipment           Security Cameras                                           515.56           317.99
    514                 Equipment           Security Cameras                                           554.98           249.73



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   Store                   Type                                Description                        Basis         Accum Dpen
    515                  Equipment          Security Cameras                                          529.57           79.24
    516                  Equipment          Security Cameras                                          329.49           49.50
    517                  Equipment          EAS System                                                481.38          361.05
    517                  Equipment          Security Cameras                                          619.76          413.16
    518                  Equipment          Security Cameras                                          619.76          278.87
    519                  Equipment          Security Cameras                                          554.98          369.98
    519                  Equipment          Security Cameras                                            37.20          24.80
    521                  Equipment          Security Cameras                                          175.74          140.58
    522                  Equipment          Security Cameras                                          763.40          610.76
    523                  Equipment          Security Cameras                                          188.63          135.25
    531                  Equipment          Security Cameras                                          188.63           28.49
    525                  Equipment          Security Cameras                                          300.60          135.27
    526                  Equipment          Security Cameras                                          300.60           45.09
    531                  Equipment          Security Cameras                                            37.20           5.58
    533                  Equipment          EAS System                                                474.83          181.03
    538                  Equipment          Security Cameras                                          190.59           28.41
    539                  Equipment          Security Cameras                                            37.20           5.58
    540                  Equipment          Security Cameras                                            35.31           8.76
    540                  Equipment          Security Cameras                                          883.66          220.81
    541                  Equipment          Security Cameras                                          883.66          132.43
    542                  Equipment          EAS System                                                647.41          246.49
    542                  Equipment          Security Cameras                                          349.71           52.38
    543                  Equipment          Security Cameras                                          279.06           41.91
    547                  Equipment          Security Cameras                                          374.77           56.02
    547                  Equipment          EAS System                                                700.00          291.83
    548                  Equipment          Security Cameras                                          374.79           56.04
    549                  Equipment          Security Cameras                                          251.99           37.79
    550                  Equipment          Security Cameras                                          122.33           18.29
    551                  Equipment          Security Cameras                                          252.46           37.75
    552                  Equipment          Security Cameras                                            51.75           7.89
    553                  Equipment          Security Cameras                                            51.74           7.88
    555                  Equipment          Security Cameras                                          602.79          271.14
    556                  Equipment          Security Cameras                                          750.27          600.27
    557                  Equipment          Security Cameras                                        1,221.20          977.00
    558                  Equipment          Security Cameras                                          260.25           38.91
    559                  Equipment          Security Cameras                                          409.45           61.63
    560                  Equipment          Security Cameras                                          366.55          293.23
    561                  Equipment          Security Cameras                                          128.64           64.44
    562                  Equipment          Security Cameras                                          208.83           93.99
    564                  Equipment          EAS System                                              1,900.00        1,221.40
    564                  Equipment          Security Cameras                                          431.52          215.82
    569                  Equipment          EAS System                                              1,479.08          580.97
    570                  Equipment          EAS System                                              2,079.20          816.95
    576                  Equipment          Security Cameras                                          191.73           73.33
    577                  Equipment          Security Cameras                                          269.17          134.47
    578                  Equipment          Security Cameras                                          269.17           40.18
    579                  Equipment          Security Cameras                                        1,017.63          152.67
    580                  Equipment          Security Cameras                                        1,054.84          158.26
    581                  Equipment          EAS System                                              1,500.00          589.14
    581                  Equipment          Security Cameras                                          691.71          103.68
    582                  Equipment          Security Cameras                                          199.70           29.87
    583                  Equipment          Security Cameras                                          174.32           25.91
    588                  Equipment          EAS System                                                527.59          201.03
    588                  Equipment          EAS System                                              2,602.40          991.44
    588                  Equipment          EAS System                                              1,948.00          765.31



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   Store                   Type                              Description                         Basis        Accum Dpen
    591           Leasehold Improvement     New Store : HVAC                                      22,409.62       18,487.87
   9905             Computer Software       Remote ware WIN BASIC                                 18,449.10        5,534.52
   9905            Computer Equipment       RF Hardware                                            2,665.33          755.27
    531           Leasehold Improvement     HVAC Repair                                            9,087.36        5,528.05
    532                 Equipment           Security Cameras                                       4,845.21          726.96
    556                 Equipment           EAS System                                             2,620.00        2,370.48
    557                 Equipment           EAS System                                             1,544.00        1,396.96
    556           Leasehold Improvement     HVAC Repair                                           14,385.00       13,425.96
    556           Leasehold Improvement     HVAC Chiller                                          22,470.00       20,972.00
     1                  Equipment           Security Cameras                                         173.44           43.39
     2                  Equipment           Security Cameras                                         173.44           26.05
     3                  Equipment           Security Cameras                                         173.44           26.05
     4                  Equipment           Security Cameras                                         173.44          115.64
    510                 Equipment           Security Cameras                                         173.44           26.05
    511                 Equipment           Security Cameras                                         173.44          115.64
    512                 Equipment           Security Cameras                                         170.60          105.28
    513                 Equipment           Security Cameras                                         169.60          104.51
    514                 Equipment           Security Cameras                                         173.44           78.07
    515                 Equipment           Security Cameras                                         173.44           26.05
    516                 Equipment           Security Cameras                                         173.44           26.05
    517                 Equipment           Security Cameras                                         173.44          115.64
    518                 Equipment           Security Cameras                                         173.44           78.07
    519                 Equipment           Security Cameras                                         173.44          115.64
    521                 Equipment           Security Cameras                                         173.44          138.76
    522                 Equipment           Security Cameras                                         173.44          138.76
    531                 Equipment           Security Cameras                                         169.94           25.61
    525                 Equipment           Security Cameras                                         169.94           76.55
    526                 Equipment           Security Cameras                                         169.94           25.61
    527                 Equipment           Security Cameras                                         169.94           76.55
    529                 Equipment           Security Cameras                                         169.94          113.34
    531                 Equipment           Security Cameras                                         169.94           25.61
    532                 Equipment           Security Cameras                                         169.07           25.25
    533                 Equipment           Security Cameras                                         170.94           25.59
    534                 Equipment           Security Cameras                                         169.94           25.61
    535                 Equipment           Security Cameras                                         169.94           25.61
    537                 Equipment           Security Cameras                                         169.60           25.27
    538                 Equipment           Security Cameras                                         169.60           25.27
    539                 Equipment           Security Cameras                                         169.60           25.27
    540                 Equipment           Security Cameras                                         169.60           42.25
    541                 Equipment           Security Cameras                                         169.60           25.27
    542                 Equipment           Security Cameras                                         170.07           25.74
    543                 Equipment           Security Cameras                                         170.07           25.74
    544                 Equipment           Security Cameras                                         170.07           25.74
    545                 Equipment           Security Cameras                                         170.07           25.74
    546                 Equipment           Security Cameras                                         169.94           25.61
    547                 Equipment           Security Cameras                                         169.94           25.61
    548                 Equipment           Security Cameras                                         169.94           25.61
    549                 Equipment           Security Cameras                                         169.94           25.61
    550                 Equipment           Security Cameras                                         169.94           25.61
    551                 Equipment           Security Cameras                                         169.94           25.61
    552                 Equipment           Security Cameras                                         169.94           25.61
    553                 Equipment           Security Cameras                                         169.94           25.61
    555                 Equipment           Security Cameras                                         169.60           76.21
    556                 Equipment           Security Cameras                                         170.94          136.74
    557                 Equipment           Security Cameras                                         170.94          136.74



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    558                 Equipment           Security Cameras                                           170.94           25.59
    559                 Equipment           Security Cameras                                           172.27           25.90
    560                 Equipment           Security Cameras                                           169.60          135.64
    561                 Equipment           Security Cameras                                           172.27           86.17
    562                 Equipment           Security Cameras                                           172.27           77.56
    563                 Equipment           Security Cameras                                           172.27           25.90
    564                 Equipment           Security Cameras                                           170.94           85.44
    565                 Equipment           Security Cameras                                           172.27           80.43
    566                 Equipment           Security Cameras                                           172.27           25.90
    567                 Equipment           Security Cameras                                           173.26           25.87
    568                 Equipment           Security Cameras                                           173.26           25.87
    569                 Equipment           Security Cameras                                           173.26           25.87
    570                 Equipment           Security Cameras                                           172.26           25.89
    571                 Equipment           Security Cameras                                           172.43          137.99
    572                 Equipment           Security Cameras                                           173.26           25.87
    573                 Equipment           Security Cameras                                           172.25           25.88
    574                 Equipment           Security Cameras                                           172.25           25.88
    576                 Equipment           Security Cameras                                           172.25           66.06
    577                 Equipment           Security Cameras                                           170.58           85.38
    578                 Equipment           Security Cameras                                           170.58           25.74
    579                 Equipment           Security Cameras                                           170.92           25.57
    580                 Equipment           Security Cameras                                           170.92           25.57
    581                 Equipment           Security Cameras                                           170.92           25.57
    582                 Equipment           Security Cameras                                           170.92           25.57
    583                 Equipment           Security Cameras                                           172.25           25.88
    584                 Equipment           Security Cameras                                           170.92           25.57
    585                 Equipment           Security Cameras                                           170.92           25.57
    586                 Equipment           Security Cameras                                           170.58           25.74
    587                 Equipment           Security Cameras                                           171.25           25.90
    588                 Equipment           Security Cameras                                           172.25           25.88
    589                 Equipment           Security Cameras                                           169.58           25.25
    590                 Equipment           Security Cameras                                           169.58           33.74
    591                 Equipment           Security Cameras                                           169.59           76.20
    556                 Equipment           Security Cameras & Install                               6,517.98        5,214.42
    550           Leasehold Improvement     HVAC                                                     8,937.67        5,437.11
    560           Leasehold Improvement     HVAC                                                     8,882.85        8,290.69
    556           Leasehold Improvement     HVAC - FINAL                                            14,519.90       13,551.90
     1                  Equipment           Security Cameras                                           179.62           45.07
     2                  Equipment           Security Cameras                                           179.62           27.13
     3                  Equipment           Security Cameras                                           179.62           27.13
     4                  Equipment           Security Cameras                                           179.62          119.82
    510                 Equipment           Security Cameras                                           179.62           27.13
    511                 Equipment           Security Cameras                                           179.62          119.82
    512                 Equipment           Security Cameras                                           176.12          108.50
    513                 Equipment           Security Cameras                                           174.88          107.95
    514                 Equipment           Security Cameras                                           179.62           80.95
    515                 Equipment           Security Cameras                                           179.62           27.13
    516                 Equipment           Security Cameras                                           179.62           27.13
    517                 Equipment           Security Cameras                                           179.62          119.82
    518                 Equipment           Security Cameras                                           179.62           80.95
    519                 Equipment           Security Cameras                                           179.62          119.82
    521                 Equipment           Security Cameras                                           179.62          143.74
    522                 Equipment           Security Cameras                                           179.62          143.74
    531                 Equipment           Security Cameras                                           175.29           26.37
    525                 Equipment           Security Cameras                                           175.29           78.93



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   Store                   Type                                Description                        Basis        Accum Dpen
    526                  Equipment          Security Cameras                                          175.29          32.21
    527                  Equipment          Security Cameras                                          175.29          84.77
    529                  Equipment          Security Cameras                                          175.29         122.73
    531                  Equipment          Security Cameras                                          175.29          32.21
    532                  Equipment          Security Cameras                                          174.22          32.12
    533                  Equipment          Security Cameras                                          176.53          32.47
    534                  Equipment          Security Cameras                                          175.29          32.21
    535                  Equipment          Security Cameras                                          175.29          32.21
    537                  Equipment          Security Cameras                                          174.88          32.29
    538                  Equipment          Security Cameras                                          174.88          32.29
    539                  Equipment          Security Cameras                                          174.88          32.29
    540                  Equipment          Security Cameras                                          174.88          49.75
    541                  Equipment          Security Cameras                                          174.88          32.29
    542                  Equipment          Security Cameras                                          175.46          32.38
    543                  Equipment          Security Cameras                                          175.46          32.38
    544                  Equipment          Security Cameras                                          175.46          32.38
    545                  Equipment          Security Cameras                                          175.46          32.38
    546                  Equipment          Security Cameras                                          175.29          32.21
    547                  Equipment          Security Cameras                                          175.29          32.21
    548                  Equipment          Security Cameras                                          175.29          32.21
    549                  Equipment          Security Cameras                                          175.29          32.21
    550                  Equipment          Security Cameras                                          175.29          32.21
    551                  Equipment          Security Cameras                                          175.29          32.21
    552                  Equipment          Security Cameras                                          175.29          32.21
    553                  Equipment          Security Cameras                                          175.29          32.21
    555                  Equipment          Security Cameras                                          174.88          84.67
    556                  Equipment          Security Cameras                                          176.53         147.13
    557                  Equipment          Security Cameras                                          176.53         147.13
    558                  Equipment          Security Cameras                                          176.53          32.47
    559                  Equipment          Security Cameras                                          178.18          32.65
    560                  Equipment          Security Cameras                                          174.88         148.69
    561                  Equipment          Security Cameras                                          178.18          97.99
    562                  Equipment          Security Cameras                                          178.18          89.08
    563                  Equipment          Security Cameras                                          178.18          35.62
    564                  Equipment          Security Cameras                                          176.53          97.15
    565                  Equipment          Security Cameras                                          178.18          92.05
    566                  Equipment          Security Cameras                                          178.18          35.62
    567                  Equipment          Security Cameras                                          179.42          35.90
    568                  Equipment          Security Cameras                                          179.42          35.90
    569                  Equipment          Security Cameras                                          179.42          35.90
    570                  Equipment          Security Cameras                                          178.18          35.62
    571                  Equipment          Security Cameras                                          178.38         151.65
    572                  Equipment          Security Cameras                                          179.42          35.90
    573                  Equipment          Security Cameras                                          178.18          35.62
    574                  Equipment          Security Cameras                                          178.18          35.62
    576                  Equipment          Security Cameras                                          178.18          77.20
    577                  Equipment          Security Cameras                                          176.12          96.74
    578                  Equipment          Security Cameras                                          176.12          35.00
    579                  Equipment          Security Cameras                                          176.53          35.41
    580                  Equipment          Security Cameras                                          176.54          35.42
    581                  Equipment          Security Cameras                                          176.54          35.42
    582                  Equipment          Security Cameras                                          176.54          35.42
    583                  Equipment          Security Cameras                                          178.19          35.63
    584                  Equipment          Security Cameras                                          176.54          35.42
    585                  Equipment          Security Cameras                                          176.54          35.42



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   Store                   Type                                  Description                        Basis        Accum Dpen
    586                 Equipment           Security Cameras                                            176.13           35.01
    587                 Equipment           Security Cameras                                            176.95           35.35
    588                 Equipment           Security Cameras                                            178.19           35.63
    589                 Equipment           Security Cameras                                            174.89           35.21
    590                 Equipment           Security Cameras                                            174.89           43.94
    591                 Equipment           Security Cameras                                            174.89           87.59
    559           Leasehold Improvement     HVAC                                                      8,556.61        5,205.04
    560           Leasehold Improvement     HVAC                                                      6,156.55        5,746.15
    514           Leasehold Improvement                                                               5,113.89        3,877.91
    557           Leasehold Improvement                                                               8,026.80        7,491.68
    565           Leasehold Improvement                                                              11,147.13        8,546.21
    591           Leasehold Improvement                                                               6,055.77        4,996.11
    531           Leasehold Improvement     Interior Plans / Zoning                                  19,150.00       11,649.74
    531           Leasehold Improvement     Ceiling issue                                               450.00          273.75
    525           Leasehold Improvement     HVAC                                                      5,053.40        3,832.21
    551           Leasehold Improvement     HVAC                                                      6,052.43        3,681.75
    513                 Equipment           EAS System                                                1,406.70        1,054.95
    531           Leasehold Improvement     HVAC                                                      6,115.33        3,720.21
    512           Leasehold Improvement                                                               9,980.02        8,399.79
    514           Leasehold Improvement                                                               5,113.89        3,877.91
    531           Leasehold Improvement                                                               5,118.75        3,113.73
    557           Leasehold Improvement                                                               6,043.04        5,640.16
    553                 Equipment                                                                     5,551.25        1,017.77
    531           Leasehold Improvement                                                               9,100.00        5,535.99
    512                 Equipment           Security Cameras / Install                                6,930.59        4,735.90
    525           Leasehold Improvement     Electrical                                                7,787.36        6,100.22
    526           Leasehold Improvement     HVAC Repairs                                              5,992.64        3,695.40
    531           Leasehold Improvement     Remodel : Labor                                           2,109.38        1,300.70
    531           Leasehold Improvement     Remodel : Labor                                           1,667.46        1,028.06
    531           Leasehold Improvement     Remodel : Labor                                             294.70          179.08
    531           Leasehold Improvement     Remodel : Labor                                             214.86          130.73
    531           Leasehold Improvement     Remodel : Electrical Contract                            45,655.50       28,915.26
    531           Leasehold Improvement     Remodel : 50Yd Temp bins                                 11,948.68        7,567.60
    562           Leasehold Improvement     Remodel : Construction Contract                           8,666.02        7,149.40
    588           Leasehold Improvement     Emergency Call - Ceiling Pipe Burst                      16,678.21       10,145.68
    514           Leasehold Improvement     Replace Timer                                             6,282.10        4,921.00
    515                 Equipment           EAS System                                                1,439.56          651.12
    531             Furniture & Fixtures    Cash Wraps                                               10,900.00        4,931.04
    538           Leasehold Improvement     HVAC Repair                                              46,039.44       28,007.42
    539           Leasehold Improvement     New Package Unit                                         52,894.66       32,177.53
     4            Leasehold Improvement     Plumbing Repairs                                          5,865.00        5,278.44
     1            Leasehold Improvement                                                                 770.00          770.00
     1            Leasehold Improvement                                                                 790.44          790.44
     1            Leasehold Improvement                                                               1,282.02        1,282.02
     1            Leasehold Improvement                                                               1,295.69        1,295.69
     1            Leasehold Improvement                                                               1,633.13        1,633.13
     1            Leasehold Improvement                                                               2,449.69        2,449.69
     1            Leasehold Improvement                                                               4,763.50        4,763.50
     1            Leasehold Improvement                                                              17,755.24       17,755.24
     2            Leasehold Improvement                                                               1,320.00        1,320.00
     2            Leasehold Improvement                                                               1,633.13        1,633.13
     2            Leasehold Improvement                                                               3,347.75        3,347.75
     2            Leasehold Improvement                                                               5,460.41        5,460.41
     3            Leasehold Improvement                                                                 500.00          500.00
     3            Leasehold Improvement                                                                 550.00          550.00



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   Store                   Type                               Description                        Basis        Accum Dpen
     3            Leasehold Improvement                                                              642.05          642.05
     3            Leasehold Improvement                                                            1,633.13        1,633.13
     3            Leasehold Improvement                                                            1,905.68        1,905.68
     3            Leasehold Improvement                                                            2,830.75        2,830.75
     4            Leasehold Improvement                                                            1,661.45        1,661.45
     4            Leasehold Improvement                                                            1,848.84        1,848.84
     4            Leasehold Improvement                                                            3,457.49        3,457.49
     4            Leasehold Improvement                                                            3,525.00        3,525.00
     4            Leasehold Improvement                                                            6,207.43        6,207.43
     4            Leasehold Improvement                                                           19,084.24       19,084.24
     4            Leasehold Improvement                                                           22,104.86       22,104.86
    511           Leasehold Improvement                                                              660.00          660.00
    511           Leasehold Improvement                                                            1,250.00        1,250.00
    511           Leasehold Improvement                                                            1,315.51        1,315.51
    511           Leasehold Improvement                                                            2,763.54        2,763.54
    514           Leasehold Improvement                                                              770.00          770.00
    514           Leasehold Improvement                                                            1,391.26        1,391.26
    514           Leasehold Improvement                                                            1,633.13        1,633.13
    514           Leasehold Improvement                                                            1,887.89        1,887.89
    515           Leasehold Improvement                                                              508.71          508.71
    515           Leasehold Improvement                                                              553.09          553.09
    515           Leasehold Improvement                                                            1,837.27        1,837.27
    515           Leasehold Improvement                                                            2,412.91        2,412.91
    515           Leasehold Improvement                                                            3,266.25        3,266.25
    516           Leasehold Improvement                                                              544.38          544.38
    516           Leasehold Improvement                                                            3,577.33        3,577.33
    516           Leasehold Improvement                                                            4,246.13        4,246.13
    516           Leasehold Improvement                                                            5,132.68        5,132.68
    517           Leasehold Improvement                                                            3,719.45        3,719.45
    518           Leasehold Improvement                                                            1,100.00        1,100.00
    518           Leasehold Improvement                                                            2,698.79        2,698.79
    518           Leasehold Improvement                                                            2,721.88        2,721.88
    518           Leasehold Improvement                                                            3,810.63        3,810.63
    519           Leasehold Improvement                                                              550.00          550.00
    519           Leasehold Improvement                                                            1,345.13        1,345.13
    519           Leasehold Improvement                                                            2,368.42        2,368.42
    519           Leasehold Improvement                                                            2,721.88        2,721.88
    519           Leasehold Improvement                                                            6,532.50        6,532.50
    522           Leasehold Improvement                                                              620.04          620.04
    522           Leasehold Improvement                                                            2,072.57        2,072.57
    522           Leasehold Improvement                                                            2,309.86        2,309.86
    525           Leasehold Improvement                                                              508.00          508.00
    525           Leasehold Improvement                                                              588.00          588.00
    525           Leasehold Improvement                                                              770.00          770.00
    525           Leasehold Improvement                                                            1,503.90        1,503.90
    525           Leasehold Improvement                                                            2,790.70        2,790.70
    526           Leasehold Improvement                                                            1,240.00        1,240.00
    526           Leasehold Improvement                                                            2,060.49        2,060.49
    526           Leasehold Improvement                                                            2,499.30        2,499.30
    526           Leasehold Improvement                                                            2,512.03        2,512.03
    526           Leasehold Improvement                                                            4,571.43        4,571.43
    527           Leasehold Improvement                                                            1,210.00        1,210.00
    527           Leasehold Improvement                                                            1,240.00        1,240.00
    527           Leasehold Improvement                                                            1,774.28        1,774.28
    527           Leasehold Improvement                                                            1,776.75        1,776.75



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    527           Leasehold Improvement                                                            4,714.29       4,714.29
    529           Leasehold Improvement                                                            1,240.00       1,240.00
    529           Leasehold Improvement                                                            1,854.00       1,854.00
    529           Leasehold Improvement                                                            2,059.87       2,059.87
    531           Leasehold Improvement                                                            1,240.00       1,240.00
    531           Leasehold Improvement                                                            2,015.45       2,015.45
    531           Leasehold Improvement                                                            2,129.52       2,129.52
    531           Leasehold Improvement                                                            4,928.57       4,928.57
    532           Leasehold Improvement                                                            1,821.61       1,821.61
    532           Leasehold Improvement                                                            2,060.00       2,060.00
    532           Leasehold Improvement                                                            2,378.45       2,378.45
    532           Leasehold Improvement                                                            3,446.00       3,446.00
    533           Leasehold Improvement                                                            1,240.00       1,240.00
    533           Leasehold Improvement                                                            1,931.25       1,931.25
    533           Leasehold Improvement                                                            2,446.76       2,446.76
    533           Leasehold Improvement                                                            3,137.25       3,137.25
    534           Leasehold Improvement                                                              650.00         650.00
    534           Leasehold Improvement                                                            1,240.00       1,240.00
    534           Leasehold Improvement                                                            1,346.53       1,346.53
    534           Leasehold Improvement                                                            1,655.00       1,655.00
    534           Leasehold Improvement                                                            1,756.76       1,756.76
    535           Leasehold Improvement                                                            1,452.00       1,452.00
    535           Leasehold Improvement                                                            1,500.83       1,500.83
    535           Leasehold Improvement                                                            1,530.36       1,530.36
    535           Leasehold Improvement                                                            5,214.29       5,214.29
    537           Leasehold Improvement                                                            1,428.58       1,428.58
    537           Leasehold Improvement                                                            1,680.00       1,680.00
    537           Leasehold Improvement                                                            1,931.25       1,931.25
    537           Leasehold Improvement                                                            2,071.40       2,071.40
    537           Leasehold Improvement                                                            2,299.65       2,299.65
    537           Leasehold Improvement                                                            4,958.58       4,958.58
    538           Leasehold Improvement                                                            1,931.25       1,931.25
    538           Leasehold Improvement                                                            2,500.00       2,500.00
    538           Leasehold Improvement                                                            3,693.60       3,693.60
    539           Leasehold Improvement                                                            1,157.62       1,157.62
    539           Leasehold Improvement                                                            2,070.00       2,070.00
    539           Leasehold Improvement                                                            2,500.00       2,500.00
    540           Leasehold Improvement                                                            2,193.90       2,193.90
    540           Leasehold Improvement                                                            2,219.03       2,219.03
    540           Leasehold Improvement                                                            2,500.00       2,500.00
    541           Leasehold Improvement                                                            1,734.69       1,734.69
    541           Leasehold Improvement                                                            1,931.25       1,931.25
    541           Leasehold Improvement                                                            2,500.00       2,500.00
    541           Leasehold Improvement                                                            4,683.00       4,683.00
    542           Leasehold Improvement                                                              921.91         921.91
    542           Leasehold Improvement                                                            1,864.10       1,864.10
    542           Leasehold Improvement                                                            2,307.57       2,307.57
    542           Leasehold Improvement                                                            2,962.29       2,962.29
    542           Leasehold Improvement                                                            3,174.86       3,174.86
    542           Leasehold Improvement                                                            6,175.90       6,175.90
    543           Leasehold Improvement                                                              990.00         990.00
    543           Leasehold Improvement                                                            1,935.00       1,935.00
    543           Leasehold Improvement                                                            2,066.23       2,066.23
    543           Leasehold Improvement                                                            2,392.88       2,392.88
    544           Leasehold Improvement                                                              550.00         550.00



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   Store                   Type                               Description                        Basis        Accum Dpen
    544           Leasehold Improvement                                                            1,397.75       1,397.75
    544           Leasehold Improvement                                                            1,434.18       1,434.18
    544           Leasehold Improvement                                                            7,300.35       7,300.35
    544           Leasehold Improvement                                                            1,180.49       1,180.49
    545           Leasehold Improvement                                                              990.00         990.00
    545           Leasehold Improvement                                                            1,063.50       1,063.50
    545           Leasehold Improvement                                                            1,569.25       1,569.25
    545           Leasehold Improvement                                                            2,315.32       2,315.32
    546           Leasehold Improvement                                                            1,320.00       1,320.00
    546           Leasehold Improvement                                                            2,100.00       2,100.00
    546           Leasehold Improvement                                                            2,700.00       2,700.00
    546           Leasehold Improvement                                                            3,714.29       3,714.29
    547           Leasehold Improvement                                                              550.00         550.00
    547           Leasehold Improvement                                                            1,038.53       1,038.53
    547           Leasehold Improvement                                                            1,500.00       1,500.00
    547           Leasehold Improvement                                                            2,050.22       2,050.22
    547           Leasehold Improvement                                                            4,928.57       4,928.57
    548           Leasehold Improvement                                                            1,900.00       1,900.00
    548           Leasehold Improvement                                                            1,947.70       1,947.70
    548           Leasehold Improvement                                                            2,002.83       2,002.83
    548           Leasehold Improvement                                                            6,000.00       6,000.00
    549           Leasehold Improvement                                                              770.00         770.00
    549           Leasehold Improvement                                                            1,049.68       1,049.68
    549           Leasehold Improvement                                                            2,380.00       2,380.00
    549           Leasehold Improvement                                                            2,469.22       2,469.22
    550           Leasehold Improvement                                                              990.00         990.00
    550           Leasehold Improvement                                                            1,500.00       1,500.00
    550           Leasehold Improvement                                                            2,112.48       2,112.48
    551           Leasehold Improvement                                                              990.00         990.00
    551           Leasehold Improvement                                                            2,163.00       2,163.00
    551           Leasehold Improvement                                                            3,300.00       3,300.00
    552           Leasehold Improvement                                                            1,100.00       1,100.00
    552           Leasehold Improvement                                                            1,452.04       1,452.04
    552           Leasehold Improvement                                                            1,875.00       1,875.00
    552           Leasehold Improvement                                                            5,084.29       5,084.29
    552           Leasehold Improvement                                                            5,285.71       5,285.71
    553           Leasehold Improvement                                                              740.95         740.95
    553           Leasehold Improvement                                                              770.00         770.00
    553           Leasehold Improvement                                                            2,142.60       2,142.60
    553           Leasehold Improvement                                                            2,500.00       2,500.00
    555           Leasehold Improvement                                                            1,343.40       1,343.40
    555           Leasehold Improvement                                                            1,682.61       1,682.61
    555           Leasehold Improvement                                                            1,726.75       1,726.75
    555           Leasehold Improvement                                                            2,302.28       2,302.28
    556           Leasehold Improvement                                                              500.00         500.00
    556           Leasehold Improvement                                                            5,040.00       5,040.00
    557           Leasehold Improvement                                                              867.95         867.95
    557           Leasehold Improvement                                                            1,074.43       1,074.43
    557           Leasehold Improvement                                                            1,605.00       1,605.00
    557           Leasehold Improvement                                                            2,000.00       2,000.00
    557           Leasehold Improvement                                                            2,493.84       2,493.84
    557           Leasehold Improvement                                                            3,070.56       3,070.56
    558           Leasehold Improvement                                                              717.08         717.08
    558           Leasehold Improvement                                                            1,143.26       1,143.26
    558           Leasehold Improvement                                                            1,170.89       1,170.89



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   Store                   Type                               Description                        Basis        Accum Dpen
    558           Leasehold Improvement                                                            1,926.00       1,926.00
    558           Leasehold Improvement                                                            3,274.20       3,274.20
    559           Leasehold Improvement                                                            1,764.63       1,764.63
    559           Leasehold Improvement                                                            3,304.80       3,304.80
    560           Leasehold Improvement                                                              678.40         678.40
    560           Leasehold Improvement                                                            1,149.28       1,149.28
    560           Leasehold Improvement                                                            1,290.48       1,290.48
    560           Leasehold Improvement                                                            2,328.58       2,328.58
    560           Leasehold Improvement                                                            2,336.92       2,336.92
    562           Leasehold Improvement                                                              840.00         840.00
    562           Leasehold Improvement                                                            1,471.43       1,471.43
    562           Leasehold Improvement                                                            2,250.00       2,250.00
    562           Leasehold Improvement                                                            2,485.72       2,485.72
    562           Leasehold Improvement                                                            4,955.66       4,955.66
    563           Leasehold Improvement                                                            1,136.87       1,136.87
    563           Leasehold Improvement                                                            1,716.24       1,716.24
    563           Leasehold Improvement                                                            1,928.57       1,928.57
    563           Leasehold Improvement                                                            3,730.00       3,730.00
    563           Leasehold Improvement                                                            3,761.17       3,761.17
    565           Leasehold Improvement                                                              758.31         758.31
    565           Leasehold Improvement                                                            1,350.00       1,350.00
    565           Leasehold Improvement                                                            1,513.91       1,513.91
    565           Leasehold Improvement                                                            2,056.29       2,056.29
    565           Leasehold Improvement                                                            5,600.00       5,600.00
    566           Leasehold Improvement                                                              598.81         598.81
    566           Leasehold Improvement                                                              785.40         785.40
    566           Leasehold Improvement                                                            2,070.00       2,070.00
    566           Leasehold Improvement                                                            2,700.00       2,700.00
    566           Leasehold Improvement                                                            4,366.29       4,366.29
    567           Leasehold Improvement                                                              603.27         603.27
    567           Leasehold Improvement                                                              716.10         716.10
    567           Leasehold Improvement                                                              925.44         925.44
    567           Leasehold Improvement                                                            1,430.00       1,430.00
    567           Leasehold Improvement                                                            1,892.25       1,892.25
    567           Leasehold Improvement                                                            2,281.61       2,281.61
    568           Leasehold Improvement                                                              598.81         598.81
    568           Leasehold Improvement                                                            1,210.00       1,210.00
    568           Leasehold Improvement                                                            1,617.57       1,617.57
    568           Leasehold Improvement                                                            1,848.21       1,848.21
    568           Leasehold Improvement                                                            2,283.75       2,283.75
    569           Leasehold Improvement                                                              544.38         544.38
    569           Leasehold Improvement                                                              785.40         785.40
    569           Leasehold Improvement                                                            1,100.00       1,100.00
    569           Leasehold Improvement                                                            1,431.42       1,431.42
    569           Leasehold Improvement                                                            1,620.38       1,620.38
    569           Leasehold Improvement                                                            2,100.23       2,100.23
    570           Leasehold Improvement                                                            2,100.60       2,100.60
    570           Leasehold Improvement                                                            2,700.00       2,700.00
    571           Leasehold Improvement                                                              513.06         513.06
    571           Leasehold Improvement                                                            1,210.00       1,210.00
    571           Leasehold Improvement                                                            1,762.50       1,762.50
    571           Leasehold Improvement                                                            2,627.98       2,627.98
    571           Leasehold Improvement                                                            2,703.13       2,703.13
    572           Leasehold Improvement                                                              570.23         570.23
    572           Leasehold Improvement                                                            1,320.00       1,320.00



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   Store                   Type                               Description                        Basis        Accum Dpen
    572           Leasehold Improvement                                                            1,903.13       1,903.13
    572           Leasehold Improvement                                                            2,100.23       2,100.23
    572           Leasehold Improvement                                                            3,145.45       3,145.45
    573           Leasehold Improvement                                                              939.60         939.60
    573           Leasehold Improvement                                                            2,099.68       2,099.68
    574           Leasehold Improvement                                                              739.20         739.20
    574           Leasehold Improvement                                                              823.92         823.92
    574           Leasehold Improvement                                                              871.00         871.00
    574           Leasehold Improvement                                                            1,320.00       1,320.00
    574           Leasehold Improvement                                                            1,502.74       1,502.74
    574           Leasehold Improvement                                                            2,073.60       2,073.60
    574           Leasehold Improvement                                                            2,908.22       2,908.22
    575           Leasehold Improvement                                                              550.00         550.00
    575           Leasehold Improvement                                                            1,478.40       1,478.40
    575           Leasehold Improvement                                                            2,100.23       2,100.23
    575           Leasehold Improvement                                                            2,718.75       2,718.75
    575           Leasehold Improvement                                                            3,077.69       3,077.69
    576           Leasehold Improvement                                                            1,953.02       1,953.02
    576           Leasehold Improvement                                                            2,499.37       2,499.37
    576           Leasehold Improvement                                                            3,268.79       3,268.79
    576           Leasehold Improvement                                                            3,980.58       3,980.58
    578           Leasehold Improvement                                                              509.95         509.95
    578           Leasehold Improvement                                                            1,234.32       1,234.32
    578           Leasehold Improvement                                                            2,101.94       2,101.94
    578           Leasehold Improvement                                                            2,500.00       2,500.00
    579           Leasehold Improvement                                                            1,559.78       1,559.78
    579           Leasehold Improvement                                                            1,835.00       1,835.00
    579           Leasehold Improvement                                                            3,084.76       3,084.76
    579           Leasehold Improvement                                                            5,000.00       5,000.00
    580           Leasehold Improvement                                                            1,803.06       1,803.06
    580           Leasehold Improvement                                                            2,074.12       2,074.12
    580           Leasehold Improvement                                                            3,817.35       3,817.35
    580           Leasehold Improvement                                                            3,917.86       3,917.86
    581           Leasehold Improvement                                                            1,992.61       1,992.61
    581           Leasehold Improvement                                                            3,050.00       3,050.00
    581           Leasehold Improvement                                                            3,780.00       3,780.00
    581           Leasehold Improvement                                                            5,864.29       5,864.29
    582           Leasehold Improvement                                                            1,701.02       1,701.02
    582           Leasehold Improvement                                                            2,270.00       2,270.00
    582           Leasehold Improvement                                                            2,331.00       2,331.00
    582           Leasehold Improvement                                                            4,418.00       4,418.00
    583           Leasehold Improvement                                                            1,364.91       1,364.91
    583           Leasehold Improvement                                                            2,250.00       2,250.00
    583           Leasehold Improvement                                                            3,272.92       3,272.92
    583           Leasehold Improvement                                                            5,285.72       5,285.72
    584           Leasehold Improvement                                                              504.60         504.60
    584           Leasehold Improvement                                                            1,070.34       1,070.34
    584           Leasehold Improvement                                                            1,278.93       1,278.93
    584           Leasehold Improvement                                                            2,380.00       2,380.00
    584           Leasehold Improvement                                                            3,150.00       3,150.00
    584           Leasehold Improvement                                                            3,202.20       3,202.20
    585           Leasehold Improvement                                                            1,557.80       1,557.80
    585           Leasehold Improvement                                                            1,920.00       1,920.00
    585           Leasehold Improvement                                                            2,345.01       2,345.01
    585           Leasehold Improvement                                                            3,502.80       3,502.80



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   Store                   Type                               Description                        Basis        Accum Dpen
    585           Leasehold Improvement                                                            5,567.59       5,567.59
    586           Leasehold Improvement                                                              850.00         850.00
    586           Leasehold Improvement                                                            1,071.99       1,071.99
    586           Leasehold Improvement                                                            1,200.00       1,200.00
    586           Leasehold Improvement                                                            2,162.46       2,162.46
    586           Leasehold Improvement                                                            3,683.92       3,683.92
    587           Leasehold Improvement                                                            1,534.06       1,534.06
    587           Leasehold Improvement                                                            3,467.36       3,467.36
    587           Leasehold Improvement                                                            3,990.04       3,990.04
    587           Leasehold Improvement                                                            6,000.00       6,000.00
    588           Leasehold Improvement                                                            1,540.00       1,540.00
    588           Leasehold Improvement                                                            1,630.81       1,630.81
    588           Leasehold Improvement                                                            4,023.00       4,023.00
    589           Leasehold Improvement                                                            1,059.32       1,059.32
    589           Leasehold Improvement                                                            2,142.86       2,142.86
    589           Leasehold Improvement                                                            2,500.00       2,500.00
    589           Leasehold Improvement                                                            2,550.00       2,550.00
    590           Leasehold Improvement                                                              500.00         500.00
    590           Leasehold Improvement                                                              972.50         972.50
    590           Leasehold Improvement                                                            1,514.29       1,514.29
    590           Leasehold Improvement                                                            1,835.68       1,835.68
    590           Leasehold Improvement                                                            2,355.00       2,355.00
    590           Leasehold Improvement                                                            3,100.00       3,100.00
    591           Leasehold Improvement                                                            2,212.50       2,212.50
    591           Leasehold Improvement                                                            2,500.00       2,500.00
    591           Leasehold Improvement                                                            2,544.74       2,544.74
     1              Furniture & Fixtures                                                           5,744.30       5,744.30
     2              Furniture & Fixtures                                                           5,188.40       5,188.40
     3              Furniture & Fixtures                                                           4,030.28       4,030.28
     3              Furniture & Fixtures                                                             272.50         272.50
     3              Furniture & Fixtures                                                             384.23         384.23
     4              Furniture & Fixtures                                                           2,594.20       2,594.20
    510             Furniture & Fixtures                                                           2,316.25       2,316.25
    511             Furniture & Fixtures                                                           2,177.28       2,177.28
    514             Furniture & Fixtures                                                           2,084.63       2,084.63
    515             Furniture & Fixtures                                                           1,667.70       1,667.70
    516             Furniture & Fixtures                                                           1,760.35       1,760.35
    516             Furniture & Fixtures                                                             754.83         754.83
    517             Furniture & Fixtures                                                             350.00         350.00
    517             Furniture & Fixtures                                                           1,575.05       1,575.05
    518            Computer Equipment                                                              1,482.40         568.13
    519             Furniture & Fixtures                                                           1,575.05       1,575.05
    521             Furniture & Fixtures                                                           1,019.15       1,019.15
    522             Furniture & Fixtures                                                           1,389.75       1,389.75
    532             Furniture & Fixtures                                                           1,297.10       1,297.10
    533             Furniture & Fixtures                                                             350.00         350.00
    542             Furniture & Fixtures                                                           1,760.35       1,760.35
    543             Furniture & Fixtures                                                           1,667.70       1,667.70
    544             Furniture & Fixtures                                                             327.00         327.00
    545             Furniture & Fixtures                                                           1,714.03       1,714.03
    545             Furniture & Fixtures                                                             566.80         566.80
    552             Furniture & Fixtures                                                           1,297.10       1,297.10
    555             Furniture & Fixtures                                                           1,297.10       1,297.10
    556             Furniture & Fixtures                                                           1,667.70       1,667.70
    557             Furniture & Fixtures                                                             290.00         290.00



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   Store                   Type                                Description                         Basis          Accum Dpen
    557             Furniture & Fixtures                                                             1,945.65          1,945.65
    558             Furniture & Fixtures                                                             1,853.00          1,853.00
    565             Furniture & Fixtures                                                             1,297.10          1,297.10
    571             Furniture & Fixtures                                                             1,297.10          1,297.10
    579             Furniture & Fixtures                                                             1,297.10          1,297.10
    579             Furniture & Fixtures                                                               839.30            839.30
    580             Furniture & Fixtures                                                             1,945.65          1,945.65
    586             Furniture & Fixtures                                                               290.00            290.00
    590             Furniture & Fixtures                                                             1,297.10          1,297.10
   9905           Leasehold Improvement                                                            572,349.00        486,497.00
    510                 Equipment           Conversion : EAS System                                  1,540.00            733.48
    529           Leasehold Improvement     HVAC Repairs                                             8,598.13          7,738.33
    529           Leasehold Improvement     HVAC Repairs                                             5,724.19          5,151.79
    531           Leasehold Improvement     Expansion : Labor                                          434.28            278.62
    531                 Equipment           Expansion : Security Cameras                             4,860.36          1,214.91
    531           Leasehold Improvement     Expansion : Labor                                          573.89            368.35
    531           Leasehold Improvement     Expansion : Security System                              7,901.94          5,070.39
    531           Leasehold Improvement     Expansion : Construction Contract                       11,000.00          7,058.19
    531           Leasehold Improvement     Renovations                                              4,130.30          2,512.56
    531           Leasehold Improvement     Floor Plans / Color Renderings                           1,500.00            912.50
    523                 Equipment           EAS System (Reverse Use Tax)                              (145.00)          (145.00)
    523                 Equipment           EAS System (Reverse Use Tax)                                (22.97)          (22.97)
    523                 Equipment           EAS System (Reverse Use Tax)                                (11.13)          (11.13)
    523                 Equipment           Security Cameras (Reverse Use Tax)                          (11.10)          (11.10)
     1            Leasehold Improvement                                                              6,156.47          4,053.17
     2            Leasehold Improvement                                                              6,156.48          3,745.38
     3            Leasehold Improvement                                                              6,156.48          3,745.38
    510           Leasehold Improvement                                                              6,156.48          3,745.38
    511           Leasehold Improvement                                                                326.63            283.11
    514           Leasehold Improvement                                                              6,156.48          4,668.78
    518           Leasehold Improvement                                                              6,156.48          5,027.88
    531           Leasehold Improvement                                                                784.35            476.97
    531           Leasehold Improvement                                                                750.00            456.25
    525           Leasehold Improvement                                                                784.35            594.69
    525           Leasehold Improvement                                                                750.00            568.75
    525           Leasehold Improvement                                                                426.25            323.30
    527           Leasehold Improvement                                                                784.35            594.69
    527           Leasehold Improvement                                                                750.00            568.75
    527           Leasehold Improvement                                                                426.25            323.30
    529           Leasehold Improvement                                                                784.35            679.71
    529           Leasehold Improvement                                                                750.00            650.00
    529           Leasehold Improvement                                                              1,324.00          1,147.52
    531           Leasehold Improvement                                                                784.35            476.97
    531           Leasehold Improvement                                                                750.00            456.25
    531           Leasehold Improvement                                                              1,500.00            912.50
    531           Leasehold Improvement                                                              1,114.00            677.84
    531           Leasehold Improvement                                                                541.45            329.48
    531           Leasehold Improvement                                                                555.39            337.78
    531           Leasehold Improvement                                                                608.61            370.32
    531           Leasehold Improvement                                                              1,098.00            667.95
    535           Leasehold Improvement                                                                784.35            476.97
    535           Leasehold Improvement                                                                750.00            456.25
    537           Leasehold Improvement                                                                784.35            476.97
    537           Leasehold Improvement                                                                750.00            456.25
    538           Leasehold Improvement                                                                784.35            476.97



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   Store                   Type                               Description                        Basis        Accum Dpen
    538           Leasehold Improvement                                                              750.00         456.25
    539           Leasehold Improvement                                                              784.35         476.97
    539           Leasehold Improvement                                                              750.00         456.25
    540           Leasehold Improvement                                                              784.35         516.21
    540           Leasehold Improvement                                                              750.00         493.75
    541           Leasehold Improvement                                                              784.35         476.97
    541           Leasehold Improvement                                                              750.00         456.25
    544           Leasehold Improvement                                                              100.00          60.99
    555           Leasehold Improvement                                                              400.00         303.43
    556           Leasehold Improvement                                                              500.00         466.64
    556           Leasehold Improvement                                                            2,382.50       2,223.70
    556           Leasehold Improvement                                                              109.51         102.23
    556           Leasehold Improvement                                                            2,000.00       1,866.64
    556           Leasehold Improvement                                                              816.60         762.12
    576           Leasehold Improvement                                                              784.32         568.50
    576           Leasehold Improvement                                                              750.00         543.75
    577           Leasehold Improvement                                                              784.35         784.35
    577           Leasehold Improvement                                                              750.00         750.00
    578           Leasehold Improvement                                                              784.35         476.97
    578           Leasehold Improvement                                                              750.00         456.25
    579           Leasehold Improvement                                                              784.35         476.97
    579           Leasehold Improvement                                                              750.00         456.25
    580           Leasehold Improvement                                                              784.35         476.97
    580           Leasehold Improvement                                                              750.00         456.25
    591           Leasehold Improvement                                                              100.00          82.57
    526           Leasehold Improvement                                                            4,541.90       3,893.06
    531           Leasehold Improvement                                                            7,459.66       6,393.94
     2            Leasehold Improvement                                                            3,347.35       3,138.19
    540           Leasehold Improvement                                                            2,539.61       2,176.85
     1            Leasehold Improvement                                                            3,432.95       3,120.83
    538           Leasehold Improvement                                                            3,552.30       3,044.82
    549           Leasehold Improvement                                                            3,875.95       3,322.27
    588           Leasehold Improvement                                                            2,783.10       2,385.54
    546                 Equipment                                                                  2,765.00       2,369.96
    527           Leasehold Improvement                                                            3,142.90       2,693.86
    512           Leasehold Improvement                                                            3,396.23       3,396.23
    534           Leasehold Improvement                                                            3,041.07       2,172.27
    539           Leasehold Improvement                                                            2,565.71       2,199.23
    540           Leasehold Improvement                                                            4,551.35       3,251.03
    558           Leasehold Improvement                                                            3,985.46       2,846.66
    569           Leasehold Improvement                                                            3,416.48       2,440.40
    563           Leasehold Improvement                                                            3,865.00       3,312.88
    579           Leasehold Improvement                                                            3,212.00       2,753.12
     1            Leasehold Improvement                                                            3,432.95       3,120.83
    511           Leasehold Improvement                                                            3,388.73       3,388.73
    511           Leasehold Improvement                                                            3,014.32       3,014.32
    514           Leasehold Improvement                                                            3,443.17       2,951.29
    517           Leasehold Improvement                                                            2,961.95       2,961.95
    538           Leasehold Improvement                                                            3,552.30       3,044.82
    539           Leasehold Improvement                                                            3,313.96       2,840.56
    540           Leasehold Improvement                                                            2,654.00       2,274.80
    549           Leasehold Improvement                                                            3,875.95       3,322.27
     4            Leasehold Improvement                                                            4,142.19       4,142.19
    510           Leasehold Improvement                                                            3,360.10       2,400.10
    511           Leasehold Improvement                                                            3,566.30       3,566.30



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   Store                   Type                               Description                        Basis        Accum Dpen
    511           Leasehold Improvement                                                            3,390.93       3,390.93
    511           Leasehold Improvement                                                            2,791.51       2,791.51
    512           Leasehold Improvement                                                            4,447.63       4,447.63
    512           Leasehold Improvement                                                            3,396.23       3,396.23
    512           Leasehold Improvement                                                            3,197.07       3,197.07
    514           Leasehold Improvement                                                            4,695.53       3,353.93
    519           Leasehold Improvement                                                            2,618.56       2,618.56
    525           Leasehold Improvement                                                            4,136.81       2,954.81
    526           Leasehold Improvement                                                            4,033.49       2,881.01
    526           Leasehold Improvement                                                            2,512.03       1,794.19
    529           Leasehold Improvement                                                            3,842.88       3,842.88
    531           Leasehold Improvement                                                            4,300.04       3,071.48
    532           Leasehold Improvement                                                            3,446.00       2,461.52
    533           Leasehold Improvement                                                            3,292.75       2,351.95
    533           Leasehold Improvement                                                            2,905.07       2,075.15
    534           Leasehold Improvement                                                            3,041.07       2,172.27
    535           Leasehold Improvement                                                            4,363.90       3,117.10
    537           Leasehold Improvement                                                            2,548.47       1,820.31
    538           Leasehold Improvement                                                            4,798.73       3,427.61
    539           Leasehold Improvement                                                            2,624.24       1,874.48
    540           Leasehold Improvement                                                            3,281.67       2,343.99
    542           Leasehold Improvement                                                            3,227.85       2,305.53
    543           Leasehold Improvement                                                            3,533.19       2,523.75
    543           Leasehold Improvement                                                            3,408.81       2,434.89
    545           Leasehold Improvement                                                            2,873.93       2,052.89
    548           Leasehold Improvement                                                            5,012.68       3,580.60
    550           Leasehold Improvement                                                            4,621.32       3,300.84
    551           Leasehold Improvement                                                            3,860.14       2,757.34
    555           Leasehold Improvement                                                            3,662.63       2,616.23
    557           Leasehold Improvement                                                            4,691.16       4,691.16
    558           Leasehold Improvement                                                            3,985.46       2,846.66
    558           Leasehold Improvement                                                            3,338.52       2,384.76
    563           Leasehold Improvement                                                            3,761.17       2,686.45
    564           Leasehold Improvement                                                            4,760.68       3,400.60
    564           Leasehold Improvement                                                            3,328.97       2,377.85
    565           Leasehold Improvement                                                            3,493.33       3,493.33
    565           Leasehold Improvement                                                            3,446.72       3,446.72
    565           Leasehold Improvement                                                            3,006.63       3,006.63
    566           Leasehold Improvement                                                            2,636.48       1,883.12
    569           Leasehold Improvement                                                            3,416.48       2,440.40
    571           Leasehold Improvement                                                            2,627.98       2,627.98
    574           Leasehold Improvement                                                            4,570.94       3,264.86
    577           Leasehold Improvement                                                            4,841.78       3,458.42
    579           Leasehold Improvement                                                            3,364.80       2,403.36
    579           Leasehold Improvement                                                            3,155.71       2,254.03
    579           Leasehold Improvement                                                            3,084.76       2,203.48
    580           Leasehold Improvement                                                            3,817.35       2,726.79
    587           Leasehold Improvement                                                            3,990.04       2,850.04
    587           Leasehold Improvement                                                            2,544.68       1,817.72
    588           Leasehold Improvement                                                            3,289.29       2,349.45
    589           Leasehold Improvement                                                            2,603.38       1,859.62
    563           Leasehold Improvement                                                            3,865.00       3,312.88
    526           Leasehold Improvement                                                            3,534.43       3,029.47
    531           Leasehold Improvement                                                            3,507.65       3,006.53
    531           Leasehold Improvement                                                            3,002.04       2,573.16



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   Store                   Type                                Description                         Basis         Accum Dpen
    515           Leasehold Improvement                                                              2,663.08         2,282.68
    517           Leasehold Improvement                                                              2,814.42         2,814.42
    519           Leasehold Improvement                                                              4,875.53         4,875.53
    526           Leasehold Improvement                                                              5,276.43         4,522.71
    533           Leasehold Improvement                                                              4,504.90         3,861.34
    535           Leasehold Improvement                                                              4,512.47         3,867.83
    541           Leasehold Improvement                                                              4,413.58         3,783.10
    542           Leasehold Improvement                                                              4,955.37         4,247.49
    543           Leasehold Improvement                                                              2,560.06         2,194.30
    544           Leasehold Improvement                                                              3,088.40         2,647.16
    547           Leasehold Improvement                                                              4,160.88         3,566.52
    556           Leasehold Improvement                                                              4,334.00         4,334.00
    558           Leasehold Improvement                                                              3,532.75         3,028.03
    562           Leasehold Improvement                                                              3,983.20         3,414.16
    566           Leasehold Improvement                                                              3,510.00         3,008.52
    568           Leasehold Improvement                                                              3,577.88         3,066.80
    570           Leasehold Improvement                                                              2,797.95         2,398.23
    571           Leasehold Improvement                                                              4,173.63         4,173.63
    587           Leasehold Improvement                                                              3,400.00         2,914.24
    511           Leasehold Improvement                                                              2,974.14         2,974.14
    521           Leasehold Improvement                                                              3,378.51         3,378.51
    540           Leasehold Improvement                                                              2,539.61         2,176.85
    587           Leasehold Improvement                                                              4,125.53         3,536.21
    518           Leasehold Improvement                                                              3,535.19         3,030.11
     4            Leasehold Improvement                                                              3,500.00         3,500.00
    516           Leasehold Improvement                                                              3,224.26         2,763.70
    559           Leasehold Improvement                                                              3,224.26         2,763.70
    564           Leasehold Improvement                                                              3,224.26         2,763.70
     4            Leasehold Improvement                                                              2,984.25         2,984.25
     3            Leasehold Improvement                                                              3,370.17         3,063.81
    529           Leasehold Improvement                                                              2,587.14         2,587.14
    512                 Equipment           EAS System                                                (338.49)         (310.28)
    512            Computer Equipment       POS Install                                             (1,024.00)       (1,024.00)
    512                 Equipment           EAS System                                              (2,830.95)       (2,595.05)
    512                 Equipment           EAS System                                              (1,900.00)       (1,741.66)
    512                 Equipment           Security Cameras                                          (189.51)         (189.51)
    512                 Equipment           Security Cameras                                          (170.60)         (170.60)
    512                 Equipment           Security Cameras                                          (176.12)         (176.12)
    512                                                                                             (9,980.02)       (9,980.02)
    512                 Equipment           Security Cameras / Install                              (6,930.59)       (6,930.59)
    513           Leasehold Improvement     HVAC Work                                               (7,229.82)       (6,627.34)
    513                 Equipment           EAS System                                                (330.47)         (330.47)
    513                 Equipment           EAS System                                                (204.89)         (204.89)
    513                 Equipment           Security Cameras & Install                              (4,627.02)       (4,627.02)
    513                 Equipment           Cables for Security Camera System                         (290.61)         (290.61)
    513            Computer Equipment       Trace & Connect POTS Lines                                (250.00)         (250.00)
    513                 Equipment           EAS System                                              (1,627.31)       (1,627.31)
    513                 Equipment           Security Cameras                                          (515.56)         (515.56)
    513                 Equipment           Security Cameras                                          (169.60)         (169.60)
    513                 Equipment           Security Cameras                                          (174.88)         (174.88)
    513                 Equipment           EAS System                                              (1,406.70)       (1,406.70)
    523           Leasehold Improvement     Patch / Paint / Ceiling Tiles                           (5,000.00)       (4,583.36)
    523                 Equipment           EAS System                                              (2,692.24)       (2,403.79)
    523                 Equipment           EAS System                                                (404.45)         (361.16)
    523                 Equipment           EAS System                                                (205.93)         (183.88)



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   Store                   Type                                   Description                       Basis          Accum Dpen
    523                 Equipment           EAS System                                               (1,960.00)        (1,750.03)
    523                 Equipment           Security Cameras                                           (188.63)          (188.63)
    523                 Equipment           EAS System (Reverse Use Tax)                                145.00            145.00
    523                 Equipment           EAS System (Reverse Use Tax)                                  22.97            22.97
    523                 Equipment           EAS System (Reverse Use Tax)                                  11.13            11.13
    523                 Equipment           Security Cameras (Reverse Use Tax)                            11.10            11.10
    575                 Equipment           Security Cameras & Install                               (5,431.35)        (5,431.35)
    575                 Equipment           EAS System                                                 (384.49)          (384.49)
    575                 Equipment           EAS System                                                   (99.87)          (99.87)
    575           Leasehold Improvement     Patch / Paint / Ceiling Tiles                            (5,915.13)        (5,422.17)
    575            Computer Equipment       POS Install                                              (1,159.00)        (1,159.00)
    575                 Equipment           EAS System                                               (1,661.50)        (1,661.50)
    575                 Equipment           EAS System                                               (2,533.13)        (2,533.13)
    575                 Equipment           Cables for Security Camera System                          (290.60)          (290.60)
    564                 Equipment           EAS System                                                 (431.91)          (431.91)
    564                 Equipment           EAS System                                                 (254.97)          (254.97)
    564                 Equipment           Security Cameras & Install                               (6,205.77)        (6,205.77)
    564           Leasehold Improvement     Patch / Paint / Ceiling Tiles                            (6,214.20)        (5,696.36)
    564            Computer Equipment       Configure/Integrate POS                                    (351.89)          (351.89)
    564                 Equipment           Cables for Security Camera System                          (290.60)          (290.60)
    564                 Equipment           EAS System                                               (1,900.00)        (1,900.00)
    564                 Equipment           Security Cameras                                           (431.52)          (431.52)
    564                 Equipment           Security Cameras                                           (170.94)          (170.94)
    564                 Equipment           Security Cameras                                           (176.53)          (176.53)
    577           Leasehold Improvement     Patch / Paint / Ceiling Tiles                            (6,642.86)        (6,089.26)
    577                 Equipment           EAS System                                               (2,757.20)        (2,461.82)
    577                 Equipment           EAS System                                                 (269.69)          (240.80)
    577                 Equipment           EAS System                                                 (208.23)          (185.91)
    577                 Equipment           EAS System                                                   (98.40)          (87.87)
    577                 Equipment           EAS System                                               (2,066.68)        (1,845.28)
    577            Computer Equipment       POS Install                                              (1,024.00)        (1,024.00)
    577                 Equipment           Security Cameras & Install                               (5,853.48)        (5,853.48)
    577            Computer Equipment       Trace & Connect POTS Lines                                 (200.00)          (200.00)
    577                 Equipment           Security Cameras                                           (269.17)          (269.17)
    577                 Equipment           Security Cameras                                           (170.58)          (170.58)
    577                 Equipment           Security Cameras                                           (176.12)          (176.12)
    577           Leasehold Improvement                                                                (784.35)          (784.35)
    577           Leasehold Improvement                                                                (750.00)          (750.00)
    561                 Equipment           Security Cameras & Install                               (5,873.56)        (5,873.56)
    561                 Equipment           EAS System                                               (2,786.20)        (2,487.67)
    561                 Equipment           EAS System                                                 (435.65)          (388.94)
    561                 Equipment           EAS System                                               (2,103.84)        (1,878.39)
    561            Computer Equipment       POS Install                                              (1,069.00)        (1,069.00)
    561                 Equipment           Cables for Security Camera System                          (290.60)          (290.60)
    561                 Equipment           Security Cameras                                           (128.64)          (128.64)
    561                 Equipment           Security Cameras                                           (172.27)          (172.27)
    561                 Equipment           Security Cameras                                           (178.18)          (178.18)
    564                 Equipment           EAS System                                               (2,482.40)        (2,482.40)
                                                                                                                             -
     3            Leasehold Improvement     Repair Gas Leaks                                          5,865.00          3,421.30
     4            Leasehold Improvement     Fire Extinguishers + Inspections                          5,990.90          5,990.90
     4            Leasehold Improvement     Ceiling Leak - Receiving Area                             3,800.00          3,800.00
    510           Leasehold Improvement     Overhead Door Repairs                                     2,903.15          1,486.19
    514           Leasehold Improvement     HVAC Repairs                                              3,835.95          2,785.54
    519           Leasehold Improvement     HVAC Repairs                                              5,925.99          5,220.49



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   Store                   Type                                   Description                      Basis         Accum Dpen
    524           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           281.03
    524           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35           280.35
    525           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           160.43
    525           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35           160.11
    526           Leasehold Improvement     Ceiling/Lighting Repairs                                 2,720.00         1,392.42
    526           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           100.13
    526           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35            99.99
    526           Leasehold Improvement     HVAC Repairs                                             3,715.08         1,901.65
    527           Leasehold Improvement     HVAC Repairs                                             5,531.75         3,819.65
    527           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           160.43
    527           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35           160.11
    529           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           281.03
    529           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35           280.35
    531           Leasehold Improvement     Remodel : Labor                                            388.08           221.76
    531                                     INVOICE CANCELED PER 5                                   2,531.00         2,531.00
    531                                     INVOICE CANCELED PER 5                                  (2,531.00)       (2,531.00)
    532                                     INVOICE CANCELED PER 5                                   2,554.50         2,554.50
    532                                     INVOICE CANCELED PER 5                                  (2,554.50)       (2,554.50)
    532           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           120.23
    532           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35           120.03
    533                                     INVOICE CANCELED PER 5                                   1,092.00         1,092.00
    533                                     INVOICE CANCELED PER 5                                  (1,092.00)       (1,092.00)
    533           Leasehold Improvement     Ceiling/Lighting Repairs                                 1,650.00           962.60
    533           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           120.23
    533           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35           120.03
    534                                     INVOICE CANCELED PER 5                                     910.00           910.00
    534                                     INVOICE CANCELED PER 5                                    (910.00)         (910.00)
    534           Leasehold Improvement     Ceiling/Lighting Repairs                                 3,120.00         1,820.10
    534           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           120.23
    534           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35           120.03
    535                                     INVOICE CANCELED PER 5                                   3,437.00         3,437.00
    535                                     INVOICE CANCELED PER 5                                  (3,437.00)       (3,437.00)
    535           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           100.13
    535           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35            99.99
    537           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           100.13
    537           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35            99.99
    538           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           100.13
    538           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35            99.99
    539           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           100.13
    539           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35            99.99
    540           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           120.23
    540           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35           120.03
    541           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           100.13
    541           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35            99.99
    556           Leasehold Improvement     Electrical Work                                          2,547.94         2,547.94
    560           Leasehold Improvement     Sales Floor Lighting Repairs                             2,739.28         2,739.28
    568           Leasehold Improvement     HVAC Repairs                                             4,550.35         2,491.89
    569           Leasehold Improvement     Front Window Repairs                                     2,740.50         1,598.45
    576           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           147.03
    576           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.35           146.75
    578           Leasehold Improvement     Rebranding Survey - Labor                                  281.03           100.13
    578           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.36           100.00
    581           Leasehold Improvement     Rebranding Survey - Labor                                  281.04           100.14
    581           Leasehold Improvement     Rebranding Survey + Travel Expenses                        280.36           100.00
    582           Leasehold Improvement     HVAC Repairs                                            14,439.05         7,219.67



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   Store                   Type                                  Description                         Basis         Accum Dpen
    582           Leasehold Improvement     Rebranding Survey - Labor                                    281.04           100.14
    582           Leasehold Improvement     Rebranding Survey + Travel Expenses                          280.36           100.00
    583           Leasehold Improvement     Rebranding Survey - Labor                                    281.04           100.14
    583           Leasehold Improvement     Rebranding Survey + Travel Expenses                          280.36           100.00
    584           Leasehold Improvement     Rebranding Survey - Labor                                    281.04           100.14
    584           Leasehold Improvement     Rebranding Survey + Travel Expenses                          280.36           100.00
    585           Leasehold Improvement     Rebranding Survey - Labor                                    281.04           100.14
    585           Leasehold Improvement     Rebranding Survey + Travel Expenses                          280.36           100.00
    586           Leasehold Improvement     Rebranding Survey - Labor                                    281.04           100.14
    586           Leasehold Improvement     Rebranding Survey + Travel Expenses                          280.36           100.00
    587           Leasehold Improvement     Rebranding Survey - Labor                                    281.04           100.14
    587           Leasehold Improvement     Rebranding Survey + Travel Expenses                          280.36           100.00
    588           Leasehold Improvement     Rebranding Survey - Labor                                    281.04           100.14
    588           Leasehold Improvement     Rebranding Survey + Travel Expenses                          280.36           100.00
    589           Leasehold Improvement     Rebranding Survey - Labor                                    281.04           100.14
    589           Leasehold Improvement     Rebranding Survey + Travel Expenses                          280.36           100.00
    591           Leasehold Improvement     Rebranding Survey - Labor                                    281.04           187.24
    591           Leasehold Improvement     Rebranding Survey + Travel Expenses                          280.36           186.84
     1            Leasehold Improvement     Correct Fire Violations                                    3,811.00         2,223.05
     1            Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.10           180.30
     2            Leasehold Improvement     Power Failure                                              4,021.57         2,106.37
     2            Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.10           158.22
     3            Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.10           158.22
     4            Leasehold Improvement     Rest Room Plumbing                                         4,865.00         4,865.00
     4            Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.10           309.10
    510           Leasehold Improvement     HVAC Repairs                                               5,104.41         2,673.61
    510           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.10           158.22
    511           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.10           309.10
    514           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09           224.45
    515           Leasehold Improvement     Installed Signage                                          1,648.00           863.20
    515           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09           158.21
    516           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09           158.21
    517           Leasehold Improvement     Installed Signage                                          3,922.50         3,922.50
    517           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09           309.09
    518           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09           250.21
    525           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09           224.45
    526           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09           158.21
    527           Leasehold Improvement     Replaced Ceiling Tiles                                       880.00           638.96
    527           Leasehold Improvement     Renovation : Painting                                      4,200.00         3,050.00
    527           Leasehold Improvement     Installed Signage                                          1,457.50         1,075.80
    527           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09           224.45
    531                                     Electrical Work                                           11,700.00        11,700.00
    531                                     Electrical Work                                          (11,700.00)      (11,700.00)
    531           Leasehold Improvement     Electrical Work                                           11,700.36         5,850.18
    531           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09           158.21
    532           Leasehold Improvement     Renovation                                                 5,640.00         2,954.40
    532           Leasehold Improvement     Signage (Installed)                                        4,281.50         2,242.70
    532           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09           158.21
    533           Leasehold Improvement     Renovation                                                 4,500.00         2,303.63
    533           Leasehold Improvement     Installed Signage                                          2,367.50         1,240.30
    533           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09           158.21
    534           Leasehold Improvement     Renovation                                                 4,500.00         2,303.63
    534           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09           158.21
    535           Leasehold Improvement     Renovation                                                   732.00           374.89
    535           Leasehold Improvement     Renovation                                                 4,000.00         2,047.58



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   Store                   Type                                 Description                          Basis        Accum Dpen
    535           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    537           Leasehold Improvement     Renovation                                                 4,350.00       2,278.40
    537           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    538           Leasehold Improvement     Renovation                                                 7,750.00       4,059.60
    538           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    539           Leasehold Improvement     Renovation                                                 8,830.00       5,045.68
    539           Leasehold Improvement     Installed Signage                                          1,250.00         654.80
    539           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    540           Leasehold Improvement     Renovation                                                 6,595.00       3,925.66
    540           Leasehold Improvement     Installed Signage                                          1,210.00         720.40
    540           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         180.29
    541           Leasehold Improvement     Renovation                                                 5,840.00       2,989.68
    541           Leasehold Improvement     HVAC                                                       2,738.27       1,434.27
    541           Leasehold Improvement     Signage (Installed)                                          445.00         233.00
    541           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    542           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    543           Leasehold Improvement     Renovation                                                 3,219.75       1,724.88
    543           Leasehold Improvement     Signage (Installed)                                        2,245.00       1,175.80
    543           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    544           Leasehold Improvement     Signage (Installed)                                        2,333.00       1,222.20
    544           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    545           Leasehold Improvement     Renovation                                                 4,030.31       2,111.11
    545           Leasehold Improvement     Signage (Installed)                                        1,805.00         945.40
    545           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    546           Leasehold Improvement     Renovation                                                 3,761.88       1,970.68
    546           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    547           Leasehold Improvement     Renovation                                                 8,098.75       4,242.35
    547           Leasehold Improvement     Signage (Installed)                                          890.00         466.00
    547           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    548           Leasehold Improvement     Renovation                                                 3,527.50       1,847.90
    548           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    549           Leasehold Improvement     Renovation                                                 2,981.88       1,561.88
    549           Leasehold Improvement     Renovation                                                 2,681.48       1,404.68
    549           Leasehold Improvement     Signage (Installed)                                        2,420.00       1,267.60
    549           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    550           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    551           Leasehold Improvement     Renovation                                                 3,085.94       1,616.34
    551           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    552           Leasehold Improvement     Renovation                                                 2,908.44       1,523.64
    552           Leasehold Improvement     Signage (Installed)                                        3,385.00       1,773.00
    552           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    553           Leasehold Improvement     Renovation                                                 3,306.25       1,731.85
    553           Leasehold Improvement     Renovation                                                 2,855.31       1,495.71
    553           Leasehold Improvement     Signage (Installed)                                          940.00         492.40
    553           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    555           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         224.45
    558           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    559           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    560           Leasehold Improvement     Renovation                                                 5,714.94       5,714.94
    560           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         309.09
    562           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         253.89
    563           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         158.21
    565           Leasehold Improvement     HVAC                                                       3,477.06       2,607.87
    565           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09         309.09
    566           Leasehold Improvement     HVACs                                                      2,770.88       1,451.28



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   Store                   Type                                  Description                         Basis        Accum Dpen
    566           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    567           Leasehold Improvement     Renovation                                                 4,939.97        2,646.38
    567           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    568           Leasehold Improvement     Renovation                                                 3,982.97        2,086.17
    568           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    569           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    570           Leasehold Improvement     Receiving Area Overhead Door Repairs                       4,644.00        2,432.40
    570           Leasehold Improvement     Renovation                                                 4,338.90        2,272.90
    570           Leasehold Improvement     Signage (Installed)                                          860.00          450.40
    570           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    572           Leasehold Improvement     Renovation                                                 6,261.28        3,354.22
    572           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    573           Leasehold Improvement     Renovation                                                 4,101.30        2,148.10
    573           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    574           Leasehold Improvement     Renovation                                                 6,218.10        3,330.93
    574           Leasehold Improvement     Signage (Installed)                                          875.00          458.20
    574           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    576           Leasehold Improvement     Renovation                                                 1,210.00          893.20
    576           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          209.73
    578           Leasehold Improvement     Renovation                                                 5,190.00        2,965.56
    578           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    579           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    579           Leasehold Improvement     Renovation                                                 4,830.00        2,530.00
    580           Leasehold Improvement     Renovation                                                 6,420.00        3,668.52
    580           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    581           Leasehold Improvement     Signage (Installed)                                       13,632.50        7,140.90
    581           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    582           Leasehold Improvement     Signage (Installed)                                        2,075.00        1,087.00
    582           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    583           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    584           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    585           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    586           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    587           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    588           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    589           Leasehold Improvement     HVAC                                                       3,037.90        1,591.10
    589           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          158.21
    590           Leasehold Improvement     Renovation                                                 5,965.00        3,337.63
    590           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          169.25
    591           Leasehold Improvement     Renovation                                                10,525.00        8,770.80
    591           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                        309.09          253.89
     1            Leasehold Improvement     Correct Fire Violations                                    1,683.02          981.62
     2            Leasehold Improvement     HVAC                                                       4,781.74        2,561.47
    510           Leasehold Improvement     Lighting/Ceiling Repairs                                   4,180.04        2,239.40
    511           Leasehold Improvement     Front Window Rolling Gate                                  4,663.55        4,663.55
    515           Leasehold Improvement     Lighting Repairs                                           5,074.66        2,597.85
    526           Leasehold Improvement     Signage - Deposit                                         12,464.38        6,677.17
    526             Furniture & Fixtures    Fixtures                                                   7,933.69        4,533.49
    531           Leasehold Improvement     Rebranding Project                                        41,921.57       20,960.63
    531             Furniture & Fixtures    Fixtures                                                   7,933.69        4,533.49
    537           Leasehold Improvement     Signage                                                    6,723.85        3,601.90
    538           Leasehold Improvement     Signage                                                    4,341.30        2,325.78
    540           Leasehold Improvement     Lighting Repairs                                           4,554.02        1,951.94
    540           Leasehold Improvement     Repair Water Line                                          3,800.00        2,307.08
    541           Leasehold Improvement     HVAC                                                       5,730.07        3,069.49



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   Store                   Type                                   Description                        Basis        Accum Dpen
    542           Leasehold Improvement     Rebranding : Lighting                                      3,076.71        1,648.14
    542           Leasehold Improvement     Rebranding : Ceiling Tiles / Paint                         3,395.22        1,818.84
    543           Leasehold Improvement     HVAC                                                       2,826.52        1,480.52
    546           Leasehold Improvement     Lighting Repairs                                           5,249.92        2,749.92
    551           Leasehold Improvement     Signage - Deposit                                          3,643.75        1,951.93
    552           Leasehold Improvement     Lighting/Ceiling Repairs                                   3,536.16        1,810.06
    555           Leasehold Improvement     Signage                                                   23,997.38       17,998.10
    556                 Equipment           Security Cameras & Install                                 4,390.60        4,390.60
    558           Leasehold Improvement     Lighting/Ceiling Repairs                                  28,254.58       14,800.18
    559           Leasehold Improvement     HVAC                                                       7,960.24        4,264.60
    559           Leasehold Improvement     Carpet Mending                                             3,891.60        2,038.40
    563                 Equipment           EAS System                                                 2,921.20        1,530.00
    563           Leasehold Improvement     Rebranding : Ceiling Tiles / Paint                         4,317.30        2,312.70
    566           Leasehold Improvement     Signage - Deposit                                            806.80          432.40
    566           Leasehold Improvement     Rebranding : Lighting                                      2,525.31        1,322.91
    566           Leasehold Improvement     Rebranding : Ceiling Tiles / Paint                         4,533.30        2,374.50
    569           Leasehold Improvement     Rebranding : Ceiling Tiles                                 3,925.88        2,103.02
    569           Leasehold Improvement     Signage - Deposit                                          1,159.19          620.99
    572           Leasehold Improvement     Signage - Deposit                                          1,321.23          707.76
    573           Leasehold Improvement     Signage - Deposit                                          1,353.00          724.71
    578           Leasehold Improvement     Signage                                                    7,108.99        3,893.05
    578           Leasehold Improvement     HVAC                                                       5,639.16        3,021.09
    579           Leasehold Improvement     Signage - Deposit                                          1,054.35          564.90
    580           Leasehold Improvement     Signage - Deposit                                          1,426.90          764.29
    580           Leasehold Improvement     HVAC                                                       6,139.67        3,289.16
    584           Leasehold Improvement     Rebranding : Lighting / Paint                              4,770.00        2,498.40
    584           Leasehold Improvement     Signage - Deposit                                          4,066.40        2,178.41
    585           Leasehold Improvement     Rebranding : Lighting / Paint                              6,200.00        3,247.60
    586           Leasehold Improvement     Rebranding : Lighting / Paint                              5,230.00        2,739.60
    586           Leasehold Improvement     Signage - Deposit                                          1,338.58          716.92
    587           Leasehold Improvement     Speaker System Repairs                                     2,699.78        1,349.90
    587           Leasehold Improvement     Rebranding : Patch & Paint                                 2,200.00        1,152.40
    588           Leasehold Improvement     Rebranding : Lighting / Paint                              5,570.00        2,917.60
    588           Leasehold Improvement     Signage - Deposit                                          2,998.00        1,606.09
    589           Leasehold Improvement     Rebranding : Lighting / Paint                              8,725.00        4,570.20
     1            Leasehold Improvement     Permits for Signage                                       14,681.99        8,913.92
     1            Leasehold Improvement     Ceiling Tiles                                              3,524.83        2,182.11
     2            Leasehold Improvement     Permits for Signage                                        5,064.75        2,713.44
     2            Leasehold Improvement     Lighting Replacements                                        870.18          476.50
     3            Leasehold Improvement     Permits for Signage                                        5,214.67        2,793.55
    510           Leasehold Improvement     Ceiling Tiles                                                391.95          214.49
    511           Leasehold Improvement     Permits for Signage                                        7,177.86        7,177.86
    511           Leasehold Improvement     Lighting Replacements                                      1,200.35        1,200.35
    514           Leasehold Improvement     Permits for Signage                                        2,495.37        1,871.46
    514           Leasehold Improvement     Lighting Replacements                                      2,111.63        1,608.83
    515           Leasehold Improvement     Signage                                                    2,539.33        1,360.36
    515           Leasehold Improvement     Permits for Signage                                        3,112.12        1,667.17
    516           Leasehold Improvement     Permits for Signage                                        5,142.59        2,755.01
    517           Leasehold Improvement     Door Repairs                                               2,500.00        2,500.00
    525           Leasehold Improvement     HVAC Repairs                                               2,705.63        2,061.43
    525             Furniture & Fixtures    Build/Deliver/Install Fixtures                               765.46          601.48
    525           Leasehold Improvement     Signage                                                   16,424.14       12,513.54
    525           Leasehold Improvement     Interior Exit Door Repair                                  3,500.00        2,666.60
    526             Furniture & Fixtures    Fixtures                                                   1,834.42        1,048.18
    526             Furniture & Fixtures    Build/Deliver/Install Fixtures                               765.46          437.50



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   Store                   Type                                   Description                       Basis        Accum Dpen
    527           Leasehold Improvement     Signage                                                   1,985.14        1,488.91
    527           Leasehold Improvement     Signage Lighting                                          4,834.88        3,683.68
    531             Furniture & Fixtures    White Slatwall Fixtures                                     759.73          434.29
    531             Furniture & Fixtures    White Slatwall Fixtures                                     304.94          174.26
    531           Leasehold Improvement     HVAC Repairs                                              4,957.83        2,715.07
    531             Furniture & Fixtures    Fixtures                                                  1,834.42        1,048.18
    531             Furniture & Fixtures    Build/Deliver/Install Fixtures                              765.46          437.50
    531           Leasehold Improvement     Painted Façade                                           19,000.00       10,857.16
    532           Leasehold Improvement     Signage                                                   5,341.44        2,861.43
    533             Furniture & Fixtures    Build/Deliver/Install Fixtures                              765.46          437.50
    533           Leasehold Improvement     Signage                                                   3,800.63        2,081.13
    534           Leasehold Improvement     Permits for Signage                                       7,910.83        4,237.81
    534             Furniture & Fixtures    Build/Deliver/Install Fixtures                              765.45          437.49
    534           Leasehold Improvement     Signage                                                   2,587.19        1,416.79
    534           Leasehold Improvement     Permits for Signage                                      11,956.36        6,547.44
    535             Furniture & Fixtures    Build/Deliver/Install Fixtures                              765.45          437.49
    537           Leasehold Improvement     Permits for Signage                                       7,838.94        4,199.46
    537             Furniture & Fixtures    Maple & Metal Tables                                      1,140.56          651.68
    537             Furniture & Fixtures    Maple & Metal Tables                                        145.34           83.06
    537           Leasehold Improvement     Removal of storefront signage                             2,360.00        1,292.20
    537             Furniture & Fixtures    Deliver Fixtures                                            765.45          437.49
    538           Leasehold Improvement     Permits for Signage                                       7,478.94        4,006.38
    538             Furniture & Fixtures    Fixtures                                                  3,558.95        2,033.63
    538           Leasehold Improvement     Removal of storefront signage                             2,360.00        1,292.20
    538             Furniture & Fixtures    Deliver Fixtures                                            765.45          437.49
    539           Leasehold Improvement     Permits for Signage                                       7,954.22        4,261.31
    539             Furniture & Fixtures    Fixtures                                                  2,752.82        1,573.10
    539           Leasehold Improvement     Removal of storefront signage                             2,360.00        1,292.20
    539             Furniture & Fixtures    Deliver Fixtures                                            765.46          437.50
    540           Leasehold Improvement     Permits for Signage                                       9,225.88        5,601.49
    540           Leasehold Improvement     Removal of storefront signage                             2,360.00        1,460.80
    540             Furniture & Fixtures    Deliver Fixtures                                            765.45          492.15
    541           Leasehold Improvement     Permits for Signage                                      11,575.50        6,201.30
    541             Furniture & Fixtures    Fixtures                                                  4,340.98        2,480.50
    541           Leasehold Improvement     Removal of storefront signage                             2,360.00        1,292.20
    541             Furniture & Fixtures    Deliver Fixtures                                            765.45          437.49
    542           Leasehold Improvement     Banner Install                                              319.05          174.65
    543           Leasehold Improvement     Signage                                                   2,925.48        1,601.94
    543           Leasehold Improvement     Banner Install                                              319.05          174.65
    544           Leasehold Improvement     Signage                                                   6,475.80        3,546.38
    544           Leasehold Improvement     Signage - Deposit                                         5,400.00        2,956.98
    544           Leasehold Improvement     Banner Install                                              319.05          174.65
    545           Leasehold Improvement     Signage - 50%                                             2,550.00        1,457.04
    545           Leasehold Improvement     Banner Install                                              319.05          174.65
    546           Leasehold Improvement     Removal of storefront signage                             2,360.00        1,292.20
    546           Leasehold Improvement     Banner Install                                              652.81          373.09
    547           Leasehold Improvement     Removal of storefront signage                             2,360.00        1,292.20
    547           Leasehold Improvement     Fitting Room Painting                                     2,977.50        1,630.40
    548           Leasehold Improvement     HVAC Repairs                                              2,658.82        1,456.12
    548           Leasehold Improvement     Removal of storefront signage                             2,360.00        1,292.20
    549           Leasehold Improvement     Fitting Room Painting                                       842.50          461.36
    549           Leasehold Improvement     Removal of storefront signage                             2,360.00        1,292.20
    550           Leasehold Improvement     Removal of storefront signage                             2,360.00        1,292.20
    551           Leasehold Improvement     Removal of storefront signage                             2,360.00        1,292.20
    552           Leasehold Improvement     Removal of storefront signage                             2,398.13        1,313.23



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   Store                   Type                                  Description                        Basis         Accum Dpen
    553           Leasehold Improvement     Banner Install                                              325.00           177.94
    555           Leasehold Improvement     Banner Install                                              637.10           500.66
    558           Leasehold Improvement     Ceiling Tiles                                             3,346.43         1,832.51
    558           Leasehold Improvement     Lighting Replacement                                      5,531.90         3,029.22
    559           Leasehold Improvement     Renovation Contract - 50%                                32,125.00        17,209.84
    560           Leasehold Improvement     Repair broken water line                                  4,100.00         4,100.00
    565             Furniture & Fixtures    Freight                                                     100.00           100.00
    565           Leasehold Improvement     Water extraction / clean store                            3,500.00         3,500.00
    565           Leasehold Improvement     Break room HVAC                                           3,503.74         2,711.25
    565           Leasehold Improvement     Banner Install                                            2,360.00         2,360.00
    565           Leasehold Improvement     Banner Install                                              250.00           250.00
    566           Leasehold Improvement     Vestibule carpets cleaned                                   194.40           106.62
    566           Leasehold Improvement     Banner Install                                              270.00           148.02
    567           Leasehold Improvement     Banner Install                                              635.00           362.84
    568           Leasehold Improvement     Vestibule carpets cleaned                                   195.75           107.21
    568           Leasehold Improvement     Banner Install                                              271.88           148.76
    569           Leasehold Improvement     Vestibule carpets cleaned                                   195.75           107.21
    570           Leasehold Improvement     Signage                                                   1,284.40           688.09
    570                 Equipment           EAS System                                                4,461.78         2,390.10
    570           Leasehold Improvement     Banner Install                                              270.00           148.02
    572           Leasehold Improvement     Banner Install                                              271.88           148.76
    573           Leasehold Improvement     Signage                                                   1,797.87           963.27
    573           Leasehold Improvement     Banner Install                                              270.00           148.02
    573           Leasehold Improvement     Permits for Signage                                       9,088.46         4,976.86
    574           Leasehold Improvement     Signage                                                   1,292.19           692.37
    574           Leasehold Improvement     Banner Install                                              270.00           148.02
    576             Furniture & Fixtures    Fixtures                                                  2,284.11         1,685.93
    578           Leasehold Improvement     Permits for Signage                                       7,545.64         4,042.27
    578           Leasehold Improvement     Signage                                                   9,017.19         4,937.89
    578             Furniture & Fixtures    Fixtures                                                  3,560.92         2,034.88
    578           Leasehold Improvement     Additional Use Tax Due                                        14.96            7.94
    578           Leasehold Improvement     Vestibule carpets cleaned                                   180.00            98.68
    579           Leasehold Improvement     Permits for Signage                                       8,399.44         4,499.83
    579             Furniture & Fixtures    Fixtures                                                  3,195.65         1,826.21
    579           Leasehold Improvement     Removal of storefront signage                             2,360.00         1,292.20
    579           Leasehold Improvement     Signage                                                   1,938.92         1,061.88
    580             Furniture & Fixtures    Fixtures                                                  2,912.47         1,664.35
    580           Leasehold Improvement     Removal of storefront signage                             2,360.00         1,292.20
    581           Leasehold Improvement     60" x 206" Sign                                           6,976.00         3,737.05
    581           Leasehold Improvement     Vestibule carpets cleaned                                   180.00            98.68
    582           Leasehold Improvement     Banner Install                                              250.00           136.76
    582           Leasehold Improvement     Vestibule carpets cleaned                                   180.00            98.68
    583           Leasehold Improvement     HVAC Repairs                                              3,219.79         1,763.25
    583           Leasehold Improvement     Removal of storefront signage                             1,679.00           919.38
    583           Leasehold Improvement     Banner Install                                              300.00           164.34
    583           Leasehold Improvement     Permits for Signage                                      20,142.00        11,029.98
    584           Leasehold Improvement     Removal of storefront signage                             1,673.50           916.54
    584           Leasehold Improvement     Banner Install                                              350.00           191.54
    585           Leasehold Improvement     Removal of storefront signage                             1,673.50           916.54
    585           Leasehold Improvement     Banner Install                                              350.00           191.54
    586           Leasehold Improvement     Banner Install                                            2,360.00         1,292.20
    586           Leasehold Improvement     Banner Install                                              250.00           136.76
    587           Leasehold Improvement     Removal of storefront signage                             2,360.00         1,292.20
    587           Leasehold Improvement     Banner Install                                              250.00           136.76
    588           Leasehold Improvement     Vestibule carpets cleaned                                   180.00            98.68



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   Store                   Type                                  Description                        Basis         Accum Dpen
    588           Leasehold Improvement     Removal of storefront signage                             1,679.00           919.38
    588           Leasehold Improvement     Banner Install                                              250.00           136.76
    588           Leasehold Improvement     Fitting Room Painting                                       135.00            73.82
    588           Leasehold Improvement     Permits for Signage                                      13,049.04         7,145.74
    589           Leasehold Improvement     Removal of storefront signage                             1,668.00           913.32
    589           Leasehold Improvement     Ceiling Tiles                                               933.30           511.12
    591           Leasehold Improvement     Removal of storefront signage                             1,668.00         1,429.68
   9805             Furniture & Fixtures    Conveyers - reclass to stores Per 5                      28,625.00        28,625.00
   9805             Furniture & Fixtures    Conveyers - reclass to stores Per 5                     (28,625.00)      (28,625.00)
     1            Leasehold Improvement     In-House EE Rebranding Work                              13,545.00        11,610.00
     2            Leasehold Improvement     In-House EE Rebranding Work                              13,404.00        10,531.74
     3            Leasehold Improvement     In-House EE Rebranding Work                              10,614.00         8,339.52
     4            Leasehold Improvement     In-House EE Rebranding Work                               8,109.00         8,109.00
    510           Leasehold Improvement     In-House EE Rebranding Work                               9,667.00         7,595.56
    511           Leasehold Improvement     In-House EE Rebranding Work                               7,968.00         7,968.00
    514           Leasehold Improvement     In-House EE Rebranding Work                              13,459.00        13,459.00
    515           Leasehold Improvement     In-House EE Rebranding Work                              11,013.00         9,439.68
    516           Leasehold Improvement     In-House EE Rebranding Work                              12,510.00        10,722.84
    517           Leasehold Improvement     In-House EE Rebranding Work                               8,398.00         8,398.00
    518           Leasehold Improvement     In-House EE Rebranding Work                               9,502.00         8,936.40
    519           Leasehold Improvement     In-House EE Rebranding Work                               7,409.00         7,409.00
    525           Leasehold Improvement     In-House EE Rebranding Work                               8,751.00         8,751.00
    526           Leasehold Improvement     In-House EE Rebranding Work                              10,558.00         9,049.72
    527           Leasehold Improvement     In-House EE Rebranding Work                              13,324.00        13,324.00
    529           Leasehold Improvement     In-House EE Rebranding Work                               1,067.00         1,067.00
    531           Leasehold Improvement     In-House EE Rebranding Work                              13,721.00        10,780.70
    532           Leasehold Improvement     In-House EE Rebranding Work                              10,425.00         8,191.02
    533           Leasehold Improvement     In-House EE Rebranding Work                              11,016.00         8,655.48
    534           Leasehold Improvement     In-House EE Rebranding Work                              12,516.00         9,834.00
    535           Leasehold Improvement     In-House EE Rebranding Work                              15,198.00        11,941.26
    537           Leasehold Improvement     In-House EE Rebranding Work                               4,262.00         3,348.68
    538           Leasehold Improvement     In-House EE Rebranding Work                               3,487.00         2,739.82
    539           Leasehold Improvement     In-House EE Rebranding Work                               3,183.00         2,500.98
    540           Leasehold Improvement     In-House EE Rebranding Work                               2,709.00         2,322.00
    541           Leasehold Improvement     In-House EE Rebranding Work                               3,541.00         2,782.30
    542           Leasehold Improvement     In-House EE Rebranding Work                               8,018.00         6,299.90
    543           Leasehold Improvement     In-House EE Rebranding Work                               7,090.00         5,570.80
    544           Leasehold Improvement     In-House EE Rebranding Work                               7,195.00         5,653.30
    545           Leasehold Improvement     In-House EE Rebranding Work                               7,046.00         5,536.16
    546           Leasehold Improvement     In-House EE Rebranding Work                               4,586.00         4,586.00
    547           Leasehold Improvement     In-House EE Rebranding Work                               5,949.00         5,949.00
    548           Leasehold Improvement     In-House EE Rebranding Work                               5,964.00         5,964.00
    549           Leasehold Improvement     In-House EE Rebranding Work                               5,980.00         5,980.00
    550           Leasehold Improvement     In-House EE Rebranding Work                               7,245.00         7,245.00
    551           Leasehold Improvement     In-House EE Rebranding Work                               7,426.00         7,426.00
    552           Leasehold Improvement     In-House EE Rebranding Work                               5,106.00         5,106.00
    553           Leasehold Improvement     In-House EE Rebranding Work                               7,266.00         7,266.00
    555           Leasehold Improvement     In-House EE Rebranding Work                              12,956.00        12,956.00
    558           Leasehold Improvement     In-House EE Rebranding Work                              13,609.00        13,609.00
    559           Leasehold Improvement     In-House EE Rebranding Work                              12,577.00        12,577.00
    562           Leasehold Improvement     In-House EE Rebranding Work                               8,871.00         8,871.00
    563           Leasehold Improvement     In-House EE Rebranding Work                              11,816.00        11,816.00
    565           Leasehold Improvement     In-House EE Rebranding Work                              11,702.00        11,702.00
    566           Leasehold Improvement     In-House EE Rebranding Work                               7,253.00         7,253.00
    567           Leasehold Improvement     In-House EE Rebranding Work                               7,441.00         7,441.00



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   Store                   Type                                   Description                      Basis        Accum Dpen
    568           Leasehold Improvement     In-House EE Rebranding Work                              7,690.00        7,690.00
    569           Leasehold Improvement     In-House EE Rebranding Work                              7,536.00        7,536.00
    570           Leasehold Improvement     In-House EE Rebranding Work                              7,218.00        7,218.00
    572           Leasehold Improvement     In-House EE Rebranding Work                              6,739.00        6,739.00
    573           Leasehold Improvement     In-House EE Rebranding Work                              6,639.00        6,639.00
    574           Leasehold Improvement     In-House EE Rebranding Work                              7,162.00        7,162.00
    576           Leasehold Improvement     In-House EE Rebranding Work                              3,265.00        3,265.00
    578           Leasehold Improvement     In-House EE Rebranding Work                              3,211.00        3,211.00
    579           Leasehold Improvement     In-House EE Rebranding Work                              3,772.00        3,772.00
    580           Leasehold Improvement     In-House EE Rebranding Work                              3,428.00        3,428.00
    581           Leasehold Improvement     In-House EE Rebranding Work                              2,592.00        2,592.00
    582           Leasehold Improvement     In-House EE Rebranding Work                              3,429.00        3,429.00
    583           Leasehold Improvement     In-House EE Rebranding Work                              4,178.00        4,178.00
    584           Leasehold Improvement     In-House EE Rebranding Work                              6,769.00        6,769.00
    585           Leasehold Improvement     In-House EE Rebranding Work                              5,092.00        5,092.00
    586           Leasehold Improvement     In-House EE Rebranding Work                              4,649.00        4,649.00
    587           Leasehold Improvement     In-House EE Rebranding Work                              3,144.00        3,144.00
    588           Leasehold Improvement     In-House EE Rebranding Work                              4,201.00        4,201.00
    589           Leasehold Improvement     In-House EE Rebranding Work                              4,677.00        4,677.00
    590           Leasehold Improvement     In-House EE Rebranding Work                             10,017.00       10,017.00
    591           Leasehold Improvement     In-House EE Rebranding Work                              4,892.00        4,892.00
     1            Leasehold Improvement     Paint @ Rear of Store                                      363.00          229.08
     1            Leasehold Improvement     Signage Removal                                            968.00          610.88
     1            Leasehold Improvement     Awning Removal / Façade Repairs                          3,527.00        2,225.31
     1            Leasehold Improvement     Paint Storefront                                         1,452.00          916.01
     1            Leasehold Improvement     Signage                                                  2,558.56        1,614.30
     2            Leasehold Improvement     Paint Storefront                                         1,271.00          711.19
     2            Leasehold Improvement     Signage/Banners                                         12,499.07        6,993.47
     3            Leasehold Improvement     Signage                                                  1,100.00          602.20
     3            Leasehold Improvement     Gas Leaks leading to HVACs                               2,865.00        1,568.82
     3            Leasehold Improvement     Post Renovation Clean-up                                 3,121.66        1,746.74
     4            Leasehold Improvement     Signage                                                  2,231.94        2,231.94
     4            Leasehold Improvement     Signage Permits                                          3,089.69        3,089.69
    510           Leasehold Improvement     Graffiti Removal                                         4,842.68        2,709.63
    510           Leasehold Improvement     Signage                                                  6,369.19        3,563.85
    511           Leasehold Improvement     Cover Conway Letters                                       242.00          242.00
    511           Leasehold Improvement     Rebranding Change Order                                  2,623.40        2,623.40
    511           Leasehold Improvement     Post Renovation Clean-up                                   424.61          424.61
    514           Leasehold Improvement     Signage/Banners                                          4,355.00        3,369.85
    514           Leasehold Improvement     Overhead Door Repair                                     3,342.46        2,586.45
    514           Leasehold Improvement     Logo Sign/Banner                                        11,685.55        9,042.46
    548           Leasehold Improvement     Logo Sign/Banner                                        14,880.69        8,326.14
    515           Leasehold Improvement     Ceiling Tiles / Paint                                    1,004.37          561.85
    515           Leasehold Improvement     Light Repairs                                            3,557.49        1,990.54
    515           Leasehold Improvement     Signage/Banners                                          4,355.00        2,436.55
    515           Leasehold Improvement     HVAC                                                     2,751.58        1,539.46
    515           Leasehold Improvement     Post Renovation Clean-up                                 2,172.06        1,215.24
    516           Leasehold Improvement     Paint Storefront                                         1,452.00          812.27
    516           Leasehold Improvement     Signage/Banners                                          2,231.94        1,248.85
    516           Leasehold Improvement     HVAC                                                     2,986.56        1,671.21
    516           Leasehold Improvement     Post Renovation Clean-up                                 2,905.66        1,625.83
    516           Leasehold Improvement     Signage/Banners                                         14,762.14        8,259.76
    517           Leasehold Improvement     Cover Conway Letters                                       242.00          242.00
    517           Leasehold Improvement     Signage/Banners                                          2,231.94        2,231.94
    517           Leasehold Improvement     HVAC                                                     3,203.20        3,203.20



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   Store                   Type                                  Description                        Basis         Accum Dpen
    517           Leasehold Improvement     Post Renovation Clean-up                                  2,307.00         2,307.00
    518           Leasehold Improvement     HVAC                                                      3,113.74         2,668.90
    518           Leasehold Improvement     Signage Permits                                           9,129.45         7,716.61
    525           Leasehold Improvement     Signage Lighting/Store Lighting                           4,911.93         3,800.81
    525           Leasehold Improvement     Exterior Lighting                                         2,625.63         2,031.69
    526             Furniture & Fixtures    Shipping of Fixtures                                      1,033.00           590.20
    526           Leasehold Improvement     Signage                                                  20,471.94        11,210.96
    527             Furniture & Fixtures    Conveyor                                                  2,207.69         1,734.65
    529           Leasehold Improvement     Front End Ceiling Leakage                                 3,265.00         3,265.00
    530           Leasehold Improvement     WhiteHawk Travel                                            176.10           176.10
    531                 Equipment           EAS System                                                4,501.50         2,465.08
    531           Leasehold Improvement     Signage                                                  48,181.26        25,237.66
    531           Leasehold Improvement     Labor                                                       190.08           104.20
    531           Leasehold Improvement     Post Renovation Clean-up                                    988.00           552.88
    531             Furniture & Fixtures    Conveyor                                                  2,207.69         1,261.61
    534           Leasehold Improvement     HVAC                                                      5,365.47         3,002.28
    535           Leasehold Improvement     Removal of Conway Sign                                    1,721.25           901.65
    535           Leasehold Improvement     Signage/Banners                                          13,222.15         7,397.98
    537           Leasehold Improvement     HVAC                                                      3,091.02         1,729.42
    538           Leasehold Improvement     Entrance Doors                                            2,728.03         1,428.83
    538           Leasehold Improvement     Banner                                                      652.10           357.22
    538           Leasehold Improvement     Vestibule Carpet Cleaning                                   717.40           401.42
    538           Leasehold Improvement     Sign Lighting/Banner                                      2,910.78         1,628.73
    539           Leasehold Improvement     Banner                                                      652.10           357.22
    540           Leasehold Improvement     Banner                                                      652.10           403.78
    540           Leasehold Improvement     Pylon Sign                                                2,202.18         1,389.36
    541           Leasehold Improvement     Coming Soon Banner                                          652.10           357.22
    541           Leasehold Improvement     Grand Opening Banner                                      1,184.28           662.58
    542           Leasehold Improvement     Closing Banner                                            2,509.86         1,404.30
    542           Leasehold Improvement     Signage/Banners                                          12,645.36         7,075.38
    543             Furniture & Fixtures    Safe                                                      3,190.50         1,823.22
    543           Leasehold Improvement     Signage/Banners                                           2,509.86         1,404.30
    543           Leasehold Improvement     HVAC                                                      4,836.04         2,705.95
    544           Leasehold Improvement     Signage/Banners                                           2,509.86         1,404.30
    545           Leasehold Improvement     Signage/Banners                                           2,509.86         1,404.30
    545           Leasehold Improvement     Pylon Sign                                                3,277.22         1,794.84
    546           Leasehold Improvement     HVAC                                                      4,241.54         2,322.92
    547           Leasehold Improvement     Banner                                                      652.81           357.55
    548           Leasehold Improvement     Pylon Sign                                                2,580.10         1,443.46
    548           Leasehold Improvement     Banner                                                      652.81           357.55
    549           Leasehold Improvement     Lighting                                                  8,667.46         4,746.62
    549           Leasehold Improvement     Banner                                                      652.81           357.55
    549           Leasehold Improvement     Pylon Sign                                                3,136.09         1,754.88
    550           Leasehold Improvement     Banner                                                      652.81           357.55
    551           Leasehold Improvement     Banner                                                      652.81           357.55
    551           Leasehold Improvement     Pylon Sign                                                5,911.69         3,307.63
    552           Leasehold Improvement     Banner                                                      652.81           357.55
    552           Leasehold Improvement     Touch-up Painting                                         1,597.50           893.76
    555             Furniture & Fixtures    Sign Holders                                                  22.15           17.47
    558           Leasehold Improvement     Scissor Lift Rental                                         869.70           476.40
    558           Leasehold Improvement     Repair from Sign Removal                                  2,420.00         1,354.03
    558           Leasehold Improvement     Signage Lighting                                          5,596.70         3,131.39
    558           Leasehold Improvement     Remove Front Sign                                         4,280.00         2,394.85
    558             Furniture & Fixtures    Sign Holders                                                  22.15           12.79
    559           Leasehold Improvement     Travel                                                    1,263.19           706.71



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   Store                   Type                                    Description                          Basis         Accum Dpen
    559           Leasehold Improvement     Construction Contract                                        20,000.00        11,190.30
    559           Leasehold Improvement     Move Registers                                               14,122.00         7,901.56
    559           Leasehold Improvement     Lighting                                                     14,770.00         8,264.29
    559           Leasehold Improvement     Signage/Banners                                               2,408.80         1,347.64
    559           Leasehold Improvement     Banner                                                          657.80           360.26
    559             Furniture & Fixtures    Sign Holders                                                      88.60           50.80
    560           Leasehold Improvement     Banner                                                          652.10           652.10
    562           Leasehold Improvement     Repair broken water line                                      2,793.00         2,427.25
    562             Furniture & Fixtures    Sign Holders                                                      66.44           52.22
    563           Leasehold Improvement     Signage/Banners                                               2,408.80         1,347.64
    563           Leasehold Improvement     Coming Soon Banner                                              657.80           360.26
    563           Leasehold Improvement     Second Coat of Painting                                       1,320.30           738.66
    563           Leasehold Improvement     Vestibule Carpet Cleaning                                       180.00           100.82
    565           Leasehold Improvement     Interior Paint                                                2,548.80         2,548.80
    565           Leasehold Improvement     Illuminated sign/Banner                                      14,974.05        14,974.05
    566           Leasehold Improvement     Signage/Banners                                               2,548.80         1,426.22
    568           Leasehold Improvement     Signage/Banners                                               2,566.50         1,436.15
    569           Leasehold Improvement     Signage/Banners                                               2,566.50         1,436.15
    570           Leasehold Improvement     Signage/Banners                                               2,548.80         1,426.22
    570           Leasehold Improvement     Illuminated sign/Banner                                      12,911.40         7,070.42
    572           Leasehold Improvement     Signage/Banners                                               2,566.50         1,436.15
    572           Leasehold Improvement     HVAC                                                          5,536.04         3,097.37
    573           Leasehold Improvement     Signage/Banners                                               2,548.80         1,426.22
    573           Leasehold Improvement     Vestibule Carpet Cleaning                                       194.40           108.93
    573           Leasehold Improvement     HVAC                                                          3,900.35         2,136.01
    574           Leasehold Improvement     Signage/Banners                                               2,548.80         1,426.22
    574           Leasehold Improvement     Illuminated sign/Banner                                      13,148.28         7,356.67
    576           Leasehold Improvement     Coming Soon Banner                                              657.80           469.88
    578           Leasehold Improvement     Closing Banner                                                1,672.45           915.87
    579           Leasehold Improvement     Coming Soon Banner                                              654.95           358.55
    580           Leasehold Improvement     Coming Soon Banner                                              654.95           358.55
    580           Leasehold Improvement     Illuminated sign/Banner                                      13,690.65         7,497.41
    580           Leasehold Improvement     Signage Permits                                               1,538.68           860.84
    580           Leasehold Improvement     Signage                                                       2,588.59         1,417.43
    581           Leasehold Improvement     72"x247" LED Fallas sign                                     10,147.90         5,436.31
    582           Leasehold Improvement     Signage                                                      10,247.78         5,733.78
    583           Leasehold Improvement     Ceiling Tiles                                                   284.85           159.42
    584           Leasehold Improvement     Pylon Sign                                                    4,913.67         2,749.17
    584           Leasehold Improvement     Paint Fitting Room                                              652.35           364.86
    585           Leasehold Improvement     Paint Fitting Room                                              652.35           364.86
    586           Leasehold Improvement     Paint Fitting Room                                              135.00            75.43
    586           Leasehold Improvement     Post Renovation Clean-up                                        604.26           338.23
    587           Leasehold Improvement     Paint Fitting Room                                              135.00            75.43
    587           Leasehold Improvement     Illuminated sign/Banner                                      15,931.58         8,724.50
    589           Leasehold Improvement     Remove front Sign                                             1,667.10           912.80
    589           Leasehold Improvement     Coming Soon Banner                                              652.10           357.22
    589           Leasehold Improvement     Install circuits for spot coolers                             3,816.75         2,135.47
    590           Leasehold Improvement     Remove front Sign/Install Closing banner                        652.10           380.50
    590           Leasehold Improvement     Coming Soon Banner                                              652.10           380.50
    590             Furniture & Fixtures    Sign Holders                                                      22.15           13.57
    591           Leasehold Improvement     Coming Soon Banner                                              652.10           558.98
    591           Leasehold Improvement     HVAC                                                            269.50           234.19
    544           Leasehold Improvement     Signage                                                       3,978.10         2,178.42
    531           Leasehold Improvement     Labor                                                           237.60           130.06
    529             Furniture & Fixtures    Fixture Labor                                                   322.08           322.08



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   Store                   Type                                   Description                        Basis         Accum Dpen
    531             Furniture & Fixtures    Fixture Labor                                                322.08          184.20
    535             Furniture & Fixtures    Fixture Labor                                                322.08          184.20
    529             Furniture & Fixtures    Fixture Labor                                                129.36          129.36
    531             Furniture & Fixtures    Fixture Labor                                                129.36           73.92
    535             Furniture & Fixtures    Fixture Labor                                                129.36           73.92
    525           Leasehold Improvement     Painted Logo                                               1,938.00        1,407.39
    527           Leasehold Improvement     Painted Logo                                               4,107.00        2,982.53
    532           Leasehold Improvement     Painted Logo                                               2,925.00        1,497.38
    535           Leasehold Improvement     Painted Logo                                               2,968.00        1,519.47
    511             Furniture & Fixtures    Conveyor                                                     879.80          879.80
    518             Furniture & Fixtures    Conveyor                                                     879.80          691.34
    527             Furniture & Fixtures    Conveyor                                                     861.48          676.80
    531             Furniture & Fixtures    Conveyor                                                     861.48          492.12
    548             Furniture & Fixtures    Conveyor                                                     861.48          492.12
    549             Furniture & Fixtures    Conveyor                                                     861.48          492.12
    551             Furniture & Fixtures    Conveyor                                                     861.48          492.12
    553             Furniture & Fixtures    Conveyor                                                     861.48          492.12
    555             Furniture & Fixtures    Conveyor                                                     859.73          675.59
    557             Furniture & Fixtures    Conveyor                                                     866.71          866.71
    566             Furniture & Fixtures    Conveyor                                                     873.69          499.29
    581             Furniture & Fixtures    Conveyor                                                     866.71          495.19
    582             Furniture & Fixtures    Conveyor                                                     873.69          499.29
    583             Furniture & Fixtures    Conveyor                                                     873.69          499.29
    586             Furniture & Fixtures    Conveyor                                                     864.97          494.17
    587             Furniture & Fixtures    Conveyor                                                     868.45          496.21
    588             Furniture & Fixtures    Conveyor                                                     873.69          499.29
    589             Furniture & Fixtures    Conveyor                                                     859.73          491.45
    590             Furniture & Fixtures    Conveyor                                                     859.73          522.14
     1              Furniture & Fixtures    Fixtures from stock                                          942.22          605.62
     2              Furniture & Fixtures    Fixtures from stock                                        1,045.92          597.72
     3              Furniture & Fixtures    Fixtures from stock                                        1,045.92          597.72
     4              Furniture & Fixtures    Fixtures from stock                                        1,278.24        1,278.24
    510             Furniture & Fixtures    Fixtures from stock                                          942.22          538.30
    511             Furniture & Fixtures    Fixtures from stock                                          942.22          942.22
    514             Furniture & Fixtures    Fixtures from stock                                          433.90          340.84
    515             Furniture & Fixtures    Fixtures from stock                                          910.06          520.18
    516             Furniture & Fixtures    Fixtures from stock                                          826.06          472.18
    517             Furniture & Fixtures    Fixtures from stock                                          942.22          942.22
    518             Furniture & Fixtures    Fixtures from stock                                          697.98          548.40
    519             Furniture & Fixtures    Fixtures from stock                                          709.42          709.42
    525             Furniture & Fixtures    Fixtures from stock                                          165.60          130.14
    525             Furniture & Fixtures    Fixtures from stock                                             6.56           5.12
    527             Furniture & Fixtures    Fixtures from stock                                            69.00          54.24
    527             Furniture & Fixtures    Fixtures from stock                                             2.73           2.19
    531             Furniture & Fixtures    Fixtures from stock                                            54.91          31.51
    531             Furniture & Fixtures    Fixtures from stock                                             3.43           1.99
    532             Furniture & Fixtures    Fixtures from stock                                          110.40           63.24
    532             Furniture & Fixtures    Fixtures from stock                                             3.92           2.12
    542             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32
    543             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32
    544             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32
    545             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32
    546             Furniture & Fixtures    Fixtures from stock                                        1,512.72          864.36
    546             Furniture & Fixtures    Fixtures from stock                                            87.19          49.75
    547             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32



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   Store                   Type                                   Description                        Basis         Accum Dpen
    548             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32
    549             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32
    550             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32
    551             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32
    552             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32
    553             Furniture & Fixtures    Fixtures from stock                                          172.63           98.47
    553             Furniture & Fixtures    Fixtures from stock                                             3.43           1.99
    555             Furniture & Fixtures    Fixtures from stock                                          698.52          548.76
    558             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32
    559             Furniture & Fixtures    Fixtures from stock                                        2,940.82        1,680.46
    562             Furniture & Fixtures    Fixtures from stock                                          442.34          347.48
    563             Furniture & Fixtures    Fixtures from stock                                          338.52          193.44
    565             Furniture & Fixtures    Fixtures from stock                                          338.52          338.52
    566             Furniture & Fixtures    Fixtures from stock                                          338.52          193.44
    567             Furniture & Fixtures    Fixtures from stock                                          338.52          193.44
    568             Furniture & Fixtures    Fixtures from stock                                          338.52          193.44
    569             Furniture & Fixtures    Fixtures from stock                                          338.52          193.44
    570             Furniture & Fixtures    Fixtures from stock                                          338.52          193.44
    572             Furniture & Fixtures    Fixtures from stock                                          393.43          224.95
    572             Furniture & Fixtures    Fixtures from stock                                             4.80           2.64
    573             Furniture & Fixtures    Fixtures from stock                                          338.52          193.44
    574             Furniture & Fixtures    Fixtures from stock                                          338.52          193.44
    576             Furniture & Fixtures    Fixtures from stock                                          117.72           86.92
    578             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32
    579             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32
    580             Furniture & Fixtures    Fixtures from stock                                          117.72           67.32
    581             Furniture & Fixtures    Fixtures from stock                                          414.00          236.52
    581             Furniture & Fixtures    Fixtures from stock                                            18.38          10.46
    582             Furniture & Fixtures    Fixtures from stock                                          176.64          101.04
    582             Furniture & Fixtures    Fixtures from stock                                             8.96           5.00
    583             Furniture & Fixtures    Fixtures from stock                                          179.40          102.36
    583             Furniture & Fixtures    Fixtures from stock                                             9.10           5.14
    584             Furniture & Fixtures    Fixtures from stock                                          108.86           62.06
    584             Furniture & Fixtures    Fixtures from stock                                             3.32           1.88
    585             Furniture & Fixtures    Fixtures from stock                                            64.64          36.92
    586             Furniture & Fixtures    Fixtures from stock                                          245.10          139.98
    587             Furniture & Fixtures    Fixtures from stock                                          228.15          130.23
    588             Furniture & Fixtures    Fixtures from stock                                          234.21          133.77
    589             Furniture & Fixtures    Fixtures from stock                                          370.11          211.35
    590             Furniture & Fixtures    Fixtures from stock                                          338.52          205.53
    591             Furniture & Fixtures    Fixtures from stock                                          425.66          334.40
     1            Leasehold Improvement                                                                  303.10          194.80
     2            Leasehold Improvement                                                                  303.10          173.14
     4                                                                                                   303.10          303.10
     3            Leasehold Improvement                                                                  303.10          173.14
    510           Leasehold Improvement                                                                  303.10          173.14
    511                                                                                                  303.10          303.10
    514           Leasehold Improvement                                                                  303.10          238.12
    515           Leasehold Improvement                                                                  303.10          173.14
    516           Leasehold Improvement                                                                  303.10          173.14
    517                                                                                                  303.10          303.10
    518           Leasehold Improvement                                                                  303.10          263.39
    519                                                                                                  303.10          303.10
    558           Leasehold Improvement                                                                  303.10          173.14
    511                                                                                                  223.19          223.19



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   Store                   Type                                 Description                        Basis         Accum Dpen
    559           Leasehold Improvement                                                                873.84           499.44
    565                                                                                              1,890.00         1,890.00
     1              Furniture & Fixtures    36" Round garment assembled                                275.29           176.89
     1              Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      2,682.34         1,724.44
     1              Furniture & Fixtures    22" Rectangular tube - super quad                          416.45           267.65
     1              Furniture & Fixtures    16" & 22" Rectangular tubing rack                          153.56            98.66
     1              Furniture & Fixtures                                                               813.91           523.21
     1            Leasehold Improvement                                                                993.42           638.52
     1            Leasehold Improvement                                                                692.91           445.41
     1            Leasehold Improvement     HVAC - Compressor                                       15,885.47        10,023.06
     1              Furniture & Fixtures    36' RD FLD rack weld - assembled                             98.83           63.43
     1                                                                                                 905.27           905.27
     2              Furniture & Fixtures    36" Round garment assembled                                252.87           144.51
     2              Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      2,463.79         1,407.91
     2              Furniture & Fixtures    22" Rectangular tube - super quad                          382.51           218.71
     2              Furniture & Fixtures    16" & 22" Rectangular tubing rack                          141.05            80.57
     2              Furniture & Fixtures                                                               747.59           427.19
     2            Leasehold Improvement                                                                912.47           521.51
     2            Leasehold Improvement                                                                636.45           363.57
     2              Furniture & Fixtures    Signage - Rebranding                                     2,231.94         1,275.42
     2              Furniture & Fixtures    36' RD FLD rack weld - assembled                             98.83           56.35
     2                                                                                                 860.66           860.66
     3              Furniture & Fixtures    36" Round garment assembled                                244.13           139.37
     3            Leasehold Improvement     Signage - Rebranding                                    24,192.03        13,824.03
     3              Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      2,378.68         1,359.16
     3              Furniture & Fixtures    22" Rectangular tube - super quad                          369.30           210.90
     3              Furniture & Fixtures    16" & 22" Rectangular tubing rack                          136.18            77.86
     3              Furniture & Fixtures                                                               721.77           412.53
     3            Leasehold Improvement                                                                880.95           503.31
     3            Leasehold Improvement                                                                614.47           350.95
     3              Furniture & Fixtures     36' RD FLD rack weld - assembled                            98.83           56.35
     3                                                                                                 774.03           774.03
     4            Leasehold Improvement     HVAC - Compressor                                        8,077.85         8,077.85
     4                                      New Store contract -reversal                            (8,109.00)       (8,109.00)
    510           Leasehold Improvement     New Store contract -reversal                            (9,667.00)       (5,524.12)
    511             Furniture & Fixtures    36" Round garment assembled                                148.97           148.97
    511             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,451.52         1,451.52
    511             Furniture & Fixtures    22" Rectangular tube - super quad                          225.36           225.36
    511             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            83.09           83.09
    511             Furniture & Fixtures                                                               440.44           440.44
    511                                                                                                537.58           537.58
    511                                                                                                374.97           374.97
    511           Leasehold Improvement     Signage - Rebranding                                       626.03           626.03
    511             Furniture & Fixtures    36' RD FLD rack weld - assembled                             98.83           98.83
    511                                                                                                476.51           476.51
    514             Furniture & Fixtures    36" Round garment assembled                                112.35            88.23
    514             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,094.61           860.07
    514             Furniture & Fixtures    22" Rectangular tube - super quad                          169.94           133.58
    514             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            62.67           49.17
    514             Furniture & Fixtures                                                               332.14           261.04
    514           Leasehold Improvement                                                                405.40           318.46
    514           Leasehold Improvement                                                                282.76           222.10
    514             Furniture & Fixtures     36' RD FLD rack weld - assembled                            98.83           77.59
    514                                                                                                353.58           353.58
    515             Furniture & Fixtures    36" Round garment assembled                                115.26            65.94



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   Store                   Type                                 Description                        Basis         Accum Dpen
    515             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,123.02          641.70
    515             Furniture & Fixtures    22" Rectangular tube - super quad                          174.35           99.47
    515             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            64.29          36.57
    515             Furniture & Fixtures                                                               340.76          194.60
    515           Leasehold Improvement                                                                415.91          237.71
    515           Leasehold Improvement                                                                290.11          165.91
    515             Furniture & Fixtures     36' RD FLD rack weld - assembled                            98.83          56.35
    515                                                                                                352.47          352.47
    516             Furniture & Fixtures    36" Round garment assembled                                129.66           74.22
    516             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,263.33          721.89
    516             Furniture & Fixtures    22" Rectangular tube - super quad                          196.14          111.90
    516             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            72.33          41.37
    516             Furniture & Fixtures                                                               383.34          219.18
    516           Leasehold Improvement                                                                467.88          267.36
    516           Leasehold Improvement                                                                326.35          186.31
    516           Leasehold Improvement     Install light bulbs and ballasts                         2,160.62        1,234.70
    516             Furniture & Fixtures     36' RD FLD rack weld - assembled                            98.83          56.35
    516                                                                                                412.72          412.72
    517             Furniture & Fixtures    36" Round garment assembled                                122.10          122.10
    517             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,189.62        1,189.62
    517             Furniture & Fixtures    22" Rectangular tube - super quad                          184.70          184.70
    517             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            68.10          68.10
    517             Furniture & Fixtures                                                               360.97          360.97
    517                                                                                                440.58          440.58
    517                                                                                                307.31          307.31
    517             Furniture & Fixtures     36' RD FLD rack weld - assembled                            98.83          98.83
    517                                                                                                390.70          390.70
    518             Furniture & Fixtures    36" Round garment assembled                                  83.97          65.97
    518             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        818.22          642.90
    518             Furniture & Fixtures    22" Rectangular tube - super quad                          127.04           99.86
    518             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            46.84          36.76
    518             Furniture & Fixtures                                                               248.27          194.99
    518           Leasehold Improvement                                                                303.03          263.32
    518           Leasehold Improvement                                                                211.36          183.64
    518             Furniture & Fixtures     36' RD FLD rack weld - assembled                            98.83          77.59
    518                                                                                                283.96          283.96
    519             Furniture & Fixtures    36" Round garment assembled                                  93.22          93.22
    519             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        908.31          908.31
    519             Furniture & Fixtures    22" Rectangular tube - super quad                          141.01          141.01
    519             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            52.00          52.00
    519             Furniture & Fixtures                                                               275.61          275.61
    519                                                                                                336.40          336.40
    519                                                                                                234.64          234.64
    519             Furniture & Fixtures     36' RD FLD rack weld - assembled                            98.83          98.83
    519                                                                                                302.78          302.78
    525             Furniture & Fixtures    36" Round garment assembled                                  94.97          74.63
    525             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        923.77          725.77
    525             Furniture & Fixtures    22" Rectangular tube - super quad                          143.42          112.64
    525             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            52.88          41.54
    525             Furniture & Fixtures                                                               287.23          225.67
    525           Leasehold Improvement                                                                342.13          268.87
    525           Leasehold Improvement                                                                238.63          187.51
    525           Leasehold Improvement     Signage - Rebranding                                       395.76          310.98
    525             Furniture & Fixtures    36' RD FLD rack weld - assembled                             96.44          75.74
    525             Furniture & Fixtures    Cardframe magnet channel                                   242.44          190.42



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   Store                    Type                                Description                        Basis         Accum Dpen
    525                                                                                                380.30           380.30
    526             Furniture & Fixtures    36" Round garment assembled                                  92.02           52.42
    526             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        895.14           511.38
    526             Furniture & Fixtures    22" Rectangular tube - super quad                          138.98            79.58
    526             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            51.24           29.28
    526             Furniture & Fixtures                                                               278.32           159.16
    526           Leasehold Improvement                                                                331.51           189.31
    526           Leasehold Improvement                                                                231.23           132.23
    526             Furniture & Fixtures     36' RD FLD rack weld - assembled                            96.44           55.04
    526                                                                                                354.53           354.53
    527             Furniture & Fixtures    36" Round garment assembled                                  81.65           64.19
    527             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        794.20           624.10
    527             Furniture & Fixtures    22" Rectangular tube - super quad                          123.30            96.84
    527             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            45.46           35.74
    527             Furniture & Fixtures                                                               246.94           194.02
    527           Leasehold Improvement                                                                294.13           231.13
    527           Leasehold Improvement                                                                205.16           161.24
    527           Leasehold Improvement     Signage - Rebranding                                     4,592.50         3,608.44
    527             Furniture & Fixtures    36' RD FLD rack weld - assembled                             96.44           75.74
    527                                                                                                293.08           293.08
    529                                     New Store contract -reversal                            (1,067.00)       (1,067.00)
    529             Furniture & Fixtures    36' RD FLD rack weld - assembled                             96.44           96.44
    531             Furniture & Fixtures    36" Round garment assembled                                139.52            79.76
    531             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,357.09           775.33
    531             Furniture & Fixtures    22" Rectangular tube - super quad                          210.69           120.33
    531             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            77.69           44.57
    531             Furniture & Fixtures                                                               421.96           241.24
    531           Leasehold Improvement                                                                502.61           287.33
    531           Leasehold Improvement                                                                350.56           200.44
    531             Furniture & Fixtures     36' RD FLD rack weld - assembled                            96.44           55.04
    531                                                                                                531.34           531.34
    532             Furniture & Fixtures    36" Round garment assembled                                  67.18           38.38
    532             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        653.21           373.13
    532             Furniture & Fixtures    22" Rectangular tube - super quad                          101.42            57.86
    532             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            37.39           21.19
    532             Furniture & Fixtures                                                               204.35           116.87
    532           Leasehold Improvement                                                                241.92           138.24
    532           Leasehold Improvement                                                                168.74            96.38
    532             Furniture & Fixtures     36' RD FLD rack weld - assembled                            95.85           54.81
    532                                                                                                257.98           257.98
    533             Furniture & Fixtures    36" Round garment assembled                                  53.24           30.56
    533             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        518.16           296.04
    533             Furniture & Fixtures    22" Rectangular tube - super quad                            80.44           45.88
    533             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            29.66           17.06
    533             Furniture & Fixtures                                                               159.98            91.58
    533           Leasehold Improvement                                                                191.90           109.82
    533           Leasehold Improvement                                                                133.85            76.61
    533             Furniture & Fixtures     36' RD FLD rack weld - assembled                            97.12           55.36
    533                                                                                                214.19           214.19
    534             Furniture & Fixtures    36" Round garment assembled                                  62.99           35.99
    534             Furniture & Fixtures    Gooseneck lamps                                          1,836.00         1,049.04
    534             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        612.69           350.25
    534             Furniture & Fixtures    22" Rectangular tube - super quad                            95.13           54.45
    534             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            35.07           19.95
    534             Furniture & Fixtures                                                               190.50           108.78



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   Store                   Type                                 Description                         Basis         Accum Dpen
    534           Leasehold Improvement                                                                 226.91          129.71
    534           Leasehold Improvement                                                                 158.27           90.59
    534             Furniture & Fixtures     36' RD FLD rack weld - assembled                             96.44          55.04
    534                                                                                                 217.91          217.91
    535             Furniture & Fixtures    36" Round garment assembled                                   85.69          48.97
    535           Leasehold Improvement     Signage - Rebranding                                        970.00          542.65
    535             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                         833.54          774.02
    535             Furniture & Fixtures    22" Rectangular tube - super quad                           129.41          120.17
    535             Furniture & Fixtures    16" & 22" Rectangular tubing rack                             47.72          44.30
    535             Furniture & Fixtures                                                                259.17          147.93
    535           Leasehold Improvement                                                                 308.71          176.23
    535           Leasehold Improvement                                                                 215.33          123.17
    535             Furniture & Fixtures     36' RD FLD rack weld - assembled                             96.44          55.04
    535                                                                                                 251.98          251.98
    537             Furniture & Fixtures    36" Round garment assembled                                   97.35          55.59
    537             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                         946.69          540.97
    537             Furniture & Fixtures    22" Rectangular tube - super quad                           146.98           83.98
    537             Furniture & Fixtures    16" & 22" Rectangular tubing rack                             54.20          30.80
    537             Furniture & Fixtures                                                                295.05          168.69
    537           Leasehold Improvement                                                                 350.61          200.49
    537           Leasehold Improvement                                                                 244.55          139.79
    537             Furniture & Fixtures    36' RD FLD rack weld - assembled                              96.22          54.82
    537             Furniture & Fixtures    Tables, folding rounder, super quads                          40.00          22.72
    537                                                                                                 340.76          340.76
    538             Furniture & Fixtures    36" Round garment assembled                                   77.43          44.31
    538             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                         753.00          430.44
    538             Furniture & Fixtures    22" Rectangular tube - super quad                           116.91           66.87
    538             Furniture & Fixtures    16" & 22" Rectangular tubing rack                             43.11          24.75
    538             Furniture & Fixtures                                                                234.68          134.24
    538           Leasehold Improvement                                                                 278.88          159.36
    538           Leasehold Improvement                                                                 194.52          111.00
    538             Furniture & Fixtures     36' RD FLD rack weld - assembled                             96.22          54.82
    538                                                                                                 272.84          272.84
    539             Furniture & Fixtures    36" Round garment assembled                                   72.38          41.42
    539             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                         703.97          402.29
    539             Furniture & Fixtures    22" Rectangular tube - super quad                           109.30           62.50
    539             Furniture & Fixtures    16" & 22" Rectangular tubing rack                             40.30          23.02
    539             Furniture & Fixtures                                                                219.40          125.44
    539           Leasehold Improvement                                                                 260.72          149.12
    539           Leasehold Improvement                                                                 181.85          104.09
    539           Leasehold Improvement     Signage - Rebranding                                      1,674.04          916.70
    539             Furniture & Fixtures    36' RD FLD rack weld - assembled                              96.22          54.82
    539                                                                                                 248.68          248.68
    540             Furniture & Fixtures    36" Round garment assembled                                   66.15          42.45
    540             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                         643.39          413.59
    540             Furniture & Fixtures    22" Rectangular tube - super quad                             99.88          64.18
    540             Furniture & Fixtures    16" & 22" Rectangular tubing rack                             36.84          23.64
    540             Furniture & Fixtures                                                                200.52          128.82
    540           Leasehold Improvement                                                                 238.28          153.08
    540           Leasehold Improvement                                                                 166.20          106.80
    540           Leasehold Improvement     HVAC - Compressor                                         4,740.72        3,047.52
    540             Furniture & Fixtures    36' RD FLD rack weld - assembled                              96.22          61.72
    540             Furniture & Fixtures    Tables, folding rounder, super quads                      8,059.30        5,181.10
    540                                                                                                 251.22          251.22
    541             Furniture & Fixtures    36" Round garment assembled                                   58.23          33.39



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   Store                   Type                                 Description                        Basis         Accum Dpen
    541             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        566.27          323.63
    541             Furniture & Fixtures    22" Rectangular tube - super quad                            87.92          50.12
    541             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            32.41          18.37
    541             Furniture & Fixtures                                                               176.49          100.89
    541           Leasehold Improvement                                                                209.72          119.72
    541           Leasehold Improvement                                                                146.28           83.64
    541           Leasehold Improvement     Signage - Rebranding                                     1,277.66          699.68
    541             Furniture & Fixtures    36' RD FLD rack weld - assembled                             96.22          54.82
    541                                                                                                220.03          220.03
    542             Furniture & Fixtures    36" Round garment assembled                                133.98           76.38
    542             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,303.31          744.59
    542             Furniture & Fixtures    22" Rectangular tube - super quad                          202.34          115.58
    542             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            74.62          42.58
    542             Furniture & Fixtures                                                               404.86          231.34
    542           Leasehold Improvement                                                                482.69          275.69
    542           Leasehold Improvement                                                                336.67          192.31
    542           Leasehold Improvement     Industrial fans                                          1,565.50          894.46
    542             Furniture & Fixtures     36' RD FLD rack weld - assembled                            96.53          55.13
    542             Furniture & Fixtures    Racks assembly                                           1,254.93          717.09
    542                                                                                                380.37          380.37
    543             Furniture & Fixtures    36" Round garment assembled                                  90.94          52.06
    543           Leasehold Improvement     Signage - Rebranding                                    14,150.90        7,917.88
    543             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        884.75          505.67
    543             Furniture & Fixtures    22" Rectangular tube - super quad                          137.36           78.32
    543             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            50.65          29.05
    543           Leasehold Improvement                                                                274.83          157.11
    543           Leasehold Improvement                                                                327.66          187.26
    543           Leasehold Improvement                                                                228.55          130.63
    543             Furniture & Fixtures     36' RD FLD rack weld - assembled                            96.53          55.13
    543                                                                                                278.72          278.72
    544             Furniture & Fixtures    36" Round garment assembled                                  73.92          42.24
    544             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        719.05          410.89
    544             Furniture & Fixtures    22" Rectangular tube - super quad                          111.64           63.76
    544             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            41.17          23.53
    544             Furniture & Fixtures                                                               223.37          127.61
    544           Leasehold Improvement                                                                266.30          152.18
    544           Leasehold Improvement                                                                185.75          106.19
    544             Furniture & Fixtures     36' RD FLD rack weld - assembled                            96.53          55.13
    544                                                                                                271.03          271.03
    545             Furniture & Fixtures    36" Round garment assembled                                  68.70          39.18
    545             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        668.30          381.74
    545             Furniture & Fixtures    22" Rectangular tube - super quad                          103.76           59.12
    545             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            38.26          21.70
    545             Furniture & Fixtures                                                               207.60          118.68
    545           Leasehold Improvement                                                                247.51          141.31
    545           Leasehold Improvement                                                                172.64           98.48
    545             Furniture & Fixtures     36' RD FLD rack weld - assembled                            96.53          55.13
    545                                                                                                235.35          235.35
    546             Furniture & Fixtures    36" Round garment assembled                                200.76          114.72
    546             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,952.92        1,115.92
    546             Furniture & Fixtures    22" Rectangular tube - super quad                          303.20          173.24
    546             Furniture & Fixtures    16" & 22" Rectangular tubing rack                          111.81           63.93
    546             Furniture & Fixtures                                                               607.22          346.94
    546           Leasehold Improvement                                                                723.27          413.31
    546           Leasehold Improvement                                                                504.49          288.13



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   Store                   Type                                  Description                       Basis         Accum Dpen
    546           Leasehold Improvement     Illumination, bulbs and ballasts                         1,726.73           924.89
    546             Furniture & Fixtures     36' RD FLD rack weld - assembled                            96.44           55.04
    546                                                                                                654.12           654.12
    547             Furniture & Fixtures    36" Round garment assembled                                181.08           103.32
    547             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,761.37         1,006.45
    547             Furniture & Fixtures    22" Rectangular tube - super quad                          273.46           156.10
    547             Furniture & Fixtures    16" & 22" Rectangular tubing rack                          100.83            57.63
    547             Furniture & Fixtures                                                               547.66           312.94
    547           Leasehold Improvement                                                                652.33           372.61
    547           Leasehold Improvement                                                                455.01           259.89
    547             Furniture & Fixtures    Signage - Rebranding                                     2,311.07         1,320.71
    547             Furniture & Fixtures    36' RD FLD rack weld - assembled                             96.44           55.04
    547                                                                                                590.76           590.76
    548             Furniture & Fixtures    36" Round garment assembled                                126.34            72.34
    548             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,228.96           702.28
    548             Furniture & Fixtures    22" Rectangular tube - super quad                          190.80           109.08
    548             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            70.36           40.12
    548             Furniture & Fixtures                                                               382.12           218.32
    548           Leasehold Improvement                                                                455.15           260.03
    548           Leasehold Improvement                                                                317.46           181.38
    548             Furniture & Fixtures     36' RD FLD rack weld - assembled                            96.44           55.04
    548                                                                                                376.84           376.84
    549             Furniture & Fixtures    36" Round garment assembled                                111.98            64.10
    549             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,089.23           622.31
    549             Furniture & Fixtures    22" Rectangular tube - super quad                          169.11            96.75
    549             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            62.36           35.72
    549             Furniture & Fixtures                                                               338.67           193.59
    549           Leasehold Improvement                                                                403.40           230.60
    549           Leasehold Improvement                                                                281.37           160.77
    549             Furniture & Fixtures     36' RD FLD rack weld - assembled                            96.44           55.04
    549                                                                                                340.74           340.74
    550             Furniture & Fixtures    36" Round garment assembled                                  97.78           56.02
    550             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        951.14           543.62
    550             Furniture & Fixtures    22" Rectangular tube - super quad                          147.67            84.31
    550             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            54.45           31.05
    550             Furniture & Fixtures                                                               295.74           169.02
    550           Leasehold Improvement                                                                352.26           201.42
    550           Leasehold Improvement                                                                245.70           140.22
    550             Furniture & Fixtures     36' RD FLD rack weld - assembled                            96.44           55.04
    550                                                                                                361.39           361.39
    551             Furniture & Fixtures    36" Round garment assembled                                116.50            66.46
    551           Leasehold Improvement     Signage - Rebranding                                    25,368.19        14,194.19
    551             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,133.20           647.56
    551             Furniture & Fixtures    22" Rectangular tube - super quad                          175.94           100.70
    551             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            64.88           37.16
    551             Furniture & Fixtures                                                               352.35           201.51
    551           Leasehold Improvement                                                                419.69           239.69
    551           Leasehold Improvement                                                                292.73           167.45
    551           Leasehold Improvement     Signage - Rebranding                                     5,735.00         3,277.28
    551             Furniture & Fixtures    36' RD FLD rack weld - assembled                             96.44           55.04
    551                                                                                                339.35           339.35
    552             Furniture & Fixtures    36" Round garment assembled                                119.83            68.35
    552             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,165.62           665.94
    552             Furniture & Fixtures    22" Rectangular tube - super quad                          180.97           103.57
    552             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            66.73           38.29



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   Store                   Type                                 Description                          Basis         Accum Dpen
    552             Furniture & Fixtures                                                                 362.43          207.27
    552           Leasehold Improvement                                                                  431.69          246.65
    552           Leasehold Improvement                                                                  301.10          172.22
    552             Furniture & Fixtures    Signage - Rebranding                                       5,082.33        2,904.33
    552           Leasehold Improvement     Signage - Rebranding                                       6,490.00        3,708.64
    552             Furniture & Fixtures    36' RD FLD rack weld - assembled                               96.44          55.04
    552                                                                                                  399.92          399.92
    553             Furniture & Fixtures    36" Round garment assembled                                  100.82           57.62
    553             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                          980.71          560.23
    553             Furniture & Fixtures    22" Rectangular tube - super quad                            152.26           87.10
    553             Furniture & Fixtures    16" & 22" Rectangular tubing rack                              56.14          32.02
    553             Furniture & Fixtures                                                                 304.93          174.25
    553           Leasehold Improvement                                                                  363.21          207.69
    553           Leasehold Improvement                                                                  253.34          144.62
    553             Furniture & Fixtures    Signage - Rebranding                                       1,444.95          825.75
    553           Leasehold Improvement     Signage - Rebranding                                       2,360.00        1,292.20
    553             Furniture & Fixtures    36' RD FLD rack weld - assembled                               96.44          55.04
    553                                                                                                  336.01          336.01
    555             Furniture & Fixtures    36" Round garment assembled                                    70.29          55.17
    555             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                          683.62          537.10
    555             Furniture & Fixtures    22" Rectangular tube - super quad                            106.14           83.46
    555             Furniture & Fixtures    16" & 22" Rectangular tubing rack                              39.14          30.68
    555             Furniture & Fixtures                                                                 213.06          167.34
    555           Leasehold Improvement                                                                  253.18          199.00
    555           Leasehold Improvement                                                                  176.60          138.80
    555           Leasehold Improvement     Signage - Rebranding                                       2,360.00        1,798.00
    555             Furniture & Fixtures    36' RD FLD rack weld - assembled                               96.22          75.52
    555                                                                                                  207.72          207.72
    558             Furniture & Fixtures    36" Round garment assembled                                    89.95          51.43
    558             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                          875.30          500.18
    558             Furniture & Fixtures    22" Rectangular tube - super quad                            135.90           77.58
    558             Furniture & Fixtures    16" & 22" Rectangular tubing rack                              50.11          28.51
    558             Furniture & Fixtures                                                                 270.25          154.33
    558           Leasehold Improvement                                                                  324.18          185.22
    558           Leasehold Improvement                                                                  226.11          129.27
    558           Leasehold Improvement     Exterior signage                                             327.42          187.02
    558             Furniture & Fixtures    36' RD FLD rack weld - assembled                               97.12          55.36
    558                                                                                                  244.47          244.47
    558           Leasehold Improvement     Structural engineering report                              4,200.00        2,400.00
    559             Furniture & Fixtures    36" Round garment assembled                                  138.59           79.19
    559             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        1,349.64          771.12
    559             Furniture & Fixtures    22" Rectangular tube - super quad                            209.54          119.90
    559             Furniture & Fixtures    16" & 22" Rectangular tubing rack                              77.26          44.14
    559             Furniture & Fixtures                                                                 412.84          236.08
    559           Leasehold Improvement                                                                  499.85          285.65
    559           Leasehold Improvement                                                                  348.65          199.25
    559           Leasehold Improvement     Signage - Rebranding                                         693.41          396.41
    559           Leasehold Improvement                                                                2,905.39        1,660.15
    559             Furniture & Fixtures     36' RD FLD rack weld - assembled                              98.03          55.91
    559                                                                                                  374.54          374.54
    559           Leasehold Improvement     Signage - Rebranding                                       3,317.76        1,895.76
    559           Leasehold Improvement     Signage - Rebranding                                       4,400.00        2,514.32
    562             Furniture & Fixtures    36" Round garment assembled                                    91.59          71.97
    562             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                          891.91          700.75
    562             Furniture & Fixtures    22" Rectangular tube - super quad                            138.48          108.78



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   Store                   Type                                Description                         Basis        Accum Dpen
    562             Furniture & Fixtures    16" & 22" Rectangular tubing rack                           51.06           40.08
    562             Furniture & Fixtures                                                               272.83          214.33
    562           Leasehold Improvement                                                                330.32          291.02
    562           Leasehold Improvement                                                                230.40          203.00
    562           Leasehold Improvement     Rebranding                                                 918.00          808.70
    562             Furniture & Fixtures    36' RD FLD rack weld - assembled                            98.03           76.97
    562                                                                                                263.25          263.25
    563             Furniture & Fixtures    36" Round garment assembled                                 71.89           40.93
    563             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        700.06          400.18
    563             Furniture & Fixtures    22" Rectangular tube - super quad                          108.69           62.25
    563             Furniture & Fixtures    16" & 22" Rectangular tubing rack                           40.08           22.80
    563             Furniture & Fixtures                                                               214.14          122.34
    563           Leasehold Improvement                                                                259.26          148.02
    563           Leasehold Improvement                                                                180.85          103.45
    563             Furniture & Fixtures     36' RD FLD rack weld - assembled                           98.03           55.91
    563                                                                                                239.06          239.06
    565             Furniture & Fixtures    36" Round garment assembled                                 79.08           79.08
    565             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        770.05          770.05
    565             Furniture & Fixtures    22" Rectangular tube - super quad                          119.56          119.56
    565             Furniture & Fixtures    16" & 22" Rectangular tubing rack                           44.09           44.09
    565             Furniture & Fixtures                                                               235.55          235.55
    565                                                                                                285.20          285.20
    565                                                                                                198.93          198.93
    565           Leasehold Improvement     Signage - Rebranding                                     3,243.60        3,243.60
    565             Furniture & Fixtures    36' RD FLD rack weld - assembled                            98.03           98.03
    565                                                                                                224.58          224.58
    566             Furniture & Fixtures    36" Round garment assembled                                107.90           61.82
    566             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,050.75          600.39
    566             Furniture & Fixtures    22" Rectangular tube - super quad                          163.13           93.29
    566             Furniture & Fixtures    16" & 22" Rectangular tubing rack                           60.16           34.24
    566             Furniture & Fixtures                                                               321.42          183.54
    566           Leasehold Improvement                                                                389.15          222.47
    566           Leasehold Improvement                                                                271.44          155.16
    566             Furniture & Fixtures     36' RD FLD rack weld - assembled                           98.03           55.91
    566                                                                                                385.18          385.18
    567             Furniture & Fixtures    36" Round garment assembled                                115.90           66.22
    567             Furniture & Fixtures    Signage - Rebranding                                    12,919.40        7,382.60
    567             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      1,129.17          645.33
    567             Furniture & Fixtures    22" Rectangular tube - super quad                          175.31          100.07
    567             Furniture & Fixtures    16" & 22" Rectangular tubing rack                           64.64           36.92
    567             Furniture & Fixtures                                                               343.02          196.14
    567           Leasehold Improvement                                                                418.19          238.91
    567           Leasehold Improvement                                                                291.69          166.77
    567           Leasehold Improvement     Signage - Rebranding                                     2,341.93        1,282.49
    567             Furniture & Fixtures    36' RD FLD rack weld - assembled                            98.71           56.23
    567                                                                                                393.85          393.85
    568             Furniture & Fixtures    36" Round garment assembled                                 90.76           51.88
    568           Leasehold Improvement     Signage - Rebranding                                    20,187.45       11,535.57
    568             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        884.21          505.13
    568             Furniture & Fixtures    22" Rectangular tube - super quad                          137.28           78.60
    568             Furniture & Fixtures    16" & 22" Rectangular tubing rack                           50.62           29.02
    568             Furniture & Fixtures                                                               268.61          153.41
    568           Leasehold Improvement                                                                327.47          187.07
    568           Leasehold Improvement                                                                228.41          130.49
    568             Furniture & Fixtures     36' RD FLD rack weld - assembled                           98.71           56.23



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   Store                    Type                                Description                        Basis         Accum Dpen
    568                                                                                                329.11          329.11
    569             Furniture & Fixtures    36" Round garment assembled                                  84.74          48.38
    569             Furniture & Fixtures    Signage - Rebranding                                    12,208.58        6,976.34
    569             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        825.55          471.67
    569             Furniture & Fixtures    22" Rectangular tube - super quad                          128.17           73.09
    569             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            47.26          27.10
    569             Furniture & Fixtures                                                               250.79          143.15
    569           Leasehold Improvement                                                                305.75          174.71
    569           Leasehold Improvement                                                                213.26          121.82
    569             Furniture & Fixtures    Signage - Rebranding                                     1,599.98          914.18
    569           Leasehold Improvement     HVAC - Compressor                                        7,160.84        4,006.59
    569             Furniture & Fixtures    36' RD FLD rack weld - assembled                             98.71          56.23
    569                                                                                                243.46          243.46
    570             Furniture & Fixtures    36" Round garment assembled                                  89.14          50.98
    570             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        868.07          496.19
    570             Furniture & Fixtures    22" Rectangular tube - super quad                          134.77           77.17
    570             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            49.69          28.45
    570             Furniture & Fixtures                                                               265.54          151.78
    570           Leasehold Improvement                                                                321.49          183.61
    570           Leasehold Improvement                                                                224.24          128.12
    570           Leasehold Improvement     Signage - Rebranding                                     1,674.00          956.52
    570             Furniture & Fixtures    36' RD FLD rack weld - assembled                             98.03          55.91
    570                                                                                                274.08          274.08
    572             Furniture & Fixtures    36" Round garment assembled                                  68.41          39.25
    572             Furniture & Fixtures    Signage - Rebranding                                    11,248.85        6,428.09
    572             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        666.53          381.05
    572             Furniture & Fixtures    22" Rectangular tube - super quad                          103.49           59.21
    572             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            38.16          21.96
    572             Furniture & Fixtures                                                               202.48          115.72
    572           Leasehold Improvement                                                                246.85          141.01
    572           Leasehold Improvement                                                                172.18           98.38
    572           Leasehold Improvement     Exterior signage                                         3,386.70        1,894.86
    572           Leasehold Improvement     Signage - Rebranding                                     1,764.94          945.55
    572             Furniture & Fixtures    36' RD FLD rack weld - assembled                             98.71          56.23
    572                                                                                                236.03          236.03
    573             Furniture & Fixtures    36" Round garment assembled                                  72.78          41.46
    573             Furniture & Fixtures    Signage - Rebranding                                     2,722.68        1,555.92
    573             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        708.77          404.93
    573             Furniture & Fixtures    22" Rectangular tube - super quad                          110.04           62.88
    573             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            40.58          23.30
    573             Furniture & Fixtures                                                               216.81          123.93
    573           Leasehold Improvement                                                                262.49          150.17
    573           Leasehold Improvement                                                                183.09          104.61
    573             Furniture & Fixtures     36' RD FLD rack weld - assembled                            98.03          55.91
    573                                                                                                219.37          219.37
    574             Furniture & Fixtures    36" Round garment assembled                                  75.26          42.86
    574             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        732.93          418.65
    574             Furniture & Fixtures    22" Rectangular tube - super quad                          113.79           65.19
    574             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            41.96          23.96
    574             Furniture & Fixtures                                                               224.20          128.08
    574           Leasehold Improvement                                                                271.45          155.17
    574           Leasehold Improvement                                                                189.33          108.33
    574             Furniture & Fixtures     36' RD FLD rack weld - assembled                            98.03          55.91
    574                                                                                                241.57          241.57
    576             Furniture & Fixtures    36" Round garment assembled                                  57.87          42.69



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   Store                   Type                                 Description                        Basis         Accum Dpen
    576             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        563.59          415.97
    576             Furniture & Fixtures    22" Rectangular tube - super quad                            87.50          64.62
    576             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            32.26          23.90
    576             Furniture & Fixtures                                                               172.40          127.30
    576           Leasehold Improvement                                                                208.73          154.17
    576           Leasehold Improvement                                                                145.58          107.52
    576           Leasehold Improvement     Signage - Rebranding                                     1,677.80        1,198.52
    576           Leasehold Improvement     Signage - Rebranding                                       175.00          129.24
    576             Furniture & Fixtures    36' RD FLD rack weld - assembled                             98.03          72.29
    576                                                                                                194.52          194.52
    578             Furniture & Fixtures    36" Round garment assembled                                  50.06          28.46
    578             Furniture & Fixtures    Signage - Rebranding                                     2,766.40        1,580.92
    578             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        487.11          278.31
    578             Furniture & Fixtures    22" Rectangular tube - super quad                            75.63          43.23
    578             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            27.88          16.00
    578             Furniture & Fixtures                                                               150.40           85.96
    578           Leasehold Improvement                                                                180.40          103.00
    578           Leasehold Improvement                                                                125.83           71.83
    578             Furniture & Fixtures     36' RD FLD rack weld - assembled                            97.12          55.36
    578                                                                                                192.96          192.96
    579             Furniture & Fixtures    36" Round garment assembled                                  64.77          37.05
    579             Furniture & Fixtures    Signage - Rebranding                                     3,434.70        1,962.66
    579             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        630.35          360.35
    579             Furniture & Fixtures    22" Rectangular tube - super quad                            97.86          55.74
    579             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            36.09          20.61
    579             Furniture & Fixtures                                                               194.62          111.10
    579           Leasehold Improvement                                                                233.45          133.37
    579           Leasehold Improvement                                                                162.83           92.99
    579             Furniture & Fixtures     36' RD FLD rack weld - assembled                            97.12          55.36
    579                                                                                                233.03          233.03
    580             Furniture & Fixtures    36" Round garment assembled                                  76.57          43.81
    580             Furniture & Fixtures    Signage - Rebranding                                     3,560.92        2,034.88
    580             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        745.12          425.80
    580             Furniture & Fixtures    22" Rectangular tube - super quad                          115.68           66.00
    580             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            42.66          24.30
    580             Furniture & Fixtures                                                               230.05          131.41
    580           Leasehold Improvement                                                                275.95          157.51
    580           Leasehold Improvement                                                                192.48          110.04
    580             Furniture & Fixtures     36' RD FLD rack weld - assembled                            97.12          55.36
    580                                                                                                265.01          265.01
    581             Furniture & Fixtures    36" Round garment assembled                                  89.41          51.25
    581             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        870.04          497.08
    581             Furniture & Fixtures    22" Rectangular tube - super quad                          135.08           77.12
    581             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            49.81          28.57
    581             Furniture & Fixtures                                                               268.63          153.43
    581           Leasehold Improvement                                                                322.22          183.98
    581           Leasehold Improvement                                                                224.75          128.27
    581             Furniture & Fixtures     36' RD FLD rack weld - assembled                            97.12          55.36
    581                                                                                                311.47          311.47
    582             Furniture & Fixtures    36" Round garment assembled                                  77.32          44.20
    582             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        752.94          430.38
    582             Furniture & Fixtures    22" Rectangular tube - super quad                          116.90           66.86
    582             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            43.10          24.74
    582             Furniture & Fixtures                                                               230.32          131.68
    582           Leasehold Improvement                                                                278.86          159.34



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   Store                   Type                                 Description                        Basis         Accum Dpen
    582           Leasehold Improvement                                                                194.50          110.98
    582           Leasehold Improvement     Signage - Rebranding                                     1,677.80          958.88
    582             Furniture & Fixtures    36' RD FLD rack weld - assembled                             98.03          55.91
    582                                                                                                234.44          234.44
    583             Furniture & Fixtures    36" Round garment assembled                                  70.68          40.44
    583             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        688.21          393.37
    583             Furniture & Fixtures    22" Rectangular tube - super quad                          106.84           61.12
    583             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            39.40          22.48
    583             Furniture & Fixtures                                                               210.52          120.16
    583           Leasehold Improvement                                                                254.88          145.80
    583           Leasehold Improvement                                                                177.78          101.46
    583             Furniture & Fixtures     36' RD FLD rack weld - assembled                            98.03          55.91
    583                                                                                                202.84          202.84
    584             Furniture & Fixtures    36" Round garment assembled                                  65.87          37.79
    584             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        641.03          366.35
    584             Furniture & Fixtures    22" Rectangular tube - super quad                            99.52          57.04
    584             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            36.70          20.86
    584             Furniture & Fixtures                                                               197.92          112.96
    584           Leasehold Improvement                                                                237.41          135.53
    584           Leasehold Improvement                                                                165.59           94.67
    584           Leasehold Improvement     Signage - Rebranding                                       984.40          562.48
    584             Furniture & Fixtures    36' RD FLD rack weld - assembled                             97.12          55.36
    584                                                                                                211.28          211.28
    585             Furniture & Fixtures    36" Round garment assembled                                  63.26          36.26
    585             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        615.71          351.83
    585             Furniture & Fixtures    22" Rectangular tube - super quad                            95.59          54.55
    585             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            35.25          20.13
    585             Furniture & Fixtures                                                               190.10          108.74
    585           Leasehold Improvement                                                                228.03          130.47
    585           Leasehold Improvement                                                                159.06           91.02
    585             Furniture & Fixtures    Signage - Rebranding                                     4,018.12        2,296.24
    585             Furniture & Fixtures    36' RD FLD rack weld - assembled                             97.12          55.36
    585                                                                                                204.63          204.63
    586             Furniture & Fixtures    36" Round garment assembled                                  76.35          43.59
    586             Furniture & Fixtures    Signage - Rebranding                                    16,773.90        9,585.06
    586             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        742.99          424.39
    586             Furniture & Fixtures    22" Rectangular tube - super quad                          115.35           66.03
    586             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            42.54          24.18
    586             Furniture & Fixtures                                                               229.94          131.30
    586           Leasehold Improvement                                                                275.17          157.09
    586           Leasehold Improvement                                                                191.93          109.85
    586             Furniture & Fixtures    Signage - Rebranding                                     2,400.55        1,371.67
    586             Furniture & Fixtures    36' RD FLD rack weld - assembled                             96.90          55.50
    586                                                                                                254.81          254.81
    587             Furniture & Fixtures    36" Round garment assembled                                  74.96          42.92
    587             Furniture & Fixtures    Signage - Rebranding                                     3,210.00        1,834.44
    587             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        729.61          416.77
    587             Furniture & Fixtures    22" Rectangular tube - super quad                          113.28           64.68
    587             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            41.77          23.77
    587             Furniture & Fixtures                                                               224.74          128.26
    587           Leasehold Improvement                                                                270.22          154.30
    587           Leasehold Improvement                                                                188.47          107.83
    587             Furniture & Fixtures     36' RD FLD rack weld - assembled                            97.34          55.58
    587                                                                                                255.14          255.14
    588             Furniture & Fixtures    36" Round garment assembled                                  72.47          41.51



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    588             Furniture & Fixtures    Signage - Rebranding                                     3,210.00         1,834.44
    588             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        705.72           403.32
    588             Furniture & Fixtures    22" Rectangular tube - super quad                          109.57            62.77
    588             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            40.40           23.12
    588             Furniture & Fixtures                                                               215.87           123.35
    588           Leasehold Improvement                                                                261.36           149.40
    588           Leasehold Improvement                                                                182.30           104.18
    588             Furniture & Fixtures    Signage - Rebranding                                     3,657.97         2,090.17
    588             Furniture & Fixtures    36' RD FLD rack weld - assembled                             98.02           55.90
    588                                                                                                238.53           238.53
    589             Furniture & Fixtures    36" Round garment assembled                                  64.31           36.59
    589             Furniture & Fixtures    Signage - Rebranding                                    20,050.04        11,457.20
    589             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        625.42           357.22
    589             Furniture & Fixtures    22" Rectangular tube - super quad                            97.10           55.34
    589             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            35.81           20.33
    589             Furniture & Fixtures                                                               194.92           111.40
    589           Leasehold Improvement                                                                231.63           132.27
    589           Leasehold Improvement                                                                161.57            92.45
    589             Furniture & Fixtures     36' RD FLD rack weld - assembled                            96.21           54.81
    589                                                                                                225.36           225.36
    590             Furniture & Fixtures    36" Round garment assembled                                  83.43           50.76
    590             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        811.40           492.62
    590             Furniture & Fixtures    22" Rectangular tube - super quad                          125.97            76.47
    590             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            46.45           28.30
    590             Furniture & Fixtures                                                               252.88           153.55
    590           Leasehold Improvement                                                                300.51           182.37
    590           Leasehold Improvement                                                                209.60           127.10
    590           Leasehold Improvement     Signage - Rebranding                                     3,300.00         2,003.43
    590             Furniture & Fixtures    36' RD FLD rack weld - assembled                             96.21           58.26
    590                                                                                                262.55           262.55
    591             Furniture & Fixtures    36" Round garment assembled                                  57.84           45.42
    591             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        562.39           441.79
    591             Furniture & Fixtures    22" Rectangular tube - super quad                            87.32           68.60
    591             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            32.19           25.35
    591             Furniture & Fixtures                                                               175.26           137.64
    591           Leasehold Improvement                                                                208.26           183.46
    591           Leasehold Improvement                                                                145.29           127.99
    591           Leasehold Improvement     Signage - Rebranding                                       180.00           158.60
    591           Leasehold Improvement     Signage - Rebranding                                       494.30           423.74
    591             Furniture & Fixtures    36' RD FLD rack weld - assembled                             96.21           75.51
    591                                                                                                176.20           176.20
     1            Leasehold Improvement     Sprinkler system                                         3,470.39         2,231.09
     1            Leasehold Improvement     Signage - Rebranding                                     7,950.47         5,110.97
     1            Leasehold Improvement     Fix Roof leaks                                           4,955.31         3,185.61
     1              Furniture & Fixtures    Rebranding: Super quad 4-way rack                          494.61           317.91
     1              Furniture & Fixtures    Rebranding: Super quad 4-way rack                            17.31           11.01
     1              Furniture & Fixtures    Rebranding: Super quad 4-way rack                            98.92           63.52
     1              Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              310.29           199.59
     1            Leasehold Improvement                                                                453.60           291.60
     1            Leasehold Improvement                                                              1,706.40         1,097.10
     2            Leasehold Improvement     HVAC - All filters clogged                               4,419.99         2,525.67
     2              Furniture & Fixtures    Rebranding: Super quad 4-way rack                          454.30           259.54
     2              Furniture & Fixtures    Rebranding: Super quad 4-way rack                            15.90            9.06
     2              Furniture & Fixtures    Rebranding: Super quad 4-way rack                            90.86           51.98
     2              Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              285.01           162.97



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   Store                   Type                                 Description                          Basis         Accum Dpen
     2            Leasehold Improvement                                                                  338.10           193.02
     2            Leasehold Improvement                                                                1,271.90           726.86
     3            Leasehold Improvement     Reception gates motor repair                               4,500.00         2,625.05
     3            Leasehold Improvement     Signage - Rebranding                                       5,443.75         3,110.59
     3              Furniture & Fixtures    Rebranding: Super quad 4-way rack                            438.61           250.69
     3              Furniture & Fixtures    Rebranding: Super quad 4-way rack                              15.35            8.87
     3              Furniture & Fixtures    Rebranding: Super quad 4-way rack                              87.72           50.28
     3              Furniture & Fixtures    3500 PC / TV and 247 PC / K80                                275.17           157.09
     3            Leasehold Improvement                                                                  449.40           256.80
     3            Leasehold Improvement                                                                1,690.60           965.92
     3            Leasehold Improvement                                                                2,500.00         1,607.20
     4            Leasehold Improvement     Signage - Rebranding                                        (426.79)         (426.79)
     4            Leasehold Improvement     Sprinkler system                                           3,963.05         3,963.05
     4                                                                                                   453.60           453.60
     4                                                                                                 1,706.40         1,706.40
    510             Furniture & Fixtures    Signage - Rebranding                                       3,993.98         2,282.18
    511           Leasehold Improvement     FBD Fluorescent bay light fixtures                        13,195.00        13,195.00
    511           Leasehold Improvement     Signage - Rebranding                                       2,231.94         2,231.94
    511             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            267.65           267.65
    511             Furniture & Fixtures    Rebranding: Super quad 4-way rack                               9.36            9.36
    511             Furniture & Fixtures    Rebranding: Super quad 4-way rack                              53.53           53.53
    511             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                                167.91           167.91
    511                                                                                                  228.90           228.90
    511                                                                                                  861.10           861.10
    511           Leasehold Improvement     Lock and keys                                              1,106.60         1,106.60
    514           Leasehold Improvement     HVAC - Compressor                                         12,589.65         9,891.81
    514           Leasehold Improvement     HVAC - Evaporator coils for airflow                       16,572.69        13,021.47
    514           Leasehold Improvement     HVAC - Evaporator coils for airflow                        4,474.79         3,515.93
    514           Leasehold Improvement                                                                5,160.51         4,054.77
    514           Leasehold Improvement     HVAC - Compressor                                          5,941.59         4,668.45
    514             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            201.83           158.63
    514             Furniture & Fixtures    Rebranding: Super quad 4-way rack                               7.07            5.63
    514             Furniture & Fixtures    Rebranding: Super quad 4-way rack                              40.37           31.73
    514             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                                126.62            99.44
    514           Leasehold Improvement                                                                  451.50           354.66
    514           Leasehold Improvement                                                                1,698.50         1,334.54
    515           Leasehold Improvement     Signage - Rebranding                                      15,077.99         8,615.99
    515           Leasehold Improvement     HVAC - Evaporator coils for airflow                        3,019.92         1,725.72
    515             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            207.08           118.16
    515             Furniture & Fixtures    Rebranding: Super quad 4-way rack                               7.25            4.01
    515             Furniture & Fixtures    Rebranding: Super quad 4-way rack                              41.42           23.78
    515           Leasehold Improvement     3500 PC / TV and 247 PC / K80                                129.91            74.11
    515           Leasehold Improvement                                                                  218.40           124.80
    515           Leasehold Improvement                                                                  821.60           469.52
    516             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            232.95           133.23
    516             Furniture & Fixtures    Rebranding: Super quad 4-way rack                               8.15            4.55
    516             Furniture & Fixtures    Rebranding: Super quad 4-way rack                              46.59           26.79
    516             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                                146.14            83.50
    516           Leasehold Improvement                                                                  218.40           124.80
    516           Leasehold Improvement                                                                  821.60           469.52
    517           Leasehold Improvement     Signage - Rebranding                                      12,606.75        12,606.75
    517             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            219.36           219.36
    517             Furniture & Fixtures    Rebranding: Super quad 4-way rack                               7.68            7.68
    517             Furniture & Fixtures    Rebranding: Super quad 4-way rack                              43.88           43.88
    517             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                                137.62           137.62



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   Store                    Type                                Description                        Basis         Accum Dpen
    517                                                                                                188.10           188.10
    517                                                                                                821.90           821.90
    518           Leasehold Improvement     HVAC - replace valves and strainers                     11,973.56        10,548.16
    518             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          150.87           118.47
    518             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             5.28            4.20
    518             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            30.17           23.69
    518             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                                94.66           74.32
    519             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          167.48           167.48
    519             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             5.86            5.86
    519             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            33.50           33.50
    519             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              105.08           105.08
    524           Leasehold Improvement                                                                217.09           217.09
    525             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          170.34           133.80
    525             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             5.96            4.70
    525             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            34.06           26.68
    525             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              106.87            84.01
    525           Leasehold Improvement                                                                662.71           520.69
    526             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          165.06            94.14
    526             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             5.78            3.26
    526             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            33.01           18.97
    526             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              103.55            59.27
    526           Leasehold Improvement                                                              1,017.84           581.52
    527             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          146.44           115.12
    527             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             5.12            4.04
    527             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            29.29           22.99
    527             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                                91.87           72.25
    527           Leasehold Improvement                                                                258.18           202.92
    531             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          250.24           142.96
    531             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             8.76            5.16
    531             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            50.04           28.44
    531             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              156.98            89.66
    531           Leasehold Improvement                                                              1,057.71           604.47
    532             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          120.45            68.97
    532             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             4.21            2.41
    532             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            24.09           13.65
    532             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                                75.57           43.17
    533             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            95.54           54.50
    533             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             3.35            1.91
    533             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            19.11           10.83
    533             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                                59.94           34.38
    533           Leasehold Improvement                                                                  95.89           54.85
    534           Leasehold Improvement     HVAC - Compressor                                        3,134.58         1,791.06
    534             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          112.98            64.38
    534             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             3.95            2.15
    534             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            22.60           12.88
    534             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                                70.88           40.64
    535             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          153.70            87.82
    535             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             5.38            3.22
    535             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            30.74           17.42
    535             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                                96.42           55.02
    535           Leasehold Improvement                                                                  40.33           23.05
    537           Leasehold Improvement     Signage - Rebranding                                     3,507.98         2,004.62
    537             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          174.56            99.68
    537             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             6.11            3.59
    537             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            34.92           19.80



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   Store                   Type                                 Description                       Basis         Accum Dpen
    537             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             109.51            62.71
    538           Leasehold Improvement     Heavy duty fire protection repair                       5,500.00         3,142.72
    538             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         138.85            79.45
    538             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.85            2.69
    538             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           27.77           15.89
    538             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               87.11           49.67
    539             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         129.81            74.01
    539             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.55            2.75
    539             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           25.96           14.80
    539             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               81.44           46.52
    540             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         118.64            76.34
    540             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.16            2.66
    540             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           23.72           15.32
    540             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               74.42           47.72
    541             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         104.42            59.78
    541             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            3.66            2.22
    541             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           20.88           11.88
    541             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               65.51           37.43
    542           Leasehold Improvement     Signage - Rebranding                                    6,038.02         3,522.22
    542           Leasehold Improvement     20-ton brand-new York unit                             47,968.26        27,981.51
    542             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         240.32           137.36
    542             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            8.41            4.81
    542             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           48.06           27.54
    542             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             150.77            86.33
    543             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         163.14            93.30
    543             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            5.71            3.19
    543             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           32.63           18.59
    543             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             102.35            58.43
    544             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         132.59            75.71
    544             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.64            2.48
    544             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           26.51           14.99
    544             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               83.18           47.54
    545             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         123.23            70.31
    545             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.32            2.52
    545             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           24.64           14.20
    545             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               77.31           44.19
    546           Leasehold Improvement     Signage - Rebranding                                    5,785.00         3,374.55
    546           Leasehold Improvement     Signage - Rebranding                                   13,625.44         7,948.09
    546             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         360.10           205.66
    546             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           12.60            7.20
    546             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           72.02           41.06
    546             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             225.91           129.07
    547           Leasehold Improvement     Signage - Rebranding                                   13,983.44         7,990.52
    547           Leasehold Improvement     Automatic doors                                         3,108.12         1,776.12
    547             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         324.79           185.47
    547             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           11.37            6.33
    547             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           64.96           37.24
    547             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             203.76           116.28
    548           Leasehold Improvement     Signage - Rebranding                                    1,942.34         1,110.02
    548           Leasehold Improvement     Signage - Rebranding                                    5,785.00         3,374.55
    548             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         226.61           129.41
    548             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            7.93            4.69
    548             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           45.33           25.89
    548             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             142.16            81.32
    548           Leasehold Improvement     HVAC - Compressor                                       6,880.93         4,013.73



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   Store                   Type                                 Description                       Basis         Accum Dpen
    549           Leasehold Improvement     Mold removal from fitting rooms                        25,252.00        25,252.00
    549           Leasehold Improvement     LL REIMB Mold Expenses                                (25,252.00)      (25,252.00)
    549           Leasehold Improvement     Mold removal from fitting rooms                         2,212.50         1,290.60
    549             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         200.84           114.80
    549             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            7.03            4.15
    549             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           40.17           22.89
    549             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             126.00            72.00
    550           Leasehold Improvement     Signage - Rebranding                                    5,630.00         3,284.30
    550             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         175.39           100.15
    550             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            6.14            3.62
    550             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           35.07           19.95
    550             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             110.03            62.87
    551             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         208.95           119.31
    551             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            7.31            4.07
    551             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           41.79           23.79
    551             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             131.09            74.93
    552           Leasehold Improvement     Signage - Rebranding                                   15,162.02         8,664.02
    552             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         214.93           122.77
    552             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            7.52            4.28
    552             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           42.99           24.63
    552             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             134.84            76.88
    553           Leasehold Improvement     General Maintenance                                     5,785.00         3,305.68
    553             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         180.84           103.44
    553             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            6.33            5.61
    553             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           36.17           32.30
    553             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             113.44            64.84
    555             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         126.06            99.06
    555             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.41            3.51
    555             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           25.21           19.81
    555             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               79.08           62.16
    558           Leasehold Improvement     HVAC - Brand new York unit                             29,923.27        17,098.99
    558             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         161.40            92.28
    558             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            5.65            3.13
    558             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           32.28           18.60
    558             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             101.25            57.69
    559           Leasehold Improvement     Signage - Rebranding                                   17,441.05         9,966.37
    559             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         248.86           142.30
    559             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            8.72            5.12
    559             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           49.78           28.54
    559             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             156.12            89.16
    559           Leasehold Improvement                                                               970.49           554.69
    562           Leasehold Improvement     Lightning and light bulbs                               2,008.75         1,793.56
    562           Leasehold Improvement     Tiles installation                                        247.50           220.95
    562             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         164.46           129.18
    562             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            5.76            4.50
    562             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           32.90           25.88
    562             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             103.17            81.03
    563           Leasehold Improvement     Signage - Rebranding                                    4,147.20         2,369.88
    563             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         129.08            73.64
    563             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.51            2.71
    563             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           25.81           14.65
    563             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               80.98           46.42
    565           Leasehold Improvement     Lightning and ballasts                                  3,199.50         3,199.50
    565             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         141.99           141.99
    565             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.97            4.97



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    565             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          28.39           28.39
    565             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              89.08           89.08
    566           Leasehold Improvement     Signage - Rebranding                                   17,926.31       10,243.55
    566           Leasehold Improvement     HVAC - Condenser                                        4,989.25        2,850.85
    566             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         193.75          110.59
    566             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           6.78            3.90
    566             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          38.75           22.19
    566             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             121.55           69.35
    567             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         208.21          118.93
    567             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           7.29            4.05
    567             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          41.64           23.64
    567             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             130.62           74.46
    568             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         163.04           93.20
    568             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           5.71            3.19
    568             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          32.60           18.56
    568             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             102.29           58.37
    569             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         152.23           87.07
    569             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           5.33            3.17
    569             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          30.45           17.49
    569             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              95.50           54.46
    570           Leasehold Improvement     Signage - Rebranding                                    3,015.60        1,723.20
    570           Leasehold Improvement     HVAC - Thermostat                                       4,275.23        2,442.83
    570             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         160.07           91.31
    570             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           5.61            3.09
    570             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          32.01           18.33
    570             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             100.42           57.22
    572             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         122.90           70.34
    572             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           4.31            2.51
    572             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          24.58           14.14
    572             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              77.10           43.98
    573           Leasehold Improvement     HVAC - Thermostat                                       8,290.78        4,737.58
    573             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         130.69           74.53
    573             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           4.58            2.78
    573             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          26.14           14.98
    573             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              81.99           46.71
    574             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         135.15           77.19
    574             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           4.73            2.57
    574             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              84.79           48.43
    574             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          27.03           15.51
    576           Leasehold Improvement     Signage - Rebranding                                    4,644.02        3,427.64
    576           Leasehold Improvement     Signage - Rebranding                                   11,812.22        8,718.58
    576             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         103.92           76.64
    576             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           3.64            2.76
    576             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              65.20           48.04
    576             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          20.78           15.28
    578             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          89.82           51.30
    578             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           3.15            1.71
    578             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              56.35           32.23
    578             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          17.97           10.41
    579             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         116.23           66.55
    579             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           4.07            2.27
    579             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              72.92           41.60
    579             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          23.25           13.17
    580             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         137.40           78.36
    580             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           4.80            2.64



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   Store                   Type                                Description                         Basis        Accum Dpen
    580             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               86.20           49.12
    580             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           27.48           15.60
    581             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          160.43           91.67
    581             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            5.62            3.10
    581             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              100.64           57.44
    581             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           32.09           18.41
    582             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          138.83           79.43
    582             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.86            2.70
    582             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               87.10           49.66
    582             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           27.77           15.89
    583             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          126.90           72.54
    583             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.44            2.64
    583             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               79.62           45.42
    583             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           25.38           14.58
    584             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          118.20           67.44
    584             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.14            2.34
    584             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               74.15           42.47
    584             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           23.64           13.56
    585             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          113.53           64.93
    585             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            3.97            2.17
    585             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               71.23           40.63
    585             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           22.71           12.99
    586           Leasehold Improvement     HVAC - Condenser                                         7,146.58        4,083.70
    586             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          137.00           78.32
    586             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.79            2.63
    586             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               85.94           49.22
    586             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           27.40           15.52
    586           Leasehold Improvement                                                                242.56          138.52
    587           Leasehold Improvement     HVAC - Compressor                                        3,115.94        1,780.70
    587             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          134.53           76.93
    587             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.71            2.55
    587             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               84.41           48.41
    587             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           26.91           15.39
    588             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          130.13           74.33
    588             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.56            2.76
    588             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               81.64           46.72
    588             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           26.03           14.87
    589           Leasehold Improvement     HVAC - Compressor                                        2,627.76        1,470.40
    589           Leasehold Improvement     HVAC - Portables                                         3,334.00        1,905.16
    589           Leasehold Improvement     25-ton and 15-ton Carrier new units                     75,957.02       44,308.27
    589             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          115.32           66.00
    589             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.04            2.24
    589             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               72.35           41.39
    589             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           23.07           13.35
    590             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          149.62           90.88
    590             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            5.24            3.26
    590             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               93.86           56.90
    590             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           29.92           18.04
    591           Leasehold Improvement     Signage - Rebranding                                    15,443.06       13,604.56
    591           Leasehold Improvement     HVAC - Compressor                                       19,082.34       17,037.81
    591           Leasehold Improvement     HVAC - Compressor                                       48,775.35       43,549.41
    591             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          103.69           81.55
    591             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            3.63            2.91
    591             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               65.03           51.17
    591             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           20.74           16.24



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   Store                   Type                                Description                           Basis        Accum Dpen
   9805           Leasehold Improvement                                                               10,314.37        5,893.93
     1                  Equipment                                                                      2,970.00        1,534.50
     1              Furniture & Fixtures    36" Rounders, Super Quads                                    626.89          403.09
     2                  Equipment                                                                      2,970.00        1,237.50
     2              Furniture & Fixtures    36" Rounders, Super Quads                                    575.81          329.21
     3                  Equipment                                                                      2,970.00        1,237.50
     3              Furniture & Fixtures    36" Rounders, Super Quads                                    555.92          317.60
     4                  Equipment                                                                      2,970.00        2,970.00
    510                 Equipment                                                                      2,376.00        1,227.60
    511                 Equipment                                                                      2,376.00        2,376.00
    511             Furniture & Fixtures    36" Rounders, Super Quads                                    339.23          339.23
    511             Furniture & Fixtures    Gate replacement                                           3,157.38        3,157.38
    514                 Equipment                                                                      2,376.00        1,702.80
    514             Furniture & Fixtures    36" Rounders, Super Quads                                    255.82          200.92
    515                 Equipment                                                                      2,376.00          990.00
    515             Furniture & Fixtures    36" Rounders, Super Quads                                    262.46          150.14
    516                 Equipment                                                                      1,782.00          742.50
    516             Furniture & Fixtures    36" Rounders, Super Quads                                    295.25          168.89
    517                 Equipment                                                                      1,782.00        1,782.00
    517             Furniture & Fixtures    36" Rounders, Super Quads                                    278.02          278.02
    518           Leasehold Improvement     Signage - Rebranding                                      51,349.50       45,236.50
    518                 Equipment                                                                      1,782.00        1,277.10
    518             Furniture & Fixtures    36" Rounders, Super Quads                                    191.23          150.19
    519                 Equipment                                                                      1,782.00        1,782.00
    519             Furniture & Fixtures    36" Rounders, Super Quads                                    212.28          212.28
    525           Leasehold Improvement     Signage - Rebranding                                       9,944.88        7,932.25
    525                 Equipment                                                                      1,782.00        1,277.10
    525             Furniture & Fixtures    36" Rounders, Super Quads                                    215.89          169.63
    526             Furniture & Fixtures    36" Rounders, Super Quads                                    209.20          119.56
    527           Leasehold Improvement                                                               14,253.31       11,368.75
    527                 Equipment           Sensormatic Ultrapost system for tags                      4,344.20        3,464.96
    527                 Equipment                                                                      1,782.00        1,277.10
    527             Furniture & Fixtures    36" Rounders, Super Quads                                    185.61          145.83
    529                 Equipment                                                                      1,782.00        1,782.00
    531             Furniture & Fixtures    36" Rounders, Super Quads                                    317.17          181.09
    532                 Equipment                                                                      1,782.00          742.50
    532             Furniture & Fixtures    36" Rounders, Super Quads                                    152.66           87.14
    533                 Equipment                                                                      1,782.00          742.50
    533             Furniture & Fixtures    36" Rounders, Super Quads                                    121.10           69.26
    534                 Equipment                                                                      1,782.00          742.50
    534             Furniture & Fixtures    36" Rounders, Super Quads                                    143.19           81.99
    535                 Equipment                                                                      1,782.00          742.50
    535             Furniture & Fixtures    36" Rounders, Super Quads                                    194.81          111.29
    537                 Equipment                                                                      1,782.00          742.50
    537             Furniture & Fixtures    36" Rounders, Super Quads                                    221.25          126.57
    538                 Equipment                                                                      1,782.00          742.50
    538             Furniture & Fixtures    36" Rounders, Super Quads                                    175.98          100.38
    539                 Equipment                                                                      1,782.00          742.50
    539             Furniture & Fixtures    36" Rounders, Super Quads                                    164.52           93.96
    540                 Equipment                                                                      1,782.00          920.70
    540             Furniture & Fixtures    36" Rounders, Super Quads                                    150.36           96.66
    541           Leasehold Improvement     Signage - Rebranding                                       1,595.00          930.35
    541                 Equipment           EAS system                                                 4,389.70        2,560.60
    541                 Equipment                                                                      1,782.00          742.50
    541             Furniture & Fixtures    36" Rounders, Super Quads                                    132.34           75.46



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   Store                   Type                                  Description                        Basis        Accum Dpen
    542             Furniture & Fixtures    Transportation of Fixtures                                  590.64         337.56
    542                 Equipment                                                                     2,376.00         990.00
    542             Furniture & Fixtures    36" Rounders, Super Quads                                   304.60         173.92
    543                 Equipment                                                                     1,782.00         742.50
    543             Furniture & Fixtures    36" Rounders, Super Quads                                   206.78         118.22
    544                 Equipment                                                                     1,782.00         742.50
    544             Furniture & Fixtures    36" Rounders, Super Quads                                   168.05          96.05
    545                 Equipment                                                                     1,782.00         742.50
    545             Furniture & Fixtures    36" Rounders, Super Quads                                   156.19          89.23
    546                 Equipment                                                                     2,376.00         990.00
    546             Furniture & Fixtures    36" Rounders, Super Quads                                   456.41         260.93
    547                 Equipment                                                                     2,376.00         990.00
    547             Furniture & Fixtures    36" Rounders, Super Quads                                   411.64         235.24
    548                 Equipment                                                                     1,782.00         742.50
    548             Furniture & Fixtures    36" Rounders, Super Quads                                   287.22         164.10
    549                 Equipment                                                                     1,782.00         742.50
    549             Furniture & Fixtures    36" Rounders, Super Quads                                   254.56         145.48
    550                 Equipment                                                                     1,782.00         742.50
    550             Furniture & Fixtures    36" Rounders, Super Quads                                   222.29         126.89
    551                 Equipment                                                                     1,782.00         742.50
    551             Furniture & Fixtures    36" Rounders, Super Quads                                   264.84         151.44
    552                 Equipment                                                                     1,782.00         742.50
    552             Furniture & Fixtures    36" Rounders, Super Quads                                   272.41         155.77
    553                 Equipment                                                                     1,782.00         742.50
    553             Furniture & Fixtures    36" Rounders, Super Quads                                   229.20         130.92
    555                 Equipment                                                                     1,782.00       1,277.10
    555             Furniture & Fixtures    36" Rounders, Super Quads                                   159.76         125.56
    558           Leasehold Improvement     Exterior Sign                                            14,322.47       8,354.62
    558                 Equipment                                                                     1,782.00         742.50
    558             Furniture & Fixtures    36" Rounders, Super Quads                                   204.56         116.72
    559                 Equipment                                                                     2,376.00         990.00
    559             Furniture & Fixtures    36" Rounders, Super Quads                                   315.42         180.06
    562                 Equipment                                                                     1,782.00       1,277.10
    562             Furniture & Fixtures    36" Rounders, Super Quads                                   208.45         163.81
    563                 Equipment                                                                     1,782.00         742.50
    563             Furniture & Fixtures    36" Rounders, Super Quads                                   163.61          93.41
    565                 Equipment                                                                     1,782.00       1,782.00
    565             Furniture & Fixtures    36" Rounders, Super Quads                                   179.97         179.97
    566                 Equipment                                                                     1,782.00         742.50
    566             Furniture & Fixtures    36" Rounders, Super Quads                                   245.57         140.45
    567                 Equipment                                                                     1,782.00         742.50
    567             Furniture & Fixtures    36" Rounders, Super Quads                                   263.89         150.85
    568                 Equipment                                                                     1,782.00         742.50
    568             Furniture & Fixtures    36" Rounders, Super Quads                                   206.65         118.09
    569                 Equipment                                                                     1,782.00         742.50
    569             Furniture & Fixtures    36" Rounders, Super Quads                                   192.93         110.13
    570                 Equipment                                                                     1,782.00         742.50
    570             Furniture & Fixtures    36" Rounders, Super Quads                                   202.88         115.76
    572                 Equipment                                                                     1,782.00         742.50
    572             Furniture & Fixtures    36" Rounders, Super Quads                                   155.77          89.17
    573                 Equipment                                                                     1,782.00         742.50
    573             Furniture & Fixtures    36" Rounders, Super Quads                                   165.65          94.73
    574                 Equipment                                                                     1,782.00         742.50
    574             Furniture & Fixtures    36" Rounders, Super Quads                                   171.29          97.85
    576                 Equipment                                                                     1,782.00       1,158.30



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   Store                   Type                                Description                           Basis         Accum Dpen
    576             Furniture & Fixtures    36" Rounders, Super Quads                                    131.72           97.18
    578                 Equipment                                                                      1,782.00          742.50
    578             Furniture & Fixtures    36" Rounders, Super Quads                                    113.84           64.88
    579                 Equipment                                                                      1,782.00          742.50
    579             Furniture & Fixtures    36" Rounders, Super Quads                                    147.32           84.32
    580                 Equipment                                                                      1,782.00          742.50
    580             Furniture & Fixtures    36" Rounders, Super Quads                                    174.14           99.62
    581                 Equipment                                                                      2,376.00          990.00
    581             Furniture & Fixtures    36" Rounders, Super Quads                                    203.33          116.21
    582                 Equipment                                                                      1,782.00          742.50
    582             Furniture & Fixtures    36" Rounders, Super Quads                                    175.96          100.72
    583                 Equipment                                                                      2,376.00          990.00
    583             Furniture & Fixtures    36" Rounders, Super Quads                                    160.84           92.08
    584                 Equipment                                                                      1,782.00          742.50
    584             Furniture & Fixtures    36" Rounders, Super Quads                                    149.81           85.73
    585                 Equipment                                                                      1,782.00          742.50
    585             Furniture & Fixtures    36" Rounders, Super Quads                                    143.89           82.33
    586           Leasehold Improvement     Rebranding - Power wash                                    1,950.00        1,137.65
    586                 Equipment                                                                      1,782.00          742.50
    586             Furniture & Fixtures    36" Rounders, Super Quads                                    173.64           99.12
    587                 Equipment                                                                      1,782.00          742.50
    587             Furniture & Fixtures    36" Rounders, Super Quads                                    170.52           97.44
    588                 Equipment                                                                      1,782.00          742.50
    588             Furniture & Fixtures    36" Rounders, Super Quads                                    164.93           94.37
    589                 Equipment                                                                      2,376.00          990.00
    589             Furniture & Fixtures    36" Rounders, Super Quads                                    146.16           83.52
    590                 Equipment                                                                      1,782.00          831.60
    590             Furniture & Fixtures    36" Rounders, Super Quads                                    189.63          115.05
    591                 Equipment                                                                      1,782.00        1,277.10
    591             Furniture & Fixtures    36" Rounders, Super Quads                                    131.45          103.37
     1            Leasehold Improvement     Elevator Maintenance                                       4,899.38        3,207.81
     1            Leasehold Improvement     HVAC                                                       4,459.05        2,972.81
     1                                                                                                  (905.27)        (905.27)
     2                                                                                                  (860.66)        (860.66)
     3            Leasehold Improvement     HVAC                                                      10,183.88        5,940.48
     3                                                                                                  (774.03)        (774.03)
    511                                                                                                 (476.51)        (476.51)
    514           Leasehold Improvement     HVAC                                                      12,042.14        9,748.38
    514                                                                                                 (353.58)        (353.58)
    515           Leasehold Improvement     HVAC                                                       2,821.80        1,612.56
    515                                                                                                 (352.47)        (352.47)
    516                                                                                                 (412.72)        (412.72)
    517                                                                                                 (390.70)        (390.70)
    518           Leasehold Improvement     Receiving Area Doors                                       4,800.00        4,342.88
    518                                                                                                 (283.96)        (283.96)
    519                                                                                                 (302.78)        (302.78)
    525           Leasehold Improvement     HVAC                                                       3,916.65        3,123.94
    525                                                                                                 (380.30)        (380.30)
    526           Leasehold Improvement     Elevator Decommission                                     12,765.63        7,446.68
    526           Leasehold Improvement     HVAC                                                       3,277.16        1,950.82
    526                                                                                                 (354.53)        (354.53)
    527                                                                                                 (293.08)        (293.08)
    531                                                                                                 (531.34)        (531.34)
    532           Leasehold Improvement     Lighted Storefront Signage                                 5,981.46        3,560.32
    532                                                                                                 (257.98)        (257.98)



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   Store                    Type                                   Description                        Basis         Accum Dpen
    533                                                                                                  (214.19)         (214.19)
    534                                                                                                  (217.91)         (217.91)
    535                                                                                                  (251.98)         (251.98)
    537                                                                                                  (340.76)         (340.76)
    538                                                                                                  (272.84)         (272.84)
    539                                                                                                  (248.68)         (248.68)
    540           Leasehold Improvement     Receiving Area Truck Accident Repairs                       3,498.06         2,207.22
    540                                                                                                  (251.22)         (251.22)
    541                                                                                                  (220.03)         (220.03)
    542                                                                                                  (380.37)         (380.37)
    543                                                                                                  (278.72)         (278.72)
    544                                                                                                  (271.03)         (271.03)
    545                                                                                                  (235.35)         (235.35)
    546                                                                                                  (654.12)         (654.12)
    547                                                                                                  (590.76)         (590.76)
    548           Leasehold Improvement     Vestibule Doors                                             2,664.63         1,554.43
    548                                                                                                  (376.84)         (376.84)
    549           Leasehold Improvement     HVAC Electrical                                             6,593.75         3,846.25
    549                                                                                                  (340.74)         (340.74)
    550                                                                                                  (361.39)         (361.39)
    551                                                                                                  (339.35)         (339.35)
    552                                                                                                  (399.92)         (399.92)
    553                                                                                                  (336.01)         (336.01)
    555                                                                                                  (207.72)         (207.72)
    557           Leasehold Improvement     Sales Floor Lighting                                        3,671.97         3,671.97
    558                                                                                                  (244.47)         (244.47)
    559                                                                                                  (374.54)         (374.54)
    562                                                                                                  (263.25)         (263.25)
    563                                                                                                  (239.06)         (239.06)
    565                                                                                                  (224.58)         (224.58)
    566           Leasehold Improvement     Signage                                                     1,698.23           950.09
    566                                                                                                  (385.18)         (385.18)
    567           Leasehold Improvement     HVAC                                                        6,491.66         3,786.86
    567                                                                                                  (393.85)         (393.85)
    568                                                                                                  (329.11)         (329.11)
    569                                                                                                  (243.46)         (243.46)
    570                                                                                                  (274.08)         (274.08)
    572                                                                                                  (236.03)         (236.03)
    573                                                                                                  (219.37)         (219.37)
    574                                                                                                  (241.57)         (241.57)
    576                                                                                                  (194.52)         (194.52)
    578                                                                                                  (192.96)         (192.96)
    579                                                                                                  (233.03)         (233.03)
    580                                                                                                  (265.01)         (265.01)
    581                                                                                                  (311.47)         (311.47)
    582           Leasehold Improvement     Signage / Lettering on Wall                                16,573.44        10,851.74
    582                                                                                                  (234.44)         (234.44)
    583                                                                                                  (202.84)         (202.84)
    584                                                                                                  (211.28)         (211.28)
    585                                                                                                  (204.63)         (204.63)
    586                                                                                                  (254.81)         (254.81)
    587                                                                                                  (255.14)         (255.14)
    588                                                                                                  (238.53)         (238.53)
    589           Leasehold Improvement     HVAC                                                        4,938.83         2,880.83
    589                                                                                                  (225.36)         (225.36)



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   Store                   Type                                   Description                         Basis         Accum Dpen
    590           Leasehold Improvement     7' Signage                                                 24,985.06        14,872.10
    590                                                                                                  (262.55)         (262.55)
    591                                                                                                  (176.20)         (176.20)
     1            Leasehold Improvement     Sales Floor Doors                                           3,000.00         2,000.12
     4            Leasehold Improvement     Inspection/Water Testing                                    1,870.00         1,870.00
    535                                     Expensed Per 12                                             1,275.76         1,275.76
    549           Leasehold Improvement     Signage Lamps                                               4,246.38         2,578.23
    558           Leasehold Improvement     HVAC                                                        6,000.00         3,642.81
    558           Leasehold Improvement                                                               (18,254.58)      (11,300.34)
    559           Leasehold Improvement     Lighting                                                    2,900.00         1,691.80
    559           Leasehold Improvement     Electrical Work                                             4,526.19         2,640.39
    580           Leasehold Improvement     HVAC                                                        2,875.38         1,780.02
    581           Leasehold Improvement     Labor                                                       5,001.35         3,096.07
    584           Leasehold Improvement     Signage                                                    12,963.81         7,870.92
    589           Leasehold Improvement     HVAC Project                                                3,159.00         1,805.04
     1            Leasehold Improvement     Roof Project                                                6,319.94         4,213.22
     1            Leasehold Improvement     Eletrical - Exterior Sign/Office                            2,600.00         1,826.25
     2              Furniture & Fixtures                                                                  500.00           285.80
     4            Leasehold Improvement     Fire Sprinkler Repairs                                      3,963.05         3,963.05
     4            Leasehold Improvement     Cooling Tower                                               4,798.53         4,798.53
    511           Leasehold Improvement     HVAC                                                       33,298.29        33,298.29
    511           Leasehold Improvement     Rebranding Signage                                         18,269.38        18,269.38
    515           Leasehold Improvement     Light Fixtures                                              4,766.54         2,950.86
    517           Leasehold Improvement     Repair Leak/Filtration System                               9,086.25         9,086.25
    518           Leasehold Improvement     Reduce Permit Fees                                         (3,249.59)       (2,862.69)
    526           Leasehold Improvement     Rebranding Project Labor                                      562.32           308.10
    531           Leasehold Improvement     Rebranding Project Labor                                    2,324.52         1,273.06
    532           Leasehold Improvement     Signage                                                    10,331.12         6,026.47
    533           Leasehold Improvement     Signage                                                    12,191.11         7,111.56
    539           Leasehold Improvement     Signage                                                     2,688.48         1,568.13
    546             Furniture & Fixtures                                                                  900.00           514.44
    547             Furniture & Fixtures                                                                  487.50           278.70
    548             Furniture & Fixtures                                                                  487.50           278.70
    549           Leasehold Improvement     HVAC                                                        9,480.25         5,643.01
    549           Leasehold Improvement     Rebranding Signage                                         12,373.75         7,217.90
    549             Furniture & Fixtures                                                                  350.00           199.88
    550           Leasehold Improvement     Rebranding Signage                                         18,496.30        11,450.22
    550             Furniture & Fixtures                                                                  350.00           199.88
    551             Furniture & Fixtures                                                                  350.00           199.88
    553           Leasehold Improvement     Rebranding Signage                                         14,382.53         8,389.83
    555             Furniture & Fixtures                                                                  375.00           294.72
    562           Leasehold Improvement     Rebranding Signage                                         35,877.71        32,033.63
    563           Leasehold Improvement     Rebranding Signage                                         15,123.80         8,822.05
    565             Furniture & Fixtures                                                                  375.00           375.00
    581           Leasehold Improvement     Labor / Materials                                           3,675.20         2,275.20
    581           Leasehold Improvement     WhiteHawk Travel                                            3,065.92         1,897.92
    582           Leasehold Improvement     WhiteHawk Travel                                            2,377.64         1,471.72
    583           Leasehold Improvement                                                                 2,958.91         1,866.78
    583           Leasehold Improvement     Labor                                                       2,803.53         1,735.37
    538           Leasehold Improvement                                                                 1,059.31           681.01
    543           Leasehold Improvement                                                                 1,062.46           682.96
    558           Leasehold Improvement                                                                 3,236.60         2,080.70
    559           Leasehold Improvement                                                                12,125.00         6,639.70
    559           Leasehold Improvement                                                                 1,799.00         1,027.88
    567           Leasehold Improvement                                                                 3,998.00         2,570.00



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   Store                   Type                                Description                         Basis          Accum Dpen
    568           Leasehold Improvement                                                              5,208.00          3,348.00
    569           Leasehold Improvement                                                                980.01            629.91
    581           Leasehold Improvement                                                              6,035.17          3,735.97
    582             Furniture & Fixtures                                                             3,228.88          1,845.04
    585           Leasehold Improvement                                                             11,797.49          7,583.99
    585           Leasehold Improvement                                                              1,068.98            687.08
    535                                     Expensed Per 12                                         (1,219.51)        (1,219.51)
    535                                     Expensed Per 12                                             (56.25)          (56.25)
    559           Leasehold Improvement                                                              4,350.00          2,692.72
    519                                     Security Cameras & Install                              (5,721.95)        (3,623.81)
    519                                     Data Lines                                                (274.37)          (196.68)
    519                                     EAS System                                              (1,659.40)        (1,224.90)
    519                                     EAS System                                                (415.21)          (306.53)
    519                                     EAS System                                                (210.01)          (155.01)
    519                                     EAS System                                              (1,260.00)          (930.00)
    519                                     Configure/Integrate POS                                   (439.86)          (315.25)
    519                                     Cables for Security Camera System                         (290.60)          (188.96)
    519                                     Security Cameras                                          (554.98)          (360.73)
    519                                     Security Cameras                                            (37.20)          (24.18)
    519                                     Security Cameras                                          (173.44)          (112.75)
    519                                     Security Cameras                                          (179.62)          (116.83)
    519                                                                                               (550.00)          (550.00)
    519                                                                                             (1,345.13)        (1,345.13)
    519                                                                                             (2,368.42)        (2,368.42)
    519                                                                                             (2,721.88)        (2,721.88)
    519                                                                                             (6,532.50)        (6,532.50)
    519                                                                                             (1,575.05)        (1,575.05)
    519                                                                                             (2,618.56)        (2,618.56)
    519                                                                                             (4,875.53)        (4,875.53)
    519                                     HVAC Repairs                                            (5,925.99)        (5,149.94)
    519                                     In-House EE Rebranding Work                             (7,409.00)        (7,409.00)
    519                                     Fixtures from stock                                       (709.42)          (709.42)
    519                                                                                               (303.10)          (303.10)
    519                                     36" Round garment assembled                                 (93.22)          (93.22)
    519                                     22" Super quad, 36" & 42" hangrails                       (908.31)          (908.31)
    519                                     22" Rectangular tube - super quad                         (141.01)          (141.01)
    519                                     16" & 22" Rectangular tubing rack                           (52.00)          (52.00)
    519                                                                                               (275.61)          (275.61)
    519                                                                                               (336.40)          (336.40)
    519                                                                                               (234.64)          (234.64)
    519                                     36' RD FLD rack weld - assembled                            (98.83)          (98.83)
    519                                     Rebranding: Super quad 4-way rack                         (167.48)          (167.48)
    519                                     Rebranding: Super quad 4-way rack                            (5.86)           (5.86)
    519                                     Rebranding: Super quad 4-way rack                           (33.50)          (33.50)
    519                                     3500 PC / TV and 247 PC / K80                             (105.08)          (105.08)
    519                                                                                             (1,782.00)        (1,782.00)
    519                                     36" Rounders, Super Quads                                 (212.28)          (212.28)
    521                                     Construction Contract - Draw #1                         (5,910.71)        (5,516.63)
    521                                     Construction Contract - Draw #2                        (10,708.01)        (9,994.17)
    521                                     Security Cameras & Install                              (2,464.01)        (1,930.10)
    521                                     EAS System                                                (392.64)          (331.93)
    521                                     EAS System                                              (1,403.25)        (1,186.02)
    521                                     EAS System                                                  (99.96)          (84.49)
    521                                     EAS System                                              (1,236.00)        (1,044.77)
    521                                     Configure/Integrate POS                                   (351.89)          (305.01)



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   Store                    Type                                 Description                         Basis          Accum Dpen
    521                                     Cables for Security Camera System                           (290.60)          (232.52)
    521                                                                                               (1,721.00)        (1,606.28)
    521                                     Security Cameras                                            (175.74)          (140.58)
    521                                     Security Cameras                                            (173.44)          (138.76)
    521                                     Security Cameras                                            (179.62)          (143.74)
    521                                                                                               (1,019.15)        (1,019.15)
    521                                                                                               (3,378.51)        (3,378.51)
    522                                     Construction Contract - Draw #1                           (4,768.07)        (4,450.23)
    522                                     Construction Contract - Draw #2                           (8,637.96)        (8,062.12)
    522                                     Security Cameras & Install                                (3,092.24)        (2,422.22)
    522                                     EAS System                                                  (384.89)          (325.35)
    522                                     EAS System                                                (1,403.25)        (1,186.02)
    522                                     EAS System                                                    (99.96)          (84.49)
    522                                     EAS System                                                (1,236.00)        (1,044.77)
    522                                     Configure/Integrate POS                                     (351.89)          (305.01)
    522                                     Cables for Security Camera System                           (290.60)          (232.52)
    522                                                                                               (1,388.25)        (1,295.69)
    522                                     Security Cameras                                            (763.40)          (610.76)
    522                                     Security Cameras                                            (173.44)          (138.76)
    522                                     Security Cameras                                            (179.62)          (143.74)
    522                                                                                                 (620.04)          (620.04)
    522                                                                                               (2,072.57)        (2,072.57)
    522                                                                                               (2,309.86)        (2,309.86)
    522                                                                                               (1,389.75)        (1,389.75)
    560                                     Construction Contract - Draw #1                          (22,646.53)       (21,136.77)
    560                                     Construction Contract - Draw #2                          (41,027.03)       (38,291.91)
    560                                     Security Cameras & Install                                (5,174.61)        (4,053.49)
    560                                     EAS System                                                (2,706.03)        (2,319.51)
    560                                     EAS System                                                  (329.99)          (282.83)
    560                                     EAS System                                                  (206.89)          (177.37)
    560                                     EAS System                                                (2,077.60)        (1,780.84)
    560                                     POS Install                                                 (979.00)          (848.44)
    560                                     Cables for Security Camera System                           (290.60)          (232.52)
    560                                                                                               (7,540.85)        (7,038.13)
    560                                     Security Cameras                                            (366.55)          (293.23)
    560                                     Security Cameras                                            (169.60)          (135.64)
    560                                     HVAC                                                      (8,882.85)        (8,290.69)
    560                                     Security Cameras                                            (174.88)          (148.69)
    560                                     HVAC                                                      (6,156.55)        (5,746.15)
    560                                                                                                 (678.40)          (678.40)
    560                                                                                               (1,149.28)        (1,149.28)
    560                                                                                               (1,290.48)        (1,290.48)
    560                                                                                               (2,328.58)        (2,328.58)
    560                                                                                               (2,336.92)        (2,336.92)
    560                                     Sales Floor Lighting Repairs                              (2,739.28)        (2,739.28)
    560                                     Renovation                                                (5,714.94)        (5,714.94)
    560                                     Sign Survey - Designs/Pricing/Permits                       (309.09)          (309.09)
    560                                     Repair broken water line                                  (4,100.00)        (4,100.00)
    560                                     Banner                                                      (652.10)          (652.10)
    556                                     EAS System                                                  (408.32)          (345.14)
    556                                     Data Lines                                                  (258.00)          (223.60)
    556                                     Data Lines                                                  (350.00)          (303.36)
    556                                     Data Lines                                                  (993.50)          (861.02)
    556                                     EAS System                                                (4,179.82)        (3,532.94)
    556                                     EAS System                                                  (206.67)          (174.69)



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   Store                    Type                                Description                           Basis         Accum Dpen
    556                                     Configure/Integrate POS                                      (439.86)         (381.22)
    556                                                                                               (12,888.45)      (12,029.25)
    556                                                                                                (1,432.05)       (1,336.61)
    556                                     Security Cameras                                             (750.27)         (600.27)
    556                                     EAS System                                                 (2,620.00)       (2,370.48)
    556                                     HVAC Repair                                               (14,385.00)      (13,425.96)
    556                                     HVAC Chiller                                              (22,470.00)      (20,972.00)
    556                                     Security Cameras                                             (170.94)         (136.74)
    556                                     Security Cameras & Install                                 (6,517.98)       (5,214.42)
    556                                     HVAC - FINAL                                              (14,519.90)      (13,551.90)
    556                                     Security Cameras                                             (176.53)         (147.13)
    556                                                                                                  (500.00)         (500.00)
    556                                                                                                (5,040.00)       (5,040.00)
    556                                                                                                (1,667.70)       (1,667.70)
    556                                                                                                  (500.00)         (466.64)
    556                                                                                                (2,382.50)       (2,223.70)
    556                                                                                                  (109.51)         (102.23)
    556                                                                                                (2,000.00)       (1,866.64)
    556                                                                                                  (816.60)         (762.12)
    556                                                                                                (4,334.00)       (4,334.00)
    556                                     Electrical Work                                            (2,547.94)       (2,547.94)
    556                                     Security Cameras & Install                                 (4,390.60)       (4,390.60)
    557                                     Patch / Paint / Ceiling Tiles                             (16,076.75)      (14,234.58)
    557                                     EAS System                                                   (491.40)         (421.20)
    557                                     Security Cameras & Install                                 (6,538.06)       (5,121.45)
    557                                     EAS System                                                 (3,073.59)       (2,634.51)
    557                                     EAS System                                                   (206.67)         (177.15)
    557                                     EAS System                                                 (2,730.38)       (2,340.38)
    557                                     Configure/Integrate POS                                      (527.84)         (457.44)
    557                                     EAS System                                                  2,482.40         2,098.25
    557                                     Cables for Security Camera System                            (290.60)         (232.52)
    557                                     Security Cameras                                           (1,221.20)         (977.00)
    557                                     EAS System                                                 (1,544.00)       (1,396.96)
    557                                     Security Cameras                                             (170.94)         (136.74)
    557                                     Security Cameras                                             (176.53)         (147.13)
    557                                                                                                (8,026.80)       (7,491.68)
    557                                                                                                (6,043.04)       (5,640.16)
    557                                                                                                  (867.95)         (867.95)
    557                                                                                                (1,074.43)       (1,074.43)
    557                                                                                                (1,605.00)       (1,605.00)
    557                                                                                                (2,000.00)       (2,000.00)
    557                                                                                                (2,493.84)       (2,493.84)
    557                                                                                                (3,070.56)       (3,070.56)
    557                                                                                                  (290.00)         (290.00)
    557                                                                                                (1,945.65)       (1,945.65)
    557                                                                                                (4,691.16)       (4,691.16)
    557                                     Conveyor                                                     (866.71)         (866.71)
    557                                     Sales Floor Lighting                                       (3,671.97)       (3,671.97)
    571                                     EAS System                                                   (336.72)         (284.59)
    571                                     EAS System                                                   (208.67)         (176.43)
    571                                     Patch / Paint / Ceiling Tiles                              (6,796.42)       (6,017.62)
    571                                     Configure/Integrate POS                                      (351.89)         (305.01)
    571                                     Security Cameras & Install                                 (5,853.48)       (4,682.76)
    571                                     Security Cameras                                             (172.43)         (137.99)
    571                                     Security Cameras                                             (178.38)         (151.65)



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   Store                    Type                                Description                          Basis         Accum Dpen
    571                                                                                                 (513.06)         (513.06)
    571                                                                                               (1,210.00)       (1,210.00)
    571                                                                                               (1,762.50)       (1,762.50)
    571                                                                                               (2,627.98)       (2,627.98)
    571                                                                                               (2,703.13)       (2,703.13)
    571                                                                                               (1,297.10)       (1,297.10)
    571                                                                                               (2,627.98)       (2,627.98)
    571                                                                                               (4,173.63)       (4,173.63)
     4                                      Security Cameras & Install                                (6,616.37)       (4,190.43)
     4                                      Patch / Paint / Ceiling Tiles                             (5,070.47)       (4,014.07)
     4                                      Data Lines                                                  (618.41)         (443.14)
     4                                      EAS System                                                (3,157.06)       (2,367.88)
     4                                      EAS System                                                  (558.72)         (419.07)
     4                                      EAS System                                                  (212.01)         (159.09)
     4                                      EAS System                                                (2,020.00)       (1,514.95)
     4                                      Configure/Integrate POS                                     (879.73)         (630.51)
     4                                      Cables for Security Camera System                           (290.60)         (188.96)
     4                                      Security Cameras                                            (173.44)         (112.75)
     4                                      Security Cameras                                            (179.62)         (116.83)
     4                                      Plumbing Repairs                                          (5,865.00)       (5,229.56)
     4                                                                                                (1,661.45)       (1,661.45)
     4                                                                                                (1,848.84)       (1,848.84)
     4                                                                                                (3,457.49)       (3,457.49)
     4                                                                                                (3,525.00)       (3,525.00)
     4                                                                                                (6,207.43)       (6,207.43)
     4                                                                                               (19,084.24)      (19,084.24)
     4                                                                                               (22,104.86)      (22,104.86)
     4                                                                                                (2,594.20)       (2,594.20)
     4                                                                                                (4,142.19)       (4,142.19)
     4                                                                                                (3,500.00)       (3,500.00)
     4                                                                                                (2,984.25)       (2,984.25)
     4                                      Fire Extinguishers + Inspections                          (5,990.90)       (5,990.90)
     4                                      Ceiling Leak - Receiving Area                             (3,800.00)       (3,800.00)
     4                                      Rest Room Plumbing                                        (4,865.00)       (4,865.00)
     4                                      Sign Survey - Designs/Pricing/Permits                       (309.10)         (309.10)
     4                                      In-House EE Rebranding Work                               (8,109.00)       (8,109.00)
     4                                      Signage                                                   (2,231.94)       (2,231.94)
     4                                      Signage Permits                                           (3,089.69)       (3,089.69)
     4                                      Fixtures from stock                                       (1,278.24)       (1,278.24)
     4                                                                                                  (303.10)         (303.10)
     4                                      HVAC - Compressor                                         (8,077.85)       (8,077.85)
     4                                      New Store contract -reversal                               8,109.00         8,109.00
     4                                      Signage - Rebranding                                         426.79           426.79
     4                                      Sprinkler system                                          (3,963.05)       (3,963.05)
     4                                                                                                  (453.60)         (453.60)
     4                                                                                                (1,706.40)       (1,706.40)
     4                                                                                                (2,970.00)       (2,970.00)
     4                                      Inspection/Water Testing                                  (1,870.00)       (1,870.00)
     4                                      Fire Sprinkler Repairs                                    (3,963.05)       (3,963.05)
     4                                      Cooling Tower                                             (4,798.53)       (4,798.53)
    511                                     Construction Contract - Draw #1                          (46,501.65)      (39,913.98)
    511                                     Construction Contract - Draw #2                          (84,243.57)      (72,309.06)
    511                                     Security Cameras & Install                                (4,814.89)       (3,049.39)
    511                                     EAS System                                                (2,101.29)       (1,550.85)
    511                                     EAS System                                                  (656.40)         (484.58)



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   Store                    Type                                 Description                         Basis          Accum Dpen
    511                                     EAS System                                                  (212.01)          (156.57)
    511                                     EAS System                                                (1,496.00)        (1,104.18)
    511                                     Configure/Integrate POS                                     (703.78)          (504.37)
    511                                     Relocate / Reconnect Cameras                              (1,564.58)        (1,016.90)
    511                                     Cables for Security Camera System                           (290.60)          (188.96)
    511                                                                                              (13,539.65)       (11,621.54)
    511                                     Security Cameras                                            (175.74)          (114.21)
    511                                     Security Cameras                                            (173.44)          (112.75)
    511                                     Security Cameras                                            (179.62)          (116.83)
    511                                                                                                 (660.00)          (660.00)
    511                                                                                               (1,250.00)        (1,250.00)
    511                                                                                               (1,315.51)        (1,315.51)
    511                                                                                               (2,763.54)        (2,763.54)
    511                                                                                               (2,177.28)        (2,177.28)
    511                                                                                                 (326.63)          (280.39)
    511                                                                                               (3,388.73)        (3,388.73)
    511                                                                                               (3,014.32)        (3,014.32)
    511                                                                                               (3,566.30)        (3,566.30)
    511                                                                                               (3,390.93)        (3,390.93)
    511                                                                                               (2,791.51)        (2,791.51)
    511                                                                                               (2,974.14)        (2,974.14)
    511                                     Sign Survey - Designs/Pricing/Permits                       (309.10)          (309.10)
    511                                     Front Window Rolling Gate                                 (4,663.55)        (4,663.55)
    511                                     Permits for Signage                                       (7,177.86)        (7,177.86)
    511                                     Lighting Replacements                                     (1,200.35)        (1,200.35)
    511                                     In-House EE Rebranding Work                               (7,968.00)        (7,968.00)
    511                                     Cover Conway Letters                                        (242.00)          (242.00)
    511                                     Rebranding Change Order                                   (2,623.40)        (2,623.40)
    511                                     Post Renovation Clean-up                                    (424.61)          (424.61)
    511                                     Conveyor                                                    (879.80)          (879.80)
    511                                     Fixtures from stock                                         (942.22)          (942.22)
    511                                                                                                 (303.10)          (303.10)
    511                                                                                                 (223.19)          (223.19)
    511                                     36" Round garment assembled                                 (148.97)          (148.97)
    511                                     22" Super quad, 36" & 42" hangrails                       (1,451.52)        (1,451.52)
    511                                     22" Rectangular tube - super quad                           (225.36)          (225.36)
    511                                     16" & 22" Rectangular tubing rack                             (83.09)          (83.09)
    511                                                                                                 (440.44)          (440.44)
    511                                                                                                 (537.58)          (537.58)
    511                                                                                                 (374.97)          (374.97)
    511                                     Signage - Rebranding                                        (626.03)          (626.03)
    511                                     36' RD FLD rack weld - assembled                              (98.83)          (98.83)
    511                                                                                                 (476.51)          (476.51)
    511                                     FBD Fluorescent bay light fixtures                       (13,195.00)       (13,195.00)
    511                                     Signage - Rebranding                                      (2,231.94)        (2,231.94)
    511                                     Rebranding: Super quad 4-way rack                           (267.65)          (267.65)
    511                                     Rebranding: Super quad 4-way rack                              (9.36)           (9.36)
    511                                     Rebranding: Super quad 4-way rack                             (53.53)          (53.53)
    511                                     3500 PC / TV and 247 PC / K80                               (167.91)          (167.91)
    511                                                                                                 (228.90)          (228.90)
    511                                                                                                 (861.10)          (861.10)
    511                                     Lock and keys                                             (1,106.60)        (1,106.60)
    511                                                                                               (2,376.00)        (2,376.00)
    511                                     36" Rounders, Super Quads                                   (339.23)          (339.23)
    511                                     Gate replacement                                          (3,157.38)        (3,157.38)



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   Store                    Type                                Description                          Basis          Accum Dpen
    511                                                                                                  476.51            476.51
    511                                     HVAC                                                     (33,298.29)       (33,298.29)
    511                                     Rebranding Signage                                       (18,269.38)       (18,269.38)
    517                                     Security Cameras & Install                                (1,900.00)        (1,203.26)
    517                                     Security Cameras & Install                                (3,878.62)        (2,456.54)
    517                                     EAS System                                                (2,049.21)        (1,512.41)
    517                                     EAS System                                                  (415.21)          (306.53)
    517                                     EAS System                                                  (212.01)          (156.57)
    517                                     EAS System                                                  (760.00)          (560.90)
    517                                     Configure/Integrate POS                                     (439.86)          (315.25)
    517                                     Cables for Security Camera System                           (290.60)          (188.96)
    517                                     Renovation Contract                                      (29,900.00)       (25,664.11)
    517                                     EAS System                                                  (481.38)          (355.32)
    517                                     Security Cameras                                            (619.76)          (402.83)
    517                                     Security Cameras                                            (173.44)          (112.75)
    517                                     Security Cameras                                            (179.62)          (116.83)
    517                                                                                               (3,719.45)        (3,719.45)
    517                                                                                                 (350.00)          (350.00)
    517                                                                                               (1,575.05)        (1,575.05)
    517                                                                                               (2,961.95)        (2,961.95)
    517                                                                                               (2,814.42)        (2,814.42)
    517                                     Installed Signage                                         (3,922.50)        (3,922.50)
    517                                     Sign Survey - Designs/Pricing/Permits                       (309.09)          (309.09)
    517                                     Door Repairs                                              (2,500.00)        (2,500.00)
    517                                     In-House EE Rebranding Work                               (8,398.00)        (8,398.00)
    517                                     Cover Conway Letters                                        (242.00)          (242.00)
    517                                     Signage/Banners                                           (2,231.94)        (2,231.94)
    517                                     HVAC                                                      (3,203.20)        (3,203.20)
    517                                     Post Renovation Clean-up                                  (2,307.00)        (2,307.00)
    517                                     Fixtures from stock                                         (942.22)          (942.22)
    517                                                                                                 (303.10)          (303.10)
    517                                     36" Round garment assembled                                 (122.10)          (122.10)
    517                                     22" Super quad, 36" & 42" hangrails                       (1,189.62)        (1,189.62)
    517                                     22" Rectangular tube - super quad                           (184.70)          (184.70)
    517                                     16" & 22" Rectangular tubing rack                             (68.10)          (68.10)
    517                                                                                                 (360.97)          (360.97)
    517                                                                                                 (440.58)          (440.58)
    517                                                                                                 (307.31)          (307.31)
    517                                      36' RD FLD rack weld - assembled                             (98.83)          (98.83)
    517                                                                                                 (390.70)          (390.70)
    517                                     Signage - Rebranding                                     (12,606.75)       (12,606.75)
    517                                     Rebranding: Super quad 4-way rack                           (219.36)          (219.36)
    517                                     Rebranding: Super quad 4-way rack                              (7.68)           (7.68)
    517                                     Rebranding: Super quad 4-way rack                             (43.88)          (43.88)
    517                                     3500 PC / TV and 247 PC / K80                               (137.62)          (137.62)
    517                                                                                                 (188.10)          (188.10)
    517                                                                                                 (821.90)          (821.90)
    517                                                                                               (1,782.00)        (1,782.00)
    517                                     36" Rounders, Super Quads                                   (278.02)          (278.02)
    517                                                                                                  390.70            390.70
    517                                     Repair Leak/Filtration System                             (9,086.25)        (9,086.25)
    529                                     Patch / Paint / Ceiling Tiles                             (5,142.86)        (4,125.03)
    529                                     EAS System                                                  (330.03)          (247.50)
    529                                     EAS System                                                  (203.93)          (152.90)
    529                                     EAS System                                                    (10.81)           (8.08)



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   Store                    Type                                Description                          Basis          Accum Dpen
    529                                     POS Install                                               (1,159.00)          (849.88)
    529                                     Security Cameras & Install                                (4,963.88)        (3,309.28)
    529                                     Replaced 7 HVAC Units                                     (9,325.34)        (7,479.68)
    529                                     Security Cameras                                            (169.94)          (113.34)
    529                                     Security Cameras                                            (175.29)          (122.73)
    529                                                                                               (1,240.00)        (1,240.00)
    529                                                                                               (1,854.00)        (1,854.00)
    529                                                                                               (2,059.87)        (2,059.87)
    529                                     HVAC Repairs                                              (8,598.13)        (7,738.33)
    529                                     HVAC Repairs                                              (5,724.19)        (5,151.79)
    529                                                                                                 (784.35)          (679.71)
    529                                                                                                 (750.00)          (650.00)
    529                                                                                               (1,324.00)        (1,147.52)
    529                                                                                               (3,842.88)        (3,842.88)
    529                                                                                               (2,587.14)        (2,587.14)
    529                                     Rebranding Survey - Labor                                   (281.03)          (281.03)
    529                                     Rebranding Survey + Travel Expenses                         (280.35)          (280.35)
    529                                     In-House EE Rebranding Work                               (1,067.00)        (1,067.00)
    529                                     Front End Ceiling Leakage                                 (3,265.00)        (3,265.00)
    529                                     Fixture Labor                                               (322.08)          (322.08)
    529                                     Fixture Labor                                               (129.36)          (129.36)
    529                                     New Store contract -reversal                               1,067.00          1,067.00
    529                                      36' RD FLD rack weld - assembled                             (96.44)          (96.44)
    529                                                                                               (1,782.00)        (1,782.00)
    565                                     EAS System                                                  (435.65)          (326.66)
    565                                     Security Cameras & Install                                (6,205.77)        (4,033.74)
    565                                     Configure/Integrate POS                                     (351.89)          (258.13)
    565                                     EAS System                                                (1,652.50)        (1,239.43)
    565                                     EAS System                                                (2,519.63)        (1,889.63)
    565                                     Cables for Security Camera System                           (290.60)          (193.80)
    565                                     Security Cameras                                            (172.27)          (114.87)
    565                                     Security Cameras                                            (178.18)          (127.69)
    565                                                                                              (11,147.13)        (9,660.89)
    565                                                                                                 (758.31)          (758.31)
    565                                                                                               (1,350.00)        (1,350.00)
    565                                                                                               (1,513.91)        (1,513.91)
    565                                                                                               (2,056.29)        (2,056.29)
    565                                                                                               (5,600.00)        (5,600.00)
    565                                                                                               (1,297.10)        (1,297.10)
    565                                                                                               (3,493.33)        (3,493.33)
    565                                                                                               (3,446.72)        (3,446.72)
    565                                                                                               (3,006.63)        (3,006.63)
    565                                     HVAC                                                      (3,477.06)        (3,104.55)
    565                                     Sign Survey - Designs/Pricing/Permits                       (309.09)          (309.09)
    565                                     Freight                                                     (100.00)          (100.00)
    565                                     Water extraction / clean store                            (3,500.00)        (3,500.00)
    565                                     Break room HVAC                                           (3,503.74)        (3,211.77)
    565                                     Banner Install                                            (2,360.00)        (2,360.00)
    565                                     Banner Install                                              (250.00)          (250.00)
    565                                     In-House EE Rebranding Work                              (11,702.00)       (11,702.00)
    565                                     Interior Paint                                            (2,548.80)        (2,548.80)
    565                                     Illuminated sign/Banner                                  (14,974.05)       (14,974.05)
    565                                     Fixtures from stock                                         (338.52)          (338.52)
    565                                                                                               (1,890.00)        (1,890.00)
    565                                     36" Round garment assembled                                   (79.08)          (79.08)



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   Store                    Type                                Description                        Basis          Accum Dpen
    565                                     22" Super quad, 36" & 42" hangrails                       (770.05)          (770.05)
    565                                     22" Rectangular tube - super quad                         (119.56)          (119.56)
    565                                     16" & 22" Rectangular tubing rack                           (44.09)          (44.09)
    565                                                                                               (235.55)          (235.55)
    565                                                                                               (285.20)          (285.20)
    565                                                                                               (198.93)          (198.93)
    565                                     Signage - Rebranding                                    (3,243.60)        (3,243.60)
    565                                     36' RD FLD rack weld - assembled                            (98.03)          (98.03)
    565                                                                                               (224.58)          (224.58)
    565                                     Lightning and ballasts                                  (3,199.50)        (3,199.50)
    565                                     Rebranding: Super quad 4-way rack                         (141.99)          (141.99)
    565                                     Rebranding: Super quad 4-way rack                            (4.97)           (4.97)
    565                                     Rebranding: Super quad 4-way rack                           (28.39)          (28.39)
    565                                     3500 PC / TV and 247 PC / K80                               (89.08)          (89.08)
    565                                                                                             (1,782.00)        (1,782.00)
    565                                     36" Rounders, Super Quads                                 (179.97)          (179.97)
    565                                                                                                224.58            224.58
    565                                                                                               (375.00)          (375.00)
     1            Leasehold Improvement     Reclass to Expense per AUDIT                           (13,545.00)       (13,545.00)
     2            Leasehold Improvement     Reclass to Expense per AUDIT                           (13,404.00)       (13,404.00)
     3            Leasehold Improvement     Reclass to Expense per AUDIT                           (10,614.00)       (10,614.00)
    510           Leasehold Improvement     Reclass to Expense per AUDIT                            (9,667.00)        (9,667.00)
    514           Leasehold Improvement     Reclass to Expense per AUDIT                           (13,459.00)       (13,459.00)
    515           Leasehold Improvement     Reclass to Expense per AUDIT                           (11,013.00)       (11,013.00)
    516           Leasehold Improvement     Reclass to Expense per AUDIT                           (12,510.00)       (12,510.00)
    518           Leasehold Improvement     Reclass to Expense per AUDIT                            (9,502.00)        (9,502.00)
    525           Leasehold Improvement     Reclass to Expense per AUDIT                            (8,751.00)        (8,751.00)
    526           Leasehold Improvement     Reclass to Expense per AUDIT                           (10,558.00)       (10,558.00)
    527           Leasehold Improvement     Reclass to Expense per AUDIT                           (13,324.00)       (13,324.00)
    531           Leasehold Improvement     Reclass to Expense per AUDIT                           (13,721.00)       (13,721.00)
    532           Leasehold Improvement     Reclass to Expense per AUDIT                           (10,425.00)       (10,425.00)
    533           Leasehold Improvement     Reclass to Expense per AUDIT                           (11,016.00)       (11,016.00)
    534           Leasehold Improvement     Reclass to Expense per AUDIT                           (12,516.00)       (12,516.00)
    535           Leasehold Improvement     Reclass to Expense per AUDIT                           (15,198.00)       (15,198.00)
    537           Leasehold Improvement     Reclass to Expense per AUDIT                            (4,262.00)        (4,262.00)
    538           Leasehold Improvement     Reclass to Expense per AUDIT                            (3,487.00)        (3,487.00)
    539           Leasehold Improvement     Reclass to Expense per AUDIT                            (3,183.00)        (3,183.00)
    540           Leasehold Improvement     Reclass to Expense per AUDIT                            (2,709.00)        (2,709.00)
    541           Leasehold Improvement     Reclass to Expense per AUDIT                            (3,541.00)        (3,541.00)
    542           Leasehold Improvement     Reclass to Expense per AUDIT                            (8,018.00)        (8,018.00)
    543           Leasehold Improvement     Reclass to Expense per AUDIT                            (7,090.00)        (7,090.00)
    544           Leasehold Improvement     Reclass to Expense per AUDIT                            (7,195.00)        (7,195.00)
    545           Leasehold Improvement     Reclass to Expense per AUDIT                            (7,046.00)        (7,046.00)
    546           Leasehold Improvement     Reclass to Expense per AUDIT                            (4,586.00)        (4,586.00)
    547           Leasehold Improvement     Reclass to Expense per AUDIT                            (5,949.00)        (5,949.00)
    548           Leasehold Improvement     Reclass to Expense per AUDIT                            (5,964.00)        (5,964.00)
    549           Leasehold Improvement     Reclass to Expense per AUDIT                            (5,980.00)        (5,980.00)
    550           Leasehold Improvement     Reclass to Expense per AUDIT                            (7,245.00)        (7,245.00)
    551           Leasehold Improvement     Reclass to Expense per AUDIT                            (7,426.00)        (7,426.00)
    552           Leasehold Improvement     Reclass to Expense per AUDIT                            (5,106.00)        (5,106.00)
    553           Leasehold Improvement     Reclass to Expense per AUDIT                            (7,266.00)        (7,266.00)
    555           Leasehold Improvement     Reclass to Expense per AUDIT                           (12,956.00)       (12,956.00)
    558           Leasehold Improvement     Reclass to Expense per AUDIT                           (13,609.00)       (13,609.00)
    559           Leasehold Improvement     Reclass to Expense per AUDIT                           (12,577.00)       (12,577.00)
    562           Leasehold Improvement     Reclass to Expense per AUDIT                            (8,871.00)        (8,871.00)



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   Store                   Type                                    Description                      Basis         Accum Dpen
    563           Leasehold Improvement     Reclass to Expense per AUDIT                            (11,816.00)      (11,816.00)
    566           Leasehold Improvement     Reclass to Expense per AUDIT                             (7,253.00)       (7,253.00)
    567           Leasehold Improvement     Reclass to Expense per AUDIT                             (7,441.00)       (7,441.00)
    568           Leasehold Improvement     Reclass to Expense per AUDIT                             (7,690.00)       (7,690.00)
    569           Leasehold Improvement     Reclass to Expense per AUDIT                             (7,536.00)       (7,536.00)
    570           Leasehold Improvement     Reclass to Expense per AUDIT                             (7,218.00)       (7,218.00)
    572           Leasehold Improvement     Reclass to Expense per AUDIT                             (6,739.00)       (6,739.00)
    573           Leasehold Improvement     Reclass to Expense per AUDIT                             (6,639.00)       (6,639.00)
    574           Leasehold Improvement     Reclass to Expense per AUDIT                             (7,162.00)       (7,162.00)
    576           Leasehold Improvement     Reclass to Expense per AUDIT                             (3,265.00)       (3,265.00)
    578           Leasehold Improvement     Reclass to Expense per AUDIT                             (3,211.00)       (3,211.00)
    579           Leasehold Improvement     Reclass to Expense per AUDIT                             (3,772.00)       (3,772.00)
    580           Leasehold Improvement     Reclass to Expense per AUDIT                             (3,428.00)       (3,428.00)
    581           Leasehold Improvement     Reclass to Expense per AUDIT                             (2,592.00)       (2,592.00)
    582           Leasehold Improvement     Reclass to Expense per AUDIT                             (3,429.00)       (3,429.00)
    583           Leasehold Improvement     Reclass to Expense per AUDIT                             (4,178.00)       (4,178.00)
    584           Leasehold Improvement     Reclass to Expense per AUDIT                             (6,769.00)       (6,769.00)
    585           Leasehold Improvement     Reclass to Expense per AUDIT                             (5,092.00)       (5,092.00)
    586           Leasehold Improvement     Reclass to Expense per AUDIT                             (4,649.00)       (4,649.00)
    587           Leasehold Improvement     Reclass to Expense per AUDIT                             (3,144.00)       (3,144.00)
    588           Leasehold Improvement     Reclass to Expense per AUDIT                             (4,201.00)       (4,201.00)
    589           Leasehold Improvement     Reclass to Expense per AUDIT                             (4,677.00)       (4,677.00)
    590           Leasehold Improvement     Reclass to Expense per AUDIT                            (10,017.00)      (10,017.00)
    591           Leasehold Improvement     Reclass to Expense per AUDIT                             (4,892.00)       (4,892.00)
     1            Leasehold Improvement     Install New tank Unit (40%)                               7,400.00         5,981.59
     1              Furniture & Fixtures    Mannequins                                                2,711.80         1,872.52
     2              Furniture & Fixtures    Check-out station                                         7,795.45         4,918.65
    558           Leasehold Improvement     Remove/Dispose duct work                                  3,500.00         1,470.88
    558           Leasehold Improvement     Install R-8 Insulation                                    4,500.00         1,972.88
    581             Furniture & Fixtures    Fixtures                                                  4,272.50         2,644.98
     1              Furniture & Fixtures    Fixtures - Check-out Station                             12,667.61         8,897.61
     1            Leasehold Improvement     Elevator Repair                                          11,100.00         9,157.50
    548           Leasehold Improvement     HVAC Repair                                               6,572.28         4,303.32
    576           Leasehold Improvement     Install of Security System+                               3,574.44         2,800.03
    531                 Equipment           EAS System                                                4,575.18         3,104.49
    531           Leasehold Improvement     Register Relocation                                       3,800.00         2,090.09
    548           Leasehold Improvement     Heater Rentals                                            2,782.64         1,821.87
    550           Leasehold Improvement     Plans with Exit Study                                     3,000.00         2,350.00
    567           Leasehold Improvement     Replace Heat Exchanger                                    2,535.70         1,660.19
    590           Leasehold Improvement     Install new Paging System                                 3,500.00         2,216.74
     3            Leasehold Improvement     General Repairs                                           3,153.98         2,496.98
    545           Leasehold Improvement     Interior Lighting                                         3,065.09         1,737.01
     2            Leasehold Improvement     HVAC Repairs                                              3,099.17         2,213.81
     3            Leasehold Improvement     HVAC Repairs                                              2,842.33         2,064.01
     3            Leasehold Improvement     HVAC Repairs                                              6,254.23         4,541.65
    514           Leasehold Improvement     HVAC Repairs                                              3,284.02         3,088.52
    514           Leasehold Improvement     HVAC Repairs                                              5,566.95         5,235.60
    515           Leasehold Improvement     HVAC Repairs                                              4,000.00         2,904.74
    531           Leasehold Improvement     HVAC Repairs                                              5,237.33         3,803.28
    531           Leasehold Improvement     HVAC Repairs                                              3,201.50         2,324.97
    531           Leasehold Improvement     HVAC Repairs                                              2,503.50         1,818.10
    549           Leasehold Improvement     Mold Repairs due to HVAC issues                           8,040.32         1,876.09
    569           Leasehold Improvement     HVAC Repairs                                              4,945.51         2,575.82
    574           Leasehold Improvement     HVAC Repairs                                             13,407.07         9,736.04
    582           Leasehold Improvement     HVAC Repairs                                              3,685.53         2,676.29



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   Store                   Type                                  Description                          Basis         Accum Dpen
    582           Leasehold Improvement     HVAC Repairs                                                3,316.00         2,407.96
    582           Leasehold Improvement     HVAC                                                        3,316.00         2,407.96
     2            Leasehold Improvement     HVAC                                                        3,520.00         2,556.30
    516           Leasehold Improvement     Electric Outages                                            2,537.90         1,571.18
    518                                     Will Reclass Per 10-2016                                    4,450.00         4,450.00
    526           Leasehold Improvement     HVAC                                                        4,842.00         3,516.28
    526           Leasehold Improvement     Decommission 2 Elevator Freight Cars                       10,837.51         8,760.38
    531           Leasehold Improvement     Thermostat Installation                                       570.00           413.83
    531           Leasehold Improvement     HVAC                                                        4,634.86         3,365.72
    538           Leasehold Improvement     HVAC                                                        5,284.57         3,837.64
    547           Leasehold Improvement     Pest Control                                                3,250.00              -
    547           Leasehold Improvement     Replace electric water heater                               1,633.50         1,166.70
    547           Leasehold Improvement     Replace electric water heater                               1,633.50         1,166.70
    548           Leasehold Improvement     Repair 4 coolers                                            4,219.08         3,063.79
    581           Leasehold Improvement     Pylon sign replacement                                      4,000.00         3,233.41
    582           Leasehold Improvement     HVAC                                                       15,987.15        11,609.79
    582           Leasehold Improvement     HVAC                                                        3,316.00         2,407.96
    540           Leasehold Improvement     Rewiring                                                    3,800.00         3,030.92
     1            Leasehold Improvement     HVAC                                                        3,200.00         2,514.20
    526           Leasehold Improvement     HVAC                                                        3,225.00         2,380.42
    582           Leasehold Improvement     HVAC                                                        3,316.00         2,447.44
    548           Leasehold Improvement     HVAC                                                        3,466.08         2,558.36
    590           Leasehold Improvement     HVAC                                                        2,746.92         1,994.82
    514           Leasehold Improvement     Trouble shoot lighting on stairs                            4,557.00         4,139.22
    526           Leasehold Improvement     Reconnect HVAC smoke evacuation system                      3,261.00         2,678.70
    531           Leasehold Improvement     4 Cooler Rentals                                            4,355.00         3,525.40
    548           Leasehold Improvement     4 Cooler Rentals                                            3,277.52         2,653.20
    558           Leasehold Improvement     Credit on the December's rent for the roof                 (3,000.00)       (3,000.00)
    518                                     Mis-Posted Per 8                                           (4,450.00)       (4,450.00)
    526           Leasehold Improvement     HVAC                                                        3,692.00         2,988.80
    547                                     MISPOTED - CORRECTED PER 12                                 3,357.00         3,357.00
    511                                     MISPOTED - CORRECTED PER 12                               (99,900.00)      (99,900.00)
     3            Leasehold Improvement     Sprinkler Repairs                                           9,500.27         7,916.87
    511           Leasehold Improvement     Rerplacement of Roll-up Gate/Entry Door                     3,200.00         2,628.50
    525           Leasehold Improvement     Electrical Repairs                                          2,673.00         2,195.70
    531           Leasehold Improvement     Replacement of Compressor #3                                2,982.00         2,378.50
    532                 Equipment           Lamps/Ballasts + Installation                               2,775.00         2,345.48
    539           Leasehold Improvement     Winter Maintenance on Units 1 & 2                           2,926.30         2,403.70
    511             Furniture & Fixtures    Fixture Delivery                                            6,100.00         5,083.32
    572                 Equipment           Lamps/Ballasts + Installation                               4,188.00         3,440.10
     3            Leasehold Improvement     HVAC                                                        2,397.84         1,883.94
    526           Leasehold Improvement     HVAC                                                        1,770.00         1,411.81
    531           Leasehold Improvement     HVAC                                                        1,800.00         1,521.41
    531           Leasehold Improvement     HVAC                                                        1,798.65         1,413.27
    533           Leasehold Improvement     HVAC                                                        2,186.00         1,847.74
    535           Leasehold Improvement     HVAC                                                        2,523.00         2,042.36
    537           Leasehold Improvement     HVAC                                                        2,336.45         1,919.30
    558           Leasehold Improvement     HVAC                                                        1,753.64         1,419.56
    558           Leasehold Improvement     HVAC                                                        1,650.51         1,336.11
    558           Leasehold Improvement     HVAC                                                        2,449.58         1,924.70
    559           Leasehold Improvement     HVAC                                                        2,408.10         1,863.37
    563           Leasehold Improvement     HVAC                                                        2,261.45         1,830.73
    566           Leasehold Improvement     HVAC                                                        1,973.12         1,597.28
    566           Leasehold Improvement     HVAC                                                        1,715.11         1,388.39
    567           Leasehold Improvement     HVAC                                                        1,982.95         1,605.19



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   Store                   Type                              Description                             Basis         Accum Dpen
    569           Leasehold Improvement     HVAC                                                       2,178.01         1,763.13
    570           Leasehold Improvement     HVAC                                                       1,994.00         1,661.64
    572           Leasehold Improvement     HVAC                                                       1,766.58         1,430.10
    572           Leasehold Improvement     HVAC                                                       1,624.96         1,315.52
    574           Leasehold Improvement     HVAC                                                       2,540.36         2,056.52
    574           Leasehold Improvement     HVAC                                                       1,782.66         1,443.14
    582           Leasehold Improvement     HVAC                                                       2,460.56         1,991.92
    582           Leasehold Improvement     HVAC                                                       1,963.04         1,589.12
    582           Leasehold Improvement     HVAC                                                       1,514.10         1,225.62
    583           Leasehold Improvement     HVAC                                                       1,845.65         1,494.13
    583           Leasehold Improvement     HVAC                                                       1,816.44         1,470.52
    589           Leasehold Improvement     HVAC                                                       1,800.00         1,521.41
    589           Leasehold Improvement     HVAC                                                       1,640.00         1,308.16
    514           Leasehold Improvement     HVAC                                                       2,685.42         2,397.69
    515           Leasehold Improvement     HVAC                                                       2,152.25         1,562.99
    543           Leasehold Improvement     HVAC                                                       2,126.82         1,620.42
    543           Leasehold Improvement     HVAC                                                       1,615.05         1,153.53
    553           Leasehold Improvement     HVAC                                                       2,057.88         1,543.38
    567           Leasehold Improvement     HVAC                                                       2,018.40         1,465.71
    568           Leasehold Improvement     HVAC                                                       1,667.29         1,250.44
    574           Leasehold Improvement     HVAC                                                       4,712.27         3,590.27
    578           Leasehold Improvement     HVAC                                                       1,522.31         1,141.79
    582           Leasehold Improvement     HVAC                                                       2,812.22         2,109.14
    590           Leasehold Improvement     HVAC                                                       4,517.60         3,388.22
    590           Leasehold Improvement     HVAC                                                       2,226.46         1,616.73
    590           Leasehold Improvement     HVAC                                                       1,629.09         1,202.51
     1            Leasehold Improvement     HVAC                                                       2,241.62         1,734.51
    568           Leasehold Improvement     HVAC                                                       1,571.18         1,271.98
    547                                     MISPOTED - CORRECTED PER 12                               (3,357.00)       (3,357.00)
    511                                     MISPOTED - CORRECTED PER 12                               99,900.00        99,900.00
    518           Leasehold Improvement                                                               (1,100.00)       (1,100.00)
    518           Leasehold Improvement                                                               (2,698.79)       (2,698.79)
    518           Leasehold Improvement                                                               (2,721.88)       (2,721.88)
    518           Leasehold Improvement                                                               (3,810.63)       (3,810.63)
    518           Leasehold Improvement                                                               (6,156.48)       (5,027.88)
    518           Leasehold Improvement                                                               (3,535.19)       (3,030.11)
    518           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                       (309.09)         (250.21)
    518           Leasehold Improvement     HVAC                                                      (3,113.74)       (2,668.90)
    518           Leasehold Improvement     Signage Permits                                           (9,129.45)       (7,716.61)
    518           Leasehold Improvement                                                                 (303.10)         (263.39)
    518           Leasehold Improvement                                                                 (303.03)         (263.32)
    518           Leasehold Improvement                                                                 (211.36)         (183.64)
    518           Leasehold Improvement     HVAC - replace valves and strainers                      (11,973.56)      (10,548.16)
    518           Leasehold Improvement     Signage - Rebranding                                     (51,349.50)      (45,236.50)
    518           Leasehold Improvement     Receiving Area Doors                                      (4,800.00)       (4,342.88)
    518           Leasehold Improvement     Reduce Permit Fees                                         3,249.59         2,862.69
    555           Leasehold Improvement                                                               (1,343.40)       (1,343.40)
    555           Leasehold Improvement                                                               (1,682.61)       (1,682.61)
    555           Leasehold Improvement                                                               (1,726.75)       (1,726.75)
    555           Leasehold Improvement                                                               (2,302.28)       (2,302.28)
    555           Leasehold Improvement                                                                 (400.00)         (303.43)
    555           Leasehold Improvement                                                               (3,662.63)       (2,616.23)
    555           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                       (309.09)         (224.45)
    555           Leasehold Improvement     Signage                                                  (23,997.38)      (17,998.10)
    555           Leasehold Improvement     Banner Install                                              (637.10)         (500.66)



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   Store                   Type                                 Description                          Basis         Accum Dpen
    555           Leasehold Improvement                                                                 (253.18)         (199.00)
    555           Leasehold Improvement                                                                 (176.60)         (138.80)
    555           Leasehold Improvement     Signage - Rebranding                                      (2,360.00)       (1,798.00)
    562           Leasehold Improvement                                                                 (230.40)         (203.00)
    562           Leasehold Improvement     Tiles installation                                          (247.50)         (220.95)
    562           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                       (309.09)         (253.89)
    562           Leasehold Improvement                                                                 (330.32)         (291.02)
    562           Leasehold Improvement                                                                 (840.00)         (840.00)
    562           Leasehold Improvement     Rebranding                                                  (918.00)         (808.70)
    562           Leasehold Improvement                                                               (1,471.43)       (1,471.43)
    562           Leasehold Improvement     Lightning and light bulbs                                 (2,008.75)       (1,793.56)
    562           Leasehold Improvement                                                               (2,250.00)       (2,250.00)
    562           Leasehold Improvement                                                               (2,485.72)       (2,485.72)
    562           Leasehold Improvement     Repair broken water line                                  (2,793.00)       (2,427.25)
    562           Leasehold Improvement                                                               (3,983.20)       (3,414.16)
    562           Leasehold Improvement                                                               (4,955.66)       (4,955.66)
    562           Leasehold Improvement     Remodel : Construction Contract                           (8,666.02)       (7,149.40)
    562           Leasehold Improvement     Rebranding Signage                                       (35,877.71)      (32,033.63)
    591           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             (5,428.58)       (4,071.38)
    591           Leasehold Improvement     New Store : HVAC                                         (22,409.62)      (18,487.87)
    591           Leasehold Improvement                                                               (6,055.77)       (4,996.11)
    591           Leasehold Improvement                                                               (2,212.50)       (2,212.50)
    591           Leasehold Improvement                                                               (2,500.00)       (2,500.00)
    591           Leasehold Improvement                                                               (2,544.74)       (2,544.74)
    591           Leasehold Improvement                                                                 (100.00)          (82.57)
    591           Leasehold Improvement     Rebranding Survey - Labor                                   (281.04)         (187.24)
    591           Leasehold Improvement     Rebranding Survey + Travel Expenses                         (280.36)         (186.84)
    591           Leasehold Improvement     Renovation                                               (10,525.00)       (8,770.80)
    591           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                       (309.09)         (253.89)
    591           Leasehold Improvement     Removal of storefront signage                             (1,668.00)       (1,429.68)
    591           Leasehold Improvement     Coming Soon Banner                                          (652.10)         (558.98)
    591           Leasehold Improvement     HVAC                                                        (269.50)         (234.19)
    591           Leasehold Improvement                                                                 (208.26)         (183.46)
    591           Leasehold Improvement                                                                 (145.29)         (127.99)
    591           Leasehold Improvement     Signage - Rebranding                                        (180.00)         (158.60)
    591           Leasehold Improvement     Signage - Rebranding                                        (494.30)         (423.74)
    591           Leasehold Improvement     Signage - Rebranding                                     (15,443.06)      (13,604.56)
    591           Leasehold Improvement     HVAC - Compressor                                        (19,082.34)      (17,037.81)
    591           Leasehold Improvement     HVAC - Compressor                                        (48,775.35)      (43,549.41)
    512           Leasehold Improvement                                                               (3,396.23)       (3,396.23)
    512           Leasehold Improvement                                                               (4,447.63)       (4,447.63)
    512           Leasehold Improvement                                                               (3,396.23)       (3,396.23)
    512           Leasehold Improvement                                                               (3,197.07)       (3,197.07)
    524           Leasehold Improvement     Rebranding Survey - Labor                                   (281.03)         (281.03)
    524           Leasehold Improvement     Rebranding Survey + Travel Expenses                         (280.35)         (280.35)
    524           Leasehold Improvement                                                                 (217.09)         (217.09)
    564           Leasehold Improvement                                                               (4,760.68)       (3,400.60)
    564           Leasehold Improvement                                                               (3,328.97)       (2,377.85)
    564           Leasehold Improvement                                                               (3,224.26)       (2,763.70)
    575           Leasehold Improvement                                                                 (550.00)         (550.00)
    575           Leasehold Improvement                                                               (1,478.40)       (1,478.40)
    575           Leasehold Improvement                                                               (2,100.23)       (2,100.23)
    575           Leasehold Improvement                                                               (2,718.75)       (2,718.75)
    575           Leasehold Improvement                                                               (3,077.69)       (1,694.33)
    577           Leasehold Improvement                                                               (4,841.78)       (4,841.78)



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   Store                   Type                                   Description                          Basis        Accum Dpen
     1            Leasehold Improvement     HVAC Unit #3                                                 1,904.06        1,654.69
     1            Leasehold Improvement     HVAC Unit #5                                                 1,904.06        1,654.69
     1            Leasehold Improvement     HVAC Unit #1                                                 1,872.64        1,627.45
     1            Leasehold Improvement     HVAC Unit #2                                                 1,872.64        1,627.45
    511             Furniture & Fixtures    Fixture Delivery                                            12,900.00       10,903.59
    526           Leasehold Improvement     Install Door Restrictor & Alarm                              5,448.96        4,540.76
    526           Leasehold Improvement     Install Retractable Pit Ladder                               4,982.29        4,151.89
    541           Leasehold Improvement     HVAC Unit #3                                                 1,912.26        1,525.17
    543                 Equipment           Bulbs & Ballasts                                             1,717.00          906.27
    543           Leasehold Improvement     Electrical & Lighting                                        1,522.17        1,214.13
    546                 Equipment           Bulbs & Ballasts                                             1,999.98          999.90
    548           Leasehold Improvement     Electrical & Lighting                                        1,674.35        1,335.54
    548                 Equipment           Bulbs & Ballasts                                             1,877.00          990.62
    550           Leasehold Improvement     HVAC                                                         6,480.39        5,091.69
    550                 Equipment           Bulbs & Ballasts                                             1,809.00          904.50
    550                 Equipment           Bulbs & Ballasts                                             1,714.71          857.37
    553                 Equipment           Bulbs & Ballasts                                             1,772.00          935.26
    553           Leasehold Improvement     Electrical & Lighting                                        1,768.80          (21.13)
    559           Leasehold Improvement     HVAC                                                         1,995.00        1,591.25
    559           Leasehold Improvement     HVAC                                                         1,988.00        1,585.61
     2              Furniture & Fixtures    Fixtures                                                     7,261.53        5,446.08
     3            Leasehold Improvement     HVAC                                                         3,316.68        2,369.16
    510           Leasehold Improvement     Wall removal                                                 4,500.00        3,642.88
    510           Leasehold Improvement     Emergency gate                                               1,273.60        1,031.04
    510           Leasehold Improvement     Emergency gate                                               1,860.00        1,505.76
    510           Leasehold Improvement     Emergency gate                                               1,900.00        1,538.08
    511             Furniture & Fixtures    Add-on Hangrail                                              1,415.38        1,162.63
    511             Furniture & Fixtures    Chrome Hangrail                                                849.23          697.58
    511             Furniture & Fixtures    Hangrail                                                     1,910.76        1,569.51
    511             Furniture & Fixtures    Fixtures                                                     7,284.61        6,157.25
    526           Leasehold Improvement     Secure rolling door                                          2,157.50        1,869.82
    539           Leasehold Improvement     HVAC                                                         1,966.21        1,591.65
    574           Leasehold Improvement     HVAC                                                         4,201.92        3,001.44
    579           Leasehold Improvement     HVAC                                                         3,066.66        2,299.95
    510           Leasehold Improvement     Signage Permits                                              3,150.00        2,550.00
    510           Leasehold Improvement     Remove Awnings                                               3,500.00        2,749.94
    514                                     STORE CLOSED 2/25/17 - EXPENSE Per 6                         4,557.00        4,557.00
    515           Leasehold Improvement     HVAC                                                         1,408.69        1,157.14
    515           Leasehold Improvement     HVAC                                                         1,600.00        1,314.25
    525                                     CLOSED STORE - Reclass Period 6                              4,247.14        4,247.14
    525                                     CLOSED STORE - Reclass Period 6                              1,900.00        1,900.00
    525                                     CLOSED STORE - Reclass Period 6                              2,214.00        2,214.00
    541                 Equipment           Bulbs & Ballasts                                             1,803.91        1,002.15
    541                 Equipment           Bulbs & Ballasts                                             1,743.00          968.28
    541           Leasehold Improvement     Installation                                                 1,600.00        1,295.20
    545                 Equipment           Bulbs & Ballasts                                             1,789.59        1,043.94
    545           Leasehold Improvement     Sign Repairs                                                 1,950.00        1,601.85
    566           Leasehold Improvement     Rollup Door Repair                                           1,994.00        1,637.90
    570           Leasehold Improvement     HVAC                                                         1,690.37        1,388.57
    573           Leasehold Improvement     Door Repairs                                                 1,785.08        1,445.08
    573                 Equipment           Bulbs & Ballasts                                             1,830.30        1,067.70
    573           Leasehold Improvement     Ceiling Tiles                                                1,833.15        1,505.85
    585           Leasehold Improvement     Building Repairs                                             1,735.00        1,363.30
     2            Leasehold Improvement     Construction Project Labor - T Price to submit Invoice       3,347.40        3,347.40
    510                 Equipment           Baler                                                        2,670.00        2,091.50



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   Store                   Type                                 Description                          Basis          Accum Dpen
    511           Leasehold Improvement     Exit Gate Replacement                                      3,600.00          3,214.26
    515           Leasehold Improvement     HVAC                                                       2,029.91          1,691.53
    525                                     CLOSED STORE - Reclass Period 6                            3,005.67          3,005.67
    538           Leasehold Improvement     Electrical Work                                            1,425.00          1,170.60
    538           Leasehold Improvement     Electrical Work                                            1,675.00          1,375.90
    538           Leasehold Improvement     Electrical Work                                            1,200.00            985.65
    547                 Equipment           Bulbs & Ballasts                                           1,917.00            958.50
    553           Leasehold Improvement     Signage Replacement                                        2,903.75            311.15
    558                 Equipment           Bulbs & Ballasts                                           1,538.00            939.92
    563                 Equipment           Bulbs & Ballasts                                           1,719.10            859.60
    563                 Equipment           Bulbs & Ballasts                                           1,681.00            840.58
    567                 Equipment           Bulbs & Ballasts                                           1,904.62            952.24
    590           Leasehold Improvement     Supply & Replace Ignition Module                           1,652.00          1,356.95
    590           Leasehold Improvement     Supply & Replace the Ignition Module                       1,748.45          1,436.30
    527            Computer Equipment       POS Install                                               (1,159.00)          (598.72)
    527                 Equipment           EAS System                                                  (408.45)          (243.21)
    527                 Equipment           EAS System                                                  (203.93)          (121.31)
    527                 Equipment           Security Cameras & Install                                (4,470.91)        (2,011.75)
    527                 Equipment           Security Cameras                                            (169.94)           (76.55)
    527                 Equipment           Security Cameras                                            (175.29)           (84.77)
    527                 Equipment           Sensormatic Ultrapost system for tags                     (4,344.20)        (3,464.96)
    527                 Equipment                                                                     (1,782.00)        (1,277.10)
    527             Furniture & Fixtures    Conveyor                                                  (2,207.69)        (1,734.65)
    527             Furniture & Fixtures    Conveyor                                                    (861.48)          (676.80)
    527             Furniture & Fixtures    Fixtures from stock                                           (69.00)          (54.24)
    527             Furniture & Fixtures    Fixtures from stock                                            (2.73)           (2.19)
    527             Furniture & Fixtures    36" Round garment assembled                                   (81.65)          (64.19)
    527             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                         (794.20)          (624.10)
    527             Furniture & Fixtures    22" Rectangular tube - super quad                           (123.30)           (96.84)
    527             Furniture & Fixtures    16" & 22" Rectangular tubing rack                             (45.46)          (35.74)
    527             Furniture & Fixtures                                                                (246.94)          (194.02)
    527             Furniture & Fixtures    36' RD FLD rack weld - assembled                              (96.44)          (75.74)
    527             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           (146.44)          (115.12)
    527             Furniture & Fixtures    Rebranding: Super quad 4-way rack                              (5.12)           (4.04)
    527             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             (29.29)          (22.99)
    527             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                                 (91.87)          (72.25)
    527             Furniture & Fixtures    36" Rounders, Super Quads                                   (185.61)          (145.83)
    527           Leasehold Improvement                                                              (14,253.31)       (11,368.75)
    527           Leasehold Improvement                                                                 (784.35)          (594.69)
    527           Leasehold Improvement                                                                 (750.00)          (568.75)
    527           Leasehold Improvement     Rebranding Survey - Labor                                   (281.03)          (160.43)
    527           Leasehold Improvement     Rebranding Survey + Travel Expenses                         (280.35)          (160.11)
    527           Leasehold Improvement     Replaced Ceiling Tiles                                      (880.00)          (638.96)
    527           Leasehold Improvement     Renovation : Painting                                     (4,200.00)        (3,050.00)
    527           Leasehold Improvement                                                                 (426.25)          (323.30)
    527           Leasehold Improvement                                                                 (294.13)          (231.13)
    527           Leasehold Improvement                                                                 (205.16)          (161.24)
    527           Leasehold Improvement                                                                 (258.18)          (202.92)
    527           Leasehold Improvement     Signage Lighting                                          (4,834.88)        (3,683.68)
    527           Leasehold Improvement                                                               (3,142.90)        (2,693.86)
    527           Leasehold Improvement     In-House EE Rebranding Work                              (13,324.00)       (13,324.00)
    527           Leasehold Improvement     Reclass to Expense per AUDIT                              13,324.00         13,324.00
    527           Leasehold Improvement     Installed Signage                                         (1,457.50)        (1,075.80)
    527           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                       (309.09)          (224.45)
    527           Leasehold Improvement     Signage                                                   (1,985.14)        (1,488.91)



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   Store                   Type                                 Description                       Basis          Accum Dpen
    527           Leasehold Improvement                                                            (1,210.00)        (1,210.00)
    527           Leasehold Improvement     HVAC Repairs                                           (5,531.75)        (3,819.65)
    527           Leasehold Improvement     Painted Logo                                           (4,107.00)        (2,982.53)
    527           Leasehold Improvement                                                            (1,240.00)        (1,240.00)
    527           Leasehold Improvement                                                            (4,714.29)        (4,714.29)
    527           Leasehold Improvement     Signage - Rebranding                                   (4,592.50)        (3,608.44)
    527           Leasehold Improvement                                                            (1,776.75)        (1,776.75)
    527           Leasehold Improvement                                                            (1,774.28)        (1,774.28)
   9905            Computer Equipment       POS Install                                               598.72            366.88
   9905                 Equipment           EAS System                                                243.21            184.89
   9905                 Equipment           EAS System                                                121.31             92.15
   9905                 Equipment           Security Cameras & Install                              2,011.75          1,117.51
   9905                 Equipment           Security Cameras                                            76.55            42.59
   9905                 Equipment           Security Cameras                                            84.77            32.21
   9905                 Equipment           Sensormatic Ultrapost system for tags                   3,464.96          2,844.32
   9905                 Equipment                                                                   1,277.10            742.50
   9905             Furniture & Fixtures    Conveyor                                                1,734.65          1,261.61
   9905             Furniture & Fixtures    Conveyor                                                  676.80            492.12
   9905             Furniture & Fixtures    Fixtures from stock                                         54.24            44.40
   9905             Furniture & Fixtures    Fixtures from stock                                          2.19             1.83
   9905             Furniture & Fixtures    36" Round garment assembled                                 64.19            52.55
   9905             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                       624.10            510.70
   9905             Furniture & Fixtures    22" Rectangular tube - super quad                           96.84            79.20
   9905             Furniture & Fixtures    16" & 22" Rectangular tubing rack                           35.74            29.26
   9905             Furniture & Fixtures                                                              194.02            158.74
   9905             Furniture & Fixtures    36' RD FLD rack weld - assembled                            75.74            55.04
   9905             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         115.12             94.24
   9905             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            4.04             3.32
   9905             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           22.99            18.79
   9905             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               72.25            59.17
   9905             Furniture & Fixtures    36" Rounders, Super Quads                                 145.83            119.31
    514                 Equipment           Security Cameras & Install                             (5,624.57)        (2,437.41)
    514                 Equipment           EAS System                                             (2,808.30)        (1,671.68)
    514                 Equipment           EAS System                                               (677.88)          (403.50)
    514                 Equipment           EAS System                                              1,262.95            751.59
    514                 Equipment           EAS System                                               (784.00)          (466.78)
    514                 Equipment           Cables for Security Camera System                        (290.60)          (130.88)
    514                 Equipment           Security Cameras                                         (554.98)          (249.73)
    514                 Equipment           Security Cameras                                         (173.44)           (78.07)
    514                 Equipment           Security Cameras                                         (179.62)           (80.95)
    514                 Equipment                                                                  (2,376.00)        (1,702.80)
    514             Furniture & Fixtures                                                           (2,084.63)        (2,084.63)
    514             Furniture & Fixtures    Fixtures from stock                                      (433.90)          (340.84)
    514             Furniture & Fixtures    36" Round garment assembled                              (112.35)           (88.23)
    514             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                    (1,094.61)          (860.07)
    514             Furniture & Fixtures    22" Rectangular tube - super quad                        (169.94)          (133.58)
    514             Furniture & Fixtures    16" & 22" Rectangular tubing rack                          (62.67)          (49.17)
    514             Furniture & Fixtures                                                             (332.14)          (261.04)
    514             Furniture & Fixtures    36' RD FLD rack weld - assembled                           (98.83)          (77.59)
    514             Furniture & Fixtures    Rebranding: Super quad 4-way rack                        (201.83)          (158.63)
    514             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           (7.07)           (5.63)
    514             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          (40.37)          (31.73)
    514             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                            (126.62)           (99.44)
    514             Furniture & Fixtures    36" Rounders, Super Quads                                (255.82)          (200.92)
    514            Computer Equipment       Configure/Integrate POS                                  (615.81)          (318.27)



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   Store                   Type                                   Description                     Basis         Accum Dpen
    514           Leasehold Improvement     Permits for Signage                                    (2,495.37)       (1,871.46)
    514           Leasehold Improvement     Logo Sign/Banner                                      (11,685.55)       (9,042.46)
    514           Leasehold Improvement     HVAC Repairs                                           (5,566.95)       (5,235.60)
    514           Leasehold Improvement                                                            (6,156.48)       (4,668.78)
    514           Leasehold Improvement                                                              (405.40)         (318.46)
    514           Leasehold Improvement                                                              (282.76)         (222.10)
    514           Leasehold Improvement                                                              (451.50)         (354.66)
    514           Leasehold Improvement                                                            (1,698.50)       (1,334.54)
    514           Leasehold Improvement     HVAC Repairs                                           (3,284.02)       (3,088.52)
    514           Leasehold Improvement     In-House EE Rebranding Work                           (13,459.00)      (13,459.00)
    514           Leasehold Improvement     Reclass to Expense per AUDIT                           13,459.00        13,459.00
    514           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                    (309.09)         (224.45)
    514           Leasehold Improvement                                                            (3,443.17)       (2,951.29)
    514           Leasehold Improvement     Replace Timer                                          (6,282.10)       (4,921.00)
    514           Leasehold Improvement                                                              (770.00)         (770.00)
    514           Leasehold Improvement                                                            (1,391.26)       (1,391.26)
    514           Leasehold Improvement     HVAC Repairs                                           (3,835.95)       (2,785.54)
    514           Leasehold Improvement     HVAC - Compressor                                     (12,589.65)       (9,891.81)
    514           Leasehold Improvement     HVAC - Evaporator coils for airflow                   (16,572.69)      (13,021.47)
    514           Leasehold Improvement     HVAC - Evaporator coils for airflow                    (4,474.79)       (3,515.93)
    514           Leasehold Improvement                                                            (5,160.51)       (4,054.77)
    514           Leasehold Improvement     HVAC                                                  (12,042.14)       (9,748.38)
    514           Leasehold Improvement                                                            (5,113.89)       (3,877.91)
    514           Leasehold Improvement                                                            (4,695.53)       (3,353.93)
    514           Leasehold Improvement                                                            (5,113.89)       (3,877.91)
    514           Leasehold Improvement                                                              (303.10)         (238.12)
    514           Leasehold Improvement     Patch / Paint / Ceiling Tiles                         (34,567.81)      (23,045.25)
    514           Leasehold Improvement                                                            (1,633.13)       (1,633.13)
    514           Leasehold Improvement     Lighting Replacements                                  (2,111.63)       (1,608.83)
    514           Leasehold Improvement     Signage/Banners                                        (4,355.00)       (3,369.85)
    514           Leasehold Improvement     Overhead Door Repair                                   (3,342.46)       (2,586.45)
    514           Leasehold Improvement     HVAC - Compressor                                      (5,941.59)       (4,668.45)
    514           Leasehold Improvement     HVAC                                                   (2,685.42)       (2,397.69)
    514           Leasehold Improvement                                                            (1,887.89)       (1,887.89)
    514           Leasehold Improvement     Trouble shoot lighting on stairs                       (4,557.00)       (4,139.22)
   9905                 Equipment           Security Cameras & Install                              2,437.41           750.09
   9905                 Equipment           EAS System                                              1,671.68         1,069.94
   9905                 Equipment           EAS System                                                403.50           258.24
   9905                 Equipment           EAS System                                               (751.59)         (480.87)
   9905                 Equipment           EAS System                                                466.78           298.84
   9905                 Equipment           Cables for Security Camera System                         130.88            43.76
   9905                 Equipment           Security Cameras                                          249.73            83.23
   9905                 Equipment           Security Cameras                                            78.07           26.05
   9905                 Equipment           Security Cameras                                            80.95           27.13
   9905                 Equipment                                                                   1,702.80           990.00
   9905             Furniture & Fixtures                                                            2,084.63         2,084.63
   9905             Furniture & Fixtures    Fixtures from stock                                       340.84           278.80
   9905             Furniture & Fixtures    36" Round garment assembled                                 88.23           72.15
   9905             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                       860.07           703.71
   9905             Furniture & Fixtures    22" Rectangular tube - super quad                         133.58           109.34
   9905             Furniture & Fixtures    16" & 22" Rectangular tubing rack                           49.17           40.17
   9905             Furniture & Fixtures                                                              261.04           213.64
   9905             Furniture & Fixtures    36' RD FLD rack weld - assembled                            77.59           56.35
   9905             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         158.63           129.83
   9905             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            5.63            4.67



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   9905             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          31.73            25.97
   9905             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                              99.44            81.32
   9905             Furniture & Fixtures    36" Rounders, Super Quads                                 200.92           146.02
    525            Computer Equipment       POS Install                                            (1,159.00)         (598.72)
    525                 Equipment           Security Cameras & Install                             (5,064.33)       (2,194.39)
    525                 Equipment           EAS System                                             (2,709.32)       (1,645.07)
    525                 Equipment           EAS System                                               (364.51)         (221.29)
    525                 Equipment           EAS System                                               (205.93)         (125.08)
    525                 Equipment           EAS System                                             (2,095.25)       (1,272.23)
    525                 Equipment           Cables for Security Camera System                        (290.60)         (130.88)
    525                 Equipment           Security Cameras                                         (300.60)         (135.27)
    525                 Equipment           Security Cameras                                         (169.94)          (76.55)
    525                 Equipment           Security Cameras                                         (175.29)          (78.93)
    525                 Equipment                                                                  (1,782.00)       (1,277.10)
    525             Furniture & Fixtures    Build/Deliver/Install Fixtures                           (765.46)         (601.48)
    525             Furniture & Fixtures    Fixtures from stock                                      (165.60)         (130.14)
    525             Furniture & Fixtures    Fixtures from stock                                        (6.56)           (5.12)
    525             Furniture & Fixtures    36" Round garment assembled                               (94.97)          (74.63)
    525             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                      (923.77)         (725.77)
    525             Furniture & Fixtures    22" Rectangular tube - super quad                        (143.42)         (112.64)
    525             Furniture & Fixtures    16" & 22" Rectangular tubing rack                         (52.88)          (41.54)
    525             Furniture & Fixtures                                                             (287.23)         (225.67)
    525             Furniture & Fixtures    36' RD FLD rack weld - assembled                          (96.44)          (75.74)
    525             Furniture & Fixtures    Cardframe magnet channel                                 (242.44)         (190.42)
    525             Furniture & Fixtures    Rebranding: Super quad 4-way rack                        (170.34)         (133.80)
    525             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          (5.96)           (4.70)
    525             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         (34.06)          (26.68)
    525             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                            (106.87)          (84.01)
    525             Furniture & Fixtures    36" Rounders, Super Quads                                (215.89)         (169.63)
    525           Leasehold Improvement     Signage - Rebranding                                   (9,944.88)       (7,932.25)
    525           Leasehold Improvement                                                              (784.35)         (594.69)
    525           Leasehold Improvement                                                              (750.00)         (568.75)
    525           Leasehold Improvement     Rebranding Survey - Labor                                (281.03)         (160.43)
    525           Leasehold Improvement     Rebranding Survey + Travel Expenses                      (280.35)         (160.11)
    525           Leasehold Improvement                                                              (426.25)         (323.30)
    525           Leasehold Improvement                                                              (342.13)         (268.87)
    525           Leasehold Improvement                                                              (238.63)         (187.51)
    525           Leasehold Improvement     Signage - Rebranding                                     (395.76)         (310.98)
    525           Leasehold Improvement                                                              (662.71)         (520.69)
    525           Leasehold Improvement     Signage Lighting/Store Lighting                        (4,911.93)       (3,800.81)
    525           Leasehold Improvement     Electrical                                             (7,787.36)       (6,100.22)
    525           Leasehold Improvement     In-House EE Rebranding Work                            (8,751.00)       (8,751.00)
    525           Leasehold Improvement     Reclass to Expense per AUDIT                            8,751.00         8,751.00
    525           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                    (309.09)         (224.45)
    525           Leasehold Improvement     Signage                                               (16,424.14)      (12,513.54)
    525           Leasehold Improvement     Interior Exit Door Repair                              (3,500.00)       (2,666.60)
    525           Leasehold Improvement     HVAC                                                   (5,053.40)       (3,832.21)
    525           Leasehold Improvement                                                              (770.00)         (770.00)
    525           Leasehold Improvement                                                            (2,790.70)       (2,790.70)
    525           Leasehold Improvement     HVAC Repairs                                           (2,705.63)       (2,061.43)
    525           Leasehold Improvement     HVAC                                                   (3,916.65)       (3,123.94)
    525           Leasehold Improvement                                                            (4,136.81)       (2,954.81)
    525           Leasehold Improvement     Painted Logo                                           (1,938.00)       (1,407.39)
    525           Leasehold Improvement     Patch / Paint / Ceiling Tiles                          (5,142.86)       (3,428.62)
    525           Leasehold Improvement     Exterior Lighting                                      (2,625.63)       (2,031.69)



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    525           Leasehold Improvement                                                          (1,503.90)        (1,503.90)
    525           Leasehold Improvement                                                            (508.00)          (508.00)
    525           Leasehold Improvement                                                            (588.00)          (588.00)
    525           Leasehold Improvement     Electrical Repairs                                   (2,673.00)        (2,195.70)
   9905                 Equipment           Security Cameras & Install                            2,194.39          1,350.29
   9905                 Equipment           EAS System                                            1,645.07          1,322.57
   9905                 Equipment           EAS System                                              221.29            177.89
   9905                 Equipment           EAS System                                              125.08            100.58
   9905                 Equipment           EAS System                                            1,272.23          1,022.83
   9905                 Equipment           Cables for Security Camera System                       130.88             53.44
   9905                 Equipment           Security Cameras                                        135.27             85.17
   9905                 Equipment           Security Cameras                                          76.55            48.25
   9905                 Equipment           Security Cameras                                          78.93            32.21
   9905                 Equipment                                                                 1,277.10            801.90
   9905             Furniture & Fixtures    Build/Deliver/Install Fixtures                          601.48            510.38
   9905             Furniture & Fixtures    Fixtures from stock                                     130.14            110.44
   9905             Furniture & Fixtures    Fixtures from stock                                        5.12             4.32
   9905             Furniture & Fixtures    36" Round garment assembled                               74.63            63.33
   9905             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                     725.77            615.77
   9905             Furniture & Fixtures    22" Rectangular tube - super quad                       112.64             95.54
   9905             Furniture & Fixtures    16" & 22" Rectangular tubing rack                         41.54            35.24
   9905             Furniture & Fixtures                                                            225.67            191.47
   9905             Furniture & Fixtures    36' RD FLD rack weld - assembled                          75.74            57.34
   9905             Furniture & Fixtures    Cardframe magnet channel                                190.42            161.52
   9905             Furniture & Fixtures    Rebranding: Super quad 4-way rack                       133.80            113.50
   9905             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          4.70             4.00
   9905             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         26.68            22.58
   9905             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             84.01            71.31
   9905             Furniture & Fixtures    36" Rounders, Super Quads                               169.63            143.93
    576            Computer Equipment       POS Install                                          (1,069.00)          (480.94)
    576                 Equipment           Security Cameras & Install                           (4,624.13)        (1,695.47)
    576                 Equipment           EAS System                                           (2,796.20)        (1,531.18)
    576                 Equipment           EAS System                                             (435.65)          (238.43)
    576                 Equipment           EAS System                                             (807.84)          (442.28)
    576                 Equipment           EAS System                                            1,231.20            674.12
    576                 Equipment           Cables for Security Camera System                      (290.60)          (111.52)
    576                 Equipment           Security Cameras                                       (191.73)           (73.33)
    576                 Equipment           Security Cameras                                       (172.25)           (66.06)
    576                 Equipment           Security Cameras                                       (178.18)           (77.20)
    576                 Equipment                                                                (1,782.00)        (1,158.30)
    576             Furniture & Fixtures    Fixtures                                             (2,284.11)        (1,685.93)
    576             Furniture & Fixtures    Fixtures from stock                                    (117.72)           (86.92)
    576             Furniture & Fixtures    36" Round garment assembled                              (57.87)          (42.69)
    576             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                    (563.59)          (415.97)
    576             Furniture & Fixtures    22" Rectangular tube - super quad                        (87.50)          (64.62)
    576             Furniture & Fixtures    16" & 22" Rectangular tubing rack                        (32.26)          (23.90)
    576             Furniture & Fixtures                                                           (172.40)          (127.30)
    576             Furniture & Fixtures    36' RD FLD rack weld - assembled                         (98.03)          (72.29)
    576             Furniture & Fixtures    Rebranding: Super quad 4-way rack                      (103.92)           (76.64)
    576             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         (3.64)           (2.76)
    576             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                            (65.20)          (48.04)
    576             Furniture & Fixtures    Rebranding: Super quad 4-way rack                        (20.78)          (15.28)
    576             Furniture & Fixtures    36" Rounders, Super Quads                              (131.72)           (97.18)
    576           Leasehold Improvement     Signage - Rebranding                                (11,812.22)        (8,718.58)
    576           Leasehold Improvement                                                            (784.32)          (568.50)



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   Store                   Type                                 Description                       Basis         Accum Dpen
    576           Leasehold Improvement                                                              (750.00)         (543.75)
    576           Leasehold Improvement     Rebranding Survey - Labor                                (281.03)         (147.03)
    576           Leasehold Improvement     Rebranding Survey + Travel Expenses                      (280.35)         (146.75)
    576           Leasehold Improvement     Renovation                                             (1,210.00)         (893.20)
    576           Leasehold Improvement                                                              (208.73)         (154.17)
    576           Leasehold Improvement                                                              (145.58)         (107.52)
    576           Leasehold Improvement     In-House EE Rebranding Work                            (3,265.00)       (3,265.00)
    576           Leasehold Improvement     Reclass to Expense per AUDIT                            3,265.00         3,265.00
    576           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                    (309.09)         (209.73)
    576           Leasehold Improvement     Signage - Rebranding                                   (4,644.02)       (3,427.64)
    576           Leasehold Improvement                                                            (2,499.37)       (2,499.37)
    576           Leasehold Improvement                                                            (3,268.79)       (3,268.79)
    576           Leasehold Improvement                                                            (3,980.58)       (3,980.58)
    576           Leasehold Improvement     Coming Soon Banner                                       (657.80)         (469.88)
    576           Leasehold Improvement     Signage - Rebranding                                   (1,677.80)       (1,198.52)
    576           Leasehold Improvement     Signage - Rebranding                                     (175.00)         (129.24)
    576           Leasehold Improvement                                                            (1,953.02)       (1,953.02)
    576           Leasehold Improvement     Install of Security System+                            (3,574.44)       (2,800.03)
   9905                 Equipment           Security Cameras & Install                              1,695.47         1,078.91
   9905                 Equipment           EAS System                                              1,531.18         1,264.86
   9905                 Equipment           EAS System                                                238.43           196.91
   9905                 Equipment           EAS System                                                442.28           365.32
   9905                 Equipment           EAS System                                               (674.12)         (556.84)
   9905                 Equipment           Cables for Security Camera System                         111.52            43.76
   9905                 Equipment           Security Cameras                                            73.33           47.73
   9905                 Equipment           Security Cameras                                            66.06           43.10
   9905                 Equipment           Security Cameras                                            77.20           35.62
   9905                 Equipment                                                                   1,158.30           742.50
   9905             Furniture & Fixtures    Fixtures                                                1,685.93         1,468.41
   9905             Furniture & Fixtures    Fixtures from stock                                         86.92           67.32
   9905             Furniture & Fixtures    36" Round garment assembled                                 42.69           37.17
   9905             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                       415.97           362.29
   9905             Furniture & Fixtures    22" Rectangular tube - super quad                           64.62           56.30
   9905             Furniture & Fixtures    16" & 22" Rectangular tubing rack                           23.90           18.58
   9905             Furniture & Fixtures                                                              127.30            98.60
   9905             Furniture & Fixtures    36' RD FLD rack weld - assembled                            72.29           55.91
   9905             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           76.64           66.72
   9905             Furniture & Fixtures    Rebranding: Super quad 4-way rack                            2.76            2.44
   9905             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                               48.04           41.80
   9905             Furniture & Fixtures    Rebranding: Super quad 4-way rack                           15.28           13.28
   9905             Furniture & Fixtures    36" Rounders, Super Quads                                   97.18           84.62
     2            Leasehold Improvement     Plumbing                                                1,871.00         1,715.13
     2            Leasehold Improvement     Plumbing                                                1,800.00         1,649.98
     2            Leasehold Improvement     Plumbing                                                1,800.00         1,649.98
    526           Leasehold Improvement     Elevator Electrical                                     7,059.24         5,798.64
    526           Leasehold Improvement     Elevator Electrical                                     2,117.00         1,739.00
    539           Leasehold Improvement     Roof Leak / Damaged Ceiling Tiles                       1,525.00         1,289.05
    543           Leasehold Improvement     Plumbing                                                3,200.00         2,628.50
    558           Leasehold Improvement     Roof Leaks                                              1,669.19         1,371.14
    558           Leasehold Improvement     HVAC                                                    2,407.72         2,035.14
    579           Leasehold Improvement     HVAC                                                    6,061.77         5,123.69
    585                 Equipment           EAS Repair                                              1,468.64         1,223.92
    585                 Equipment           EAS Replacement                                         1,175.00           979.14
    587                 Equipment           Bulbs & Ballasts                                        2,142.00         1,368.50
    587                 Equipment           Bulbs & Ballasts                                        2,013.74         1,286.52



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   Store                   Type                                   Description                    Basis         Accum Dpen
    587           Leasehold Improvement     Electrical Repairs                                     2,324.70         1,964.86
     1            Leasehold Improvement     HVAC                                                   2,290.77         2,099.88
     2            Leasehold Improvement     Electric Repairs                                       1,950.00         1,775.00
     3            Leasehold Improvement     Plumbing                                               1,706.05         1,480.93
    510           Leasehold Improvement     HVAC                                                   4,190.42         3,591.74
    510           Leasehold Improvement     HVAC                                                   3,347.91         2,829.73
    510           Leasehold Improvement     HVAC                                                   2,163.89         1,829.01
    514                                     STORE CLOSED 2/25/17 - EXPENSE Per 6                  (4,557.00)       (4,557.00)
    525                                     CLOSED STORE - Reclass Period 6                        4,845.00         4,845.00
    525                                     CLOSED STORE - Reclass Period 6                       (1,900.00)       (1,900.00)
    525                                     CLOSED STORE - Reclass Period 6                       (2,214.00)       (2,214.00)
    525                                     CLOSED STORE - Reclass Period 6                       (4,247.14)       (4,247.14)
    525                                     CLOSED STORE - Reclass Period 6                       (3,005.67)       (3,005.67)
    531          Leasehold Improvement      HVAC                                                   3,240.00         2,738.59
    537          Leasehold Improvement      Front Door                                             1,650.00         1,316.55
    538          Leasehold Improvement      Auto Door Repairs                                      1,887.43         1,042.17
    541          Leasehold Improvement      Auto Door Repairs                                      1,868.69         1,480.97
    546            Furniture & Fixtures     24"x36' Gravity Conveyor                              13,128.70        10,471.77
    551            Furniture & Fixtures     24"x36' Gravity Conveyor                               2,201.68         1,756.11
    558          Leasehold Improvement      Electrical Repairs                                     2,774.00         1,171.88
    558          Leasehold Improvement      HVAC                                                   1,497.03         1,265.37
    558          Leasehold Improvement      HVAC                                                   4,000.00         2,857.12
    559          Leasehold Improvement      HVAC                                                   3,284.93         2,776.50
    567          Leasehold Improvement      HVAC                                                   1,624.52         1,392.44
    572          Leasehold Improvement      Replace Ceiling Tiles                                  2,600.00         1,145.82
    574          Leasehold Improvement      HVAC                                                   4,173.12         3,080.16
    578          Leasehold Improvement      Door Repairs                                           1,638.00           884.91
    581          Leasehold Improvement      HVAC                                                   3,553.96         3,046.24
    585          Leasehold Improvement      Gate Repair                                           13,320.00         9,429.30
    589          Leasehold Improvement      Plumbing                                               2,335.00         1,613.63
     2           Leasehold Improvement      HVAC                                                   4,202.58         3,652.25
     2                 Equipment                                                                   6,718.34         6,718.34
    510          Leasehold Improvement      HVAC                                                   3,347.90         2,829.72
    510          Leasehold Improvement      HVAC                                                   6,464.45         5,463.97
    510     Equipment                       Displays and Fixture Improvement                       9,890.82         9,890.82
    515          Leasehold Improvement      HVAC                                                   5,965.70         5,184.48
    516                Equipment            Fallas Sign Improvement                                3,432.22         2,941.90
    516          Leasehold Improvement      Stair Mat Improvement                                  2,430.00         1,872.41
    526                Equipment            Lamp and Light Repair                                  8,950.00         6,215.29
    531          Leasehold Improvement      HVAC                                                   3,643.00         3,122.56
    531          Leasehold Improvement      HVAC                                                   3,574.00         3,105.95
    532                Equipment            Bulbs & Ballasts                                       1,770.16         1,130.95
    532                Equipment            Bulbs & Ballasts                                       1,660.00         1,060.57
    532                Equipment            Bulbs & Ballasts                                         800.00           511.14
    532                Equipment            Bulbs & Ballasts                                       1,187.00           758.39
    532                Equipment            Bulbs & Ballasts                                       1,952.95         1,247.70
    538          Leasehold Improvement      Door Repair                                            1,824.44         1,026.37
    538          Leasehold Improvement      Automatic Door Repair                                  2,112.17         1,210.49
    540          Leasehold Improvement      Emerg. Light Improvement                               1,625.00           136.25
    540          Leasehold Improvement      Clean out water and debris in trench                   1,650.00           138.35
    541          Leasehold Improvement      HVAC                                                   3,898.00         3,387.60
    543          Leasehold Improvement      HVAC                                                  14,682.87        12,760.07
    543          Leasehold Improvement      Plumbing Improvement                                   6,130.20           513.95
    547                Equipment            Lamp and Light Repair                                  2,085.45         1,448.22
    550                Equipment            Security Systems Install.                              1,945.78         1,589.05



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   Store                   Type                                 Description                      Basis         Accum Dpen
    558           Leasehold Improvement     HVAC                                                   1,497.03         1,265.37
    558           Leasehold Improvement     Electric Improvement                                   1,653.34           665.62
    559           Leasehold Improvement     HVAC                                                  11,682.61        10,152.73
    567           Leasehold Improvement     HVAC                                                   4,945.67         4,297.99
    567           Leasehold Improvement     Plumbing Improvement                                   1,949.74         1,656.62
    574           Leasehold Improvement     Door Lock Repair                                       1,595.70           425.05
    580           Leasehold Improvement     Plumming Improvement                                   1,629.63           409.84
    580           Leasehold Improvement     Plumming Improvement                                   1,036.52           325.22
    583                 Equipment           Security Systems Install.                              4,307.71         3,374.31
    584                 Equipment           Bulbs & Ballasts                                       1,415.91           825.96
    584             Furniture & Fixtures    PA System Repair                                       1,278.00           887.50
    587           Leasehold Improvement     HVAC                                                   2,417.91         2,101.33
    587           Leasehold Improvement     HVAC                                                   4,483.98         3,896.80
    587           Leasehold Improvement     Electric Improvement                                   2,220.20         1,466.81
    588           Leasehold Improvement     HVAC                                                   5,871.55         5,172.55
     2                                      Displays                                              (7,261.53)       (7,261.53)
     2                                      Displays (50%)                                         3,334.80         3,334.80
     3            Leasehold Improvement     HVAC                                                   7,601.46         6,515.58
    510           Leasehold Improvement     HVAC                                                   6,691.73         5,815.47
    526           Leasehold Improvement     Elevator Repair                                        9,428.39         5,686.96
    531           Leasehold Improvement     HVAC                                                   1,829.00         1,611.30
    538           Leasehold Improvement     HVAC                                                   1,630.00         1,339.00
    538           Leasehold Improvement     HVAC                                                     500.00           410.75
    538           Leasehold Improvement     HVAC                                                   1,330.00         1,092.55
    538           Leasehold Improvement     HVAC                                                   1,180.00           969.25
    539           Leasehold Improvement     HVAC                                                   1,634.40         1,420.34
    540           Leasehold Improvement     HVAC                                                   2,689.70         2,529.60
    543                                                                                            1,683.93         1,683.93
    546                 Equipment           Lamps and Ballasts                                     3,110.00         2,159.71
    546           Leasehold Improvement     Improved Bathroom Plumbing                             2,212.93         1,840.03
    551           Leasehold Improvement     Track Lighting & Wiring                                1,913.27           866.51
    551                 Equipment           Bulb Replacement                                       1,537.02           981.92
    551           Leasehold Improvement     Repair of Sotck Room Lighting                          1,736.45           786.41
    551           Leasehold Improvement     Repairs and Maintenance                                1,681.53           761.52
    558                 Equipment           Improved Bulbs and Ballasts (LED)                      2,021.00         1,178.90
    568                 Equipment           Bulb Replacement                                       1,989.20         1,326.08
    569           Leasehold Improvement     HVAC                                                  26,268.34        22,828.42
    572           Leasehold Improvement     HVAC                                                   1,600.00         1,352.35
    573           Leasehold Improvement     Electrical Work to Relocate Cash Reg                   1,783.87         1,442.49
    583                 Equipment           EAS System                                             1,700.00         1,477.36
    590           Leasehold Improvement     HVAC                                                   1,944.92         1,736.57
    590           Leasehold Improvement     Fire Sprinkler System                                  3,265.80         2,830.36
    511           Leasehold Improvement     Security Systems                                       3,897.73              -
    541             Furniture & Fixtures    Emergency Light Repair                                 2,936.00         2,621.45
    542           Leasehold Improvement     Security Systems                                       1,913.98           295.25
    559                 Equipment           Lamps and Ballasts                                     1,642.92         1,186.52
    510           Leasehold Improvement     Replaced Glass on Door                                 1,500.00         1,197.18
    546                 Equipment           Bulbs and Ballasts                                     1,836.16         1,020.16
    559                 Equipment           Bulbs and Ballasts                                     4,071.93         2,940.83
    584                 Equipment           Bulbs and Ballasts                                     1,803.00         1,001.72
     2              Furniture & Fixtures    Fixtures                                                5,775.00        4,812.50
     3            Leasehold Improvement     HVAC (50%)                                              1,033.77          947.60
     3            Leasehold Improvement     HVAC (50%) FINISHED                                     1,033.77          947.60
     3            Leasehold Improvement     HVAC                                                       522.6          479.06
     3                  Equipment           EAS System                                              1,175.00        1,077.07



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   Store                   Type                                  Description                    Basis         Accum Dpen
    510           Leasehold Improvement     HVAC (50%)                                             2,176.96        1,995.52
    510           Leasehold Improvement     Painting/Renovations                                   2,250.00        1,827.50
    510           Leasehold Improvement     HVAC (50%) FINISHED                                    2,176.96        1,995.52
    515           Leasehold Improvement     HVAC (50%)                                             1632.58         1,496.50
    515           Leasehold Improvement     HVAC (50%) FINISHED                                    1632.58         1,496.50
    531           Leasehold Improvement     HVAC                                                   5,214.24        4,655.61
    533                                     HVAC                                                   6,732.89        6,732.89
    540           Leasehold Improvement     Installed Emerg. & Exit Lights                        4,134.00         4,035.58
    550           Leasehold Improvement     Automnatic Door Repair                                 1,418.62        1,124.94
    550                 Equipment           EAS System                                                  500          434.55
    550                 Equipment           EAS System                                             1,625.00        1,412.15
    558           Leasehold Improvement     HVAC                                                   5,236.34        4,799.96
    559           Leasehold Improvement     HVAC                                                   3,088.80        2,794.64
    559           Leasehold Improvement     HVAC                                                   1,500.00        1,357.12
    573           Leasehold Improvement     HVAC                                                   3,750.74        3,438.19
    582                 Equipment           Bulbs and Ballasts                                     5,216.62        4,202.25
    585           Leasehold Improvement     Installed Security Gates                               3,338.40        2,740.16
    585                 Equipment           Bulbs and Ballasts                                     4,186.91        3,256.51
    585                 Equipment           Bulbs and Ballasts                                     5,642.10        4,544.99
    589           Leasehold Improvement     Electric Repairs                                       1,825.87        1,476.64
     2                                                                                             1,861.84        1,861.84
     2                                                                                            -1,861.84       (1,861.84)
     2            Leasehold Improvement     Plumbing Repair                                        1,354.65        1,257.52
     2                                                                                             3,032.17        3,032.17
     3                                                                                             1,869.16        1,869.16
     3                                                                                            -1,869.16       (1,869.16)
     3            Leasehold Improvement     Replace Hot Water Heater                               1,359.98        1,192.67
     3            Leasehold Improvement     Fire Sprinkler System                                  3,549.87        3,135.75
    510           Leasehold Improvement     HVAC (50% DEPOSIT)                                     1,959.21        1,819.29
    510           Leasehold Improvement     HVAC (50% FINISHED)                                    1,959.21        1,819.29
    510           Leasehold Improvement     Roll Down Gate Repair                                  2,501.28        2,260.80
    511                 Equipment           Baler Repair                                           1,436.00        1,436.00
    515           Leasehold Improvement     HVAC                                                   2,302.71        2,138.25
    516                                                                                            1,546.57        1,546.57
    516                                                                                           -1,546.57       (1,546.57)
    516                 Equipment           Bulbs and Ballasts                                     1,125.26          781.40
    516           Leasehold Improvement     Plumbing Repair                                        3,200.93        2,689.37
    516                 Equipment           Bulbs and Ballasts                                     2,105.82        1,462.32
    526           Leasehold Improvement     Original INV CAP in PER06 -REVERSE INV#12235-A        -2,117.00       (1,739.00)
    526           Leasehold Improvement     Replace Floor Tiles                                    1,926.60        1,353.23
    537                 Equipment           Bulbs and Ballasts                                   13,321.02        11,100.84
    539           Leasehold Improvement     HVAC                                                   1,538.06        1,391.58
    539           Leasehold Improvement     HVAC                                                   1,521.10        1,394.33
    543                                                                                            1,797.51        1,797.51
    543                                                                                            1,800.69        1,800.69
    543                                                                                            1,934.11        1,934.11
    543                                                                                            1,807.95        1,807.95
    543                                                                                           -1,797.51       (1,797.51)
    543                                                                                            1,307.85        1,307.85
    543                                                                                           -1,800.69       (1,800.69)
    543           Leasehold Improvement     HVAC                                                   1,310.16        1,138.56
    543                                                                                           -1,934.11       (1,934.11)
    543                                                                                           -1,807.95       (1,807.95)
    543                                                                                            1,407.24        1,407.24
    543                                                                                            1,315.48        1,315.48



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   Store                   Type                                 Description                       Basis         Accum Dpen
    544           Leasehold Improvement     Door Repair                                              1,598.03        1,159.01
    548           Leasehold Improvement     HVAC                                                     1,997.89        1,855.21
    551           Leasehold Improvement     HVAC                                                     1,694.72        1,573.64
    558                                                                                              2,100.51        2,100.51
    558                                                                                              1,975.81        1,975.81
    558                                                                                             -2,100.51       (2,100.51)
    558                                                                                             -1,975.81       (1,975.81)
    558           Leasehold Improvement     Gate Repair                                              1,528.31          652.71
    558           Leasehold Improvement     Gate Repair                                              1,437.58          638.87
    559                                                                                              1,756.93        1,756.93
    559           Leasehold Improvement     HVAC                                                     4,572.75        4,137.23
    559                                                                                             -1,756.93       (1,756.93)
    559           Leasehold Improvement     Flood Repair                                             1,278.33        1,098.59
    559           Leasehold Improvement     HVAC                                                     3,088.80        2,794.64
    566                                                                                              1,782.52        1,782.52
    566                                                                                             -1,782.52       (1,782.52)
    569                                                                                              1,821.83        1,821.83
    569                                                                                             -1,821.83       (1,821.83)
    569           Leasehold Improvement     Window Replacement                                       1,325.54          220.92
    572           Leasehold Improvement     Door Repair                                              4,517.89        2,687.74
    572           Leasehold Improvement     Replaced lolading Dock Bumper                            1,555.13          929.47
    573           Leasehold Improvement     HVAC                                                     7,566.81        6,846.17
    573           Leasehold Improvement     HVAC                                                     3,647.31        3,299.95
    590           Leasehold Improvement     Door Repair                                              3,105.13             -
    413                                     CANCELS PER 09 CAPITALIZATION-REVERSE                    2,486.00        2,486.00
    515                 Equipment           Phone/Cable Repairs                                      1894.78           954.93
    516           Leasehold Improvement     HVAC                                                     3,278.49        3,005.28
    526                 Equipment           EAS System                                               2,389.54        2,190.39
    526           Leasehold Improvement     Elevator Repair                                          3,491.06        2,350.18
    533                                                                                             -6,732.89       (6,732.89)
    539                                                                                              1,362.57        1,362.57
    539                                                                                             -1,362.57       (1,362.57)
    553           Leasehold Improvement     HVAC                                                     12473.6        11,582.60
    570           Leasehold Improvement     HVAC                                                       590.21          548.03
    570           Leasehold Improvement     HVAC                                                       1839.5        1,708.10
    574           Leasehold Improvement     Door Repair                                              4,086.80        1,841.30
    578           Leasehold Improvement     Toilet Repair                                                1700        1,285.75
     1            Leasehold Improvement     Elevator Repair Contract - 50%                         (4,763.13)       (3,135.84)
     1            Leasehold Improvement                                                              (770.00)         (770.00)
     1            Leasehold Improvement                                                              (790.44)         (790.44)
     1            Leasehold Improvement                                                            (1,282.02)       (1,282.02)
     1            Leasehold Improvement                                                            (1,295.69)       (1,295.69)
     1            Leasehold Improvement                                                            (1,633.13)       (1,633.13)
     1            Leasehold Improvement                                                            (2,449.69)       (2,449.69)
     1            Leasehold Improvement                                                            (4,763.50)       (4,763.50)
     1            Leasehold Improvement                                                           (17,755.24)      (17,755.24)
     1            Leasehold Improvement                                                            (6,156.47)       (4,053.17)
     1            Leasehold Improvement                                                            (3,432.95)       (3,120.83)
     1            Leasehold Improvement                                                            (3,432.95)       (3,120.83)
     1            Leasehold Improvement     Correct Fire Violations                                (3,811.00)       (2,223.05)
     1            Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                    (309.10)         (180.30)
     1            Leasehold Improvement     Correct Fire Violations                                (1,683.02)         (981.62)
     1            Leasehold Improvement     Permits for Signage                                   (14,681.99)       (8,913.92)
     1            Leasehold Improvement     Ceiling Tiles                                          (3,524.83)       (2,182.11)
     1            Leasehold Improvement     In-House EE Rebranding Work                           (13,545.00)      (11,610.00)



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   Store                   Type                                 Description                       Basis          Accum Dpen
     1            Leasehold Improvement     Paint @ Rear of Store                                    (363.00)          (229.08)
     1            Leasehold Improvement     Signage Removal                                          (968.00)          (610.88)
     1            Leasehold Improvement     Awning Removal / Façade Repairs                        (3,527.00)        (2,225.31)
     1            Leasehold Improvement     Paint Storefront                                       (1,452.00)          (916.01)
     1            Leasehold Improvement     Signage                                                (2,558.56)        (1,614.30)
     1            Leasehold Improvement                                                              (303.10)          (194.80)
     1            Leasehold Improvement                                                              (993.42)          (638.52)
     1            Leasehold Improvement                                                              (692.91)          (445.41)
     1            Leasehold Improvement     HVAC - Compressor                                     (15,885.47)       (10,023.06)
     1            Leasehold Improvement     Sprinkler system                                       (3,470.39)        (2,231.09)
     1            Leasehold Improvement     Signage - Rebranding                                   (7,950.47)        (5,110.97)
     1            Leasehold Improvement     Fix Roof leaks                                         (4,955.31)        (3,185.61)
     1            Leasehold Improvement                                                              (453.60)          (291.60)
     1            Leasehold Improvement                                                            (1,706.40)        (1,097.10)
     1            Leasehold Improvement     Elevator Maintenance                                   (4,899.38)        (3,207.81)
     1            Leasehold Improvement     HVAC                                                   (4,459.05)        (2,972.81)
     1            Leasehold Improvement     Sales Floor Doors                                      (3,000.00)        (2,000.12)
     1            Leasehold Improvement     Roof Project                                           (6,319.94)        (4,213.22)
     1            Leasehold Improvement     Eletrical - Exterior Sign/Office                       (2,600.00)        (1,826.25)
     1            Leasehold Improvement     Reclass to Expense per AUDIT                           13,545.00         13,545.00
     1            Leasehold Improvement     Install New tank Unit (40%)                            (7,400.00)        (5,981.59)
     1            Leasehold Improvement     Elevator Repair                                       (11,100.00)        (9,157.50)
     1            Leasehold Improvement     HVAC                                                   (3,200.00)        (2,514.20)
     1            Leasehold Improvement     HVAC                                                   (2,241.62)        (1,734.51)
     1            Leasehold Improvement     HVAC Unit #3                                           (1,904.06)        (1,654.69)
     1            Leasehold Improvement     HVAC Unit #5                                           (1,904.06)        (1,654.69)
     1            Leasehold Improvement     HVAC Unit #1                                           (1,872.64)        (1,627.45)
     1            Leasehold Improvement     HVAC Unit #2                                           (1,872.64)        (1,627.45)
     1            Leasehold Improvement     HVAC                                                   (2,290.77)        (2,099.88)
     1              Furniture & Fixtures                                                           (5,744.30)        (5,744.30)
     1              Furniture & Fixtures    Fixtures from stock                                      (942.22)          (605.62)
     1              Furniture & Fixtures    36" Round garment assembled                              (275.29)          (176.89)
     1              Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                    (2,682.34)        (1,724.44)
     1              Furniture & Fixtures    22" Rectangular tube - super quad                        (416.45)          (267.65)
     1              Furniture & Fixtures    16" & 22" Rectangular tubing rack                        (153.56)           (98.66)
     1              Furniture & Fixtures                                                             (813.91)          (523.21)
     1              Furniture & Fixtures    36' RD FLD rack weld - assembled                           (98.83)          (63.43)
     1              Furniture & Fixtures    Rebranding: Super quad 4-way rack                        (494.61)          (317.91)
     1              Furniture & Fixtures    Rebranding: Super quad 4-way rack                          (17.31)          (11.01)
     1              Furniture & Fixtures    Rebranding: Super quad 4-way rack                          (98.92)          (63.52)
     1              Furniture & Fixtures    3500 PC / TV and 247 PC / K80                            (310.29)          (199.59)
     1              Furniture & Fixtures    36" Rounders, Super Quads                                (626.89)          (403.09)
     1              Furniture & Fixtures    Mannequins                                             (2,711.80)        (1,872.52)
     1              Furniture & Fixtures    Fixtures - Check-out Station                          (12,667.61)        (8,897.61)
     1                  Equipment           Security Cameras & Install                             (5,884.32)        (1,373.10)
     1                  Equipment           EAS System                                             (1,323.56)          (598.60)
     1                  Equipment           EAS System                                             (1,403.25)          (634.59)
     1                  Equipment           EAS System                                               (140.30)           (63.48)
     1                  Equipment           EAS System                                                 (57.08)          (25.80)
     1                  Equipment           EAS System                                               (206.81)           (93.65)
     1                  Equipment           EAS System                                               (916.00)          (414.60)
     1                  Equipment           Cables for Security Camera System                        (290.60)           (72.80)
     1                  Equipment           Security Cameras                                         (520.41)          (130.26)
     1                  Equipment           Security Cameras                                         (173.44)           (43.39)
     1                  Equipment           Security Cameras                                         (179.62)           (45.07)



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   Store                   Type                                 Description                         Basis          Accum Dpen
     1                  Equipment                                                                    (2,970.00)        (1,534.50)
     1             Computer Equipment       Configure/Integrate POS                                  (1,583.51)          (501.52)
    511           Leasehold Improvement     Rerplacement of Roll-up Gate/Entry Door                  (3,200.00)        (2,628.50)
    511           Leasehold Improvement     Exit Gate Replacement                                    (3,600.00)        (3,214.26)
    511           Leasehold Improvement     Security Systems                                         (3,897.73)              -
    511             Furniture & Fixtures    Fixture Delivery                                         (6,100.00)        (5,083.32)
    511             Furniture & Fixtures    Fixture Delivery                                        (12,900.00)       (10,903.59)
    511             Furniture & Fixtures    Add-on Hangrail                                          (1,415.38)        (1,162.63)
    511             Furniture & Fixtures    Chrome Hangrail                                            (849.23)          (697.58)
    511             Furniture & Fixtures    Hangrail                                                 (1,910.76)        (1,569.51)
    511             Furniture & Fixtures    Fixtures                                                 (7,284.61)        (6,157.25)
    511                 Equipment           Baler Repair                                             (1,436.00)        (1,436.00)
    540           Leasehold Improvement     Patch / Paint / Ceiling Tiles                            (5,328.11)        (2,886.11)
    540           Leasehold Improvement                                                              (2,193.90)        (2,193.90)
    540           Leasehold Improvement                                                              (2,219.03)        (2,219.03)
    540           Leasehold Improvement                                                              (2,500.00)        (2,500.00)
    540           Leasehold Improvement                                                                (784.35)          (516.21)
    540           Leasehold Improvement                                                                (750.00)          (493.75)
    540           Leasehold Improvement                                                              (2,539.61)        (2,176.85)
    540           Leasehold Improvement                                                              (4,551.35)        (3,251.03)
    540           Leasehold Improvement                                                              (2,654.00)        (2,274.80)
    540           Leasehold Improvement                                                              (3,281.67)        (2,343.99)
    540           Leasehold Improvement                                                              (2,539.61)        (2,176.85)
    540           Leasehold Improvement     Rebranding Survey - Labor                                  (281.03)          (120.23)
    540           Leasehold Improvement     Rebranding Survey + Travel Expenses                        (280.35)          (120.03)
    540           Leasehold Improvement     Renovation                                               (6,595.00)        (3,925.66)
    540           Leasehold Improvement     Installed Signage                                        (1,210.00)          (720.40)
    540           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                      (309.09)          (180.29)
    540           Leasehold Improvement     Lighting Repairs                                         (4,554.02)        (1,951.94)
    540           Leasehold Improvement     Repair Water Line                                        (3,800.00)        (2,307.08)
    540           Leasehold Improvement     Permits for Signage                                      (9,225.88)        (5,601.49)
    540           Leasehold Improvement     Removal of storefront signage                            (2,360.00)        (1,460.80)
    540           Leasehold Improvement     In-House EE Rebranding Work                              (2,709.00)        (2,322.00)
    540           Leasehold Improvement     Banner                                                     (652.10)          (403.78)
    540           Leasehold Improvement     Pylon Sign                                               (2,202.18)        (1,389.36)
    540           Leasehold Improvement                                                                (238.28)          (153.08)
    540           Leasehold Improvement                                                                (166.20)          (106.80)
    540           Leasehold Improvement     HVAC - Compressor                                        (4,740.72)        (3,047.52)
    540           Leasehold Improvement     Receiving Area Truck Accident Repairs                    (3,498.06)        (2,207.22)
    540           Leasehold Improvement     Reclass to Expense per AUDIT                              2,709.00          2,709.00
    540           Leasehold Improvement     Rewiring                                                 (3,800.00)        (3,030.92)
    540           Leasehold Improvement     Emerg. Light Improvement                                 (1,625.00)          (136.25)
    540           Leasehold Improvement     Clean out water and debris in trench                     (1,650.00)          (138.35)
    540           Leasehold Improvement     HVAC                                                     (2,689.70)        (2,529.60)
    540           Leasehold Improvement     Installed Emerg. & Exit Lights                           (4,134.00)        (4,035.58)
    540             Furniture & Fixtures    Deliver Fixtures                                           (765.45)          (492.15)
    540             Furniture & Fixtures    36" Round garment assembled                                  (66.15)          (42.45)
    540             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                        (643.39)          (413.59)
    540             Furniture & Fixtures    22" Rectangular tube - super quad                            (99.88)          (64.18)
    540             Furniture & Fixtures    16" & 22" Rectangular tubing rack                            (36.84)          (23.64)
    540             Furniture & Fixtures                                                               (200.52)          (128.82)
    540             Furniture & Fixtures    36' RD FLD rack weld - assembled                             (96.22)          (61.72)
    540             Furniture & Fixtures    Tables, folding rounder, super quads                     (8,059.30)        (5,181.10)
    540             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          (118.64)           (76.34)
    540             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             (4.16)           (2.66)



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   Store                   Type                                 Description                          Basis          Accum Dpen
    540             Furniture & Fixtures    Rebranding: Super quad 4-way rack                             (23.72)          (15.32)
    540             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                                 (74.42)          (47.72)
    540             Furniture & Fixtures    36" Rounders, Super Quads                                   (150.36)           (96.66)
    540                 Equipment           EAS System                                                  (428.17)          (193.57)
    540                 Equipment           Security Cameras & Install                                (6,164.16)        (1,540.86)
    540                 Equipment           Security Cameras                                              (35.31)           (8.76)
    540                 Equipment           Security Cameras                                            (883.66)          (220.81)
    540                 Equipment           Security Cameras                                            (169.60)           (42.25)
    540                 Equipment           Security Cameras                                            (174.88)           (49.75)
    540                 Equipment                                                                     (1,782.00)          (920.70)
    540            Computer Equipment       POS Install                                               (1,159.00)          (366.88)
    515           Leasehold Improvement     HVAC                                                        1,632.58         1,554.82
    515           Leasehold Improvement     HVAC                                                        1632.58          1,554.82
    526           Leasehold Improvement     HVAC                                                        2,066.00         1,967.60
    534           Leasehold Improvement     Plumbing & Electric Repairs                                 2,321.16         1,991.06
    548           Leasehold Improvement     Roof Repair                                                 8,255.63         3,270.33
    559                 Equipment           Bulbs and Ballasts                                          3,076.26         2,649.01
    558           Leasehold Improvement     HVAC                                                        1,694.78         1,694.78
     3            Leasehold Improvement     Plumbing Repair                                               2049.7         1,357.24
    558           Leasehold Improvement     HVAC                                                          5555.9         5,555.90
    573           Leasehold Improvement     Door Repair                                                   3877.2         3,675.69
    584           Leasehold Improvement     Toilet & Plumbing Repair                                   2,031.93          1,882.08
    589           Leasehold Improvement     Automatic Door Repair                                       3,288.00         2,985.78
    590           Leasehold Improvement     Sign Repair                                                6,638.39          6,480.33
    538           Leasehold Improvement     HVAC                                                        1,887.00         1,774.70
    558           Leasehold Improvement     HVAC                                                       2,023.54          1,975.36
    589           Leasehold Improvement     HVAC                                                       1,775.50          1,733.22
    590                 Equipment           EAS System                                                (2,739.80)        (1,174.04)
    590                 Equipment           EAS System                                                  (428.17)          (183.37)
    590                 Equipment           EAS System                                                (2,064.88)          (885.04)
    590                 Equipment           Security Cameras & Install                                (6,227.29)        (1,245.37)
    590           Leasehold Improvement     Patch / Paint / Ceiling Tiles                             (6,693.46)        (3,416.62)
    590            Computer Equipment       Configure/Integrate POS                                     (351.89)           (94.05)
    590                 Equipment           Cables for Security Camera System                           (290.60)           (58.28)
    590                 Equipment           Security Cameras                                            (169.58)           (33.74)
    590                 Equipment           Security Cameras                                            (174.89)           (43.94)
    590           Leasehold Improvement                                                                 (500.00)          (500.00)
    590           Leasehold Improvement                                                                 (972.50)          (972.50)
    590           Leasehold Improvement                                                               (1,514.29)        (1,514.29)
    590           Leasehold Improvement                                                               (1,835.68)        (1,835.68)
    590           Leasehold Improvement                                                               (2,355.00)        (2,355.00)
    590           Leasehold Improvement                                                               (3,100.00)        (3,100.00)
    590             Furniture & Fixtures                                                              (1,297.10)        (1,297.10)
    590           Leasehold Improvement     Renovation                                                (5,965.00)        (3,337.63)
    590           Leasehold Improvement     Sign Survey - Designs/Pricing/Permits                       (309.09)          (169.25)
    590           Leasehold Improvement     In-House EE Rebranding Work                              (10,017.00)       (10,017.00)
    590           Leasehold Improvement     Remove front Sign/Install Closing banner                    (652.10)          (380.50)
    590           Leasehold Improvement     Coming Soon Banner                                          (652.10)          (380.50)
    590             Furniture & Fixtures    Sign Holders                                                  (22.15)          (13.57)
    590             Furniture & Fixtures    Conveyor                                                    (859.73)          (522.14)
    590             Furniture & Fixtures    Fixtures from stock                                         (338.52)          (205.53)
    590             Furniture & Fixtures    36" Round garment assembled                                   (83.43)          (50.76)
    590             Furniture & Fixtures    22" Super quad, 36" & 42" hangrails                         (811.40)          (492.62)
    590             Furniture & Fixtures    22" Rectangular tube - super quad                           (125.97)           (76.47)
    590             Furniture & Fixtures    16" & 22" Rectangular tubing rack                             (46.45)          (28.30)



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   Store                   Type                                Description                       Basis          Accum Dpen
    590             Furniture & Fixtures                                                            (252.88)          (153.55)
    590           Leasehold Improvement                                                             (300.51)          (182.37)
    590           Leasehold Improvement                                                             (209.60)          (127.10)
    590           Leasehold Improvement     Signage - Rebranding                                  (3,300.00)        (2,003.43)
    590             Furniture & Fixtures    36' RD FLD rack weld - assembled                          (96.21)          (58.26)
    590                                                                                             (262.55)          (262.55)
    590             Furniture & Fixtures    Rebranding: Super quad 4-way rack                       (149.62)           (90.88)
    590             Furniture & Fixtures    Rebranding: Super quad 4-way rack                          (5.24)           (3.26)
    590             Furniture & Fixtures    3500 PC / TV and 247 PC / K80                             (93.86)          (56.90)
    590             Furniture & Fixtures    Rebranding: Super quad 4-way rack                         (29.92)          (18.04)
    590                 Equipment                                                                 (1,782.00)          (831.60)
    590             Furniture & Fixtures    36" Rounders, Super Quads                               (189.63)          (115.05)
    590           Leasehold Improvement     7' Signage                                           (24,985.06)       (14,872.10)
    590                                                                                              262.55            262.55
    590           Leasehold Improvement     Reclass to Expense per AUDIT                          10,017.00         10,017.00
    590           Leasehold Improvement     Install new Paging System                             (3,500.00)        (2,216.74)
    590           Leasehold Improvement     HVAC                                                  (2,746.92)        (1,994.82)
    590           Leasehold Improvement     HVAC                                                  (4,517.60)        (3,388.22)
    590           Leasehold Improvement     HVAC                                                  (2,226.46)        (1,616.73)
    590           Leasehold Improvement     HVAC                                                  (1,629.09)        (1,202.51)
    590           Leasehold Improvement     Supply & Replace Ignition Module                      (1,652.00)        (1,356.95)
    590           Leasehold Improvement     Supply & Replace the Ignition Module                  (1,748.45)        (1,436.30)
    590           Leasehold Improvement     HVAC                                                  (1,944.92)        (1,736.57)
    590           Leasehold Improvement     Fire Sprinkler System                                 (3,265.80)        (2,830.36)
    590           Leasehold Improvement     Door Repair                                           (3,105.13)              -
    590           Leasehold Improvement     Sign Repair                                           (6,638.39)        (6,638.39)
    510           Leasehold Improvement     HVAC (50% DEPOSIT)                                     3,047.96          3,047.96
    516           Leasehold Improvement     Ceiling Tiles                                          3,176.97          2,859.89
    516           Leasehold Improvement     HVAC                                                   1,742.00          1,659.04
    541           Leasehold Improvement     HVAC                                                    4587.95          4,587.95
    541           Leasehold Improvement     HVAC                                                      487.24           487.24
    541           Leasehold Improvement     HVAC                                                        2598         2,598.00
    516                                                                                            5,187.89          5,187.89
    587           Leasehold Improvement     HVAC                                                   6,926.06          6,926.06




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                                  Case 18-11801-LSS                       Doc 439          Filed 09/18/18          Page 113 of 318
 Fill in this information to identify the case:

 Debtor name          Southern Island Stores LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)              18-11805 (LSS)
                                                                                                                                         Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    CSC, as Representative                        Describe debtor's property that is subject to a lien                     Unknown                  Unknown
        Creditor's Name                               Equipment Lease
        P.O. Box 2576
        Wichita, KS 67208
        Creditor's mailing address                    Describe the lien
                                                      UCC-1 Filing
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Encina Business Credit,
 2.2                                                                                                                   $70,842,800.00                  Unknown
        LLC                                           Describe debtor's property that is subject to a lien
        Creditor's Name                               All assets of the Debtor
        Administrative & Collateral
        Agent
        Thomas Sullivan
        111 W. Jackson, Suite 1700
        Chicago, IL 60604
        Creditor's mailing address                    Describe the lien
                                                      ABL Credit Agreement
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number



Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 3
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                                 Case 18-11801-LSS                        Doc 439          Filed 09/18/18           Page 114 of 318
 Debtor       Southern Island Stores LLC                                                               Case number (if know)    18-11805 (LSS)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       Gordon Brothers Finance
 2.3                                                                                                                     $30,000,000.00          Unknown
       Company                                        Describe debtor's property that is subject to a lien
       Creditor's Name                                All assets of the Debtor
       Administrative Agent and
       Lender
       David Vega
       800 Boylston Street, 27th
       Flr.
       Boston, MA 02199
       Creditor's mailing address                     Describe the lien
                                                      Term Loan and Security Agreement
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4   Michael Fallas                                 Describe debtor's property that is subject to a lien               $10,000,000.00          Unknown
       Creditor's Name                                All assets of the Debtor
       15001 Figueroa Street
       Gardena, CA 90248
       Creditor's mailing address                     Describe the lien
                                                      Security Interest
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       Reich Bros. Business
 2.5                                                                                                                           Unknown           Unknown
       Solutions LLC                                  Describe debtor's property that is subject to a lien




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 3
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                                 Case 18-11801-LSS                        Doc 439          Filed 09/18/18           Page 115 of 318
 Debtor       Southern Island Stores LLC                                                               Case number (if know)   18-11805 (LSS)
              Name

       Creditor's Name                                Equipment Lease
       267 Central Ave.
       White Plains, NY 10606
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 Filing
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                           $110,842,800
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                     .00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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                                Case 18-11801-LSS                          Doc 439             Filed 09/18/18                Page 116 of 318
 Fill in this information to identify the case:

 Debtor name         Southern Island Stores LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)          18-11805 (LSS)
                                                                                                                                             Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                     Total claim          Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                             $15.21        Unknown
           Abanto Raymundo,Deissy K                                  Check all that apply.
           2520 30th Rd Apt 2D                                        Contingent
           Astoria, NY 11102-2672                                     Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Accrued Vacation and PTO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $668.46         Unknown
           Abraham,Brandon                                           Check all that apply.
           93 Diamond St                                              Contingent
           New Haven, CT 06515                                        Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Accrued Vacation and PTO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 173
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                               Case 18-11801-LSS                           Doc 439             Filed 09/18/18               Page 117 of 318
 Debtor       Southern Island Stores LLC                                                                      Case number (if known)   18-11805 (LSS)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $565.95     Unknown
          Abrams,Rochone T                                           Check all that apply.
          710 Sandpine Rd                                             Contingent
          Columbia, SC 29229                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,186.36    Unknown
          Acevedo,Lenitzcia                                          Check all that apply.
          400 W. Somerville                                           Contingent
          Ave                                                         Unliquidated
          Philadelphia, PA 19120                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $380.38     Unknown
          Adkins,Samantha                                            Check all that apply.
          37639 Little Mack Ave 202                                   Contingent
          Clinton Township, MI 48036                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $166.92     Unknown
          Agalla,Jessica A                                           Check all that apply.
          1353 Pleasant St                                            Contingent
          Schenectady, NY 12303-1934                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 173
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 Debtor       Southern Island Stores LLC                                                                      Case number (if known)   18-11805 (LSS)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $535.21     Unknown
          Akter,Mossammat                                            Check all that apply.
          16219 108th Ave                                             Contingent
          Jamaica, NY 11433                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $234.65     Unknown
          Akter,Shirina                                              Check all that apply.
          5 Metropolitan Oval Apt 12E                                 Contingent
          Bronx, NY 10462                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,349.19    Unknown
          Ali,Gangadi                                                Check all that apply.
          107-22 113th Street                                         Contingent
          APT#2                                                       Unliquidated
          South Richmond Hill, NY 11419                               Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $598.65     Unknown
          Allen,Drew J                                               Check all that apply.
          1238 W Belden Ave                                           Contingent
          Synacuse, NY 13204                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $222.42     Unknown
          Alonzo,Annette                                             Check all that apply.
          6624 24th St Apt 8                                          Contingent
          Berwyn, IL 60402-2662                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,041.04    Unknown
          Alvarado Guzman,Urcania                                    Check all that apply.
          3136 Godwin Terrace                                         Contingent
          Apt 3A                                                      Unliquidated
          Bronx, NY 10463                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,010.88    Unknown
          Alvarez,Nicolasina                                         Check all that apply.
          60 W 104th Street                                           Contingent
          APT 7F                                                      Unliquidated
          New York, NY 10025                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,861.54    Unknown
          Alverio,Luis O                                             Check all that apply.
          21332 Carlton St                                            Contingent
          Crest Hill, IL 60403                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $436.73     Unknown
          Alves,Max D                                                Check all that apply.
          29 Sammet St                                                Contingent
          Everett, MA 02149                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $251.68     Unknown
          Alves,Norma                                                Check all that apply.
          65 Central Dr                                               Contingent
          Stoughton, MA 02072                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $463.87     Unknown
          Amaro Valdes,Cynthia J                                     Check all that apply.
          769 Main St                                                 Contingent
          Apt# 1L                                                     Unliquidated
          Worcester, MA 01610                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $41.03     Unknown
          Anderson,Nicole M                                          Check all that apply.
          13 Woodland St Apt B                                        Contingent
          Everett, MA 02149-2217                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $26.07     Unknown
          Anderson,Sandra E                                          Check all that apply.
          140 Park Street                                             Contingent
          Dorchester, MA 02122                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $147.84     Unknown
          Angello,Becky                                              Check all that apply.
          937 Broadway Ave                                            Contingent
          Mc Kees Rocks, PA 15136-2229                                Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $675.85     Unknown
          Aponte,Erika                                               Check all that apply.
          445 Broadway                                                Contingent
          Apt 4                                                       Unliquidated
          Newark, NJ 07104                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $216.12     Unknown
          Aracena,Gisbel                                             Check all that apply.
          28 Warwick St                                               Contingent
          Lawrence, MA 01841-3212                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $350.24     Unknown
          Arias,Eleana R                                             Check all that apply.
          16 Exchange Street                                          Contingent
          Lawrence, MA 01841                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,588.29    Unknown
          Arjoon,Fareeda                                             Check all that apply.
          128 N 8th Ave                                               Contingent
          Mount Vernon, NY 10550-1216                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $127.68     Unknown
          Arroyo,Mary M                                              Check all that apply.
          3126 N Knox Ave                                             Contingent
          Chicago, IL 60641-5204                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $120.12     Unknown
          Arroyo,Omar                                                Check all that apply.
          3137 N 2nd St                                               Contingent
          Milwaukee, WI 53212-2018                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $558.47     Unknown
          Aubourg,Gladice                                            Check all that apply.
          30 Daniels St Apt 413                                       Contingent
          Malden, MA 02148                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,058.97    Unknown
          Avila,Italia                                               Check all that apply.
          971 Grove St                                                Contingent
          1st Fl                                                      Unliquidated
          Elizabeth, NJ 07202                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $145.54     Unknown
          Aviles,Zulma I                                             Check all that apply.
          44 Mountford Street                                         Contingent
          Floor 1                                                     Unliquidated
          Hartford, CT 06114                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $105.27     Unknown
          Aybar Baez,Elizabeth                                       Check all that apply.
          549 Haverhill St Apt 1                                      Contingent
          Lawrence, MA 01841-4222                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $79.40     Unknown
          Ayers,Jennifer A                                           Check all that apply.
          539 Pier Ct                                                 Contingent
          Virginia Beach, VA 23462                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $681.56     Unknown
          Badgett,Tia M                                              Check all that apply.
          18 Madrid Sq                                                Contingent
          Apt 3                                                       Unliquidated
          Brockton, MA 02301                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $535.86     Unknown
          Balbuena,Deysi O                                           Check all that apply.
          26-07 21st St                                               Contingent
          Apt 1F                                                      Unliquidated
          Queens, NY 11102                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,143.45    Unknown
          Banbahji,Morice                                            Check all that apply.
          1524east 12street                                           Contingent
          2nd Floor                                                   Unliquidated
          Brooklyn, NY 11230                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $668.20     Unknown
          Banerjee,Bijali                                            Check all that apply.
          108-15 96th Street                                          Contingent
          1ST Floor                                                   Unliquidated
          Ozone Park, NY 11417-2135                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $793.65     Unknown
          Barber,Tracey                                              Check all that apply.
          3876 Blue Granite Way                                       Contingent
          Conley, GA 30288                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $57.53     Unknown
          Barbosa,Mistique A                                         Check all that apply.
          530 E Main St                                               Contingent
          Fall River, MA 02724-3115                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $457.08     Unknown
          Barnes Jr,Arthur T                                         Check all that apply.
          445 Shonnard St                                             Contingent
          Syracuse, NY 13204                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $544.08     Unknown
          Barrett,Timothy                                            Check all that apply.
          5332 Marlfield Drive                                        Contingent
          Norfolk, VA 23302                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,471.08    Unknown
          Bates,Cinnamon                                             Check all that apply.
          37 North Parkside                                           Contingent
          Chicago, IL 60644                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $235.76     Unknown
          Battle,Jonathan                                            Check all that apply.
          40 Graham St                                                Contingent
          Stratford, CT 06615                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $311.28     Unknown
          Bauza Tamayo,Mabel R                                       Check all that apply.
          133 Roosevelt St # 3                                        Contingent
          Hartford, CT 06114                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $58.78     Unknown
          Beasley,Frances V                                          Check all that apply.
          574 Union Ave                                               Contingent
          Bridgeport, CT 06607-1428                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $737.36     Unknown
          Beato,Elizabeth                                            Check all that apply.
          60 E. 104th Street                                          Contingent
          Apt #2-A                                                    Unliquidated
          New York, NY 10029                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $347.88     Unknown
          Begum,Taslima                                              Check all that apply.
          936 Glenmore Avenue                                         Contingent
          2nd Floor                                                   Unliquidated
          Brooklyn, NY 11208                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $468.00     Unknown
          Beljour,Dieufranc                                          Check all that apply.
          72 Radcliffe Street                                         Contingent
          Apt# 1                                                      Unliquidated
          Dorchester, MA 02121                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $13.75     Unknown
          Belt,Eugene H                                              Check all that apply.
          109 Oak Ln Apt 1                                            Contingent
          Brockton, MA 02301-0930                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $206.70     Unknown
          Beltran,Norma                                              Check all that apply.
          787 E 185th St Apt 3C                                       Contingent
          Bronx, NY 10460                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $416.90     Unknown
          Bencosme,Rossi B                                           Check all that apply.
          135 Pearl St                                                Contingent
          Lawrence, MA 01841                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $14.52     Unknown
          Bennett Jr,Kenton                                          Check all that apply.
          19 Alicia Rd                                                Contingent
          Dorchester, MA 02124                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $20.02     Unknown
          Bentley,Karyn                                              Check all that apply.
          5697 Hidden Brook Cir                                       Contingent
          College Park, GA 30349                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $105.27     Unknown
          Bergeron,Cassandra                                         Check all that apply.
          93 Cummins Hwy                                              Contingent
          Roslindale, MA 02131                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,197.90    Unknown
          Berjoul,Amina                                              Check all that apply.
          93 Madison Ave                                              Contingent
          Apt #2                                                      Unliquidated
          Everett, MA 02149                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $79.05     Unknown
          Bernabel,Mery E                                            Check all that apply.
          18 Fairmont St 1St floor                                    Contingent
          Lawrence, MA 01841                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $832.00     Unknown
          Berrios,Aida I                                             Check all that apply.
          832 Bridge St                                               Contingent
          Schenectady, NY 12303                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $48.18     Unknown
          Berrios,Odallys M                                          Check all that apply.
          936 Wethersfield Ave                                        Contingent
          Hartford, CT 06114-3138                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $355.55     Unknown
          Betancourt,Jose                                            Check all that apply.
          3331 104th St                                               Contingent
          Corona, NY 11368                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $462.43     Unknown
          Bhuiyan,Abul K                                             Check all that apply.
          11027 172nd St                                              Contingent
          New York                                                    Unliquidated
          Jamaica, NY 11433                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $462.11     Unknown
          Blount,Nicole                                              Check all that apply.
          568 Blue Hill Ave Apt 1                                     Contingent
          Dorchester, MA 02121                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $12.17     Unknown
          Bly,Alisha F                                               Check all that apply.
          120 Newfield St                                             Contingent
          Buffalo, NY 14207-1650                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $642.41     Unknown
          Body,Taneka                                                Check all that apply.
          440 Walnut St                                               Contingent
          1st Floor                                                   Unliquidated
          Elizabeth, NJ 07201                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,153.85    Unknown
          Bonilla,Patricia                                           Check all that apply.
          2713 Orangebrook Rd                                         Contingent
          Raleigh, NC 27610                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $26.66     Unknown
          Bonner,Ronell                                              Check all that apply.
          508 Harral Ave apt 120 bldg 1                               Contingent
          Bridgeport, CT 06604                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $114.52     Unknown
          Botruff,Jessica                                            Check all that apply.
          840 E Hayes Ave                                             Contingent
          Hazel Park, MI 48030                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $129.25     Unknown
          Bou,Haydee                                                 Check all that apply.
          1663 Carew St                                               Contingent
          Springfield, MA 01104                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,182.68    Unknown
          Bowen,Tania                                                Check all that apply.
          1210 Elder Ave Apt 5F                                       Contingent
          Bronx, NY 10472                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $130.57     Unknown
          Boyd,Anthony R                                             Check all that apply.
          1113 Pleasant St                                            Contingent
          Schenectady, NY 12303-1713                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,043.38    Unknown
          Boyd,Raymond                                               Check all that apply.
          724 Varick St Apt 2                                         Contingent
          Utica, NY 13502-4010                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $16.39     Unknown
          Boyer,Mary K                                               Check all that apply.
          19 Doran St                                                 Contingent
          Rochester, NY 14608-2749                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $416.10     Unknown
          Bracey,Alesia                                              Check all that apply.
          19 Schauf Ave                                               Contingent
          Apt -2                                                      Unliquidated
          Buffalo, NY 14211                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $451.36     Unknown
          Bradica,Rachel                                             Check all that apply.
          914 Garfield Ave                                            Contingent
          Pittsburgh, PA 15221                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $795.55     Unknown
          Briggs,Marshall D                                          Check all that apply.
          17 Kofler Ave.                                              Contingent
          Buffalo, NY 14207                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $21.56     Unknown
          Brissett Jennings,Tesson                                   Check all that apply.
          94 Woodrow Ave                                              Contingent
          Dorchester, MA 02124                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $466.31     Unknown
          Britt,Jonisha J                                            Check all that apply.
          2028 W. Maypole Ave                                         Contingent
          Apt B                                                       Unliquidated
          Chicago, IL 60612                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $64.48     Unknown
          Brooks,Rebekah S                                           Check all that apply.
          70 bickford ave.                                            Contingent
          Buffalo, NY 14215                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $38.38     Unknown
          Brown Jr,Tremain W                                         Check all that apply.
          21 1st St 2FL                                               Contingent
          Hamden, CT 06514-4914                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $71.04     Unknown
          Brown,Briann N                                             Check all that apply.
          203 W Steuben St                                            Contingent
          Pittsburgh, PA 15205                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $84.63     Unknown
          Brown,Jeria                                                Check all that apply.
          81 Overton Ave Unit B                                       Contingent
          Waterbury, CT 06705-3473                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $389.70     Unknown
          Brown,Kelvin                                               Check all that apply.
          45A Horadan Way                                             Contingent
          Boston, MA 02120                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $140.14     Unknown
          Brown,Tina C                                               Check all that apply.
          813 Marquis Way                                             Contingent
          Morrow, GA 30260                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $11.01     Unknown
          Bryant,Mesha K                                             Check all that apply.
          55 Sherman Ave                                              Contingent
          New Haven, CT 06511-5216                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $110.88     Unknown
          Buckman,Kelly C                                            Check all that apply.
          4313 Presley Ct Apt C                                       Contingent
          Raleigh, NC 27604-9071                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $283.86     Unknown
          Burnett,Georgie                                            Check all that apply.
          1104 Meadow Ln                                              Contingent
          Streamwood, IL 60107                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $658.99     Unknown
          Cabrera,Carmen                                             Check all that apply.
          407 Seymour St                                              Contingent
          Syracuse, NY 13204                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,009.62    Unknown
          Calixto,Nancy                                              Check all that apply.
          692 Grand ST                                                Contingent
          6                                                           Unliquidated
          Brooklyn, NY 11211                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $421.33     Unknown
          Calmeira,Lindsay                                           Check all that apply.
          492 Brayton AVE                                             Contingent
          apt.3                                                       Unliquidated
          fall river, MA 02721                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $13.32     Unknown
          Campbell,Precenia Z                                        Check all that apply.
          1525 N Lorel Ave Apt 1                                      Contingent
          Chicago, IL 60651                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $296.80     Unknown
          Campbell,Robert                                            Check all that apply.
          37 Holiday St                                               Contingent
          Boston, MA 02122                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $51.79     Unknown
          Cannon,Jordan C                                            Check all that apply.
          33 Marigold Ave                                             Contingent
          Buffalo, NY 14215-2119                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $55.72     Unknown
          Cantey,Ramel W                                             Check all that apply.
          265 Washington Ave                                          Contingent
          Apt A4                                                      Unliquidated
          Bridgeport, CT 06604                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $29.29     Unknown
          Caporossi Jr,Arthur M                                      Check all that apply.
          84 Contact Dr                                               Contingent
          West Haven, CT 06516                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $174.90     Unknown
          Caraballo,Rafael                                           Check all that apply.
          213 Stiles St                                               Contingent
          Elizabeth, NJ 07208                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $231.62     Unknown
          Carmona,Sandra                                             Check all that apply.
          1734 Smith Dr                                               Contingent
          West Columbia, SC 29169                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $693.37     Unknown
          Carrasquillo,Yarielis                                      Check all that apply.
          23 Stone Ct                                                 Contingent
          Syracuse, NY 13204                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,498.95    Unknown
          Carroll,Penny M                                            Check all that apply.
          129 W Kennedy St                                            Contingent
          Syracuse, NY 13205                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $16.56     Unknown
          Casanova,Lillian                                           Check all that apply.
          490 Trumbull Ave Apt B                                      Contingent
          Bridgeport, CT 06606-6400                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,477.97    Unknown
          Castillo,Juana                                             Check all that apply.
          731 Gerad Ave                                               Contingent
          Apt #6D                                                     Unliquidated
          Bronx, NY 10451                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,375.33    Unknown
          Castillo,Rosa                                              Check all that apply.
          34-47 90th Street                                           Contingent
          Apt # J32                                                   Unliquidated
          Jackson Heights, NY 11372                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $305.55     Unknown
          Cawthon,Emily                                              Check all that apply.
          130 Armstrong PL                                            Contingent
          Syracuse, NY 13207                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,276.44    Unknown
          Caylor,Tammy                                               Check all that apply.
          4657 5th Street                                             Contingent
          Ecorse, MI 48229                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $195.36     Unknown
          Ceja Garcia,Graciela                                       Check all that apply.
          2425 Oak Park Ave                                           Contingent
          Berwyn, IL 60402                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,543.23    Unknown
          Centeno,Maxime                                             Check all that apply.
          2094 5th Ave                                                Contingent
          Apt 7D                                                      Unliquidated
          New York, NY 10035                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $147.16     Unknown
          Chabla-Palaguachi,Guadalupe                                Check all that apply.
          42-13 28th Ave. B2                                          Contingent
          astoria, NY 11103                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $34.16     Unknown
          Chambers,Keyona                                            Check all that apply.
          523 Ezra St # 1FL                                           Contingent
          Bridgeport, CT 06606-4325                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $451.31     Unknown
          Chandler,Shante M                                          Check all that apply.
          20 Tremont St Apt 1                                         Contingent
          Brockton, MA 02301                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $427.92     Unknown
          Chaney,Nakeisha                                            Check all that apply.
          1850 S Karlov                                               Contingent
          Apt 202                                                     Unliquidated
          Chicago, IL 60623                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,391.72    Unknown
          Chisholm,James A                                           Check all that apply.
          7209 Forrest Ave                                            Contingent
          Philadelphia, PA 19138                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $631.93     Unknown
          Chowdhury,Farhana                                          Check all that apply.
          23-02 30th Drive                                            Contingent
          Astoria, NY 11102                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $56.87     Unknown
          Cicero,Linda A                                             Check all that apply.
          11 houghton st                                              Contingent
          #1                                                          Unliquidated
          Worcester, MA 01604                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,429.69    Unknown
          Ciuzio,Jeanne                                              Check all that apply.
          753 James Street                                            Contingent
          Apt 607                                                     Unliquidated
          Syracuse, NY 13203                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.111    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,035.41    Unknown
          Clarke,Gerard                                              Check all that apply.
          305 Linden Blvd                                             Contingent
          Apt 1-F                                                     Unliquidated
          Brooklyn, NY 11226                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.112    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $89.44     Unknown
          Cobb,Roxine                                                Check all that apply.
          24918 147th Ave                                             Contingent
          Rosedale, NY 11422                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.113    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $200.20     Unknown
          Cole,Racine                                                Check all that apply.
          1086 Willett St                                             Contingent
          Schenectady, NY 12303                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.114    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,116.50    Unknown
          Coleman,Jamika                                             Check all that apply.
          3945 Fox Hunt Ln                                            Contingent
          Apt A                                                       Unliquidated
          Atlanta, GA 30344                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.115    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $599.10     Unknown
          Collins,Cocachie                                           Check all that apply.
          16854 Langley Ave                                           Contingent
          South Holland, IL 60473                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.116    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $200.42     Unknown
          Conde,Janice N                                             Check all that apply.
          170 Sunset Hl                                               Contingent
          Fall River, MA 02724-3749                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.117    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $30.74     Unknown
          Conteh,Kebbie J                                            Check all that apply.
          9832 57th Ave Apt 15C                                       Contingent
          Corona, NY 11368-4935                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.118    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $717.26     Unknown
          Cooper,Grace E                                             Check all that apply.
          500 Stone Ave                                               Contingent
          Apt #4-C                                                    Unliquidated
          Brooklyn, NY 11212                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.119    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $897.61     Unknown
          Coronado,Chriselda                                         Check all that apply.
          1023 Court St                                               Contingent
          1st Floor                                                   Unliquidated
          Utica, NY 13502                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.120    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $595.56     Unknown
          Correa,Leniah M                                            Check all that apply.
          169 Sewall Street                                           Contingent
          2r                                                          Unliquidated
          Ludlow, MA 01056                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.121    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $284.96     Unknown
          Cortez,Jose                                                Check all that apply.
          291 Cascade Pl                                              Contingent
          Rochester, NY 14609                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.122    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $624.91     Unknown
          Costa,Carol                                                Check all that apply.
          540 N. Front St                                             Contingent
          #2                                                          Unliquidated
          New Bedford, MA 02745                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.123    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $677.16     Unknown
          Costa,Jessica L                                            Check all that apply.
          155 Earle St                                                Contingent
          New Bedford, MA 02796                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.124    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,118.39    Unknown
          Costello,Amanda                                            Check all that apply.
          45 N. Main St                                               Contingent
          Easton, MA 02356                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.125    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $608.14     Unknown
          Cotton,Greg                                                Check all that apply.
          1950 East Tremont Ave                                       Contingent
          Apt# 2C                                                     Unliquidated
          Bronx, NY 10462                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.126    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $292.96     Unknown
          Covert,Allison                                             Check all that apply.
          17 Lansing Street                                           Contingent
          Buffalo, NY 14207                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.127    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,307.70    Unknown
          Cox,Indira D                                               Check all that apply.
          100 Canterbury St                                           Contingent
          84                                                          Unliquidated
          Worcester, MA 01603                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.128    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $570.00     Unknown
          Cranston,Alcia C                                           Check all that apply.
          14615 Brookville Blvd                                       Contingent
          Rosedale, NY 11422                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.129    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $164.16     Unknown
          Crim,Brenda                                                Check all that apply.
          1105 Tennessee Ave 4                                        Contingent
          Cincinnati, OH 45229                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.130    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $868.14     Unknown
          Crosby,Ronald                                              Check all that apply.
          7159 s yale 2F                                              Contingent
          Chicago, IL 60621                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.131    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $13.84     Unknown
          Cruz Jr,David                                              Check all that apply.
          68 Highland Ave                                             Contingent
          Bridgeport, CT 06604                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.132    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $41.25     Unknown
          Cyrus,Kaitlin S                                            Check all that apply.
          67 Hathaway St Apt 1                                        Contingent
          New Bedford, MA 02746-5318                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.133    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $492.52     Unknown
          Dacruz,Francisca                                           Check all that apply.
          5 Canal Lane                                                Contingent
          508                                                         Unliquidated
          Somerville, MA 02145                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.134    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $14.98     Unknown
          Daniels,Lindsey L                                          Check all that apply.
          600 N Townsend St Apt C                                     Contingent
          Syracuse, NY 13203-1859                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.135    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $90.97     Unknown
          Dawkins,Destria M                                          Check all that apply.
          27 Suffield St Apt 2                                        Contingent
          Worcester, MA 01610                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.136    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $441.23     Unknown
          De Jesus Perez,Keyleen Y                                   Check all that apply.
          50 Pavonia St                                               Contingent
          Buffalo, NY 14207                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.137    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $119.60     Unknown
          De Jesus,Raul                                              Check all that apply.
          801 Jefferson Ave                                           Contingent
          Utica, NY 13501-1919                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.138    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $266.97     Unknown
          De La Rosa,Dulce V                                         Check all that apply.
          27 Butler St                                                Contingent
          Apt #3                                                      Unliquidated
          Lawrence, MA 01841                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.139    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $594.00     Unknown
          De Los Angeles Garcia,Aneudy                               Check all that apply.
          23 MILFORD ST                                               Contingent
          LAWRENCE, MA 01841                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.140    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $575.82     Unknown
          De Morales,Vilma                                           Check all that apply.
          41 Myrtle St                                                Contingent
          Somerville, MA 02145                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.141    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $624.00     Unknown
          DeJesus,Edwin                                              Check all that apply.
          1209 Bushwick Ave                                           Contingent
          Apt#1A                                                      Unliquidated
          Brooklyn, NY 11221                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.142    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $457.60     Unknown
          Del Toro,Emily                                             Check all that apply.
          2722 N Mulligan Ave Apt 1                                   Contingent
          Chicago, IL 60639                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.143    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,544.06    Unknown
          Del Valle,Jorge                                            Check all that apply.
          5548 Bear Road                                              Contingent
          APT 27 F                                                    Unliquidated
          North Syracuse, NY 13212                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.144    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $113.08     Unknown
          Delgado Otero,Amy J                                        Check all that apply.
          163 Park St                                                 Contingent
          Lawrence, MA 01841-2542                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.145    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $46.06     Unknown
          Delgado,Emely A                                            Check all that apply.
          67 Antrim St                                                Contingent
          West Haven, CT 06516                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.146    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $695.64     Unknown
          Demoranville,Sheena L                                      Check all that apply.
          172 Rivet St                                                Contingent
          New Bedford, MA 02745                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.147    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,651.32    Unknown
          Derosia,Taralyn M                                          Check all that apply.
          825 North Dorchester                                        Contingent
          Royal Oak, MI 48067                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.148    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $194.70     Unknown
          Destin,Beatrice                                            Check all that apply.
          20 Peverell St Apt 2                                        Contingent
          Dorchester, MA 02125                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.149    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $16.72     Unknown
          Dias,Poljohn                                               Check all that apply.
          112 Norton St                                               Contingent
          Boston, MA 02122                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.150    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $111.28     Unknown
          Diaz Paris,Jose A                                          Check all that apply.
          94 Constance Way W                                          Contingent
          Rochester, NY 14612-2750                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.151    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $850.59     Unknown
          Diaz,Alaila                                                Check all that apply.
          53 hirschbeck St.                                           Contingent
          Apt 2                                                       Unliquidated
          Buffalo, NY 14211                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.152    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $257.14     Unknown
          Diaz,Marcela                                               Check all that apply.
          91-01 86th Dr                                               Contingent
          Woodhaven, NY 11421                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.153    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $311.74     Unknown
          Diaz,Nestor                                                Check all that apply.
          91-01 86th Drive                                            Contingent
          Woodhaven, NY 11421                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.154    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $170.98     Unknown
          Do,Loan                                                    Check all that apply.
          84 Bennett Ave                                              Contingent
          Rochester, NY 14609                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.155    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $517.93     Unknown
          Docherty,Karen J                                           Check all that apply.
          110 Orford St                                               Contingent
          #110                                                        Unliquidated
          West Haven, CT 06516                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.156    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $14.63     Unknown
          Donelson,Michelle                                          Check all that apply.
          1700 Lakewood DR                                            Contingent
          Troy, MI 48083                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.157    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $141.68     Unknown
          Dorelus,Isaiah                                             Check all that apply.
          25 Derby St Apt 2                                           Contingent
          Worcester, MA 01604                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.158    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $176.76     Unknown
          Drakeford,Sharon                                           Check all that apply.
          P.O Box 332                                                 Contingent
          Wedgefield, SC 29168                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.159    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $134.53     Unknown
          Dunbar,Lynnette C                                          Check all that apply.
          5242 W Berks Street                                         Contingent
          Philadelphia, PA 19131                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.160    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $237.09     Unknown
          Dworecki,Francis                                           Check all that apply.
          407 Delmar St                                               Contingent
          Philadelphia, PA 19128                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.161    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $363.88     Unknown
          Echevarria,Lillianna M                                     Check all that apply.
          17 Demond Ave                                               Contingent
          Springfield, MA 01104                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.162    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $68.97     Unknown
          Edwards,Pilar                                              Check all that apply.
          180 Treetop Ave                                             Contingent
          Springfield, MA 01118-2443                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.163    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $451.10     Unknown
          Edwards,Tierra                                             Check all that apply.
          1715 N McVicker Ave                                         Contingent
          Chicago, IL 60639                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.164    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $83.38     Unknown
          Elgaard,Birgitte                                           Check all that apply.
          184 Fairmont Ave                                            Contingent
          #3                                                          Unliquidated
          Worcester, MA 01604                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.165    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $166.32     Unknown
          Ellis,Miranda                                              Check all that apply.
          1614 Brower St                                              Contingent
          Schenectady, NY 12303                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.166    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $667.37     Unknown
          Emanuel,Carmen                                             Check all that apply.
          80 Fayston St                                               Contingent
          Apt 3                                                       Unliquidated
          Dorchester, MA 02121                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.167    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,615.39    Unknown
          Eppinger,April                                             Check all that apply.
          815 McClure Ave                                             Contingent
          Sharon, PA 16146                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.168    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $37.08     Unknown
          Fabian,Medelyn H                                           Check all that apply.
          85 Cross St                                                 Contingent
          Lawrence, MA 01841-3531                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.169    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $751.32     Unknown
          Fajardo,Martina                                            Check all that apply.
          19 Glencoe St                                               Contingent
          Brighton, MA 02135                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.170    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $1.17     Unknown
          Farquharson,Nidia                                          Check all that apply.
          15013 120th Ave                                             Contingent
          Jamaica, NY 11434                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.171    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,380.77    Unknown
          Farrouq,Mohammed                                           Check all that apply.
          149-24 117th St                                             Contingent
          Queens, NY 11420                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.172    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $465.19     Unknown
          Feliz,Dolores                                              Check all that apply.
          44 French St.                                               Contingent
          Apt. #2                                                     Unliquidated
          Methuen, MA 01844                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.173    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $289.38     Unknown
          Fernandez,Clara                                            Check all that apply.
          1224 Walton Ave Apt 2A                                      Contingent
          Bronx, NY 10452-8011                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.174    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $163.80     Unknown
          Fernandez,Suje                                             Check all that apply.
          3333 106th St Apt 1                                         Contingent
          Corona, NY 11368                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.175    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $14.63     Unknown
          Ferreras Vargas,Carlos M                                   Check all that apply.
          35 Geneva St                                                Contingent
          Rochester, NY 14621-3323                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.176    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,315.08    Unknown
          Fielder,Anastasia L                                        Check all that apply.
          436 Cortland Ave                                            Contingent
          Syracuse, NY 13205                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.177    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $205.59     Unknown
          Figueroa Vazquez,Rafael                                    Check all that apply.
          22 Downer Ave Apt 1                                         Contingent
          Dorchester, MA 02125                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.178    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $336.38     Unknown
          Fletcher,Hazel                                             Check all that apply.
          15 Lambert St.                                              Contingent
          Cambridge, MA 02141                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.179    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $236.81     Unknown
          Flores,Diane                                               Check all that apply.
          57 Terrace Circle                                           Contingent
          #C                                                          Unliquidated
          Bridgeport, CT 06606                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.180    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $17.05     Unknown
          Fonseca,Brittney                                           Check all that apply.
          671 State Rd                                                Contingent
          North Dartmouth, MA 02747                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.181    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $4.34     Unknown
          Foreman,Kimberly D                                         Check all that apply.
          137 Poplar St                                               Contingent
          Bridgeport, CT 06605                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.182    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,043.28    Unknown
          Frazier,Alsharaf A                                         Check all that apply.
          8059 Attleboro Dr                                           Contingent
          Jonesboro, GA 30238                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.183    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,424.76    Unknown
          Frazier,Alshareef                                          Check all that apply.
          4949 Mountainside Trl                                       Contingent
          Stone Mountain, GA 30083                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.184    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $37.44     Unknown
          Gallo,Carly                                                Check all that apply.
          62 Rotterdam St                                             Contingent
          Schenectady, NY 12306                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.185    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $508.05     Unknown
          Galvez,Annie                                               Check all that apply.
          1601 Extine Lane                                            Contingent
          Raleigh, NC 27610                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.186    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $170.06     Unknown
          Gamez,Daniela M                                            Check all that apply.
          1936 S Central Ave                                          Contingent
          Cicero, IL 60804-2250                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.187    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $68.38     Unknown
          Garcia Ayouca,Zoila                                        Check all that apply.
          267 Weirfield                                               Contingent
          Brooklyn, NY 11221                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.188    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $428.04     Unknown
          Garcia Rodriguez,Julissa I                                 Check all that apply.
          68 GILMAN STREET                                            Contingent
          1FLOOR                                                      Unliquidated
          Hartford, CT 06114                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.189    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $480.48     Unknown
          Garcia,Neysha                                              Check all that apply.
          458 Fernwood Ave                                            Contingent
          Rochester, NY 14609                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.190    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $128.31     Unknown
          Garnett,Roslyn                                             Check all that apply.
          500 Mother Gaston Blvd Apt 4C                               Contingent
          Brooklyn, NY 11212                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.191    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $51.61     Unknown
          Gates,Lamont K                                             Check all that apply.
          27 Hazel St                                                 Contingent
          New Haven, CT 06511-1901                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.192    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,040.00    Unknown
          Gaymon,Paul                                                Check all that apply.
          35-20 21St Street                                           Contingent
          Apt #1-A                                                    Unliquidated
          Long Island City, NY 11106                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.193    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $905.28     Unknown
          Gerace,Mercy E                                             Check all that apply.
          180 Falcon St Apt 1                                         Contingent
          East Boston, MA 02128                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.194    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $423.61     Unknown
          Glaude,Jureefah                                            Check all that apply.
          34 Wigglesworth St                                          Contingent
          Malden, MA 02148                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.195    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $428.26     Unknown
          Glover,Arnette                                             Check all that apply.
          5238 W. Bloomingdale                                        Contingent
          Apt# 2                                                      Unliquidated
          Chicago, IL 60639                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.196    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $440.96     Unknown
          Gobin,Karishma                                             Check all that apply.
          10625 Guy R Brewer Blvd                                     Contingent
          Jamaica, NY 11433                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.197    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $8.79     Unknown
          Godbolt,Ramona R                                           Check all that apply.
          201 Martin Luther King Dr                                   Contingent
          Bridgeport, CT 06608                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.198    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $718.85     Unknown
          Goffredo,Rosemary                                          Check all that apply.
          38 Chruch St                                                Contingent
          #2                                                          Unliquidated
          Malden, MA 02148                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.199    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $12.32     Unknown
          Gomes,Kiandrio                                             Check all that apply.
          397 Hillberg Ave                                            Contingent
          Brockton, MA 02301                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.200    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $168.70     Unknown
          Gomez,Esmerly                                              Check all that apply.
          17 Noyes St Apt 1                                           Contingent
          Methuen, MA 01844                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.201    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $186.94     Unknown
          Gomez,Rosa I                                               Check all that apply.
          260 Garvey Dr                                               Contingent
          Springfield, MA 01109                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.202    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $675.95     Unknown
          Gonzalez Aquino,Midre M                                    Check all that apply.
          361 Walnut Ave                                              Contingent
          Apt 9                                                       Unliquidated
          Boston, MA 02119                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.203    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $164.67     Unknown
          Gonzalez Perez,Catalina                                    Check all that apply.
          8 Magnolia St                                               Contingent
          #1                                                          Unliquidated
          Dorchester, MA 02125                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.204    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $613.70     Unknown
          Gonzalez Roman,Ana L                                       Check all that apply.
          538 Valley Dr                                               Contingent
          Syracuse, NY 13207                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.205    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $174.45     Unknown
          Gonzalez,Daisy                                             Check all that apply.
          49 Trenaman St                                              Contingent
          Rochester, NY 14621                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.206    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,040.00    Unknown
          Gonzalez,Lurie A                                           Check all that apply.
          2523 Aqueduct Ave                                           Contingent
          Apt B1                                                      Unliquidated
          Bronx, NY 10468                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.207    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $211.31     Unknown
          Gonzalez,Maria                                             Check all that apply.
          153 Wilson St # 2FL                                         Contingent
          Hartford, CT 06106-3546                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.208    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $167.13     Unknown
          Gordon,Sherry A                                            Check all that apply.
          320 Warner Ave                                              Contingent
          Syracuse, NY 13205                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.209    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $5.50     Unknown
          Goslin,Everton                                             Check all that apply.
          21 Homes Ave                                                Contingent
          Dorchester, MA 02122                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.210    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $11.44     Unknown
          Grady,Susan E                                              Check all that apply.
          1317 South Ave Apt 4                                        Contingent
          Rochester, NY 14620-2835                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.211    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $349.58     Unknown
          Graham,Luana                                               Check all that apply.
          81 North Warren                                             Contingent
          APT#3                                                       Unliquidated
          Brockton, MA 02301                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.212    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $510.60     Unknown
          Grant,Maria                                                Check all that apply.
          324 Beach 59th Street                                       Contingent
          Apt#3-C                                                     Unliquidated
          FarRockaway, NY 11692                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.213    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $72.18     Unknown
          Gray,Amylynn J                                             Check all that apply.
          1205 Walden Ave Apt 2                                       Contingent
          Buffalo, NY 14211                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.214    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $104.10     Unknown
          Green,Breashe L                                            Check all that apply.
          1085 Niagara St                                             Contingent
          Buffalo, NY 14213-2008                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.215    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $30.00     Unknown
          Guevara Santiago,Stephany                                  Check all that apply.
          8 Salem St Apt 1                                            Contingent
          New Haven, CT 06519                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.216    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $318.89     Unknown
          Gutierrez De Garcia,Irene                                  Check all that apply.
          3224 S. 53rd Ct.                                            Contingent
          Cicero, IL 60804                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.217    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $14.30     Unknown
          Hall,Deborah                                               Check all that apply.
          61 Bridle Path Cir Apt 322                                  Contingent
          Randolph, MA 02368                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.218    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $241.67     Unknown
          Hall,Dernecia                                              Check all that apply.
          16854 Langley Ave                                           Contingent
          South Holland, IL 60473                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.219    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $849.42     Unknown
          Hall,Janula                                                Check all that apply.
          9 Creston St                                                Contingent
          1                                                           Unliquidated
          Dorchester, MA 02121                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.220    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $19.25     Unknown
          Hall,Shawnte                                               Check all that apply.
          15 inwood st                                                Contingent
          dorchester, MA 02125                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.221    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $9.50     Unknown
          Hare,Kenya                                                 Check all that apply.
          0828 Willow Oak Dr Apt 828                                  Contingent
          Columbia, SC 29223                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.222    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $51.27     Unknown
          Harilall,Latchmi B                                         Check all that apply.
          911 Norwood Ave                                             Contingent
          Schenectady, NY 12303-1226                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.223    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $972.54     Unknown
          Hariram,Shakela                                            Check all that apply.
          114-12 121st Street                                         Contingent
          Queens, NY 11420                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.224    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,497.99    Unknown
          Harris,Daquam                                              Check all that apply.
          812 South St                                                Contingent
          Utica, NY 13501                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.225    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $383.97     Unknown
          Harris,Kimberly M                                          Check all that apply.
          1834 Kenmore Ave Apt B                                      Contingent
          Buffalo, NY 14216                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.226    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,129.91    Unknown
          Hasan,Ahm Quamrul                                          Check all that apply.
          18624 Foch Boulevard                                        Contingent
          Ground Floor                                                Unliquidated
          Saint Albans, NY 11412                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.227    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,687.14    Unknown
          Haye,Omeal A                                               Check all that apply.
          3454 Fenton Ave                                             Contingent
          4D                                                          Unliquidated
          Bronx, NY 10469                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.228    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $683.07     Unknown
          Haynes,Isaac A                                             Check all that apply.
          1044 Delamont Ave                                           Contingent
          Schenectady, NY 12307                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.229    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $184.21     Unknown
          Hernandez,Cristina                                         Check all that apply.
          1776-68th Street                                            Contingent
          Apt#1-D                                                     Unliquidated
          Brooklyn, NY 11204                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.230    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $530.97     Unknown
          Hernandez,Johnny A                                         Check all that apply.
          38 Banks St                                                 Contingent
          Brockton, MA 02302                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.231    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $685.41     Unknown
          Hernandez,Sonia L                                          Check all that apply.
          34 Douglas St.                                              Contingent
          Apt.#1                                                      Unliquidated
          Hartford, CT 06114                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.232    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $98.49     Unknown
          Hernandez,Stephanie M                                      Check all that apply.
          566 Pennsylvania Ave                                        Contingent
          Elizabeth, NJ 07201-1112                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.233    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,613.86    Unknown
          Herrera,Jazmin                                             Check all that apply.
          4134 N Kolmar Ave                                           Contingent
          Chicago, IL 60641                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.234    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $22.49     Unknown
          Hickman,Randy A                                            Check all that apply.
          3215 Candlewood Dr                                          Contingent
          East Point, GA 30044                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.235    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $72.90     Unknown
          Hill,William D                                             Check all that apply.
          558 E. Utica St.                                            Contingent
          Buffalo, NY 14208                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.236    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $267.19     Unknown
          Hobson,Kendia R                                            Check all that apply.
          4118 Monroe St                                              Contingent
          Gary, IN 46408                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.237    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $11.55     Unknown
          Holmes Jr,James                                            Check all that apply.
          88 Ruth St                                                  Contingent
          New Bedford, MA 02744-2442                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.238    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $100.62     Unknown
          Hoque,Tania                                                Check all that apply.
          34-51 24 Street Apt 1FL                                     Contingent
          Astoria, NY 11106                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.239    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $273.65     Unknown
          Hossain,Afaz                                               Check all that apply.
          613 E. 16 St.                                               Contingent
          Apt#5-I                                                     Unliquidated
          Brooklyn, NY 11226                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.240    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $258.72     Unknown
          House,Latonya A                                            Check all that apply.
          550 Hale Ave Unit1                                          Contingent
          Cincinati, OH 45229                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.241    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,223.48    Unknown
          Howell,Daphne                                              Check all that apply.
          175 Canton Street                                           Contingent
          A-5                                                         Unliquidated
          West Haven, CT 06616                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.242    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $67.21     Unknown
          Huerta,Maya G                                              Check all that apply.
          1214 Kenilworth Ave                                         Contingent
          Berwyn, IL 60402-1025                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.243    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $4.75     Unknown
          Huertas,Carmen F                                           Check all that apply.
          81 Lee Ave                                                  Contingent
          Bridgeport, CT 06605                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.244    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $818.35     Unknown
          Hugh Johnson,Vinel                                         Check all that apply.
          174-07 Polhemus Ave                                         Contingent
          Apt#2                                                       Unliquidated
          Jamaica, NY 11433                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.245    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,113.58    Unknown
          Hughes,Elizabeth                                           Check all that apply.
          215 W 116th St                                              Contingent
          Apt 7A                                                      Unliquidated
          New York, NY 10026                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.246    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $420.42     Unknown
          Hulin,Khalilah                                             Check all that apply.
          2525 Ivydale                                                Contingent
          Atlanta, GA 30311                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.247    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,692.31    Unknown
          Hyatt,Richard                                              Check all that apply.
          87 Sierra Rd Apt 29                                         Contingent
          Hyde Park, MA 02136-2521                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.248    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $897.26     Unknown
          Inga,Carmita                                               Check all that apply.
          86-86 78th Street                                           Contingent
          Woodhaven, NY 11421                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.249    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $633.98     Unknown
          Jackson,Courtney                                           Check all that apply.
          2499 Sheridan dr 6                                          Contingent
          Tonawanda, NY 14105                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.250    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $80.08     Unknown
          Jackson,Jacqueline                                         Check all that apply.
          198 Koons Ave                                               Contingent
          Buffalo, NY 14211                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.251    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $271.08     Unknown
          Jackson,Trevor                                             Check all that apply.
          1697 Davidson Ave                                           Contingent
          Bronx, NY 10453                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.252    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $895.67     Unknown
          Jagernauth,Padmawattie P                                   Check all that apply.
          10429 134th St                                              Contingent
          South Richmond Hill, NY 11419                               Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.253    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $11.22     Unknown
          James,Fanisha L                                            Check all that apply.
          212 Seward St                                               Contingent
          Rochester, NY 14608-2609                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.254    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $494.37     Unknown
          James,Kadylene                                             Check all that apply.
          3794 Rosemary Ln SE                                         Contingent
          Conyers, GA 30013                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.255    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $657.31     Unknown
          James,Martel A                                             Check all that apply.
          133 Folly Brook                                             Contingent
          Apt# 2                                                      Unliquidated
          Wethersfield, CT 06109                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.256    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $719.68     Unknown
          Jean Rene,Lirons                                           Check all that apply.
          8915 144th St Apt 4H                                        Contingent
          Jamaica, NY 11435                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.257    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $37.84     Unknown
          Jean-Louis,Dyshawn                                         Check all that apply.
          38 Banks Street                                             Contingent
          Brockton, MA 02302                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.258    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $471.64     Unknown
          Jimenez,Brandon                                            Check all that apply.
          57 King St.                                                 Contingent
          2                                                           Unliquidated
          Stratford, CT 06615                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.259    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $448.50     Unknown
          Jimenez,Teofila                                            Check all that apply.
          1536 White Plain Rd.                                        Contingent
          Apt. 1C                                                     Unliquidated
          Bronx, NY 10462                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.260    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,066.26    Unknown
          Joe,Trimoin M                                              Check all that apply.
          96 Roeckel Ave                                              Contingent
          Valley Stream, NY 11580                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.261    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $593.60     Unknown
          John,Maxwell                                               Check all that apply.
          788 Lyons Ave.                                              Contingent
          Irvington, NJ 07111                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.262    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $160.13     Unknown
          Johnson,Donna                                              Check all that apply.
          207 PRINCE STREET                                           Contingent
          Newark, NJ 07103                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.263    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $157.00     Unknown
          Johnson,Elisha M                                           Check all that apply.
          550 E George Ave                                            Contingent
          Hazel Park, MI 48030-2512                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.264    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $269.06     Unknown
          Johnson,Kyla                                               Check all that apply.
          241 State St                                                Contingent
          New Bedford, MA 02740                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.265    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $12.38     Unknown
          Johnson,Marquila C                                         Check all that apply.
          166 Grey St #1                                              Contingent
          Buffalo, NY 14211                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.266    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $576.24     Unknown
          Jones,Alexandra P                                          Check all that apply.
          614 N. Parkside                                             Contingent
          Chicago, IL 60644                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.267    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,490.84    Unknown
          Jones,Jelisa A                                             Check all that apply.
          1654 Elm St                                                 Contingent
          2nd fl                                                      Unliquidated
          Utica, NY 13501                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.268    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $554.40     Unknown
          Jones,Ryan                                                 Check all that apply.
          157 Beacon Cir                                              Contingent
          Springfield, MA 01119                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.269    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $788.70     Unknown
          Joseph,Vanessa                                             Check all that apply.
          14 King Crest Terr                                          Contingent
          Randolph, MA 02368                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.270    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $58.03     Unknown
          Joyner,Geneva                                              Check all that apply.
          433 Koons Ave                                               Contingent
          Buffalo, NY 14211                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.271    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $33.03     Unknown
          Kabemba,John I                                             Check all that apply.
          116 Elizabeth St Apt A2                                     Contingent
          West Haven, CT 06516-1041                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.272    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $53.66     Unknown
          Kazmierczak,Michael                                        Check all that apply.
          57 Wheelock St # 1                                          Contingent
          Buffalo, NY 14206                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.273    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,132.04    Unknown
          Kebbeh,Geberry                                             Check all that apply.
          2867 Randall Ave                                            Contingent
          Apt#2                                                       Unliquidated
          Bronx, NY 10456                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.274    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $58.55     Unknown
          Kelley,Robert L                                            Check all that apply.
          59 Schreck Ave                                              Contingent
          Buffalo, NY 14215-3211                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.275    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $411.94     Unknown
          Kelly,Shawn                                                Check all that apply.
          1048 Howard St                                              Contingent
          Schenectady, NY 12303                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.276    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $571.95     Unknown
          Kennedy,Katherine D                                        Check all that apply.
          82 Carter Ave SE                                            Contingent
          Atlanta, GA 30317                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.277    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,195.01    Unknown
          Kerr,Mary B                                                Check all that apply.
          209 W Molloy Rd                                             Contingent
          Syracuse, NY 13211                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.278    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,092.83    Unknown
          Kesarsingh,Dhanmatee                                       Check all that apply.
          130-26 97 Ave                                               Contingent
          Richmond HIll, NY 11419                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.279    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $562.32     Unknown
          Khachfi,Julie Anne M                                       Check all that apply.
          11 Benham St                                                Contingent
          Worcester, MA 01604                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.280    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,911.39    Unknown
          Khan,Riza                                                  Check all that apply.
          24-50, 94th Street                                          Contingent
          East Elmhurst, NY 11369                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.281    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $666.90     Unknown
          Khatun,Noor A                                              Check all that apply.
          71-05 37Th Ave                                              Contingent
          Apt# 6G                                                     Unliquidated
          Jackson Heights, NY 11372                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.282    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $84.89     Unknown
          Kimbrough,Khadijah M                                       Check all that apply.
          333 W 100th St                                              Contingent
          Chicago, IL 60628-1910                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.283    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,263.56    Unknown
          Kistoo,Rajdai                                              Check all that apply.
          1524 RhinelanderAvenue                                      Contingent
          Apt 2                                                       Unliquidated
          Bronx, NY 10461                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.284    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $155.43     Unknown
          Knight,Dane T                                              Check all that apply.
          425 Washington St                                           Contingent
          Dorchester, MA 02124-1122                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.285    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $202.81     Unknown
          Knight,Reasha                                              Check all that apply.
          147 Standish St                                             Contingent
          Hartford, CT 06114                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.286    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $438.21     Unknown
          Knipe,Rita                                                 Check all that apply.
          1735 Fowler Ave                                             Contingent
          Bronx, NY 10462                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.287    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $386.98     Unknown
          Knox,Cerissa                                               Check all that apply.
          226 Meadowood Rdg                                           Contingent
          Lithonia, GA 30038-1470                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.288    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $38.08     Unknown
          Kooffreh,Countess                                          Check all that apply.
          20 Swasey St # 1                                            Contingent
          Haverhill, MA 01832-5452                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.289    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $10.61     Unknown
          Laguerre,Phyllis                                           Check all that apply.
          85 Madison St                                               Contingent
          Buffalo, NY 14206                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.290    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,307.70    Unknown
          Lamb,Tracy                                                 Check all that apply.
          10 New Brunswick Ct                                         Contingent
          Stafford, VA 22554                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.291    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $863.52     Unknown
          Lambert,Cicly                                              Check all that apply.
          4657 5th St                                                 Contingent
          Ecorse, MI 48229                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.292    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,538.47    Unknown
          Lane,Rachel A                                              Check all that apply.
          2038 Central St                                             Contingent
          Three Rivers, MA 01080                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.293    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $12.48     Unknown
          Larmond,Arlene A                                           Check all that apply.
          119 Charmouth Dr                                            Contingent
          Syracuse, NY 13207-1950                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.294    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $45.66     Unknown
          Lasher,Faith M                                             Check all that apply.
          1122 Howard Ave                                             Contingent
          Utica, NY 13501-3910                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.295    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $519.87     Unknown
          Latif,Bibi Y                                               Check all that apply.
          14787 Edgewood St                                           Contingent
          Rosendale, NY 11422                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.296    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $313.39     Unknown
          Latimer,Marica                                             Check all that apply.
          301 Cayman Way                                              Contingent
          Charlotte, NC 28217                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.297    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $11.77     Unknown
          Lawton,Aaron D                                             Check all that apply.
          281 Bowdoin St Apt 2                                        Contingent
          Boston, MA 02122-1833                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.298    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $55.11     Unknown
          Le,Hoa                                                     Check all that apply.
          241 Humboldt Ave # 4                                        Contingent
          Dorchester, MA 02121-2322                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.299    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $574.80     Unknown
          Leak,Venien                                                Check all that apply.
          5321 W. Foster Ave.                                         Contingent
          Apt #1                                                      Unliquidated
          Chicago, IL 60630                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.300    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $139.26     Unknown
          Leal Mejias,Wilmer J                                       Check all that apply.
          79 Curtis St                                                Contingent
          Somerville, MA 02144-1240                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.301    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,191.45    Unknown
          Leon,Grace                                                 Check all that apply.
          4761 Broadway                                               Contingent
          Apt 25                                                      Unliquidated
          Inwood, NY 10034                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.302    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,141.79    Unknown
          Lewis,Leroy A                                              Check all that apply.
          18011 N Conduit Ave                                         Contingent
          Jamaica, NY 11434                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.303    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $586.00     Unknown
          Lines IV,William W                                         Check all that apply.
          1055 S Elmora Ave                                           Contingent
          Elizabeth, NJ 07202                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.304    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,076.92    Unknown
          Lioy,Sandra J                                              Check all that apply.
          155 Canal Landing Blvd                                      Contingent
          Apt 307                                                     Unliquidated
          Rochester, NY 14626                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.305    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $709.02     Unknown
          Loknath,Dianand                                            Check all that apply.
          80-45 88th Ave                                              Contingent
          Woodhaven, NY 11421                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.306    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $522.28     Unknown
          Lopez Ovalles,Jennifer                                     Check all that apply.
          198 Jackson St                                              Contingent
          Apt 2                                                       Unliquidated
          Lawrence, MA 01841                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.307    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $43.78     Unknown
          Lopez,Brenda                                               Check all that apply.
          71 Almont St # 2                                            Contingent
          Mattapan, MA 02126-1419                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.308    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $754.27     Unknown
          Lopez,Maria De Los Angeles                                 Check all that apply.
          408 McGrath Hwy # 3                                         Contingent
          Somerville, MA 02143-1930                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.309    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $13.09     Unknown
          Lopez,Martin                                               Check all that apply.
          269 N Warren Ave Apt 3                                      Contingent
          Brockton, MA 02301                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.310    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $122.36     Unknown
          Love,Angelika M                                            Check all that apply.
          73 S Fisher Rd                                              Contingent
          West Seneca, NY 14218-3654                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.311    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $241.89     Unknown
          Lozada,Anais                                               Check all that apply.
          481 Columbia Rd Apt 1                                       Contingent
          Boston, MA 02125                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.312    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,623.19    Unknown
          Lozada,Cathy                                               Check all that apply.
          655 Pelham Pkwy North                                       Contingent
          Apt #5-J                                                    Unliquidated
          Bronx, NY 10467                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.313    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $254.21     Unknown
          Lugo Ciprian,Santa L                                       Check all that apply.
          24 Topliff St Apt 2                                         Contingent
          Boston, MA 02122-1030                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.314    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $544.05     Unknown
          Mafla,Nelly                                                Check all that apply.
          31-20 83th Street                                           Contingent
          East Elmhurst, NY 11370                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.315    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $232.35     Unknown
          Maisonet,Taletha                                           Check all that apply.
          74 W Cleveland Dr Uppr                                      Contingent
          Buffalo, NY 14215                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.316    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $432.51     Unknown
          Major,Allison W                                            Check all that apply.
          112-31 207th St                                             Contingent
          Queens Village, NY 11429                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.317    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $292.24     Unknown
          Malcolm,Julia                                              Check all that apply.
          2321 Tiebout Ave Apt 5G                                     Contingent
          Bronx, NY 10458                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.318    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $36.75     Unknown
          Maldonado,Vanessa                                          Check all that apply.
          98 Highland Ave Apt 217                                     Contingent
          Bridgeport, CT 06604-3518                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.319    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $64.79     Unknown
          Mangual,Paula                                              Check all that apply.
          256 Market St Apt 204B                                      Contingent
          Lowell, MA 01852                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.320    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,349.85    Unknown
          Mannarino,James A                                          Check all that apply.
          811 Washington Ave Fl 2                                     Contingent
          Braddock, PA 15104                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.321    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $336.93     Unknown
          Marin Ayala,Carmen J                                       Check all that apply.
          37 Lawrence St Fl 1                                         Contingent
          Methuen, MA 01844                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.322    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $45.36     Unknown
          Marine,Francheska                                          Check all that apply.
          613 Court St                                                Contingent
          Elizabeth, NJ 07206-1304                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.323    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $44.76     Unknown
          Marquez Betancourt,Joshuan                                 Check all that apply.
          445 Broadway Apt 2                                          Contingent
          Newark, NJ 07104                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.324    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $205.61     Unknown
          Marshall,Veral                                             Check all that apply.
          232 Sumner Pl                                               Contingent
          Buffalo, NY 14211                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.325    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,626.75    Unknown
          Martinez,Abbe                                              Check all that apply.
          14 W 107th St # 16                                          Contingent
          New York, NY 10025                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.326    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,057.70    Unknown
          Massey Eddy,Gail D                                         Check all that apply.
          2035 Flowerwood Trl                                         Contingent
          Ellenwood, GA 30294                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.327    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $125.32     Unknown
          Matos,Jomery R                                             Check all that apply.
          245 Berlin St                                               Contingent
          Rochester, NY 14621-4711                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.328    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,664.79    Unknown
          Matthew,Jerry                                              Check all that apply.
          1263 Croes Avenue                                           Contingent
          Bronx, NY 10472                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.329    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $32.01     Unknown
          McAllister,Elijah                                          Check all that apply.
          8 Lauriat St                                                Contingent
          Dorchester, MA 02124                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.330    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $22.52     Unknown
          McClain,Zaire L                                            Check all that apply.
          101 Birch Dr                                                Contingent
          Stratford, CT 06615                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.331    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $177.06     Unknown
          McCoy,Jalisa B                                             Check all that apply.
          15160 135th Ave                                             Contingent
          Jamaica, NY 11434-3510                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.332    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $45.03     Unknown
          McFadden,Duran                                             Check all that apply.
          83 Grant Street                                             Contingent
          Apt 2                                                       Unliquidated
          Buffalo, NY 14213                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.333    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $102.82     Unknown
          Mcfarlane,Janice T                                         Check all that apply.
          48 Providence St                                            Contingent
          New Haven, CT 06513-1141                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.334    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $75.46     Unknown
          McLaughlin,Richard R                                       Check all that apply.
          87 Swan St Apt 1                                            Contingent
          Everett, MA 02149-1305                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.335    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,080.00    Unknown
          McLean,Carlos                                              Check all that apply.
          177 Sands Street                                            Contingent
          Apt. #12-F                                                  Unliquidated
          Brooklyn, NY 11201                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.336    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,808.00    Unknown
          McMillan,Elise                                             Check all that apply.
          43 Keystone Street                                          Contingent
          Apt 1                                                       Unliquidated
          Buffalo, NY 14211                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.337    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $775.83     Unknown
          McPherson,Styrone P                                        Check all that apply.
          75 Winthrop St                                              Contingent
          Apt 1                                                       Unliquidated
          Brockton, MA 02301                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.338    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,035.84    Unknown
          Medero,Joshua                                              Check all that apply.
          100 forest ave apt# 3202                                    Contingent
          Buffalo, NY 14213                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.339    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $726.04     Unknown
          Medina,Ameriliz                                            Check all that apply.
          110 Sackett St                                              Contingent
          Syracuse, NY 13204                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.340    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $68.97     Unknown
          Melendez,Victor G                                          Check all that apply.
          918 Hyde Park Ave                                           Contingent
          Boston, MA 02136-3224                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.341    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,029.91    Unknown
          Melvin,Barbara J                                           Check all that apply.
          24 Chestnut St                                              Contingent
          Schenectady, NY 12307-1038                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.342    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $160.16     Unknown
          Mercado,Elizabeth                                          Check all that apply.
          3862 N Saint Louis Ave Bsmt                                 Contingent
          Chicago, IL 60618                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.343    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,461.72    Unknown
          Merino,Maritza E                                           Check all that apply.
          632 E 186 ST.                                               Contingent
          Apt 5                                                       Unliquidated
          Bronx, NY 10458                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.344    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $16.56     Unknown
          Merzier,Ikenson                                            Check all that apply.
          1083 Noble Ave                                              Contingent
          Bridgeport, CT 06608                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.345    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,286.08    Unknown
          Midcalf,Latitia                                            Check all that apply.
          5939 W. 27th Street                                         Contingent
          Apt #5-C                                                    Unliquidated
          Chicago, IL 60804                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.346    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,826.93    Unknown
          Mikic,Nadina                                               Check all that apply.
          517 Park Lane Dr                                            Contingent
          Utica, NY 13502                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.347    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $250.04     Unknown
          Miles,Maliek A                                             Check all that apply.
          189 Hanmer St                                               Contingent
          Hartford, CT 06114-2834                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.348    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $747.89     Unknown
          Milfort,Brent F                                            Check all that apply.
          7 Santuit St                                                Contingent
          #3                                                          Unliquidated
          Boston, MA 02124                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.349    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $921.38     Unknown
          Miller,Tanya                                               Check all that apply.
          168 Washington Ave.                                         Contingent
          2nd Floor                                                   Unliquidated
          West Haven, CT 06516                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.350    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $517.44     Unknown
          Miner,Miko                                                 Check all that apply.
          1564 N 22nd St                                              Contingent
          Milwaukee, WI 53205                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.351    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $923.08     Unknown
          Mitchell,Saffron                                           Check all that apply.
          3542 WEST 163RD STREET                                      Contingent
          MARKHAM, IL 60428                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.352    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $15.51     Unknown
          Mitchell,Tracina                                           Check all that apply.
          4560 Washington St Apt 309                                  Contingent
          Roslindale, MA 02131                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.353    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $23.87     Unknown
          Molina,Yoseline                                            Check all that apply.
          58 Obrien Ct Apt 762                                        Contingent
          Charlestown, MA 02129-2305                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.354    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,090.70    Unknown
          Mondal,Sulekha                                             Check all that apply.
          84-65 Parson Blvd                                           Contingent
          1st. Floor                                                  Unliquidated
          Jamaica, NY 11432                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.355    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $313.50     Unknown
          Moore,Derek D                                              Check all that apply.
          4415 Rose Ridge Place                                       Contingent
          Apt 7                                                       Unliquidated
          CHARLOTTE, NC 28217                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.356    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $11.01     Unknown
          Moore,James W                                              Check all that apply.
          308 Edgewood Ave Apt 2                                      Contingent
          New Haven, CT 06511-4146                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.357    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $321.36     Unknown
          Moore,Monique                                              Check all that apply.
          5135 W Wabansia Ave                                         Contingent
          Chicago, IL 60639-4440                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.358    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,351.22    Unknown
          Morales,Maria                                              Check all that apply.
          144-06 88th Avenue                                          Contingent
          Apt #2-D                                                    Unliquidated
          Jamaica, NY 11435                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.359    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $32.34     Unknown
          Morales,Xzavier J                                          Check all that apply.
          17 Fairhaven Dr                                             Contingent
          Springfield, MA 01151-1318                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.360    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $35.09     Unknown
          Moran,Madai Y                                              Check all that apply.
          52 Glendale St                                              Contingent
          Everett, MA 02149-2341                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.361    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $238.37     Unknown
          Munroe,Unita                                               Check all that apply.
          80 Fayston St                                               Contingent
          Boston, MA 02121                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.362    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $68.48     Unknown
          Myers,Ira D                                                Check all that apply.
          1071 Iranistan Ave Apt 9                                    Contingent
          Bridgeport, CT 06604-3793                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.363    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $49.82     Unknown
          Myles Jones,Andre C                                        Check all that apply.
          51 Thatcher Ave                                             Contingent
          Buffalo, NY 14215-2233                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.364    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,349.19    Unknown
          Nabie,Sakina                                               Check all that apply.
          139-18 Lynden Blvd.                                         Contingent
          Jamaica, NY 11436                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.365    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $371.25     Unknown
          Nahar,Nazmun                                               Check all that apply.
          122 ORCHAD STREET                                           Contingent
          APT#2                                                       Unliquidated
          Elizabeth, NJ 07208                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.366    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $728.00     Unknown
          Narainsamy,Chitralika                                      Check all that apply.
          2143 Starling Ave                                           Contingent
          #211                                                        Unliquidated
          Bronx, NY 10462                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.367    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,373.19    Unknown
          Nasira,Sultana                                             Check all that apply.
          936 Glenmore Ave Fl 2                                       Contingent
          Brooklyn, NY 11208                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.368    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $617.76     Unknown
          Nelson,Aleyda R                                            Check all that apply.
          25 Fieldston St                                             Contingent
          Springfield, MA 01119                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.369    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $304.04     Unknown
          Neree,Bradley R                                            Check all that apply.
          272 Moraine St Apt 2                                        Contingent
          Brockton, MA 02301                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.370    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $96.58     Unknown
          Nieves,Anexis                                              Check all that apply.
          765 Broadway Apt 6                                          Contingent
          Everett, MA 02149-4047                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.371    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $27.48     Unknown
          Nieves,Angelina                                            Check all that apply.
          42 Juniper St Fl 3                                          Contingent
          Lawrence, MA 01841                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.372    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $207.58     Unknown
          Noble,Braylon M                                            Check all that apply.
          4580 Onondaga Blvd Apt 33                                   Contingent
          Syracuse, NY 13219-3310                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.373    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $496.99     Unknown
          Noble,Ordeen                                               Check all that apply.
          3454 Fenton Ave                                             Contingent
          Apt#1-D                                                     Unliquidated
          Bronx, NY 10469                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.374    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,174.91    Unknown
          Nunez,Juan                                                 Check all that apply.
          1248 Hoe Ave                                                Contingent
          Bronx, NY 10459                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.375    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $158.18     Unknown
          Nunez,Mariana                                              Check all that apply.
          75 Cutler St Apt 1                                          Contingent
          Newark, NJ 07104                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.376    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,505.14    Unknown
          Nunez,Ylda                                                 Check all that apply.
          4 W 108th St                                                Contingent
          Apt. #21                                                    Unliquidated
          New York, NY 10025                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.377    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $37.62     Unknown
          Nyongesa,Dajae W                                           Check all that apply.
          284 Sawyer St                                               Contingent
          New Bedford, MA 02746                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.378    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $134.53     Unknown
          Oceguera Oliveros,Maritza                                  Check all that apply.
          29 1st St Apt 2                                             Contingent
          Hamden, CT 06514-4914                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.379    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,714.85    Unknown
          Ogando,Isabel                                              Check all that apply.
          2120 Belmont Ave                                            Contingent
          Basement Apt                                                Unliquidated
          Bronx, NY 10457                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.380    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $157.14     Unknown
          Ogara,Santina R                                            Check all that apply.
          68 Brinkman Ave                                             Contingent
          Buffalo, NY 14211-2506                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.381    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $271.20     Unknown
          Ogilvie,Devon S                                            Check all that apply.
          14 Bloomfield St.                                           Contingent
          Dorchester, MA 02124                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.382    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $925.76     Unknown
          Oleksik,Kaitlin M                                          Check all that apply.
          47 Evergreen Ave                                            Contingent
          Hamden, CT 06518                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.383    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $87.89     Unknown
          Ortega,Leticia                                             Check all that apply.
          2251 S Trumbull Ave                                         Contingent
          Chicago, IL 60623-3250                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.384    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $7.28     Unknown
          Owens,Aniesha D                                            Check all that apply.
          3550 Montclair St Apt 12                                    Contingent
          Detroit, MI 48214-2162                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.385    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $40.04     Unknown
          Pagan,Wanda                                                Check all that apply.
          38 Lincoln St Apt C                                         Contingent
          Lowell, MA 01851                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.386    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $96.03     Unknown
          Palmore,Letetia A                                          Check all that apply.
          7648 Garners Ferry Rd Apt 302                               Contingent
          Columbia, SC 29209-3847                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.387    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,223.69    Unknown
          Panchal,Kalpana D                                          Check all that apply.
          81-50 102th Rd                                              Contingent
          Apt#2                                                       Unliquidated
          Ozone Park, NY 11416                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.388    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $98.23     Unknown
          Parker,Kendra N                                            Check all that apply.
          50 Decatur St                                               Contingent
          Charlestown, MA 02129-2814                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.389    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $587.34     Unknown
          Paucar,Rosa E                                              Check all that apply.
          7819 17th Ave                                               Contingent
          Brooklyn, NY 11214                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.390    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $14.63     Unknown
          Pena,Angel                                                 Check all that apply.
          37 Summer St # 3                                            Contingent
          Lawrence, MA 01840-1717                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.391    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,972.79    Unknown
          Peralta,Dario                                              Check all that apply.
          2316 Andrews Ave                                            Contingent
          Apt#43                                                      Unliquidated
          Bronx, NY 10468                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.392    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $669.43     Unknown
          Pereira,Jacob I                                            Check all that apply.
          473 1/2 Park St                                             Contingent
          New Britain, CT 06051                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.393    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,500.00    Unknown
          Pereyra,Jose A                                             Check all that apply.
          70 Independence Dr                                          Contingent
          Roselle, NJ 07203                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.394    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $67.08     Unknown
          Perez,Elena                                                Check all that apply.
          5716 W Wellington Ave # 1E                                  Contingent
          Chicago, IL 60634-5249                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.395    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $54.78     Unknown
          Perez,Erika                                                Check all that apply.
          83 Lilley Ave Apt 2                                         Contingent
          Lowell, MA 01850                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.396    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $440.44     Unknown
          Perez,Yoselyn A                                            Check all that apply.
          265 Belmont St                                              Contingent
          Worcester, MA 01604                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.397    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $378.77     Unknown
          Perez-Diaz,Germaine M                                      Check all that apply.
          21 2nd St                                                   Contingent
          Rochester, NY 14605                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.398    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $391.60     Unknown
          Perlera,Carmen                                             Check all that apply.
          23 Newton St Apt 1                                          Contingent
          Everett, MA 02149                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.399    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,884.62    Unknown
          Perry,Vanessa V                                            Check all that apply.
          40 Royal Crest Dr Apt 12                                    Contingent
          Nashua, NH 03060-6629                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.400    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $157.61     Unknown
          Perry-Estrada,Jenny L                                      Check all that apply.
          96 Kent court                                               Contingent
          Garner, NC 27529                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.401    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $894.41     Unknown
          Pesce,Diane M                                              Check all that apply.
          103 Lebanon St                                              Contingent
          Melrose, MA 02176                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.402    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $545.79     Unknown
          Phillips,Aja C                                             Check all that apply.
          129 Boyce Ave                                               Contingent
          Apt 1                                                       Unliquidated
          Utica, NY 13501                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.403    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,276.16    Unknown
          Polanco De Jesus,Rafael A                                  Check all that apply.
          1224 Walton ave                                             Contingent
          Apt#2A                                                      Unliquidated
          Bronx, NY 10452                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.404    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $865.54     Unknown
          Ponce,Dora L                                               Check all that apply.
          30-49 Crescent St                                           Contingent
          Apt #H2D1                                                   Unliquidated
          Astoria, NY 11102                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.405    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $64.08     Unknown
          Pope,Takenya C                                             Check all that apply.
          921 N Latrobe Ave                                           Contingent
          Chicago, IL 60651-2962                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.406    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,413.42    Unknown
          Populo,Jessica M                                           Check all that apply.
          32 Saint John St                                            Contingent
          Mc Kees Rocks, PA 15136                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.407    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $676.72     Unknown
          Porter,Demetria                                            Check all that apply.
          10958 PALADIN DR                                            Contingent
          Hampton, GA 30228                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.408    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $69.30     Unknown
          Prater,Consuela M                                          Check all that apply.
          7916 S Drexel Ave                                           Contingent
          Chicago, IL 60619-4176                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.409    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,042.34    Unknown
          Proano,Marlene                                             Check all that apply.
          282 Kingsbridge Rd                                          Contingent
          Apt#282                                                     Unliquidated
          Bronx, NY 10458                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.410    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,232.12    Unknown
          Prosper,Nadine                                             Check all that apply.
          136 Wildwood Gln                                            Contingent
          Stone Mountain, GA 30083                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.411    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $328.13     Unknown
          Rabah,Aziza                                                Check all that apply.
          118 Alden Street                                            Contingent
          Malden, MA 02148                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.412    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $981.24     Unknown
          Ramai,Christopher                                          Check all that apply.
          89-20 150th Street                                          Contingent
          Apt #2-C                                                    Unliquidated
          Jamaica, NY 11435                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.413    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $726.13     Unknown
          Randall,Chastity A                                         Check all that apply.
          906 Spring St                                               Contingent
          Syracuse, NY 13208                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.414    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $778.96     Unknown
          Raposo,Angiolina                                           Check all that apply.
          601 W. 141St Street                                         Contingent
          Apt #45                                                     Unliquidated
          New York, NY 10031                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.415    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,226.68    Unknown
          Raymundo,Herlinda                                          Check all that apply.
          25-20 30rd                                                  Contingent
          Apt. #2-D                                                   Unliquidated
          Astoria, NY 11102                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.416    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $89.44     Unknown
          Razack,Simone P                                            Check all that apply.
          7014 Amstel Blvd                                            Contingent
          Arverne, NY 11692                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.417    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $21.89     Unknown
          Remigio,Annie M                                            Check all that apply.
          2055 Columbus Ave                                           Contingent
          Roxbury, MA 02119-4201                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.418    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $279.11     Unknown
          Renaud,Keyona                                              Check all that apply.
          30 Montgomery St                                            Contingent
          Indian Orchard, MA 01151-1616                               Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.419    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,115.39    Unknown
          Rennell,Heather                                            Check all that apply.
          72 Colonial Ave                                             Contingent
          Agawam, MA 01001                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.420    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $181.72     Unknown
          Revi,Hector                                                Check all that apply.
          38 Oliver Ave                                               Contingent
          Lawrence, MA 01841                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.421    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $347.34     Unknown
          Reyes Otero,Jose A                                         Check all that apply.
          307 Pennels Dr                                              Contingent
          Rochester, NY 14626                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.422    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $169.11     Unknown
          Reyes,Diomedes                                             Check all that apply.
          65 Mount Hope Pl                                            Contingent
          Apt 2D                                                      Unliquidated
          Bronx, NY 10453                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.423    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,195.45    Unknown
          Reyes,Dulce                                                Check all that apply.
          562 West 175 ST.                                            Contingent
          APT#5-A                                                     Unliquidated
          New York, NY 10033                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.424    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $706.42     Unknown
          Reyes,Ninoska G                                            Check all that apply.
          22014 Hempstead Ave                                         Contingent
          Apt 2B                                                      Unliquidated
          Queens Village, NY 11429                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.425    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $17.38     Unknown
          Reyes,Rasyelis                                             Check all that apply.
          64 Richfield St Apt 1                                       Contingent
          Dorchester, MA 02125-2508                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.426    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $596.64     Unknown
          Richmond,Lisa                                              Check all that apply.
          1940 Cleneay Ave                                            Contingent
          Cincinnati, OH 45212                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.427    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $112.71     Unknown
          Riley,Mark                                                 Check all that apply.
          176-11 110th Avenue                                         Contingent
          Jamaica, NY 11433                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.428    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $17.60     Unknown
          Rios Vazquez,Ozzie J                                       Check all that apply.
          74 Copeland St                                              Contingent
          Rochester, NY 14609-4736                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.429    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $759.57     Unknown
          Rios,Olga                                                  Check all that apply.
          105 Heywood Ave                                             Contingent
          Apt#19                                                      Unliquidated
          W. Springfield, MA 01089                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.430    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $64.46     Unknown
          Rivas,Beky G                                               Check all that apply.
          64 Water St # 1                                             Contingent
          Lawrence, MA 01841                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.431    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $266.00     Unknown
          Rivera,Elvis                                               Check all that apply.
          446 Applestar St                                            Contingent
          Holyoke, MA 01040                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.432    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,180.17    Unknown
          Rivera,George                                              Check all that apply.
          1500 Boston Rd                                              Contingent
          Apt#41                                                      Unliquidated
          Bronx, NY 10460                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.433    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $196.98     Unknown
          Rivera,John A                                              Check all that apply.
          57 C Terrace Circle                                         Contingent
          Bridgeport, CT 06606                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.434    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,259.44    Unknown
          Rivera,Silma A                                             Check all that apply.
          105 Turner Rd Apt 118                                       Contingent
          Beulaville, NC 28518-7718                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.435    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $638.72     Unknown
          Rivera,Sonia                                               Check all that apply.
          184 Deacon St # 2                                           Contingent
          Bridgeport, CT 06607                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.436    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $12.65     Unknown
          Rivera,Yarira                                              Check all that apply.
          3 Cutler St Apt 2                                           Contingent
          Worcester, MA 01604-4801                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.437    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $273.26     Unknown
          Roberson,Joyce                                             Check all that apply.
          639 Macdonough St                                           Contingent
          Apt#P.H                                                     Unliquidated
          Brooklyn, NY 11233                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.438    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $64.13     Unknown
          Robles,Tatiana M                                           Check all that apply.
          70 Cutler Street                                            Contingent
          Worcester, MA 01604-2908                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.439    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $796.18     Unknown
          Robles,Zulma                                               Check all that apply.
          247 Fernbank Rd                                             Contingent
          Apt 18                                                      Unliquidated
          Springfield, MA 01129                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.440    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $444.40     Unknown
          Rodriguez Torres,Jacqueline                                Check all that apply.
          76 Webster St                                               Contingent
          Apt# D 2                                                    Unliquidated
          Hartford, CT 06114                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.441    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $160.03     Unknown
          Rodriguez,Faviola                                          Check all that apply.
          2328 S. Troy                                                Contingent
          Chicago, IL 60623                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.442    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $22.12     Unknown
          Rodriguez,Francisco                                        Check all that apply.
          976 Grand St Fl 2                                           Contingent
          Bridgeport, CT 06604                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.443    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,440.27    Unknown
          Rodriguez,Jose F                                           Check all that apply.
          111 E. 21 Street                                            Contingent
          Apt#F-3                                                     Unliquidated
          Brooklyn, NY 11226                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.444    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $253.46     Unknown
          Rogers,La'shawnna P                                        Check all that apply.
          124 Montello St                                             Contingent
          Brockton, MA 02301                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.445    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $39.78     Unknown
          Rojas,Nora I                                               Check all that apply.
          86-14 75 Street                                             Contingent
          Woodhaven, NY 11421                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.446    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $440.44     Unknown
          Romo,Julia I                                               Check all that apply.
          3209 S. 52nd Ct.                                            Contingent
          Cicero, IL 60804                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.447    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $28.05     Unknown
          Rosa Pizarro,Ada I                                         Check all that apply.
          434 Affinity Ln                                             Contingent
          Rochester, NY 14616-1704                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.448    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $298.65     Unknown
          Rosa,Lidia M                                               Check all that apply.
          15 Brunswick St                                             Contingent
          Brockton, MA 02301-4215                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.449    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $380.16     Unknown
          Rosado Olivo,Yara                                          Check all that apply.
          145 Newbury St                                              Contingent
          Hartford, CT 06114                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.450    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $12.32     Unknown
          Rosado Santiago,Linoshka M                                 Check all that apply.
          65 Nightingale St Apt 3R                                    Contingent
          Boston, MA 02124-1745                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.451    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $96.80     Unknown
          Rosado,Evelyn                                              Check all that apply.
          763 Grafton St                                              Contingent
          #2                                                          Unliquidated
          Worcester, MA 01604                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.452    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $422.14     Unknown
          Rosario,Kenya                                              Check all that apply.
          141 Grand Ave                                               Contingent
          Rochester, NY 14609                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.453    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $150.07     Unknown
          Ruiz Diaz,Hector J                                         Check all that apply.
          21 2nd St                                                   Contingent
          Rochester, NY 14605                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.454    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $726.32     Unknown
          Ruiz,Jacqueline                                            Check all that apply.
          549 4th St Fl 2                                             Contingent
          Fall River, MA 02721                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.455    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $637.92     Unknown
          Ruiz,Maritza                                               Check all that apply.
          508 Harral Ave                                              Contingent
          Apt 118                                                     Unliquidated
          Bridgeport, CT 06604-3146                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.456    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,179.56    Unknown
          Rush,Christina G                                           Check all that apply.
          5109 Stenton Ave                                            Contingent
          Philadelphia, PA 19144                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.457    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $78.68     Unknown
          Sadeka,Faten                                               Check all that apply.
          1830 Dixwell Ave                                            Contingent
          Hamden, CT 06514-3105                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.458    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $876.24     Unknown
          Saint Surin,Marie Jeantyne                                 Check all that apply.
          PO BOX 240201                                               Contingent
          Dorchester Center, MA 02124                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.459    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.76     Unknown
          Salles,Migdalia                                            Check all that apply.
          5070 WHITAKER AVENUE                                        Contingent
          PHILADELPHIA, PA 19124                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.460    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $110.76     Unknown
          Salvador,Abigail                                           Check all that apply.
          402 Stolp Ave                                               Contingent
          Syracuse, NY 13207-1333                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.461    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $486.22     Unknown
          Samano,Milagros                                            Check all that apply.
          1917 N Kilbourn Ave Apt 1                                   Contingent
          Chicago, IL 60639                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.462    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $404.41     Unknown
          Sanchez Bustamante,Dahiana M                               Check all that apply.
          2686 Bailey Ave                                             Contingent
          Apt 5E                                                      Unliquidated
          Bronx, NY 10463                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.463    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $201.60     Unknown
          Sanford Sr,Katanga                                         Check all that apply.
          47 Beverly Rd                                               Contingent
          New Haven, CT 06515                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.464    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $78.84     Unknown
          Santana,Damaris R                                          Check all that apply.
          2004 N Leamington Ave                                       Contingent
          Chicago, IL 60639-3140                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.465    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $800.80     Unknown
          Santi,Joelitza                                             Check all that apply.
          307 Pennels Dr                                              Contingent
          Rochester, NY 14626                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.466    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $65.34     Unknown
          Santiago,Cynthia M                                         Check all that apply.
          11 Russell St                                               Contingent
          Malden, MA 02148-5406                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.467    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,307.70    Unknown
          Santiago,Jeanett A                                         Check all that apply.
          2912 Levick St.                                             Contingent
          Philadelphia, PA 19149                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.468    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,536.86    Unknown
          Saquipulla,Julia                                           Check all that apply.
          3769 102nd Street Apt 1                                     Contingent
          Corona, NY 11368                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.469    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $556.49     Unknown
          Sasso,Harriet C                                            Check all that apply.
          18 THOMAS CIRCLE                                            Contingent
          BROCKTON, MA 02302                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.470    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $242.53     Unknown
          Schuhart,Patty                                             Check all that apply.
          144 Leslie Pl                                               Contingent
          Rochester, NY 14609                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.471    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $157.04     Unknown
          Schwake,Catherine                                          Check all that apply.
          5323 Jennings Pl                                            Contingent
          Merrillville, IN 46410                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.472    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $478.40     Unknown
          Schwertfeger,Ellen M                                       Check all that apply.
          303 Davey St                                                Contingent
          Buffalo, NY 14206                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.473    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $85.15     Unknown
          Scott Jr,James E                                           Check all that apply.
          136 Oxford Ave                                              Contingent
          Buffalo, NY 14209-1214                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.474    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,396.69    Unknown
          Scott,Joan                                                 Check all that apply.
          1 Metropolitan Oval                                         Contingent
          Apt 2C                                                      Unliquidated
          Bronx, NY 10462                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.475    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $697.56     Unknown
          Seals,Ursula M                                             Check all that apply.
          2933 Panthersville Rd Apt A214                              Contingent
          Decatur, GA 30034                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.476    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $531.60     Unknown
          Sharpe,Shontavius L                                        Check all that apply.
          1527 Fairlake Dr                                            Contingent
          Decatur, GA 30034                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.477    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,204.94    Unknown
          Shivkomar,Chandeshwar                                      Check all that apply.
          2566 Bainbridge Ave.                                        Contingent
          #5F                                                         Unliquidated
          Bronx, NY 10458                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.478    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $37.34     Unknown
          Sierra,Meleena M                                           Check all that apply.
          98 Isabelle St Apt 23                                       Contingent
          Buffalo, NY 14207-1742                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.479    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $431.97     Unknown
          Silva Santos,Eliana                                        Check all that apply.
          365 McGrath Hwy                                             Contingent
          #03                                                         Unliquidated
          Somerville, MA 02143                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.480    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $204.38     Unknown
          Silva,Robert V                                             Check all that apply.
          11 Ditson St Apt 2                                          Contingent
          Dorchester, MA 02122                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.481    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,010.75    Unknown
          Sinclair,Rudolph                                           Check all that apply.
          289 E. 39th Street                                          Contingent
          Brooklyn, NY 11203                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.482    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,204.75    Unknown
          Singh,Kishan                                               Check all that apply.
          101-18 118th Street                                         Contingent
          South Richmond Hill, NY 11419                               Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.483    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $888.81     Unknown
          Singh,Usha D                                               Check all that apply.
          107-22 113St South Richmond Hi                              Contingent
          Queens, NY 11419                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.484    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $440.00     Unknown
          Sites,Samantha                                             Check all that apply.
          18 harlem ave                                               Contingent
          Mckeesrocks, PA 15136                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.485    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $46.31     Unknown
          Slade,Allen                                                Check all that apply.
          49 Milton St                                                Contingent
          Brockton, MA 02301                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.486    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $380.82     Unknown
          Slocomb,Barbara                                            Check all that apply.
          611 Lowell St                                               Contingent
          Lawrence, MA 01841                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.487    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $433.65     Unknown
          Smith,Antoinette                                           Check all that apply.
          528 South Lands End                                         Contingent
          Apt# 9                                                      Unliquidated
          Stone Mountain, GA 30083                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.488    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $581.35     Unknown
          Smith,Darius                                               Check all that apply.
          317 Wisconsin Ave                                           Contingent
          Oak Park, IL 60302                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.489    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $673.14     Unknown
          Smith,Laurie                                               Check all that apply.
          3226 Bronx Wood Ave                                         Contingent
          Apt#4-D                                                     Unliquidated
          Bronx, NY 10469                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.490    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $832.00     Unknown
          Smith,Zorose                                               Check all that apply.
          212 Cambridge Ave.                                          Contingent
          Buffalo, NY 14215                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.491    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $135.84     Unknown
          Snow,John D                                                Check all that apply.
          21 Narragansett Blvd                                        Contingent
          Fairhaven, MA 02719-4911                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.492    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $696.90     Unknown
          Sok,Sophoeub                                               Check all that apply.
          24 Silver Rd                                                Contingent
          Brockton, MA 02301                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.493    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,730.77    Unknown
          Solomon,Fitzgerald                                         Check all that apply.
          2503 Flowers Creek Dr                                       Contingent
          McDonough, GA 30253                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.494    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,285.05    Unknown
          Sookhoo,Mahesh                                             Check all that apply.
          117-36 226 Street                                           Contingent
          Cambria Heights, NY 11441                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.495    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $178.42     Unknown
          Soto,Eufracilis E                                          Check all that apply.
          485 Colombia                                                Contingent
          Apt # 3                                                     Unliquidated
          Dorchester, MA 02125                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.496    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $24.86     Unknown
          Southerland,Danthony D                                     Check all that apply.
          740 Jay St Apt 2                                            Contingent
          Utica, NY 13501-1310                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.497    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,479.01    Unknown
          Spivey,Kurtis                                              Check all that apply.
          53 Vernon Ave                                               Contingent
          Mt. Vernon, NY 10552                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.498    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,075.45    Unknown
          St Clair,Cora B                                            Check all that apply.
          22 Rosegaye Ave SW                                          Contingent
          Concord, NC 28025                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.499    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $340.35     Unknown
          Stephens,Veronica I                                        Check all that apply.
          48 Robinson St                                              Contingent
          Dorchester, MA 02122                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.500    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $578.84     Unknown
          Stone,Arkeel                                               Check all that apply.
          244 W. Grand Street                                         Contingent
          Elizabeth, NJ 07202                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.501    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $52.00     Unknown
          Stratford,Lamech Y                                         Check all that apply.
          1 Sheldon St                                                Contingent
          Schenectady, NY 12308-3316                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.502    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,165.19    Unknown
          Stubbs,Kyson K                                             Check all that apply.
          609 Eagle St                                                Contingent
          #1                                                          Unliquidated
          Utica, NY 13501                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.503    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $844.44     Unknown
          Sturgeon,Oletta                                            Check all that apply.
          496 Chase Rd                                                Contingent
          N. Dartmouth, MA 02747                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.504    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,559.96    Unknown
          Surujballi,Himalla                                         Check all that apply.
          164-13 104 Road                                             Contingent
          Jamaica, NY 11433                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.505    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $517.83     Unknown
          Sutton,Alyson                                              Check all that apply.
          44 Village Dr Apt 131                                       Contingent
          Wethersfield, CT 06109                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.506    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $97.35     Unknown
          Sykes,Markia S                                             Check all that apply.
          7805 Andover Woods Dr Apt 611                               Contingent
          Charlotte, NC 28210-4684                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.507    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $56.56     Unknown
          Taft,Alexiyah                                              Check all that apply.
          24 Dorman St                                                Contingent
          New Haven, CT 06515                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.508    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $12.73     Unknown
          Tamar,Tanisha                                              Check all that apply.
          924 Grand Ave Apt 1                                         Contingent
          New Haven, CT 06511                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.509    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $352.43     Unknown
          Tavares,Yenny                                              Check all that apply.
          34 Arlington St.                                            Contingent
          Everett, MA 02149                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.510    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $900.24     Unknown
          Tavarez Pichardo,Andres A                                  Check all that apply.
          217 Dewey St                                                Contingent
          Apt 3R                                                      Unliquidated
          Worcester, MA 01610                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.511    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,812.07    Unknown
          Tavarez,Reinaldo                                           Check all that apply.
          89-29 163rd Street                                          Contingent
          Apt #6-C                                                    Unliquidated
          Jamaica, NY 11432                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.512    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $35.45     Unknown
          Taylor,Mahogonny B                                         Check all that apply.
          648 Whalley Ave                                             Contingent
          New Haven, CT 06511-2911                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.513    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,423.08    Unknown
          Tenbrink,Jessica                                           Check all that apply.
          8173 66th Ave                                               Contingent
          Hudsonville, MI 49426                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.514    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,751.62    Unknown
          Tewarie,Kaminie                                            Check all that apply.
          108-08 107th Avenue                                         Contingent
          Richmond Hill, NY 11419                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.515    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $538.68     Unknown
          Tews,Jamie                                                 Check all that apply.
          603 Moran Ave                                               Contingent
          Lincoln Park, MI 48146                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.516    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $222.09     Unknown
          Then Fernandez,Genesis                                     Check all that apply.
          39 Colonial Ave Apt 3                                       Contingent
          Dorchester, MA 02124                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.517    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,433.55    Unknown
          Thomas,Glenn                                               Check all that apply.
          8347 S Carpenter St                                         Contingent
          Chicago, IL 60620                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.518    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $40.40     Unknown
          Thomas,Jackie L                                            Check all that apply.
          98 Beechwood Ave                                            Contingent
          Bridgeport, CT 06604-2521                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.519    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,221.06    Unknown
          Thomas,Matthew                                             Check all that apply.
          2294 Willow Shade CT                                        Contingent
          Loganville, GA 30052                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.520    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $100.46     Unknown
          Thomas,Steven R                                            Check all that apply.
          1027 Ostrander Pl                                           Contingent
          Schenectady, NY 12303-1232                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.521    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,615.39    Unknown
          Thompson,Jasmine                                           Check all that apply.
          418 South Ave Apt 23                                        Contingent
          Whitman, MA 02382                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.522    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $162.76     Unknown
          Thompson,Morgan                                            Check all that apply.
          6942 schneider ave                                          Contingent
          hammond, IN 46323                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.523    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,115.39    Unknown
          Thompson,Shayolanda R                                      Check all that apply.
          2328 Campbellton Rd                                         Contingent
          J-1                                                         Unliquidated
          Atlanta, GA 30311                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.524    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $495.55     Unknown
          Tornberg,Danielle                                          Check all that apply.
          1235 Brinckerhoff Ave                                       Contingent
          Utica, NY 13501                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.525    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $146.74     Unknown
          Torres,Alejandra                                           Check all that apply.
          197 Pilgrim Ave                                             Contingent
          Worcester, MA 01604-4748                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.526    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $134.63     Unknown
          Torres,Anthony J                                           Check all that apply.
          225 Augur St                                                Contingent
          Hamden, CT 06517-3316                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.527    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $246.98     Unknown
          Torres,Francheska                                          Check all that apply.
          36 Orchard St Fl 1                                          Contingent
          New Haven, CT 06519                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.528    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $125.29     Unknown
          Torres,Misael                                              Check all that apply.
          5 Blaser Ct                                                 Contingent
          Lawrence, MA 01841-2911                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.529    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $14.44     Unknown
          Triumph,Josiah                                             Check all that apply.
          278 Davenport Ave Apt 3                                     Contingent
          New Haven, CT 06519                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.530    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $972.79     Unknown
          Tubbs,Stephanie                                            Check all that apply.
          140 Highcourt Pl.                                           Contingent
          Apt. #3                                                     Unliquidated
          Decatur, GA 30032                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.531    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $327.04     Unknown
          Urena Ramirez,Dahiana                                      Check all that apply.
          180 High St                                                 Contingent
          Lawrence, MA 01841-2925                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.532    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $258.57     Unknown
          Valdez,Michael R                                           Check all that apply.
          917 Merrill St. Sw                                          Contingent
          Grand Rapids, MI 49503                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.533    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $923.81     Unknown
          Valdivia,Maria F                                           Check all that apply.
          3044 Valentine Ave                                          Contingent
          Apt #B-3                                                    Unliquidated
          Bronx, NY 10458                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.534    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,094.50    Unknown
          Valentin,Christine                                         Check all that apply.
          76 Cutler St                                                Contingent
          Newark, NJ 07104                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.535    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $468.52     Unknown
          Vallejo,Luz                                                Check all that apply.
          3039 N Reese St                                             Contingent
          Philadelphia, PA 19133                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.536    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,624.86    Unknown
          Vargas,Merenciana                                          Check all that apply.
          602 West 137th St                                           Contingent
          Apt 45                                                      Unliquidated
          New York, NY 10031                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.537    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $414.12     Unknown
          Vasko,Adrienne                                             Check all that apply.
          17400 Fort Street                                           Contingent
          Apt 44                                                      Unliquidated
          Riverview, MI 48193                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.538    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $47.74     Unknown
          Vasquez,Owen R                                             Check all that apply.
          28 Myrtle St                                                Contingent
          New Bedford, MA 02740-7024                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.539    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $111.54     Unknown
          Vasquez,Yeny L                                             Check all that apply.
          17 Lexington St                                             Contingent
          Everett, MA 02149                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.540    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,148.55    Unknown
          Vazquez,Hector                                             Check all that apply.
          65 Mount Hope Place                                         Contingent
          Apt#2-D                                                     Unliquidated
          Bronx, NY 10453                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.541    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $30.30     Unknown
          Velez,Marquise S                                           Check all that apply.
          88 Butler Ave                                               Contingent
          Bridgeport, CT 06605-1945                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.542    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $803.79     Unknown
          Velez,Xiomara                                              Check all that apply.
          35 Rita Place                                               Contingent
          Copiague, NY 11726                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.543    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $259.14     Unknown
          Vidal,Hector M                                             Check all that apply.
          50 Thornton Ave                                             Contingent
          Buffalo, NY 14215-2214                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.544    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $3.41     Unknown
          Vieira,Ruben S                                             Check all that apply.
          14 Pine Ave                                                 Contingent
          Brockton, MA 02302                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.545    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $977.62     Unknown
          Villafane,Yvette                                           Check all that apply.
          189 WEST CHAMPLOST ST                                       Contingent
          PHILADELPHIA, PA 19120                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.546    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $646.80     Unknown
          Villanueva,Maribel X                                       Check all that apply.
          38 Elliot St                                                Contingent
          Apt# 2                                                      Unliquidated
          Worcester, MA 01605                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.547    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $138.33     Unknown
          Viruet,Julian                                              Check all that apply.
          143 Pixlee PL                                               Contingent
          Bridgeport, CT 06610                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.548    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $883.80     Unknown
          Vital,Rose E                                               Check all that apply.
          20A Memorial Rd                                             Contingent
          Apt 33                                                      Unliquidated
          Somerville, MA 02745                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.549    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $859.35     Unknown
          Wales,Tawana                                               Check all that apply.
          20213 Plymouth Rd                                           Contingent
          Detroit, MI 48228                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.550    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $440.00     Unknown
          Walrond,Teeyanna                                           Check all that apply.
          P.O. BOX 5664                                               Contingent
          BOSTON, MA 02114                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.551    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $21.56     Unknown
          Walters,Mandy                                              Check all that apply.
          1219 Owana Ave                                              Contingent
          Royal Oak, MI 48067                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.552    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,098.50    Unknown
          Ward,Eula                                                  Check all that apply.
          2095 Nostrand Ave                                           Contingent
          Brooklyn, NY 11210                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.553    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $4.63     Unknown
          Waters,Cheko                                               Check all that apply.
          613 Cleophus Pkwy                                           Contingent
          Lincoln Park, MI 48146-2617                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.554    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $112.01     Unknown
          Watkins,Danielle                                           Check all that apply.
          207 Swansea Ave                                             Contingent
          Syracuse, NY 13206                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.555    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $717.02     Unknown
          Watson,Ashley                                              Check all that apply.
          1028 South 52nd St.                                         Contingent
          Apt A                                                       Unliquidated
          PHILADELPHIA, PA 19143                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.556    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $74.47     Unknown
          Watson,Desirea N                                           Check all that apply.
          4956 W Augusta Blvd Apt 1                                   Contingent
          Chicago, IL 60651-3180                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.557    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,092.00    Unknown
          Welch,Valerie Y                                            Check all that apply.
          2687 Tilson Rd                                              Contingent
          Decatur, GA 30032                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.558    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,557.69    Unknown
          White,Candyce                                              Check all that apply.
          3680 Brookhollow Dr                                         Contingent
          Dougsville, GA 30135                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.559    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $172.38     Unknown
          White,Jocelyn                                              Check all that apply.
          1470 Tulip Pl                                               Contingent
          Decatur, GA 30032                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.560    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $101.40     Unknown
          White,Lillian L                                            Check all that apply.
          8600 Glen Myrtle Ave                                        Contingent
          Apt 1704                                                    Unliquidated
          Norfolk, VA 23505-5426                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.561    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $39.31     Unknown
          White,Lisia M                                              Check all that apply.
          1243 Main St                                                Contingent
          Schenectady, NY 12303-1818                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.562    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $961.54     Unknown
          Whitehead,Retha                                            Check all that apply.
          874 Herkimen St                                             Contingent
          Brooklyn, NY 11233                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.563    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $180.18     Unknown
          Wilcoxson,Amber                                            Check all that apply.
          2900 Longstreet Ave SW Apt 2                                Contingent
          Wyoming, MI 49509                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.564    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,386.36    Unknown
          Williams,Aaron E                                           Check all that apply.
          4452 Watson Ridge Drive                                     Contingent
          Stone Mountain, GA 30083                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.565    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $282.42     Unknown
          Williams,Celicia                                           Check all that apply.
          3424 Longleaf Dr.                                           Contingent
          Decatur, GA 30032                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.566    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $30.20     Unknown
          Williams,Denia K                                           Check all that apply.
          242 Valley St                                               Contingent
          New Haven, CT 06515-1214                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.567    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $30.25     Unknown
          Williams,Gladyslee R                                       Check all that apply.
          69 Austin St                                                Contingent
          New Bedford, MA 02740-6915                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.568    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $708.51     Unknown
          Williams,Gloria                                            Check all that apply.
          4000 Plowden Rd Apt 19H                                     Contingent
          Columbia, SC 29205                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.569    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $270.82     Unknown
          Williams,Joan                                              Check all that apply.
          279 Cross Street                                            Contingent
          Malden, MA 02148                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.570    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $159.96     Unknown
          Williams,Juana                                             Check all that apply.
          18 Dynasty Dr                                               Contingent
          Fairburn, GA 30213                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.571    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $936.91     Unknown
          Williams,Kim                                               Check all that apply.
          453 Beach 40th Street                                       Contingent
          Apt #13-K                                                   Unliquidated
          Far Rockaway, NY 11691                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.572    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $790.68     Unknown
          Williams,Nancy                                             Check all that apply.
          1440 N Lockwood Ave                                         Contingent
          Apt 2                                                       Unliquidated
          Chicago, IL 60651                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.573    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $478.82     Unknown
          Williams,Peter                                             Check all that apply.
          224 Edgemont Dr                                             Contingent
          Syracuse, NY 13214                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.574    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $58.37     Unknown
          Williams,Shantel                                           Check all that apply.
          12421 S EMERALD                                             Contingent
          CHICAGO, IL 60628                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.575    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $639.40     Unknown
          Wilt,Joann                                                 Check all that apply.
          5112 Hawthorne St                                           Contingent
          Philadelphia, PA 19124                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.576    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,076.93    Unknown
          Wong,Michael                                               Check all that apply.
          114 Summit Ave                                              Contingent
          Syracuse, NY 13207                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.577    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $134.86     Unknown
          Woodson,Cantrell                                           Check all that apply.
          4241 Hendrix Dr Apt E5                                      Contingent
          Forest Park, GA 30297                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.578    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $99.94     Unknown
          Wright,Antwan                                              Check all that apply.
          614 Seeley Rd                                               Contingent
          Syracuse, NY 13224                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued Vacation and PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.579     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                        $986.40     Unknown
           Yobst,Dante M                                             Check all that apply.
           1001 Moyer St                                              Contingent
           Pittsburgh, PA 15204                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Accrued Vacation and PTO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.580     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $1,402.44    Unknown
           Yunaev,Irene                                              Check all that apply.
           90-31 Whitney Ave                                          Contingent
           2H                                                         Unliquidated
           Elmhurst, NY 11373                                         Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Accrued Vacation and PTO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.581     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $1,155.00    Unknown
           Zurschmit,Elizabeth                                       Check all that apply.
           48 3rd St                                                  Contingent
           Camden, NY 13316                                           Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Accrued Vacation and PTO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $68,296.03
           101-115 W 116TH ST REALTY CORP                                           Contingent
           C/O MITCHELL ENTERPRISES                                                 Unliquidated
           2050 CENTER AVE R#510                                                    Disputed
           FORT LEE, NJ 07024
                                                                                   Basis for the claim:     RENT
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $43,749.99
           1204 CORPORATION                                                         Contingent
           6315 FORBES AVE                                                          Unliquidated
           PITTSBURGH, PA 15217                                                     Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Rent
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes

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 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48,333.32
          50 BROAD ST CORP                                                    Contingent
          C.H MARTIN                                                          Unliquidated
          156 PORT RICHMOND                                                   Disputed
          STATEN ISLAND, NY 10302
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $925.42
          AMERICAN CLOTHING COLLECTION                                        Contingent
          1633 SHEEPSHEAD BAY RD                                              Unliquidated
          BROOKLYN, NY 11235                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $103,460.32
          Amherst Station LLC                                                 Contingent
          33340 COLLECTION CENTER DRIVE                                       Unliquidated
          CHICAGO, IL 60693-0333                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent (CAM Charges)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $152.90
          AMS BILLING SERVICE                                                 Contingent
          PO BOX 1047                                                         Unliquidated
          TALLEVAST, FL 34270-1047                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anthony, Marvin
          c/o Andrew Athanassious                                             Contingent
          The Athanassious Law Office                                         Unliquidated
          P.O. Box 1145,                                                      Disputed
          Folsom, CA 95763
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,500.01
          ARIEL BELVEDERE OWNER HOLDINGS LLC                                  Contingent
          PO BOX 538383                                                       Unliquidated
          ATLANTA, GA 30353-8383                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $229,577.20
          Arkwright, LLC
          c/o Michael B. Dublin, Esq.                                         Contingent
          Greenberg & Torchia, LLC                                            Unliquidated
          2617 Huntingdon Pike,                                               Disputed
          Huntingdon Valley, PA 19006
                                                                             Basis for the claim:    Settlement
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Armstrong, Monika
          c/o Lawyers for Employee & Consumer Righ                            Contingent
          Saima Aslam                                                         Unliquidated
          4100 West Alameda Ave., 3rd Fl.                                     Disputed
          Burbank, CA 91505
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,330.57
          ARON SECURITY                                                       Contingent
          300 W. MAIN ST                                                      Unliquidated
          SMITHTOWN, NY 11787                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Guard
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Banks, Renee
          c/o Jonathan DeLozano, Esq.                                         Contingent
          LAF Chicago                                                         Unliquidated
          120 S. LaSalle Street, Ste 900                                      Disputed
          Chicago, IL 60603
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $291,904.62
          BBC International, Inc.
          c/o Steven L. Beiley, Esq.                                          Contingent
          Aaronson, Schantz, Beiley, PA                                       Unliquidated
          2 South Biscayne Boulevard 34th Flr                                 Disputed
          Miami, FL 33131
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beaulieu , Brian
          c/o Penelope M. Lechtenberg, Esq.                                   Contingent
          Lechtenberg & Associates LLC                                        Unliquidated
          1235 N. Mulford Rd. Suite 208                                       Disputed
          Rockford, IL 61107
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $670.27
          BECKER GLOVE INTL INC                                               Contingent
          4240 N RIDER TRAIL                                                  Unliquidated
          ST LOUIS, MO 63045                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $438.65
          BEN KAUFMAN SALES CO                                                Contingent
          4240 N RIDER TRAIL                                                  Unliquidated
          ST LOUIS, MO 63045                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $124,074.34
          BLDG MANAGEMENT CO INC.                                             Contingent
          417 FIFTH AVE.4TH FLOOR                                             Unliquidated
          SUITE 400                                                           Disputed
          NEW YORK, NY 10016
                                                                             Basis for the claim:    Rent - Other Charges
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,763.30
          BLDG-ICS OLNEY LLC
          C/O WRGUSA, LLC                                                     Contingent
          8 INDUSTRIAL WAY EAST                                               Unliquidated
          SECOND FLOOR                                                        Disputed
          EATONTOWN, NJ 07724
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $423,581.00
          Bobens Trading Co., Inc.                                            Contingent
          c/o Todd A. Gabor, Esq.                                             Unliquidated
          132 Spruce Street                                                   Disputed
          Cedarhurst, NE 11516
          Date(s) debt was incurred
                                                                             Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $83,333.35
          BRIXMOR SPE 3 LLC                                                   Contingent
          c/o BRIXMOR PROPERTY GROUP                                          Unliquidated
          PO BOX 645349                                                       Disputed
          CINCINNATI, OH 45264-5349
                                                                             Basis for the claim:    Rent - Insurance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,925.08
          BROOKLYN LOLLIPOP INC                                               Contingent
          7 MARCUS GARVEY BLVD                                                Unliquidated
          BROOKLYN, NY 11206                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Sandra
          c/o Lawyers for Employee & Consumer Righ                            Contingent
          Elida M. Espinoza                                                   Unliquidated
          4100 West Alameda Ave., 3rd Fl.                                     Disputed
          Burbank, CA 91505
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $485.86
          CAF                                                                 Contingent
          4950 S SANTA FE AVE                                                 Unliquidated
          VERNON, CA 90058                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,765.00
          Cal/OSHA                                                            Contingent
          c/o DIR Accounting Office Accounts Recei                            Unliquidated
          PO Box 420603                                                       Disputed
          San Francisco, CA 94142
          Date(s) debt was incurred
                                                                             Basis for the claim:    Civil Penalties
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          California Capital Insurance Co.
          c/o Reuben Yeroushalmi, Esq.
          Yeroushalmi & Yeroushalmi Consumer                                  Contingent
          Advoc                                                               Unliquidated
          9100 Wilshire Blvd., Ste 240W                                       Disputed
          Beverly Hills, CA 90212
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,010.00
          CAPITAL CITY MECHANICAL SERVICES                                    Contingent
          4955 AVALON RIDGE PKWY                                              Unliquidated
          SUITE 100                                                           Disputed
          NORCOSS, GA 30071
                                                                             Basis for the claim:    R&M
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $347.43
          CARRINI                                                             Contingent
          145 TALMADGE ROAD                                                   Unliquidated
          EDISON, NJ 08817                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carroll, Nadine
          c/o Marks, O'Neil, O'Brien, Doherty & Ke                            Contingent
          One Penn Center, Suite 1010                                         Unliquidated
          1617 John F. Kennedy Blvd.                                          Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Castillo, Rebecca
          c/o Manning Law, APC                                                Contingent
          Joseph R. Manning Jr., Esq.                                         Unliquidated
          4667 MacArthur Blvd., Ste 150                                       Disputed
          Newport Beach, CA 92660
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,999.98
          CB CHICAGO PARTNERS, LTD                                            Contingent
          LOCKBOX 9947                                                        Unliquidated
          PO BOX 8500                                                         Disputed
          PHILADELPHIA, PA 19178-9947
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $72,854.30
          CEDAR - JORDAN LANE LLC                                             Contingent
          C/O CEDAR REALTY TRUST INC                                          Unliquidated
          44 SOUTH BAYLES AVENUE                                              Disputed
          PORT WASHINGTON, NY 11050
                                                                             Basis for the claim:    Rent - Insurance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,437.40
          CEDAR KINGS LLC                                                     Contingent
          CEDAR SHOPPING CENTERS PARTSHP LP                                   Unliquidated
          44 SOUTH BAYLESS AVE, SUITE 304                                     Disputed
          PORT WASHINGTON, NY 11050
                                                                             Basis for the claim:    RENT
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $662.27
          CENTRAL SUPPLY                                                      Contingent
          4724 18th AVE                                                       Unliquidated
          BROOKLYN, NY 11204                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,818.21
          CHARLOTTE (ARCHDALE) LLC                                            Contingent
          C/O RIVERCREST REALTY                                               Unliquidated
          8816 SIX FORK ROAD                                                  Disputed
          RALEIGH, NC 27615
                                                                             Basis for the claim:    Rent (CAM Charges)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coleman, Kimberly
          c/o Gregg I. Shavitz, Esq.                                          Contingent
          Shavitz Law Group, PA                                               Unliquidated
          951 Yamato Road, Suite 285                                          Disputed
          Boca Raton, FL 33431
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,439.60
          COLOMBINO HEADWEAR                                                  Contingent
          61 WILLETT ST                                                       Unliquidated
          BLDG J/2ND FLOOR                                                    Disputed
          PASSAIC, NJ 07055
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,185.00
          COLON CUEBAS & LAGUNA, PSC                                          Contingent
          1519 PONCE DE LEON AVENUE                                           Unliquidated
          SUITE 601                                                           Disputed
          SAN JUAN, PR 00909-1717
                                                                             Basis for the claim:    Professional Fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Compton Commercial Redevelopment
          c/o Gregory Koonce, Esq.                                            Contingent
          Frank Law Group                                                     Unliquidated
          1517 Lincoln Way                                                    Disputed
          Auburn, CA 95603
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,662.00
          CONCORD BUYING GROUP INC                                            Contingent
          PO BOX 9357                                                         Unliquidated
          LEASE ADMIN 300-2AN                                                 Disputed
          FRAMINGHAM, MA 01701
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,341.83
          CONDITIONED AIR DESIGN, INC                                         Contingent
          11104 W BECHER STREET                                               Unliquidated
          WEST ALLIS, WI 53227-1123                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    R&M
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,055.17
          CONSTELLATION ENERGY SERVICES OF                                    Contingent
          NEW YORK                                                            Unliquidated
          PO BOX 5474                                                         Disputed
          CAROL SPRINGS, IL 60197-5474
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Consumer Advocacy Group                                             Contingent
          c/o Yeroushalmi & Yeroushalmi
          9100 Wilshire Blvd., Ste 240W
                                                                              Unliquidated
          Beverly Hills, CA 90212                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ContractRecruiter.com, LLC dba The Recru
          c/o Law Offices of Underwood & Micklin,                             Contingent
          John A. Underwood, Esq.                                             Unliquidated
          1236-J Brace Road,                                                  Disputed
          Cherry Hill, NJ 08034
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooke, Donna
          c/o U.S. Equal Employment Opportunity Co                            Contingent
          Marietta Blueford                                                   Unliquidated
          200 Granby St., Suite 739                                           Disputed
          Norfolk, VA 23510
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CREA/PPC Long Beach Towne Center PO,
          LLP
          c/o Ernie Park, Esq.                                                Contingent
          Bewley, Lasselben & Miller, LLP                                     Unliquidated
          13215 E. Penn St., Ste. 510                                         Disputed
          Whittier, CA 90602
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          David & Young Group Corp.
          c/o Kelly Chambers, Senior Collections s                            Contingent
          C2C Resources                                                       Unliquidated
          56 Perimeter Center E., Ste 100                                     Disputed
          Atlanta, GA 30346
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Day to Day Imports, Inc.                                            Contingent
          c/o Aryeh Kaufman, Esq.
          5482 Wilshire Blvd. #1907
                                                                              Unliquidated
          Los Angeles, CA 90036                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,000.00
          DDK & COMPANY LLP                                                   Contingent
          50 JERICHO QUADRANGLE                                               Unliquidated
          SUITE 220                                                           Disputed
          JERICHO, NY 11753
                                                                             Basis for the claim:    Prof Fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $53,465.23
          DEL LLC                                                             Contingent
          C/O C.A. WHITE                                                      Unliquidated
          1211 CHAPEL ST                                                      Disputed
          NEW HAVEN, CT 06511
                                                                             Basis for the claim:    Rent (CAM Charges)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DePedro, Veronica                                                   Contingent
          6623 N. 19th Street
          Phoenix, AZ 85022
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Litigation
                                                                             Is the claim subject to offset?    No  Yes




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 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,529.62
          Dominion Service Co of Richmond
          c/o Edward S. Whitlock, III, Esq.                                   Contingent
          Lafayette, Ayers, Whitlock                                          Unliquidated
          10160 Staples Mill Road, Suite 105                                  Disputed
          Glen Allen, VA 23060
                                                                             Basis for the claim:    Judgment
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,100.00
          DUKE ENERGY-70516                                                   Contingent
          PO BOX 70516                                                        Unliquidated
          CHARLOTTE, NC 28272-0516                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,400.00
          DUQUESNE LIGHT COMPANY                                              Contingent
          PAYMENT PROCESSING CENTER                                           Unliquidated
          PO BOX 10                                                           Disputed
          PITTSBURGH, PA 15230-0010
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,272.20
          EAST FOREST PLAZA II LLC                                            Contingent
          PO BOX 11312                                                        Unliquidated
          COLUMBIA, SC 29211                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    RENT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,651.39
          EDDIE DOMANI                                                        Contingent
          1935 THIRD AVE                                                      Unliquidated
          NEW YORK, NY 10029                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $738.29
          EDDIE MARC & CO                                                     Contingent
          1025 CRAWFORD AVE                                                   Unliquidated
          BROOKLYN, NY 11223                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,500.00
          EDGEWOOD STATION LLC                                                Contingent
          2537 PAYSPEHERE CIRCLE                                              Unliquidated
          CHICAGO, IL 60674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    RENT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,491.80
          Editex Home Curtain Corp
          c/o Frank Roberts                                                   Contingent
          C2C Resources                                                       Unliquidated
          56 Perimeter Center E, Ste 100                                      Disputed
          Atlanta, GA 30346
                                                                             Basis for the claim:    Settlement
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $149.86
          ENCHANTED MOMENTS                                                   Contingent
          4 EAST 34TH ST, 5TH FLOOR                                           Unliquidated
          NEW YORK, NY 10016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          English, Roslyn W.
          c/o State of Southern Carolina Human Aff                            Contingent
          1026 Sumter Street, Suite 101                                       Unliquidated
          Post Office Box 4490                                                Disputed
          Columbia, SO 29240
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,595.59
          ESTEX DYNAMITE DECORATORS                                           Contingent
          284 5TH AVE                                                         Unliquidated
          NEW YORK, NY 10016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Estrada, Maribel
          c/o Kevin A. Lipeles, Esq.                                          Contingent
          Lipeles Law Group, APC                                              Unliquidated
          880 Apollo St., Suite 336                                           Disputed
          El Segundo, CA 90245
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $620.20
          EURO-WARE INC                                                       Contingent
          458 E 101ST ST                                                      Unliquidated
          BROOKLYN, NY 11236                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,014.83
          EVERSOURCE                                                          Contingent
          PO BOX 56005                                                        Unliquidated
          BOSTON, MA 02205-6005                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fields, Wonder
          c/o Randall B. Gold                                                 Contingent
          Fox & Fox, S.C.                                                     Unliquidated
          124 West Broadway                                                   Disputed
          Monona (Madison), WI 53716
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150,000.00
          FORDHAM VALENTINE ASSOCIATES                                        Contingent
          C/O JENEL MANAGEMENT CORP                                           Unliquidated
          PO BOX 11644                                                        Disputed
          NEWARK, NJ 07101-4644
                                                                             Basis for the claim:    RENT
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $91.00
          FOREVER LINK
          c/o CBC                                                             Contingent
          1700 BROADWAY                                                       Unliquidated
          DAVID CONLEY                                                        Disputed
          NEW YORK, NY 10019
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,040.33
          FRAYER ENTERPRISE, LLC                                              Contingent
          PO BOX 892220                                                       Unliquidated
          ATTN: RIDGEWATER TEAM                                               Disputed
          OKLAHOMA CITY, OK 73189
                                                                             Basis for the claim:    Rent (CAM Charges)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Freight Logistics
          c/o Jeffrey S. Goodfied, Esq.                                       Contingent
          Goodfried Law Group, APC                                            Unliquidated
          6345 Balboa Blvd., Bldg 1, Ste 300                                  Disputed
          Encino, CA 91316
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,835.48
          G&I IX EMPIRE DELAWARE CONSUMER
          SQUARE LLC                                                          Contingent
          C/O DRA ADVISORS LLC                                                Unliquidated
          220 EAST 42ND ST 27TH FLOOR                                         Disputed
          NEW YORK, NY 10017
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68,255.40
          G&I IX EMPIRE THRUWAY PLAZA LLC                                     Contingent
          C/O DLC MANAGEMENT CORP                                             Unliquidated
          PO BOX 5122                                                         Disputed
          WHITE PLAINS, NY 10602-5122
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Galvez, Manuel
          c/o Hillary Schwab,                                                 Contingent
          Fair Work, P.C.                                                     Unliquidated
          192 South Street, Suite 450                                         Disputed
          Boston, MA 02111
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Galvez, Manuel
          c/o Gregg I. Shavitz, Esq.                                          Contingent
          Shavitz Law Group, PA                                               Unliquidated
          951 Yamato Road, Suite 285                                          Disputed
          Boca Raton, FL 33431
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Michael                                                     Contingent
          c/o Rothschild & Alwill, APC
          27 W. Anapamu, #289
                                                                              Unliquidated
          Santa Barbara, CA 93101                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $141.24
          GEORGIA NATURAL GAS                                                 Contingent
          PO BOX 105445                                                       Unliquidated
          ATLANTA, GA 30348-5445                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,346.03
          GEORGIA POWER                                                       Contingent
          96 ANNEX                                                            Unliquidated
          ATLANTA, GA 30396-0001                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $139,761.65
          GERTZ PLAZA ACQUISITION 2 LLC                                       Contingent
          C/O WHARTON REALTY GROUP, LLC                                       Unliquidated
          8 INDUSTRIAL WAY E.2 FL                                             Disputed
          EATONTOWN, NJ 07724
                                                                             Basis for the claim:    RENT
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $576.01
          GLAMOUR ORIGINAL                                                    Contingent
          2150 E 11TH AVE                                                     Unliquidated
          HIALEAH, FL 33013                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 Debtor       Southern Island Stores LLC                                                              Case number (if known)            18-11805 (LSS)
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 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $465.40
          GOGO JEANS INC                                                      Contingent
          1407 BROADWAY                                                       Unliquidated
          SUITE 1016                                                          Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,090.38
          GOLDESSENCE                                                         Contingent
          1370 BROADWAY                                                       Unliquidated
          6th FLR                                                             Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez, Jesus Guadalupe
          c/o Ramin R. Younessi, Esq.                                         Contingent
          Law Offices of Ramin R. Younessi, APC                               Unliquidated
          3435 Wilshire Blvd., Suite 2200                                     Disputed
          Los Angeles, CA 90010
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $444.60
          HABER INTERNATIONAL INC                                             Contingent
          2199 E 5TH ST                                                       Unliquidated
          BROOKLYN, NY 11223                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $92,143.07
          HAIRSTON INVESTORES, LLC                                            Contingent
          8 INDUSTRIAL WAY EAST                                               Unliquidated
          2ND FLR                                                             Disputed
          EATONTOWN, NJ 07724
                                                                             Basis for the claim:    RENT
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $244.40
          HEMISPEHERE WORLDWIDE SALE                                          Contingent
          7400 NW 52ND ST                                                     Unliquidated
          MIAMI, FL 33166                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,154.53
          HIGHLAND PLAZA IMPROVEMENTS                                         Contingent
          C/O DLC MANAGEMENT CORP.                                            Unliquidated
          PO BOX 5122                                                         Disputed
          WHITE PLAINS, NY 10602
                                                                             Basis for the claim:    Rent (CAM Charges)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hines, Stephanie
          c/o Gregg I. Shavitz, Esq.                                          Contingent
          Shavitz Law Group, PA                                               Unliquidated
          951 Yamato Road, Suite 285                                          Disputed
          Boca Raton, FL 33431
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $446.48
          HOME ESSENTIALS & BE                                                Contingent
          3001 WOODBRIDGE AVE                                                 Unliquidated
          EDISON, NJ 08837                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,209.94
          HOSIERY NETWORK INC                                                 Contingent
          C/O ROSENTHAL                                                       Unliquidated
          1370 BROADWAY                                                       Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hunt, Nichole                                                       Contingent
          c/o William S. Caldwell, APLC
          9891 Irvine Center Drive, Suite 130
                                                                              Unliquidated
          Irvine, CA 92618                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ibarra, Jamie                                                       Contingent
          c/o Department of Fair Employment and Ho
          39141 Civic Center Dr., Suite 250
                                                                              Unliquidated
          Fremont, CA 94538                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,024.02
          ICON APPAREL                                                        Contingent
          1407 BROADWAY STE#1614                                              Unliquidated
          NEW YORK, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,234.82
          IRC RETAIL CENTERS
          LEASE #22352                                                        Contingent
          75 REMITTANCE DRIVE                                                 Unliquidated
          DEPT 3128                                                           Disputed
          CHICAGO, IL 60675-3128
                                                                             Basis for the claim:    RENT
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $44,166.66
          IRONDEQUOIT TK OWNER LLC
          415 PARK AVEBUE                                                     Contingent
          C/O JADD MANAGEMENT LLC                                             Unliquidated
          KERRY STEVENS                                                       Disputed
          ROCHESTER, NY 14607
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $80,064,034.00
          J & M Sales, Inc.                                                   Contingent
          15001 South Figueroa Street                                         Unliquidated
          Gardena, CA 90248                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Intercompany payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $844.71
          JEM ACC./XTREME CABL                                                Contingent
          1700 BROADWAY                                                       Unliquidated
          NEW YORK, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,436.06
          JESCO FOOTWEAR INC                                                  Contingent
          37 W 37TH ST                                                        Unliquidated
          SUITE 301                                                           Disputed
          NEW YORK, NY 10018-6225
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Johnson, John A.
          c/o Colbert N. Coldwell, Esq.                                       Contingent
          Guevara, Baumann, Coldwell & Reedman,                               Unliquidated
          Suite B201                                                          Disputed
          El Paso, TX 79902
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Johnson, Scott
          c/o Center for Disability Access                                    Contingent
          Phyl Grace, Esq.,                                                   Unliquidated
          PO Box 262490                                                       Disputed
          San Diego, CA 92196-2490
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Jordan, Jocelyn
          c/o Anna Salusky, Esq.                                              Contingent
          Mahoney Law Group, APC                                              Unliquidated
          249 East Ocean Blvd., Suite 814                                     Disputed
          Long Beach, CA 90802
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Just Retail Services, Inc.
          c/o Charles Carlson, Esq.                                           Contingent
          Barnett, Bolt, Kirkwood, Long & Koche                               Unliquidated
          601 Bayshore Blvd., Ste. 700,                                       Disputed
          Tampa, FL 33606
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,766.66
          KDI ATLANTA MALL, LLC
          C/O HENDON PROPERTIES                                               Contingent
          2 LIVE OAK CENTER                                                   Unliquidated
          3445 PEACHTREE ROAD                                                 Disputed
          ATLANTA, GA 30326
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Khjosaryan, Alisa                                                   Contingent
          c/o California Department of Industrial
          6150 Van Nuys Blvd., Room 206
                                                                              Unliquidated
          Van Nuys, CA 91401                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kish, Denise
          c/o Center for Disability Access                                    Contingent
          Phyl Grace, Esq.,                                                   Unliquidated
          PO Box 262490                                                       Disputed
          San Diego, CA 92196-2490
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68,048.90
          KOP PERKINS FARM MARKETPLACE LLC                                    Contingent
          LEASE#4066001                                                       Unliquidated
          PO BOX 645346                                                       Disputed
          CINCINNATI, OH 45264-5346
                                                                             Basis for the claim:    RENT
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lakes Mall Investment, LLC                                          Contingent
          c/o Glenn L. Widom, P.A
          696 NE 125 Street
                                                                              Unliquidated
          No. Miami, FL 33161                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,409.40
          LANE CRAWFORD LLC                                                   Contingent
          1370 BROADWAY                                                       Unliquidated
          SUITE 1212                                                          Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,890.89
          LORENCY & COMPANY LL                                                Contingent
          1370 BROADWAY                                                       Unliquidated
          SUITE 804                                                           Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,500.00
          MADISON CENTER OWNER, LLC                                           Contingent
          30500 NORTHWESTERN HIGHWAY                                          Unliquidated
          SUITE 200                                                           Disputed
          FARMINTON HILLS, MI 48334
                                                                             Basis for the claim:    Rent-June
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,935.66
          MALWAY REALTY ASSOCIATES LP                                         Contingent
          33 BOYLSTON ST                                                      Unliquidated
          STE 3000                                                            Disputed
          CHESTNUT HILL, MA 02467
                                                                             Basis for the claim:    Rent - Other Charges
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,399.64
          MANHATTAN HOSIERY CO                                                Contingent
          172 CLASSON AVE                                                     Unliquidated
          BROOKLYN, NY 11205                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,065.70
          MAZEL COMPANY                                                       Contingent
          31000 AURORA ROAD                                                   Unliquidated
          SOLON, OH 44139-2747                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Medina, Maria                                                       Contingent
          c/o Law Offices on Janeen Carlberg
          611 Civic Center Drive West, Suite 250
                                                                              Unliquidated
          Santa Ana, CA 92701                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Melvin, Shadine
          c/o Lawyers for Employee & Consumer Righ                            Contingent
          Vanessa Himeles                                                     Unliquidated
          4100 West Alameda Ave., 3rd Fl.                                     Disputed
          Burbank, CA 91505
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,920.10
          MERRIMAC INCOME PARTNERS LP
          C/O THE WILDER COMPANIES                                            Contingent
          800 BOYLSTON ST                                                     Unliquidated
          STE 1300                                                            Disputed
          BOSTON, MA 02199
                                                                             Basis for the claim:    RENT
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,500.00
          MICHAEL FALLAS                                                      Contingent
          15001 S. FIGUEROA STREET                                            Unliquidated
          GARDENA, CA 90248                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Interest Expense
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,154.53
          MID-AMERICA ASSET MANAGEMENT, INC                                   Contingent
          ONE PARKVIEW PLAZA,                                                 Unliquidated
          9TH FLOOR                                                           Disputed
          OAKBROOK TERRACE, IL 60181
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitchell, Larry
          c/o Steven M. Rubin, Esq.                                           Contingent
          The Rubin Law Corporation                                           Unliquidated
          1875 Century Park East, Suite 1230                                  Disputed
          Los Angeles, CA 90067
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $218.32
          MOBILE MINI                                                         Contingent
          TEXAS LIMITED PARTNERSHIP                                           Unliquidated
          P.O. BOX 79149                                                      Disputed
          PHOENIX, AZ 85062-9149
                                                                             Basis for the claim:    STORAGE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mohadjer, Camil
          c/o Joseph Farzam Law Firm                                          Contingent
          11766 Wilshire Blvd.,                                               Unliquidated
          Suite 280                                                           Disputed
          Los Angeles, CA 90025
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,951.16
          NATIONALGRID-11737                                                  Contingent
          PO BOX 11737                                                        Unliquidated
          NEWARK, NJ 07101-4737                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $26.94
          NATIONALGRID-11742                                                  Contingent
          PO BOX 11742                                                        Unliquidated
          NEWARK, NJ 07101-4742                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $185,080.82
          NATIONWIDE SECURITY SERVICE, INC.                                   Contingent
          208 BROADWAY                                                        Unliquidated
          MALDEN, MA 02148                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Guard
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,892.55
          NEJ INC                                                             Contingent
          170 PINESBRIDGE RD                                                  Unliquidated
          BEACON FALLS, CT 06403                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,614.85
          NEW WESTGATE MALL LLC                                               Contingent
          OFFICE 200 WESTGATE DRIVE                                           Unliquidated
          BROCKTON, MA 02301                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    RENT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $98,207.00
          NORTH & CICERO DEVELOPMENT LLC                                      Contingent
          4104 NORTH HARLEM AVE                                               Unliquidated
          NORRIDGE, IL 60706                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    RENT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,182.00
          NORTH CAROLINA DEP OF REVENUE                                       Contingent
          PO BOX 25000                                                        Unliquidated
          RALEIGH, NC 27640                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    RENT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $72,912.60
          NORTH RIVERSIDE PARK ASSOCIATES LLC                                 Contingent
          1525 W WT HARRIS BLVD                                               Unliquidated
          PO BOX 601399                                                       Disputed
          CHARLOTTE, NC 28262
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paralee Holmes
          c/o Gregg I. Shavitz, Esq.                                          Contingent
          Shavitz Law Group, PA                                               Unliquidated
          951 Yamato Road, Suite 285                                          Disputed
          Boca Raton, FL 33431
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,875.53
          PECO-PAYMENT PROCESSING                                             Contingent
          PO BOX 37629                                                        Unliquidated
          PHILADELPHIA, PA 19101-0629                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peele, Delia
          c/o Law Office of Michael L. Justice                                Contingent
          Michael L. Justice, Esq.                                            Unliquidated
          5707 Corsa Avenue, 2nd Floor                                        Disputed
          Westlake Village, CA 91362
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perez de Cabrera, Maria                                             Contingent
          c/o Eli M. Kantor, Esq.
          9595 Wilshire Blvd., Ste. 405
                                                                              Unliquidated
          Beverly Hills, CA 90212                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,435.83
          PJR PROPERTIES, LLC                                                 Contingent
          2215 UNION AVENUE                                                   Unliquidated
          SHEBOYGAN, WI 53081                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    RENT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,000.00
          PROFESSIONAL PROPERTIES OF
          LAS VEGAS                                                           Contingent
          PO BOX 531461                                                       Unliquidated
          C/O REGENT PARTNERS, LLC                                            Disputed
          HENDERSON, NV 89053
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,567.63
          PSE&G CO                                                            Contingent
          PO BOX 14444                                                        Unliquidated
          NEW BRUNSWICK, NJ 08906-4444                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,237.70
          PUTNAM PLACE IMPROVEMENTS, LLC                                      Contingent
          C/O DLC MANAGEMENT CORP                                             Unliquidated
          PO BOX 5122                                                         Disputed
          WHITE PLAINES, NY 10602
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,586.64
          RELIQ                                                               Contingent
          147 W 35TH STREET #304                                              Unliquidated
          NEW YORK, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,715.00
          REMO TARTAGLIA ASSOCIATES                                           Contingent
          477 MAIN ST                                                         Unliquidated
          MONROE, CT 06468                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    RENT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,234.01
          RGIS INVENTORY SPECIALISTS                                          Contingent
          P.O.BOX 77631                                                       Unliquidated
          DETROIT, MI 48277                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Inventory
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Riquiac, Josefa
          c/o Larry W. Lee                                                    Contingent
          Diversity Law Group, PC                                             Unliquidated
          515 S. Figueroa St., Ste. 1250                                      Disputed
          Los Angeles, CA 90071
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $74,578.74
          ROCKAWAY REALTY ASSOCIATES, L.P.                                    Contingent
          110 WEST 34TH ST 9TH FL                                             Unliquidated
          NEW YORK, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent - Other Charges
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $759.71
          ROTO ROOTER PLUMBING SERVICE                                        Contingent
          5672 COLLECTIONS CENTER DRIVE                                       Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    R&M
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,250.00
          S&S SHOPPING CENTERS,LTD                                            Contingent
          PO BOX 1863                                                         Unliquidated
          SAN ANTONIO, TX 78297-1863                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,766.94
          SABBONS INTERNATIONAL INC                                           Contingent
          *                                                                   Unliquidated
          GARDENA, CA 90248                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,014.70
          SABBSONS CO./SIMPLE ELEGA                                           Contingent
          474 50TH ST                                                         Unliquidated
          BROOKLYN, NY 11220                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Safeway
          c/o Aimee Wong, Esq.                                                Contingent
          Udell Wang, LLP                                                     Unliquidated
          445 S. Figueroa Street, Ste 2250                                    Disputed
          Los Angeles, CA 90071
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,627.10
          SAKAR INTERNATIONAL                                                 Contingent
          195 CARTER DRIVE                                                    Unliquidated
          EDISON, NJ 08817                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shason, Inc.
          c/o Resch, Polster & Berger, LLP                                    Contingent
          1840 Century Park East,                                             Unliquidated
          17th Floor                                                          Disputed
          Los Angeles, CA 90067
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shefa LMV, Inc.
          c/o Daniel N. Greenbaum                                             Contingent
          Law Offices of Daniel N. Greenbaum                                  Unliquidated
          7120 Hayvenhurst Ave., Ste 320                                      Disputed
          Van Nuys, CA 91496
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,416.67
          SHOP CITY PW/LB LLC                                                 Contingent
          244 WEST 39TH STREET                                                Unliquidated
          FLOOR 4                                                             Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,289.99
          SILVER ONE INTL INC                                                 Contingent
          1370 BROADWAY 6TH FL                                                Unliquidated
          NEW YORK, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,011.18
          SIMON INTERNATIONAL
          1633 SHEEPSHEAD BAY RD                                              Contingent
          2ND FLOOR                                                           Unliquidated
          CHARLES AIOSA                                                       Disputed
          BROOKLYN, NY 11235
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,305.25
          SIMON INTERNATIONAL                                                 Contingent
          EULER HERMES                                                        Unliquidated
          GARDENA, CA 90248                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $162.00
          SIONI APPAREL GROUP                                                 Contingent
          989 6TH AVE., FLOOR # 15                                            Unliquidated
          NEW YORK, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Tony                                                         Contingent
          c/o Parker Stanbury, LP
          444 South Flower Street, 19th Floor
                                                                              Unliquidated
          Los Angeles, CA 90071                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sneede, Demisha                                                     Contingent
          c/o Brodsky & Smith, LLC
          9595 Wilshire Boulevard, Suite 900
                                                                              Unliquidated
          Beverly Hills, CA 90212                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Star Fabrics, Inc.
          c/o Stephen M. Doniger, Esq.                                        Contingent
          Doniger Burroughs                                                   Unliquidated
          603 Rose Avenue                                                     Disputed
          Venice, CA 90291
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Starboard Lemon Grove MT, LLC
          c/o Robert C. Thorn, Esq.                                           Contingent
          Kimball, Tirey & St. John LLP                                       Unliquidated
          7676 Hazard Center Drive, Ste. 900B,                                Disputed
          San Diego, CA 92108
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $218.00
          STREET LINE INC                                                     Contingent
          1410 BROADWAY # 304                                                 Unliquidated
          NEW YORK, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sunbelt Rentals, Inc., et al.
          c/o Cannon Law Group                                                Contingent
          Cole S. Cannon, Esq.                                                Unliquidated
          53 S. 600 E.                                                        Disputed
          Salt Lake City, UT 84102
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Sylvester, Daniel
          c/o Eric R. Blank, Esq.,                                            Contingent
          Law Offices of Eric R. Blank, P.C.                                  Unliquidated
          7860 W. Sahara Ave., Ste: 110,                                      Disputed
          Las Vegas, NV 89117
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,890.46
          TERMINIX INTERNATIONAL COMPANY *                                    Contingent
          PO BOX 17167                                                        Unliquidated
          MEMPHIS, TN 38187                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    R&M
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $172,637.93
          THE STOP & SHOP SUPERMARKET CO LLC                                  Contingent
          PO BOX 3797                                                         Unliquidated
          BOSTON, MA 02241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    RENT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

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 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,300.00
          THE UNITED ILLUMINATING COMPANY                                     Contingent
          PO BOX 9230                                                         Unliquidated
          CHELSEA, MA 02150-9230                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,000.00
          THOR SOUTH DEKALB RETAIL LLC                                        Contingent
          PO BOX 712370                                                       Unliquidated
          CINCINNATI, OH 45271-2370                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent (CAM Charges)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,665.49
          TOWER IMPROVEMENTS LLC                                              Contingent
          C/O DLC MANAGEMENT CORP                                             Unliquidated
          PO BOX 5122                                                         Disputed
          WHITE PLAINS, NY 10602
                                                                             Basis for the claim:    Rent (CAM Charges)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,204.46
          TRES JOLIE ACCESSORIES                                              Contingent
          10 WEST 33RD STREET                                                 Unliquidated
          SUITE 1017                                                          Disputed
          NEW YORK, NY 10001
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,100.55
          TUFF COOKIES INC                                                    Contingent
          110 WEST 34TH STREET                                                Unliquidated
          7TH FLOOR                                                           Disputed
          NEW YORK, NY 10001
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $542.39
          UNIQUE LOOK                                                         Contingent
          123 US HIGHWAY 46                                                   Unliquidated
          FAIRFIELD, NJ 07004                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,333.34
          UTICA MZL LLC                                                       Contingent
          254 WEST 31ST ST 4TH FLOOR                                          Unliquidated
          C/O KATZ PROPERTIES, ACCTS RCVBL                                    Disputed
          NEW YORK, NY 10001
                                                                             Basis for the claim:    Rent
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          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Southern Island Stores LLC                                                              Case number (if known)            18-11805 (LSS)
              Name

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $516.54
          VIVATEX HOME COLLECT                                                Contingent
          1100 LINWOOD STREET                                                 Unliquidated
          BROOKLYN, NY 11208                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,421.31
          WASA PROPERTIES SOUTHLAKE PAVILION
          LLC                                                                 Contingent
          3512 QUENTIN RD                                                     Unliquidated
          SUITE 204                                                           Disputed
          BROOKLYN, NY 11234
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,967.19
          WE ENERGIES                                                         Contingent
          P O BOX 90001                                                       Unliquidated
          MILWAUKEE, WI 53290-0001                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,666.02
          WESGOLD LLC
          C/O GOLDENBERG GROUP LLC                                            Contingent
          350 SENTRY PARKWAY                                                  Unliquidated
          BUILDING 630, SUITE 300                                             Disputed
          BLUE BELL, PA 19422
                                                                             Basis for the claim:    Rent - Other Charges
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          WESTERN LIGHTS PROPERTIES, LLC                                      Contingent
          C/O THE KEMPNER CORPORATION                                         Unliquidated
          257 MAMARONECK AVE                                                  Disputed
          WHITE PLAINS, NY 10605
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Phillip
          c/o Kaveh S. Elihu, Esq.                                            Contingent
          Employee Justice Legal Group, LLP                                   Unliquidated
          3055 Wilshire Blvd, Suite 1120                                      Disputed
          Los Angeles, CA 90010
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38,438.19
          WHLR JANAF, LLC                                                     Contingent
          2529 VIRGINIA BEACH BLVD                                            Unliquidated
          VIRGINIA BEACH, VA 23452                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent-May
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       Southern Island Stores LLC                                                              Case number (if known)            18-11805 (LSS)
              Name

 3.177     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $25.00
           WISCONSIN DEPARTMENT OF REVENUE                                    Contingent
           PO BOX 930208                                                      Unliquidated
           MILWAUKEE, WI 53293-0208                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    RENT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No  Yes
 3.178     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $39,999.99
           WOOD STONE IV HOLDINGS ROTTERDAM
           LL
           C/O COLLIERS INTERNTL-LB UNIT 607                                  Contingent
           5260 PARKWAY PLAZA BLVD                                            Unliquidated
           SUITE 110                                                          Disputed
           CHARLOTTE, NC 28217
                                                                             Basis for the claim:    Rent
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No  Yes
 3.179     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Wright, Maria Ruiz
           c/o Department of Fair Employment and Ho                           Contingent
           Monica Facio                                                       Unliquidated
           2218 Kausen Drive., Suite 100                                      Disputed
           Elk Grove, CA 95758
                                                                             Basis for the claim:    Litigation
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No  Yes
 3.180     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,704.56
           XING LIN (USA) INTL CORP                                           Contingent
           1410 BROADWAY RM 300                                               Unliquidated
           NWER YORK, NY 10018                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any
 4.1       DePedro, Veronica
           625 North 8th Street                                                                       Line      3.50
           Lompoc, CA 93436
                                                                                                            Not listed. Explain

 4.2       DePedro, Veronica
           214 West Maple Ave.                                                                        Line      3.50
           Lompoc, CA 93436
                                                                                                            Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                           Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.          $                   325,598.74
 5b. Total claims from Part 2                                                                             5b.    +     $                84,364,739.40



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              Name


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $              84,690,338.14




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 Fill in this information to identify the case:

 Debtor name         Southern Island Stores LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         18-11805 (LSS)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  Real Property Lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                                           101-115 W 116TH ST REALTY CORP
                                                                                     C/O MITCHELL ENTERPRISES
              List the contract number of any                                        2050 CENTER AVE R#510
                    government contract                                              FORT LEE, NJ 07024


 2.2.         State what the contract or                  Real Property Lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     1204 CORPORATION
              List the contract number of any                                        6315 FORBES AVE
                    government contract                                              PITTSBURGH, PA 15217


 2.3.         State what the contract or                  Real Property Lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                                           1956-1994 MOUNT ZION ROAD HOLDINGS
                                                                                     c/o COMPASSROCK REAL ESTATE 2.0 LLC
              List the contract number of any                                        10700 E BETHANY DR. SUITE 101
                    government contract                                              AURORA, CO 80014


 2.4.         State what the contract or                  Real Property Lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     427 SASSCO LLC
              List the contract number of any                                        58-08 MYRTLE AVENUE
                    government contract                                              RIDGEWOOD, NY 11385




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 Debtor 1 Southern Island Stores LLC                                                             Case number (if known)   18-11805 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               50 BROAD ST CORP
                                                                                         C.H MARTIN
             List the contract number of any                                             156 PORT RICHMOND
                   government contract                                                   STATEN ISLAND, NY 10302


 2.6.        State what the contract or                   Foreign Policy
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Ace American Insurance Company
             List the contract number of any                                             436 Walnut Street
                   government contract                                                   Philadelphia, PA 19105


 2.7.        State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         ADLOR B REALTY ASSOCIATES LLC
             List the contract number of any                                             15 OCEAN AVE
                   government contract                                                   BROOKLYN, NY 11225


 2.8.        State what the contract or                   Property, Stock
             lease is for and the nature of               Throughput and Cargo
             the debtor's interest                        Policies
                                                                                         Affiliated FM
                  State the term remaining                                               Marika Block, Vice President, Area Manager
                                                                                         Peter Collins, Cargo Underwriting Manage
             List the contract number of any                                             6320 Canoga Ave, Suite 1100
                   government contract                                                   Woodland Hills, CA 91367


 2.9.        State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Amherst Station LLC
             List the contract number of any                                             33340 COLLECTION CENTER DRIVE
                   government contract                                                   CHICAGO, IL 60693-0333


 2.10.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               ARIEL BELVEDERE OWNER HOLDINGS LLC
                                                                                         PO BOX 538383
             List the contract number of any                                             ATLANTA, GA 30353-8383
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.11.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               BG THRUWAY LLC
                                                                                         C/O DEVELOPERS DIVERSIFIED CORP
             List the contract number of any                                             PO BOX 931656
                   government contract                                                   CLEVELAND, OH 44193


 2.12.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               BLDG MANAGEMENT CO INC.
                                                                                         417 FIFTH AVE.4TH FLOOR
             List the contract number of any                                             SUITE 400
                   government contract                                                   NEW YORK, NY 10016


 2.13.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest
                                                                                         BLDG-ICS OLNEY LLC
                  State the term remaining                                               C/O WRGUSA, LLC
                                                                                         8 INDUSTRIAL WAY EAST
             List the contract number of any                                             SECOND FLOOR
                   government contract                                                   EATONTOWN, NJ 07724


 2.14.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               BRIXMOR SPE 3 LLC
                                                                                         c/o BRIXMOR PROPERTY GROUP
             List the contract number of any                                             PO BOX 645349
                   government contract                                                   CINCINNATI, OH 45264-5349


 2.15.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               CB CHICAGO PARTNERS, LTD
                                                                                         LOCKBOX 9947
             List the contract number of any                                             PO BOX 8500
                   government contract                                                   PHILADELPHIA, PA 19178-9947


 2.16.       State what the contract or                   Real Property Lease
             lease is for and the nature of                                              CCMS 2005-CD1 RETAIL 1400, LLC
             the debtor's interest                                                       5260 PARKWAY PLAZA BLVD STE 110
                                                                                         CHARLOTTE, NC 28217-5524
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 Debtor 1 Southern Island Stores LLC                                                             Case number (if known)   18-11805 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               CEDAR - JORDAN LANE LLC
                                                                                         C/O CEDAR REALTY TRUST INC
             List the contract number of any                                             44 SOUTH BAYLES AVENUE
                   government contract                                                   PORT WASHINGTON, NY 11050


 2.18.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               CEDAR KINGS LLC
                                                                                         CEDAR SHOPPING CENTERS PARTSHP LP
             List the contract number of any                                             44 SOUTH BAYLESS AVE, SUITE 304
                   government contract                                                   PORT WASHINGTON, NY 11050


 2.19.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               CHARLOTTE (ARCHDALE) LLC
                                                                                         C/O RIVERCREST REALTY
             List the contract number of any                                             8816 SIX FORK ROAD
                   government contract                                                   RALEIGH, NC 27615


 2.20.       State what the contract or                   Fiduciary and Foreign
             lease is for and the nature of               Policies
             the debtor's interest

                  State the term remaining                                               Chubb Global Casualty
                                                                                         Terry Seningen, Underwriter
             List the contract number of any                                             One Beaver Valley Road
                   government contract                                                   Wilmington, DE 19803


 2.21.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               CONCORD BUYING GROUP INC
                                                                                         PO BOX 9357
             List the contract number of any                                             LEASE ADMIN 300-2AN
                   government contract                                                   FRAMINGHAM, MA 01701




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 Debtor 1 Southern Island Stores LLC                                                             Case number (if known)   18-11805 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.22.       State what the contract or                   Equipment Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         CSC, as Representative
             List the contract number of any                                             P.O. Box 2576
                   government contract                                                   Springfield, IL 62708


 2.23.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               DEL LLC
                                                                                         C/O C.A. WHITE
             List the contract number of any                                             1211 CHAPEL ST
                   government contract                                                   NEW HAVEN, CT 06511


 2.24.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         EAST FOREST PLAZA II LLC
             List the contract number of any                                             PO BOX 11312
                   government contract                                                   COLUMBIA, SC 29211


 2.25.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         EDGEWOOD STATION LLC
             List the contract number of any                                             2537 PAYSPEHERE CIRCLE
                   government contract                                                   CHICAGO, IL 60674


 2.26.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               FC BRUCKNER ASSOCIATES, L.P.
                                                                                         LOCKBOX #2732
             List the contract number of any                                             P.O. BOX 8500
                   government contract                                                   PHILADELPHIA, PA 19178-2732


 2.27.       State what the contract or                   Fiduciary Liability
             lease is for and the nature of               Policy
             the debtor's interest
                                                                                         Federal Insurance Company (Chubb)
                  State the term remaining                                               82 Hopmeadow Street
                                                                                         P.O. Box 2002
             List the contract number of any                                             Simsbury, CT 06070-7683
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.28.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               FIELD STATION, LLC
                                                                                         C/O SUPERIOR REALTY CO.
             List the contract number of any                                             540 GALLIVAN BLVD
                   government contract                                                   DORCHESTER, MA 02124


 2.29.       State what the contract or                   Excess Liability Policy
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Firemans Fund Insurance Company
                                                                                         AGCS
             List the contract number of any                                             800 South Flower Street
                   government contract                                                   Los Angeles, CA 90017


 2.30.       State what the contract or                   Money Network
             lease is for and the nature of               Services Agreement
             the debtor's interest                        dated 09.27.17; Master
                                                          Services Agreement
                                                          dated 10.05.17
                  State the term remaining                                               First Data Merchant Services
                                                                                         Attn: Exec. VP Operations
             List the contract number of any                                             1307 Walt Whitman Road
                   government contract                                                   Melville, NY 11747


 2.31.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               FORDHAM VALENTINE ASSOCIATES
                                                                                         C/O JENEL MANAGEMENT CORP
             List the contract number of any                                             PO BOX 11644
                   government contract                                                   NEWARK, NJ 07101-4644


 2.32.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               FRAYER ENTERPRISE, LLC
                                                                                         PO BOX 892220
             List the contract number of any                                             ATTN: RIDGEWATER TEAM
                   government contract                                                   OKLAHOMA CITY, OK 73189




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 Debtor 1 Southern Island Stores LLC                                                             Case number (if known)   18-11805 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.33.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest
                                                                                         G&I IX EMPIRE DELAWARE CONSUMER
                  State the term remaining                                               SQUARE LLC
                                                                                         C/O DRA ADVISORS LLC
             List the contract number of any                                             220 EAST 42ND ST 27TH FLOOR
                   government contract                                                   NEW YORK, NY 10017


 2.34.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               G&I IX EMPIRE THRUWAY PLAZA LLC
                                                                                         C/O DLC MANAGEMENT CORP
             List the contract number of any                                             PO BOX 5122
                   government contract                                                   WHITE PLAINS, NY 10602-5122


 2.35.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               GERTZ PLAZA ACQUISITION 2 LLC
                                                                                         C/O WHARTON REALTY GROUP, LLC
             List the contract number of any                                             8 INDUSTRIAL WAY E.2 FL
                   government contract                                                   EATONTOWN, NJ 07724


 2.36.       State what the contract or                   Umbrella Policy
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Great American Insurance Group
             List the contract number of any                                             PO Box 5425
                   government contract                                                   Cincinnati, OH 45201-5425


 2.37.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               HAIRSTON INVESTORES, LLC
                                                                                         8 INDUSTRIAL WAY EAST
             List the contract number of any                                             2ND FLR
                   government contract                                                   EATONTOWN, NJ 07724


 2.38.       State what the contract or                   General Liability, Auto,
             lease is for and the nature of               Workers'
             the debtor's interest                        Compensation and               Hartford
                                                          Flood Policies                 Jeanna Day, Practice Leader, Specialty GL
                  State the term remaining                                               Melissa Phan, Practice Leader - National
                                                                                         777 S. Figueroa Street, Suite 700
             List the contract number of any                                             Los Angeles, CA 90017
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 Debtor 1 Southern Island Stores LLC                                                             Case number (if known)   18-11805 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.39.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               HIGHLAND PLAZA IMPROVEMENTS
                                                                                         C/O DLC MANAGEMENT CORP.
             List the contract number of any                                             PO BOX 5122
                   government contract                                                   WHITE PLAINS, NY 10602


 2.40.       State what the contract or                   D&O and Crime
             lease is for and the nature of               Policies
             the debtor's interest

                  State the term remaining                                               Hiscox Insurance Company
                                                                                         104 South Michigan Avenue
             List the contract number of any                                             Suite 600
                   government contract                                                   Chicago, IL 60603


 2.41.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         INLAND REAL ESTATE CORPORATION
             List the contract number of any                                             4575 PAYSPHERE CIRCLE
                   government contract                                                   CHICAGO, IL 60674


 2.42.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               IRC RETAIL CENTERS
                                                                                         75 REMITTANCE DRIVE
             List the contract number of any                                             DEPT 3128
                   government contract                                                   CHICAGO, IL 60675-3128


 2.43.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest
                                                                                         IRONDEQUOIT TK OWNER LLC
                  State the term remaining                                               415 PARK AVEBUE
                                                                                         C/O JADD MANAGEMENT LLC
             List the contract number of any                                             KERRY STEVENS
                   government contract                                                   ROCHESTER, NY 14607


 2.44.       State what the contract or                   Real Property Lease
             lease is for and the nature of                                              JANAF SHOPPING CENTER LLC
             the debtor's interest                                                       PO BOX 713828
                                                                                         CINCINNATI, OH 45271-3828
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 Debtor 1 Southern Island Stores LLC                                                             Case number (if known)   18-11805 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.45.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest
                                                                                         KDI ATLANTA MALL, LLC
                  State the term remaining                                               C/O HENDON PROPERTIES
                                                                                         2 LIVE OAK CENTER
             List the contract number of any                                             3445 PEACHTREE ROAD
                   government contract                                                   ATLANTA, GA 30326


 2.46.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               KOP PERKINS FARM MARKETPLACE LLC
                                                                                         LEASE#4066001
             List the contract number of any                                             PO BOX 645346
                   government contract                                                   CINCINNATI, OH 45264-5346


 2.47.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               LINCOLN SHOPPING CENTER LLC
                                                                                         100 NORTH POND DR SUITE F
             List the contract number of any                                             PO BOX 838
                   government contract                                                   WALLED LAKE, MI 48390-0838


 2.48.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               MADISON CENTER OWNER, LLC
                                                                                         30500 NORTHWESTERN HIGHWAY
             List the contract number of any                                             SUITE 200
                   government contract                                                   FARMINTON HILLS, MI 48334


 2.49.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               MALWAY REALTY ASSOCIATES LP
                                                                                         33 BOYLSTON ST
             List the contract number of any                                             STE 3000
                   government contract                                                   CHESTNUT HILL, MA 02467




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.50.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest
                                                                                         MERRIMAC INCOME PARTNERS LP
                  State the term remaining                                               C/O THE WILDER COMPANIES
                                                                                         800 BOYLSTON ST
             List the contract number of any                                             STE 1300
                   government contract                                                   BOSTON, MA 02199


 2.51.       State what the contract or                   Fallas Subordination
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04.04.17.

                  State the term remaining
                                                                                         Michael Fallas
             List the contract number of any                                             15001 South Figueroa Street
                   government contract                                                   Gardena, CA 90248


 2.52.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         NEW WESTGATE MALL LLC
             List the contract number of any                                             OFFICE 200 WESTGATE DRIVE
                   government contract                                                   BROCKTON, MA 02301


 2.53.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         NORTH & CICERO DEVELOPMENT LLC
             List the contract number of any                                             4104 NORTH HARLEM AVE
                   government contract                                                   NORRIDGE, IL 60706


 2.54.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               NORTH RIVERSIDE PARK ASSOCIATES LLC
                                                                                         1525 W WT HARRIS BLVD
             List the contract number of any                                             PO BOX 601399
                   government contract                                                   CHARLOTTE, NC 28262


 2.55.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               PJR PROPERTIES, LLC
                                                                                         2215 UNION AVENUE
             List the contract number of any                                             SHEBOYGAN, WI 53081
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.56.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               PRINCE WILLIAM SQUARE INVESTORS LLC
                                                                                         C/O ROSENTHAL PROPERTIES LLC
             List the contract number of any                                             1945 OLD GALLOWS RD SUITE 300
                   government contract                                                   VIENNA, VA 22182


 2.57.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest
                                                                                         PROFESSIONAL PROPERTIES OF
                  State the term remaining                                               LAS VEGAS
                                                                                         PO BOX 531461
             List the contract number of any                                             C/O REGENT PARTNERS, LLC
                   government contract                                                   HENDERSON, NV 89053


 2.58.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               PUTNAM PLACE IMPROVEMENTS, LLC
                                                                                         C/O DLC MANAGEMENT CORP
             List the contract number of any                                             PO BOX 5122
                   government contract                                                   WHITE PLAINES, NY 10602


 2.59.       State what the contract or                   Equipment Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Reich Bros. Business Solutions LLC
             List the contract number of any                                             267 Central Ave.
                   government contract                                                   White Plains, NY 10606


 2.60.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         REMO TARTAGLIA ASSOCIATES
             List the contract number of any                                             477 MAIN ST
                   government contract                                                   MONROE, CT 06468


 2.61.       State what the contract or                   Side-A DIC Policy
             lease is for and the nature of                                              RLI Insurance Company
             the debtor's interest                                                       9025 North Lindbergh Drive
                                                                                         Peoria, IL 61615
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.62.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         ROCKAWAY REALTY ASSOCIATES, L.P.
             List the contract number of any                                             110 WEST 34TH ST 9TH FL
                   government contract                                                   NEW YORK, NY 10001


 2.63.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         S&S SHOPPING CENTERS,LTD
             List the contract number of any                                             PO BOX 1863
                   government contract                                                   SAN ANTONIO, TX 78297-1863


 2.64.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               SHOP CITY PW/LB LLC
                                                                                         244 WEST 39TH STREET
             List the contract number of any                                             FLOOR 4
                   government contract                                                   NEW YORK, NY 10018


 2.65.       State what the contract or                   Preventative
             lease is for and the nature of               Maintenance Contract
             the debtor's interest

                  State the term remaining
                                                                                         Standard Refrigerators, Inc.
             List the contract number of any                                             45-02 37th Avenue
                   government contract                                                   Long Island City, NY 11101


 2.66.       State what the contract or                   Managing General
             lease is for and the nature of               Agent - Umbrella and
             the debtor's interest                        Excess Policies
                                                                                         SterlingRisk
                  State the term remaining                                               Howard Meyers, Vice Chairman
                                                                                         135 Crossways Park Drive
             List the contract number of any                                             P.O. Box 9017
                   government contract                                                   Woodbury, NY 11797




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.67.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         STOCKBRIDGE MADISON LLC
             List the contract number of any                                             PO BOX 8130
                   government contract                                                   BLOOMFIELD HILLS, MI 48302


 2.68.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         THE DIMUCCI COMPANY OF CICERO,IL
             List the contract number of any                                             285 WEST DUNDEE RD
                   government contract                                                   PALATINE, IL 60074


 2.69.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               THE GALLERY AT SOUTH DEKALB
                                                                                         2801 CANDLER ROAD
             List the contract number of any                                             SUITE 75
                   government contract                                                   DECATUR, GA 30034


 2.70.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         THE STOP & SHOP SUPERMARKET CO LLC
             List the contract number of any                                             PO BOX 3797
                   government contract                                                   BOSTON, MA 02241


 2.71.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         THOR SOUTH DEKALB RETAIL LLC
             List the contract number of any                                             PO BOX 712370
                   government contract                                                   CINCINNATI, OH 45271-2370


 2.72.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest
                                                                                         TOWER IMPROVEMENTS LLC
                  State the term remaining                                               C/O DLC MANAGEMENT CORP
                                                                                         PO BOX 5122
             List the contract number of any                                             WHITE PLAINS, NY 10602
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.73.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         UE BRUCKNER SHOPS LLC
             List the contract number of any                                             210 ROUTE 4 EAST
                   government contract                                                   PARAMUS, NJ 07652


 2.74.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               UTICA MZL LLC
                                                                                         254 WEST 31ST ST 4TH FLOOR
             List the contract number of any                                             C/O KATZ PROPERTIES, ACCTS RCVBL
                   government contract                                                   NEW YORK, NY 10001


 2.75.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest
                                                                                         WASA PROPERTIES SOUTHLAKE PAVILION
                  State the term remaining                                               LLC
                                                                                         3512 QUENTIN RD
             List the contract number of any                                             SUITE 204
                   government contract                                                   BROOKLYN, NY 11234


 2.76.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest
                                                                                         WESGOLD LLC
                  State the term remaining                                               C/O GOLDENBERG GROUP LLC
                                                                                         350 SENTRY PARKWAY
             List the contract number of any                                             BUILDING 630, SUITE 300
                   government contract                                                   BLUE BELL, PA 19422


 2.77.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               WESTERN LIGHTS PROPERTIES, LLC
                                                                                         C/O THE KEMPNER CORPORATION
             List the contract number of any                                             257 MAMARONECK AVE
                   government contract                                                   WHITE PLAINS, NY 10605


 2.78.       State what the contract or                   Real Property Lease
             lease is for and the nature of                                              WHLR JANAF, LLC
             the debtor's interest                                                       2529 VIRGINIA BEACH BLVD
                                                                                         VIRGINIA BEACH, VA 23452
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.79.       State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest
                                                                                         WOOD STONE IV HOLDINGS ROTTERDAM LL
                  State the term remaining                                               C/O COLLIERS INTERNTL-LB UNIT 607
                                                                                         5260 PARKWAY PLAZA BLVD
             List the contract number of any                                             SUITE 110
                   government contract                                                   CHARLOTTE, NC 28217




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 Fill in this information to identify the case:

 Debtor name         Southern Island Stores LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         18-11805 (LSS)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Caribbean Island                  15001 South Figueroa Street                      Encina Business                 D       2.2
             Stores, LLC                       Gardena, CA 90248                                Credit, LLC                      E/F
                                                                                                                                G



    2.2      Caribbean Island                  15001 South Figueroa Street                      Gordon Brothers                 D       2.3
             Stores, LLC                       Gardena, CA 90248                                Finance Company                  E/F
                                                                                                                                G



    2.3      Caribbean Island                  15001 South Figueroa Street                      Michael Fallas                  D       2.4
             Stores, LLC                       Gardena, CA 90248                                                                 E/F
                                                                                                                                G



    2.4      Caribbean Island                  15001 South Figueroa Street                      Reich Bros. Business            D       2.5
             Stores, LLC                       Gardena, CA 90248                                Solutions LLC                    E/F
                                                                                                                                G



    2.5      FP Stores, Inc.                   15001 South Figueroa Street                      CSC, as                         D       2.1
                                               Gardena, CA 90248                                Representative                   E/F
                                                                                                                                G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      FP Stores, Inc.                   15001 South Figueroa Street                     Encina Business              D       2.2
                                               Gardena, CA 90248                               Credit, LLC                   E/F
                                                                                                                            G



    2.7      FP Stores, Inc.                   15001 South Figueroa Street                     Gordon Brothers              D       2.3
                                               Gardena, CA 90248                               Finance Company               E/F
                                                                                                                            G



    2.8      FP Stores, Inc.                   15001 South Figueroa Street                     Michael Fallas               D       2.4
                                               Gardena, CA 90248                                                             E/F
                                                                                                                            G



    2.9      FP Stores, Inc.                   15001 South Figueroa Street                     Reich Bros. Business         D       2.5
                                               Gardena, CA 90248                               Solutions LLC                 E/F
                                                                                                                            G



    2.10     J & M Sales, Inc.                 15001 South Figueroa Street                     CSC, as                      D       2.1
                                               Gardena, CA 90248                               Representative                E/F
                                                                                                                            G



    2.11     J & M Sales, Inc.                 15001 South Figueroa Street                     Encina Business              D       2.2
                                               Gardena, CA 90248                               Credit, LLC                   E/F
                                                                                                                            G



    2.12     J & M Sales, Inc.                 15001 South Figueroa Street                     Gordon Brothers              D       2.3
                                               Gardena, CA 90248                               Finance Company               E/F
                                                                                                                            G



    2.13     J & M Sales, Inc.                 15001 South Figueroa Street                     Michael Fallas               D       2.4
                                               Gardena, CA 90248                                                             E/F
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     J & M Sales, Inc.                 15001 South Figueroa Street                     Reich Bros. Business         D       2.5
                                               Gardena, CA 90248                               Solutions LLC                 E/F
                                                                                                                            G



    2.15     J&M Sales of                      15001 South Figueroa Street                     CSC, as                      D       2.1
             Texas, LLC                        Gardena, CA 90248                               Representative                E/F
                                                                                                                            G



    2.16     J&M Sales of                      15001 South Figueroa Street                     Encina Business              D       2.2
             Texas, LLC                        Gardena, CA 90248                               Credit, LLC                   E/F
                                                                                                                            G



    2.17     J&M Sales of                      15001 South Figueroa Street                     Gordon Brothers              D       2.3
             Texas, LLC                        Gardena, CA 90248                               Finance Company               E/F
                                                                                                                            G



    2.18     J&M Sales of                      15001 South Figueroa Street                     Michael Fallas               D       2.4
             Texas, LLC                        Gardena, CA 90248                                                             E/F
                                                                                                                            G



    2.19     J&M Sales of                      15001 South Figueroa Street                     Reich Bros. Business         D       2.5
             Texas, LLC                        Gardena, CA 90248                               Solutions LLC                 E/F
                                                                                                                            G



    2.20     National Stores,                  15001 South Figueroa Street                     CSC, as                      D       2.1
             Inc.                              Gardena, CA 90248                               Representative                E/F
                                                                                                                            G



    2.21     National Stores,                  15001 South Figueroa Street                     Encina Business              D       2.2
             Inc.                              Gardena, CA 90248                               Credit, LLC                   E/F
                                                                                                                            G




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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.22     National Stores,                  15001 South Figueroa Street                     Gordon Brothers              D       2.3
             Inc.                              Gardena, CA 90248                               Finance Company               E/F
                                                                                                                            G



    2.23     National Stores,                  15001 South Figueroa Street                     Michael Fallas               D       2.4
             Inc.                              Gardena, CA 90248                                                             E/F
                                                                                                                            G



    2.24     National Stores,                  15001 South Figueroa Street                     Reich Bros. Business         D       2.5
             Inc.                              Gardena, CA 90248                               Solutions LLC                 E/F
                                                                                                                            G



    2.25     Pazzo FNB Corp.                   15001 South Figueroa Street                     Encina Business              D       2.2
                                               Gardena, CA 90248                               Credit, LLC                   E/F
                                                                                                                            G



    2.26     Pazzo FNB Corp.                   15001 South Figueroa Street                     Gordon Brothers              D       2.3
                                               Gardena, CA 90248                               Finance Company               E/F
                                                                                                                            G



    2.27     Pazzo FNB Corp.                   15001 South Figueroa Street                     Michael Fallas               D       2.4
                                               Gardena, CA 90248                                                             E/F
                                                                                                                            G



    2.28     Pazzo FNB Corp.                   15001 South Figueroa Street                     Reich Bros. Business         D       2.5
                                               Gardena, CA 90248                               Solutions LLC                 E/F
                                                                                                                            G



    2.29     Southern Island                   15001 South Figueroa Street                     Encina Business              D       2.2
             Retail Stores LLC                 Gardena, CA 90248                               Credit, LLC                   E/F
                                                                                                                            G




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 Debtor       Southern Island Stores LLC                                                  Case number (if known)   18-11805 (LSS)


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            Column 1: Codebtor                                                          Column 2: Creditor



    2.30     Southern Island                   15001 South Figueroa Street                     Gordon Brothers              D       2.3
             Retail Stores LLC                 Gardena, CA 90248                               Finance Company               E/F
                                                                                                                            G



    2.31     Southern Island                   15001 South Figueroa Street                     Michael Fallas               D       2.4
             Retail Stores LLC                 Gardena, CA 90248                                                             E/F
                                                                                                                            G



    2.32     Abe & Morris                                                                      427 SASSCO LLC               D
             Cohen                                                                                                           E/F
                                                                                                                            G       2.4




    2.33     Conway Stores                                                                     UE BRUCKNER                  D
             Inc.                                                                              SHOPS LLC                     E/F
                                                                                                                            G       2.73




    2.34     Conway Stores                                                                     FC BRUCKNER                  D
             Inc.                                                                              ASSOCIATES, L.P.              E/F
                                                                                                                            G       2.26




    2.35     Conway Stores                                                                     ADLOR B REALTY               D
             Inc.                                                                              ASSOCIATES LLC                E/F
                                                                                                                            G       2.7




    2.36     Conway Stores                                                                     ROCKAWAY REALTY              D
             Inc.                                                                              ASSOCIATES, L.P.              E/F
                                                                                                                            G       2.62




    2.37     FP Stores, Inc.                   15001 South Figueroa Street                     PROFESSIONAL                 D
                                               Gardena, CA 90248                               PROPERTIES OF                 E/F
                                                                                                                            G       2.57




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    2.38     FP Stores, Inc.                   15001 South Figueroa Street                     50 BROAD ST CORP             D
                                               Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.5




    2.39     FP Stores, Inc.                   15001 South Figueroa Street                     THE DIMUCCI                  D
                                               Gardena, CA 90248                               COMPANY OF                    E/F
                                                                                               CICERO,IL
                                                                                                                            G       2.68




    2.40     FP Stores, Inc.                   15001 South Figueroa Street                     NORTH & CICERO               D
                                               Gardena, CA 90248                               DEVELOPMENT LLC               E/F
                                                                                                                            G       2.53




    2.41     FP Stores, Inc.                   15001 South Figueroa Street                     HIGHLAND PLAZA               D
                                               Gardena, CA 90248                               IMPROVEMENTS                  E/F
                                                                                                                            G       2.39




    2.42     FP Stores, Inc.                   15001 South Figueroa Street                     BRIXMOR SPE 3 LLC            D
                                               Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.14




    2.43     FP Stores, Inc.                   15001 South Figueroa Street                     MADISON CENTER               D
                                               Gardena, CA 90248                               OWNER, LLC                    E/F
                                                                                                                            G       2.48




    2.44     FP Stores, Inc.                   15001 South Figueroa Street                     STOCKBRIDGE                  D
                                               Gardena, CA 90248                               MADISON LLC                   E/F
                                                                                                                            G       2.67




    2.45     FP Stores, Inc.                   15001 South Figueroa Street                     CEDAR KINGS LLC              D
                                               Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.18




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    2.46     FP Stores, Inc.                   15001 South Figueroa Street                     BLDG-ICS OLNEY               D
                                               Gardena, CA 90248                               LLC                           E/F
                                                                                                                            G       2.13




    2.47     FP Stores, Inc.                   15001 South Figueroa Street                     Amherst Station LLC          D
                                               Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.9




    2.48     FP Stores, Inc.                   15001 South Figueroa Street                     SHOP CITY PW/LB              D
                                               Gardena, CA 90248                               LLC                           E/F
                                                                                                                            G       2.64




    2.49     FP Stores, Inc.                   15001 South Figueroa Street                     UTICA MZL LLC                D
                                               Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.74




    2.50     FP Stores, Inc.                   15001 South Figueroa Street                     WESTERN LIGHTS               D
                                               Gardena, CA 90248                               PROPERTIES, LLC               E/F
                                                                                                                            G       2.77




    2.51     FP Stores, Inc.                   15001 South Figueroa Street                     WOOD STONE IV                D
                                               Gardena, CA 90248                               HOLDINGS                      E/F
                                                                                               ROTTERDAM LL
                                                                                                                            G       2.79




    2.52     FP Stores, Inc.                   15001 South Figueroa Street                     CCMS 2005-CD1                D
                                               Gardena, CA 90248                               RETAIL 1400, LLC              E/F
                                                                                                                            G       2.16




    2.53     FP Stores, Inc.                   15001 South Figueroa Street                     FRAYER                       D
                                               Gardena, CA 90248                               ENTERPRISE, LLC               E/F
                                                                                                                            G       2.32




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    2.54     FP Stores, Inc.                   15001 South Figueroa Street                     THOR SOUTH                   D
                                               Gardena, CA 90248                               DEKALB RETAIL LLC             E/F
                                                                                                                            G       2.71




    2.55     FP Stores, Inc.                   15001 South Figueroa Street                     THE GALLERY AT               D
                                               Gardena, CA 90248                               SOUTH DEKALB                  E/F
                                                                                                                            G       2.69




    2.56     FP Stores, Inc.                   15001 South Figueroa Street                     WASA PROPERTIES              D
                                               Gardena, CA 90248                               SOUTHLAKE                     E/F
                                                                                               PAVILION
                                                                                                                            G       2.75




    2.57     FP Stores, Inc.                   15001 South Figueroa Street                     1956-1994 MOUNT              D
                                               Gardena, CA 90248                               ZION ROAD                     E/F
                                                                                               HOLDINGS
                                                                                                                            G       2.3




    2.58     FP Stores, Inc.                   15001 South Figueroa Street                     KDI ATLANTA MALL,            D
                                               Gardena, CA 90248                               LLC                           E/F
                                                                                                                            G       2.45




    2.59     FP Stores, Inc.                   15001 South Figueroa Street                     CHARLOTTE                    D
                                               Gardena, CA 90248                               (ARCHDALE) LLC                E/F
                                                                                                                            G       2.19




    2.60     FP Stores, Inc.                   15001 South Figueroa Street                     EAST FOREST                  D
                                               Gardena, CA 90248                               PLAZA II LLC                  E/F
                                                                                                                            G       2.24




    2.61     FP Stores, Inc.                   15001 South Figueroa Street                     IRC RETAIL                   D
                                               Gardena, CA 90248                               CENTERS                       E/F
                                                                                                                            G       2.42




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    2.62     J & M Sales, Inc.                 15001 South Figueroa Street                     THE DIMUCCI                  D
                                               Gardena, CA 90248                               COMPANY OF                    E/F
                                                                                               CICERO,IL
                                                                                                                            G       2.68




    2.63     J & M Sales, Inc.                 15001 South Figueroa Street                     NORTH & CICERO               D
                                               Gardena, CA 90248                               DEVELOPMENT LLC               E/F
                                                                                                                            G       2.53




    2.64     J & M Sales, Inc.                 15001 South Figueroa Street                     HIGHLAND PLAZA               D
                                               Gardena, CA 90248                               IMPROVEMENTS                  E/F
                                                                                                                            G       2.39




    2.65     J & M Sales, Inc.                 15001 South Figueroa Street                     BRIXMOR SPE 3 LLC            D
                                               Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.14




    2.66     J & M Sales, Inc.                 15001 South Figueroa Street                     MADISON CENTER               D
                                               Gardena, CA 90248                               OWNER, LLC                    E/F
                                                                                                                            G       2.48




    2.67     J & M Sales, Inc.                 15001 South Figueroa Street                     STOCKBRIDGE                  D
                                               Gardena, CA 90248                               MADISON LLC                   E/F
                                                                                                                            G       2.67




    2.68     J & M Sales, Inc.                 15001 South Figueroa Street                     CEDAR KINGS LLC              D
                                               Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.18




    2.69     J & M Sales, Inc.                 15001 South Figueroa Street                     BLDG-ICS OLNEY               D
                                               Gardena, CA 90248                               LLC                           E/F
                                                                                                                            G       2.13




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    2.70     J & M Sales, Inc.                 15001 South Figueroa Street                     G&I IX EMPIRE                D
                                               Gardena, CA 90248                               THRUWAY PLAZA                 E/F
                                                                                               LLC
                                                                                                                            G       2.34




    2.71     J & M Sales, Inc.                 15001 South Figueroa Street                     BG THRUWAY LLC               D
                                               Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.11




    2.72     J & M Sales, Inc.                 15001 South Figueroa Street                     Amherst Station LLC          D
                                               Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.9




    2.73     J & M Sales, Inc.                 15001 South Figueroa Street                     SHOP CITY PW/LB              D
                                               Gardena, CA 90248                               LLC                           E/F
                                                                                                                            G       2.64




    2.74     J & M Sales, Inc.                 15001 South Figueroa Street                     UTICA MZL LLC                D
                                               Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.74




    2.75     J & M Sales, Inc.                 15001 South Figueroa Street                     WESTERN LIGHTS               D
                                               Gardena, CA 90248                               PROPERTIES, LLC               E/F
                                                                                                                            G       2.77




    2.76     J & M Sales, Inc.                 15001 South Figueroa Street                     WOOD STONE IV                D
                                               Gardena, CA 90248                               HOLDINGS                      E/F
                                                                                               ROTTERDAM LL
                                                                                                                            G       2.79




    2.77     J & M Sales, Inc.                 15001 South Figueroa Street                     CCMS 2005-CD1                D
                                               Gardena, CA 90248                               RETAIL 1400, LLC              E/F
                                                                                                                            G       2.16




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    2.78     J & M Sales, Inc.                 15001 South Figueroa Street                     FRAYER                       D
                                               Gardena, CA 90248                               ENTERPRISE, LLC               E/F
                                                                                                                            G       2.32




    2.79     J & M Sales, Inc.                 15001 South Figueroa Street                     THOR SOUTH                   D
                                               Gardena, CA 90248                               DEKALB RETAIL LLC             E/F
                                                                                                                            G       2.71




    2.80     J & M Sales, Inc.                 15001 South Figueroa Street                     THE GALLERY AT               D
                                               Gardena, CA 90248                               SOUTH DEKALB                  E/F
                                                                                                                            G       2.69




    2.81     J & M Sales, Inc.                 15001 South Figueroa Street                     WASA PROPERTIES              D
                                               Gardena, CA 90248                               SOUTHLAKE                     E/F
                                                                                               PAVILION
                                                                                                                            G       2.75




    2.82     J & M Sales, Inc.                 15001 South Figueroa Street                     1956-1994 MOUNT              D
                                               Gardena, CA 90248                               ZION ROAD                     E/F
                                                                                               HOLDINGS
                                                                                                                            G       2.3




    2.83     J & M Sales, Inc.                 15001 South Figueroa Street                     KDI ATLANTA MALL,            D
                                               Gardena, CA 90248                               LLC                           E/F
                                                                                                                            G       2.45




    2.84     J & M Sales, Inc.                 15001 South Figueroa Street                     CHARLOTTE                    D
                                               Gardena, CA 90248                               (ARCHDALE) LLC                E/F
                                                                                                                            G       2.19




    2.85     J & M Sales, Inc.                 15001 South Figueroa Street                     EAST FOREST                  D
                                               Gardena, CA 90248                               PLAZA II LLC                  E/F
                                                                                                                            G       2.24




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    2.86     J & M Sales, Inc.                 15001 South Figueroa Street                     IRC RETAIL                   D
                                               Gardena, CA 90248                               CENTERS                       E/F
                                                                                                                            G       2.42




    2.87     J&M Sales of                      15001 South Figueroa Street                     THE DIMUCCI                  D
             Texas, LLC                        Gardena, CA 90248                               COMPANY OF                    E/F
                                                                                               CICERO,IL
                                                                                                                            G       2.68




    2.88     J&M Sales of                      15001 South Figueroa Street                     NORTH & CICERO               D
             Texas, LLC                        Gardena, CA 90248                               DEVELOPMENT LLC               E/F
                                                                                                                            G       2.53




    2.89     J&M Sales of                      15001 South Figueroa Street                     HIGHLAND PLAZA               D
             Texas, LLC                        Gardena, CA 90248                               IMPROVEMENTS                  E/F
                                                                                                                            G       2.39




    2.90     J&M Sales of                      15001 South Figueroa Street                     BRIXMOR SPE 3 LLC            D
             Texas, LLC                        Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.14




    2.91     J&M Sales of                      15001 South Figueroa Street                     MADISON CENTER               D
             Texas, LLC                        Gardena, CA 90248                               OWNER, LLC                    E/F
                                                                                                                            G       2.48




    2.92     J&M Sales of                      15001 South Figueroa Street                     STOCKBRIDGE                  D
             Texas, LLC                        Gardena, CA 90248                               MADISON LLC                   E/F
                                                                                                                            G       2.67




    2.93     J&M Sales of                      15001 South Figueroa Street                     CEDAR KINGS LLC              D
             Texas, LLC                        Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.18




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    2.94     J&M Sales of                      15001 South Figueroa Street                     BLDG-ICS OLNEY               D
             Texas, LLC                        Gardena, CA 90248                               LLC                           E/F
                                                                                                                            G       2.13




    2.95     J&M Sales of                      15001 South Figueroa Street                     Amherst Station LLC          D
             Texas, LLC                        Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.9




    2.96     J&M Sales of                      15001 South Figueroa Street                     SHOP CITY PW/LB              D
             Texas, LLC                        Gardena, CA 90248                               LLC                           E/F
                                                                                                                            G       2.64




    2.97     J&M Sales of                      15001 South Figueroa Street                     UTICA MZL LLC                D
             Texas, LLC                        Gardena, CA 90248                                                             E/F
                                                                                                                            G       2.74




    2.98     J&M Sales of                      15001 South Figueroa Street                     WESTERN LIGHTS               D
             Texas, LLC                        Gardena, CA 90248                               PROPERTIES, LLC               E/F
                                                                                                                            G       2.77




    2.99     J&M Sales of                      15001 South Figueroa Street                     WOOD STONE IV                D
             Texas, LLC                        Gardena, CA 90248                               HOLDINGS                      E/F
                                                                                               ROTTERDAM LL
                                                                                                                            G       2.79




    2.10     J&M Sales of                      15001 South Figueroa Street                     CCMS 2005-CD1                D
    0        Texas, LLC                        Gardena, CA 90248                               RETAIL 1400, LLC              E/F
                                                                                                                            G       2.16




    2.10     J&M Sales of                      15001 South Figueroa Street                     THOR SOUTH                   D
    1        Texas, LLC                        Gardena, CA 90248                               DEKALB RETAIL LLC             E/F
                                                                                                                            G       2.71




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    2.10     J&M Sales of                      15001 South Figueroa Street                     THE GALLERY AT               D
    2        Texas, LLC                        Gardena, CA 90248                               SOUTH DEKALB                  E/F
                                                                                                                            G       2.69




    2.10     J&M Sales of                      15001 South Figueroa Street                     KDI ATLANTA MALL,            D
    3        Texas, LLC                        Gardena, CA 90248                               LLC                           E/F
                                                                                                                            G       2.45




    2.10     J&M Sales of                      15001 South Figueroa Street                     CHARLOTTE                    D
    4        Texas, LLC                        Gardena, CA 90248                               (ARCHDALE) LLC                E/F
                                                                                                                            G       2.19




    2.10     J&M Sales of                      15001 South Figueroa Street                     EAST FOREST                  D
    5        Texas, LLC                        Gardena, CA 90248                               PLAZA II LLC                  E/F
                                                                                                                            G       2.24




    2.10     J&M Sales of                      15001 South Figueroa Street                     IRC RETAIL                   D
    6        Texas, LLC                        Gardena, CA 90248                               CENTERS                       E/F
                                                                                                                            G       2.42




    2.10     Michael Fallas                    15001 S. Figueroa Street                        GERTZ PLAZA                  D
    7                                          Gardena, CA 90248                               ACQUISITION 2 LLC             E/F
                                                                                                                            G       2.35




    2.10     Michael Fallas                    15001 S. Figueroa Street                        FORDHAM                      D
    8                                          Gardena, CA 90248                               VALENTINE                     E/F
                                                                                               ASSOCIATES
                                                                                                                            G       2.31




    2.10     Richard & Morris                                                                  101-115 W 116TH ST           D
    9        Cohen                                                                             REALTY CORP                   E/F
                                                                                                                            G       2.1




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    2.11     Steinway One                                                                      BLDG                         D
    0        Retail Realty,                                                                    MANAGEMENT CO                 E/F
             LLC                                                                               INC.
                                                                                                                            G       2.12




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